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                   ILLINOIS
                   PARE
                    COURTS
                    COURTS

               2021  STATISTICAL
                     STATISTICAL SUMMARY
                                 SUMMARY




                                                                            EXHIBIT A
             Case: 1:22-cv-06478 Document #: 41-1 Filed: 04/12/23 Page 2 of 203 PageID #:451




           ACKNOWLEDGMENTS
The Administrative Office of the Illinois Courts gratefully acknowledges and sincerely
appreciates the efforts of the clerks of the circuit, appellate, and supreme courts,
and probation managers throughout the state for their contributions to this summary.
Over 4,000 reports were prepared and submitted to the Administrative Office by the
various clerks and probation managers.

For more detailed information, or for information which does not appear in this
publication, the reader is directed to the clerk of the appropriate court or probation
manager.

A note on 2021 statistics: In terms of several court processes, 2021 functioned as an
extension of 2020. Illinois courts continued to hold virtual hearings in many
jurisdictions and many began to hold in person proceedings once more, including jury
trials, but the effects of pandemic related slowdowns were still apparent. The return to
a new normal is encountered in both the Annual Report and it's Statistical Summary.
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     CIRCUIT
     CIRCUIT COURTS
             COURTS
       OF
       OF ILLINOIS
          ILLINOIS
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MAP OF JUDICIAL
CIRCUITS OF ILLINOIS
                                                                                                                                                           Winnebago                              McHenry                Lake




                                                                                                                                                                                     Boone
                                                                                                            Jo Davies                Stephenson
                                                                                                                                                                      17                           22                    19
                                                                                                                           Carroll

                                                                                                                           15                           Ogle
                                                                                                                                                                                   DeKalb
                                                                                                                                                                                                        Kane
                                                                                                                                                                                                                   DuPage
                                                                                                                                                                                                    16                 18
                                                                                                                         Whiteside
                                                                                                                                                         Lee
                                                                                                                                                                                     23
                                                                                                                                                                                                                                         Cook

                                                                                                                                                                                                    Kendall
                                                                                                                                                                                                                        Will


                                                                          Rock Island               14                                         Bureau                           LaSalle                                 12
                                                                                                                  Henry

                                                                                        Mercer                                                          Putnam
                                                                                                                                                                                 13                     Grundy
                                                                                                                                                                                                                                      Kankakee


                                                                                                                                Stark                                                                                                 21
                                                                                                                                                        Marshall




                                                                            Henderson
                                                                                          Warren                Knox                                                                         Livingston
                                                                                                                                     Peoria
                                                                                                                                                          Woodford

                                                                                                                                 10                                                                                                   Iroquois



                                                                                 McDonough                                                                                       McLean
                                                                                                                Fulton                         Tazewell                                                         Ford
                                                                Hancock
                                                                                          9                                                                                      11
                                                                                                                             Mason
                                                                                        Schuyler                                                                            DeWitt
                                                                                                                                                   Logan                                                                                Vermilion
                                                                                                                                                                                                               Champaign
                                                                Adams                                                          Menard                                                           Piatt
                                                                                                            Cass
                                                                 8
                                                                                 Brown

                                                                                                                                                                           Macon
                                                                                                                                                                                                6
                                                                                                                                     Sangamon
                                                                                                                                                                                                               Douglas
                                                                                                            Morgan
                                                                                                                                       7
                                                                                                                                                                                                                                          Edgar
                                                                                                    Scott                                                                                    Moultrie
                                                                          Pike
                                                                                                                                                                                                                 Coles

                                                                                                                                                                                                                  5
                                                                                                                                                        Christian

                                                                                                      Greene                                                                         Shelby




                                                                                          Calhoun
                                                                                                                                                                                                                                        Clark
                                                                                                                         Macoupin             Montgomery                                                   Cumberland


                                                                                                       Jersey                                     4                      Fayette             Effingham
                                                                                                                                                                                                                   Jasper               Crawford

                                                                                                                           Madison                Bond

                                                                                                                              3                                                                         Clay
                                                                                                                                                                                                                                        Lawrence
                                                                                                                                                                                                                       Richland
                                                                                                                                                                                Marion
                                                                                                                                                  Clinton
                                                                                                                         St. Clair
                                                                                                                                                                                                                                       Wabash




                                                                                                                                                                                                                            Edwards
                                                                                                                          20                   Washington
                                                                                                                                                                                                         Wayne
                                                                                                                                                                            Jefferson
                                                                                                            Monroe
                                                                                                                                                                                 2
                                                                                                                                                   Perry                                                          White
                                                                                                                            Randolph                                                            Hamilton
                                                                                                                                                                            Franklin


                                                                                                                                                  Jackson                                                        Gallatin
                                                                                                                                                                           Williamson             Saline

                                                                                                                                                                                 1
                                                                                                                                                                                                                Hardin
                                                                                                                                                                                Johnson           Pope
                                                                                                                                                           Union

                                                                                                                                                          Alexander

                                                                                                                                                                      Pulaski        Massac




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DIRECTORY OF CIRCUIT CLERKS OF ILLINOIS
     COUNTY          CLERK OF THE COURT     MAILING ADDRESS             CITY & ZIP         JUDICIAL CIRCUIT   2021 EST. U.S. CENSUS    TELEPHONE

     Adams           Lori Geschwandner     521 Vermont Street      Quincy 62301-2934              8                  64,954           217/277-2100

                                            2000 Washington
    Alexander          Carey Simmons                                   Cairo 62914                1                  5,030            618/734-0107
                                                Avenue
                                            200 West College
      Bond             Randi Workman                                Greenville 62246              3                  16,596           618/664-3208
                                                 Ave.
                                           601 North Main St.,
     Boone             Kelly Boettger                             Belvidere 61008-2644           17                  53,159           815/544-0371
                                                Suite 303
                                            200 Court Street,          Mt. Sterling
     Brown             Rhonda Johnson                                                             8                  6,421            217/773-2713
                                                Room 5                 62353-1233

     Bureau              Dawn Reglin      700 South Main Street   Princeton 61356-2037           13                  32,883           815/872-2001

     Calhoun         Yvonne M. Macauley       P.O. Box 486         Hardin 62047-0486              8                  4,369            618/576-2451

                                           301 North Main St.,
     Carroll             Patty Hiher                              Mt. Carroll 61053-0032         15                  15,698           815/244-0230
                                               P.O. Box 32
      Cass              Brad Parlier          P.O. Box 203         Virginia 62691-0203            8                  12,773           217/452-7225

    Champaign          Susan McGrath      101 East Main Street     Urbana 61801-2736              6                 205,943           217/384-3725

                                          101 South Main, P.O.
    Christian            Julie Mayer                              Taylorville 62568-0617          4                  33,662           217/824-4966
                                                Box 617

      Clark               Ami Shaw            P.O. Box 187        Marshall 62441-0187             5                  15,300           217/826-2811

                                            111 Chestnut St.,
      Clay              Crystal Ballard                           Louisville 62858-0100           4                  13,143           618/665-3523
                                              P.O. Box 100

     Clinton            Rod Kloeckner       850 Fairfax Street     Carlyle 62231-0407             4                  36,793           618/594-6615

                                            651 Jackson Ave.,
      Coles             Melissa Hurst                               Charleston 61920              5                  46,765           217/348-0516
                                                Room 128
                                           50 W. Washington,
      Cook             Iris Y. Martinez                            Chicago 60602-1305            Ck                5,173,146          312/603-5030
                                               Suite 1001

    Crawford           Angela Reinoehl        P.O. Box 655        Robinson 62454-0655             2                  18,659           618/544-3512




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DIRECTORY OF CIRCUIT CLERKS OF ILLINOIS

     COUNTY           CLERK OF THE COURT        MAILING ADDRESS             CITY & ZIP        JUDICIAL CIRCUIT   2021 EST. U.S. CENSUS    TELEPHONE

                                              1 Courthouse Square
    Cumberland         Rhonda M. Wilson                                 Toledo 62468-0145            5                  10,345           217/849-3601
                                                   Room 107

      DeKalb              Lori Grubbs         133 West State Street    Sycamore 60178-1416          23                 100,414           815/895-7138

      DeWitt          Michelle R. Van Valey   201 West Washington       Clinton 61727-0439           6                  15,341           217/935-7750

                                                401 South Center,
     Douglas            Nathan Burton                                   Tuscola 61953-0050           6                  19,722           217/253-2352
                                                   P.O. Box 50

     DuPage             Candice Adams             P.O. Box 707         Wheaton 60187-0707           18                 924,885           630/407-8700

                                              115 West Court Street,
      Edgar             Angela R. Barrett                                Paris 61944-1739            5                  16,520           217/466-7447
                                                    Room M
                                               50 East Main Street,
     Edwards           Margaret Branum                                  Albion 62806-1262            2                  6,075            618/445-2016
                                                     Suite 7
                                              120 W. Jefferson Ave.,        Effingham
    Effingham            John Niemerg                                                                4                 34,430            217/342-4065
                                                    Suite 101              62401-0586

     Fayette             Kathy Emerick          221 South 7th St.       Vandalia 62471-2755          4                  21,384           618/283-5009
                        Kamalen Johnson
       Ford                                      200 West State         Paxton 60957-0080           11                  13,511           217/379-9420
                           Anderson

     Franklin              James Muir             P.O. Box 485          Benton 62812-0485            2                  37,442           618/439-2011

      Fulton           Charlene Markley            P.O. Box 152        Lewistown 61542-0152          9                 33,197            309/547-3041

                                                                          Shawneetown
     Gallatin         Brittney Capeheart          P.O. Box 249                                       2                  4,903            618/269-3140
                                                                           62984-0249

      Greene            Shirley Thornton         519 Main Street         Carrollton 62016            7                  11,843           217/942-3421

     Grundy               Corri Trotter           P.O. Box 707             Morris 60450             13                  52,989           815/942-3256

                                               100 South Jackson
     Hamilton           Beth Sandusky                                   McLeansboro 62859            2                  7,911            618/643-3224
                                                     Street

     Hancock              John Neally             P.O. Box 189            Carthage 62321             9                  17,400           217/357-2616

      Hardin             Nancy Pennell            P.O. Box 308         Elizabethtown 62931           2                  3,650            618/287-2735

    Henderson            Sandra Keane             P.O. Box 546         Oquawka 61469-0546            9                  6,312            309/867-3121


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DIRECTORY OF CIRCUIT CLERKS OF ILLINOIS

     COUNTY          CLERK OF THE COURT         MAILING ADDRESS             CITY & ZIP         JUDICIAL CIRCUIT   2021 EST. U.S. CENSUS    TELEPHONE

      Henry           Terilyn Kuster Motley     307 West Center         Cambridge 61238              14                  48,907           309/937-3496

     Iroquois            Lisa K. Hines        550 South 10th Street      Watseka 60970               21                  26,827           815/432-6950

     Jackson           Cindy R. Svanda            P.O. Box 730        Murphysboro 62966               1                  52,565           618/687-7300

                                               100 West Jourdan
     Jasper               Jamie Blake                                 Newton 62448-1973               4                   9,193           618/783-2524
                                                    Street
                                                                           Mt. Vernon
    Jefferson          Randy Pollard, Jr.        P.O. Box 1266                                        2                  36,877           618/244-8008
                                                                           62864-1266

     Jersey           Daniel P. Schetter      201 West Pearl Street   Jerseyville 62052-1852          7                  21,313           618/498-5571

                                                330 North Bench
    Jo Daviess         Kathy A. Phillips                               Galena 61036-1828             15                  21,899           815/777-0037
                                                     Street
                                                401 Court Street
    Johnson             Ryan M. O'Neal                                 Vienna 62995-0517              1                  13,463           618/658-4751
                                                    Suite A.

      Kane             Theresa Barreiro        540 S. Randall Rd.       St. Charles 60174            16                 515,588           630/232-3413

    Kankakee             Sandra Cianci        450 East Court Street     Kankakee 60901               21                 106,601           815/936-5700

     Kendall         Matthew Prochaska        807 West John Street       Yorkville 60560             23                 134,867           630/553-4183
                                               200 South Cherry
      Knox             Kelly Cheesman                                   Galesburg 61401               9                  49,269           309/345-6719
                                                    Street
                        Erin Cartwright         18 North County             Waukegan
      Lake                                                                                           19                 711,239           847/377-3380
                           Weinstein                 Street                60085-4369
                                               119 West Madison
     LaSalle             Greg Vaccaro                                     Ottawa 61350               13                 108,965           815/434-8671
                                               Street, Room 201

    Lawrence           Cheryl Winkles           1100 State Street     Lawrenceville 62439             2                  15,152           618/943-2815

                                               309 South Galena
       Lee               Amy Johnson                                    Dixon 61021-0325             15                  34,049           815/284-5234
                                                Ave., Suite 320

    Livingston           LeAnn Dixon             110 N. Main St.       Pontiac 61764-0320            11                  35,664           815/844-2602

      Logan                Kelly Elias            P.O. Box 158            Lincoln 62656              11                  27,992           217/735-2376




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DIRECTORY OF CIRCUIT CLERKS OF ILLINOIS

      COUNTY           CLERK OF THE COURT      MAILING ADDRESS              CITY & ZIP         JUDICIAL CIRCUIT   2021 EST. U.S. CENSUS    TELEPHONE

       Macon               Sherry Doty       253 East Wood Street        Decatur 62523                6                 102,432           217/424-1454

      Macoupin              Lee Ross              P.O. Box 197        Carlinville 62626-0197          7                  44,406           217/854-3211

      Madison              Tom McRae         155 North Main Street     Edwardsville 62025             3                 264,490           618/692-6240
                                                100 E. Main St.,
       Marion            Tiffany Schicker                                 Salem 62881                 4                  37,390           618/548-3856
                                                    Rm.204
                                               122 North Prairie,
      Marshall             Gina M. Noe                                 Lacon 61540-0328              10                  11,663           309/246-6435
                                                 P.O. Box 328

       Mason             Michael D. Roat        125 North Plum           Havana 62644                 8                  12,881           309/543-6619

                                               101 West 8th St.,
       Massac             Marcus Grace                                  Metropolis 62960              1                  13,960           618/524-5011
                                                   Room 2D

     McDonough           Kimberly Wilson     #1 Courthouse Square        Macomb 61455                 9                  26,828           309/837-4889
                                             2200 N. Seminary Ave.,
      McHenry           Katherine M. Keefe         Room 352            Woodstock 60098               22                 311,122           815/334-4310

                                                104 West Front,
       McLean             Don Everhart                                 Bloomington 61701             11                 170,889           309/888-5301
                                                  Room 404
                                                                          Petersburg
       Menard              Elyse Waibel        102 S. 7th Street                                      8                  12,164           217/632-2615
                                                                          62675-0466
                                                 100 Southeast
       Mercer            Kristin Relander                                 Aledo 61231                14                  15,582           309/582-7122
                                                   3rd Street
                                             100 South Main Street,
       Monroe               Lisa Fallon                                 Waterloo 62298               20                  34,932           618/939-8681
                                                   Room 115
                                                120 North Main,
     Montgomery           Daniel Robbins                                 Hillsboro 62049              4                  28,084           217/532-9546
                                                   Room 125

       Morgan               Amy Sipes            P.O. Box 1120         Jacksonville 62651             7                  32,606           217/243-5419

      Moultrie           Christa Helmuth     10 South Main, Suite 7       Sullivan 61951              6                  14,510           217/728-4622

                                             106 South 5th Street,
        Ogle            Kimberly A. Stahl                                Oregon 61061                15                  51,449           815/732-3201
                                                  Suite 300
                                                324 Main Street,
       Peoria           Robert M. Spears                                  Peoria 61602               10                 179,432           309/672-6989
                                                  Room G-22



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DIRECTORY OF CIRCUIT CLERKS OF ILLINOIS

      COUNTY          CLERK OF THE COURT       MAILING ADDRESS            CITY & ZIP        JUDICIAL CIRCUIT   2021 EST. U.S. CENSUS    TELEPHONE

       Perry         Kimberly J. Kellerman       P.O. Box 219        Pinckneyville 62274          20                  20,985           618/357-6726

                                             101 W. Washington,           Monticello
        Piatt            Seth E. Floyd                                                             6                  16,753           217/762-4966
                                                 P.O. Box 288            61856-0288

        Pike             Bryce Glecker       100 East Washington       Pittsfield 62363            8                  14,618           217/285-6612

                                              310 East Main St.,
        Pope             Sean M. Goins                                 Golconda 62938              1                  3,779            618/683-3941
                                                P.O. Box 438

       Pulaski          Stephanie Crain         500 Illinois Ave      Mound City 62963             1                  5,065            618/748-9300

      Putnam            Carly Neubaum        120 North 4th Street      Hennepin 61327             10                  5,655            815/925-7016

                                                1 Taylor Street,
      Randolph          Julie A. Carnahan                               Chester 62233             20                  30,142           618/826-5000
                                                   Room 302

      Richland            Zach Holder         103 West Main #21         Olney 62450                2                  15,796           618/392-2151

                                                                         Rock Island
     Rock Island        Tammy Weikert           1317 3rd Ave.                                     14                 142,909           309/786-4451
                                                                         61204-5230

       Saline            Randy Nyberg        10 East Poplar Street    Harrisburg 62949             1                  23,320           618/253-5096

                                             200 South 9th Street,
     Sangamon            Paul Palazzolo                               Springfield 62701            7                 194,734           217/753-6674
                                                  Room 405
                                                102 S Congress
      Schuyler            Kay Paisley                                Rushville 62681-0189          8                  6,843            217/322-4633
                                                   Suite 103

       Scott             Staci J. Evans      35 East Market Street    Winchester 62694             7                  4,836            217/742-5217

       Shelby          Kari Ann Kingston         P.O. Box 469         Shelbyville 62565            4                  20,789           217/774-4212

      St. Clair          Marie Zaiz            10 Public Square        Belleville 62220           20                 254,796           618/277-6832

                                              130 West Main St.,
        Stark             Julie Kenney                                  Toulon 61483              10                  5,294            309/286-5941
                                                 P.O. Box 426

     Stephenson           Nathan Luy         15 North Galena Ave.      Freeport 61032             15                  44,021           815/235-8266

      Tazewell         Lincoln C. Hobson       342 Court Street          Pekin 61554              10                 130,413           309/477-2214




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DIRECTORY OF CIRCUIT CLERKS OF ILLINOIS

      COUNTY          CLERK OF THE COURT     MAILING ADDRESS           CITY & ZIP      JUDICIAL CIRCUIT   2021 EST. U.S. CENSUS    TELEPHONE

                                             309 West Market,
       Union               Keri Clark                               Jonesboro 62952           1                  16,923           618/833-5913
                                                Room 101

      Vermilion          Melissa Quick       7 North Vermilion       Danville 61832           5                  73,095           217/554-7700

                                             401 Market Street,
      Wabash            Angela K. Crum                              Mt. Carmel 62863          2                  11,202           618/262-5362
                                               P.O. Box 997

       Warren           Denise L. Schreck   100 West Broadway       Monmouth 61462            9                  16,531           309/734-5179

     Washington       Cynthia Barczewski      125 E. Elm Street     Nashville 62263          20                  13,655           618/327-4800

                                            301 East Main Street,
       Wayne             Pam Southerd                                Fairfield 62837          2                  15,963           618/842-7684
                                                 Suite 204

       White            Kelly Fulkerson         P.O. Box 310          Carmi 62821             2                  13,784           618/382-2321

     Whiteside          Sue R. Costello     200 East Knox Street     Morrison 61270          14                  55,305           815/772-5170

                                            100 West Jefferson
        Will           Andrea Chasteen                                Joliet 60432           12                 687,252           815/727-8592
                                                 Street
                                            200 West Jefferson,
     Williamson          Justin Maze                                 Marion 62959             1                  66,879           618/997-1301
                                                 Suite 100
                                            400 West State St.,
     Winnebago           Thomas Klein                                Rockford 61101          17                 283,119           815/319-4500
                                                Room 100

     Woodford           Lynne R. Gilbert        P.O. Box 284          Eureka 61530           11                  38,225           309/467-3312




12    IL COURTS ANNUAL REPORT 2021
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GRAPHICAL
GRAPHICAL PRESENTATION
           PRESENTATION
  OF
  OF FIVE-YEAR
     FIVE-YEAR TRENDS
               TRENDS

   TOTAL
   TOTAL CASELOAD
         CASELOAD AND
                  AND
SELECTED
SELECTED CASE
         CASE CATEGORIES
              CATEGORIES
                            Case: 1:22-cv-06478 Document #: 41-1 Filed: 04/12/23 Page 14 of 203 PageID #:463




DEFINITION OF CASE CATEGORIES
CIVIL CATEGORY

AR                                                LM                                                  P

An Arbitration case number shall be assigned      A Law Magistrate case number shall be             A Probate case number shall be assigned to
to every arbitration-eligible case at the time    assigned to tort, contract, and a variety of      estates of decedents and guardianship matters.
it is filed. NOTE: This case category shall be    other actions in which the damages sought are
used only by counties that have initiated         $50,000 or less.                                   SC
Mandatory Arbitration as defined by Supreme
Court Rules 86 through 95.                        MC                                                A Small Claim case number shall be assigned to
                                                                                                    “... a civil action based on either tort or contract
CH                                                Each Municipal Corporation shall have one         for money not in excess of $10,000, exclusive
                                                  permanent case number and file folder for         of interest and costs, or for the collection of
A Chancery case number shall be assigned to       routine matters to be considered by the court.    taxes not in excess of that amount” (Supreme
a complaint for equitable relief in matters       This file will contain such matters as            Court Rule 281.)
such as foreclosures, trusts, and title to real   organization, appointment of officers, approval
property.                                         of bonds, and routine orders confirming            TX
                                                  annexation.
 ED                                                                                                 A Tax case number shall be assigned to the
                                                  MH                                                annual tax sale and a variety of other actions
An Eminent Domain case number shall                                                                 relating to the collection of taxes. Petitions for
be assigned to proceedings involving              A Mental Health case number shall be assigned     tax deeds and objections are part of the annual
compensation to an owner for property taken       to proceedings involving commitment,              tax sale proceeding and will be assigned sub-
for public use.                                   discharge, or restoration to legal status.        numbers of the annual tax sale case number.

  L                                               MR

A Law case number shall be assigned to tort,      A Miscellaneous Remedy case number shall be
contract, and a variety of other actions in       assigned to complaints seeking review of
which the damages sought are greater than         administrative decisions (other than of a tax
$50,000.                                          commission) and a variety of other actions
                                                  that include change of name, habeas corpus,
                                                  and extradition.
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DEFINITION OF CASE CATEGORIES

DOMESTIC RELATIONS CATEGORY

AD                                                 F                                                 OP

An Adoption case number shall be assigned        A Family case number shall be assigned to a         An Order of Protection case number shall be
to every adoption case.                          variety of matters including proceedings to         assigned to any petition for an order of
                                                 establish the parent-child relationship, notice     protection, civil no contact order, firearms
                                                 to putative fathers, and certain actions relating   restraining order, and stalking no contact
 D                                               to child support. NOTE: Petitions for orders        order that is filed separately from an existing
                                                 of protection filed as separate cases are filed     case. NOTE: If it is the practice of a county or
A Dissolution case number shall be assigned      under the OP category.                              circuit not to file orders of protection in
to a complaint for dissolution of marriage,                                                          existing criminal or civil cases, that practice
annulment, or separate maintenance.                                                                  may be continued and all petitions for orders
                                                                                                     of protection should be given an OP number.



JUVENILE CATEGORY

     J                                            JA                                                  JD

A Juvenile case number shall be assigned to      A Juvenile Abuse and Neglect case number            A Juvenile Delinquency case number shall be
any proceeding initiated under the Juvenile      shall be assigned to all cases involving a          assigned to all cases involving a delinquent
Court Act of 1987 (705 ILCS 405/1-1 et.          neglected or abused minor as defined by the         minor as defined by the Juvenile Court Act of
seq.) except those defined by the JA and JD      Juvenile Court Act of 1987 (705 ILCS 405/2-3(1)     1987 (705 ILCS 405/5-105).
categories below.                                and (2)).




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DEFINITION OF CASE CATEGORIES

CRIMINAL CATEGORY

 CF                                              CM                                               DT

A Felony case number shall be assigned           A Misdemeanor case number shall be assigned      A Driving Under the Influence case number
when a complaint, information or indictment      when a case is filed in which the most serious   shall be assigned to any case charging a
is filed in which at least one count charges     charge carries a penalty of less than one year   violation of a statute, ordinance, or regulation
a felony.                                        imprisonment.                                    governing driving under the influence of
                                                                                                  alcohol, other drug, or combination thereof.




QUASI-CRIMINAL CATEGORY

 TR                                              OV                                                CL

A Traffic case number shall be assigned to any   An Ordinance Violation case number shall be      A Civil Law case number shall be assigned
case defined by Supreme Court Rule 501(f),       assigned to any case in which violation of a     to all cases for civil law violations charged
except DUI cases. Note that a violation of a     local ordinance is charged. However, violation   under paragraph (a), Section 4 of the Cannabis
traffic ordinance as defined by Rule 501(f) is   of a traffic ordinance as defined by Supreme     Control Act (720 ILCS 550/4(a)), or Paragraph
given a TR number.                               Court Rule 501(f) shall be given a TR or DT      (c), Section 3.5 of the Drug Paraphernalia
                                                 number, as appropriate.                          Control Act (720 ILCS 600/3.5(c)). In accordance
                                                                                                  with Supreme Court Rule 589, each Uniform
CV                                                                                                Civil Law Citation form shall be assigned a
                                                                                                  separate case number.
A Conservation case number shall be
assigned to any case defined by Supreme
Court Rule 501(c).




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CIRCUIT COURTS OF ILLINOIS FIVE-YEAR TRENDS
 TOTAL CASELOAD

                                               Filed     Disposed



                           - --
 3,000,000
                                                                                                        From 2017 to 2020 the total new
                 2,528,512                                                                              filed  cases    decreased     by
                                   2,404,775            2,319,027
 2,500,000                                                                                              35.8% and from 2017 to 2021
                                                                                                        new filed cases decreased by
                 2,374,185                                                              1,634,828       35.3%.
 2,000,000                                                              1,623,783
                                       2,168,337
                                                       2,099,110                                        From 2017 to 2020 the total
                                                                                                        disposed cases decreased by


                                                                                                    -
 1,500,000
                                                                                        1,628,841       42.4% and from 2017 to 2021
                                                                       1,367,738                        disposed cases decreased by
 1,000,000                                                                                              31.4%.
                    2017                2018              2019           2020             2021


TRAFFIC CASES*
                                               Filed        Disposed
 2,000,000
                 1,590,802

                           --          1,365,810
                                                       1,427,751

                                                                                    -
                                                                                                        From 2017 to 2020 new filed
                                                                                                        traffic cases decreased by 40.5%
                                                                                                        and from 2017 to 2021 new filed



                           -
 1,500,000                                                                                              cases decreased by 40.5%.
                 1,508,344                                             947,115
                                                                                        946,723         From 2017 to 2020 disposed
 1,000,000                         1,259,485           1,280,479                                        traffic cases decreased by 47.9%
                                                                                                        and from 2017 to 2021 disposed



                                                                                                    -
                                                                                        924,982         cases decreased by 38.7%.
                                                                       785,987
     500,000
                    2017                2018             2019            2020            2021
*Excluding parking tickets and DUI



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CIRCUIT COURTS OF ILLINOIS FIVE-YEAR TRENDS
DUI CASES

                                               Filed   Disposed
       50,000

                    36,413                         -       -                                    From 2017 to 2020 new filed DUI
                                                                                                cases     decreased    by    26.8%



                              - -
      40,000                            32,584          32,874                                  and from 2017 to 2021 new

       30,000


       20,000
                     35,335



                              - - - -   32,090
                                                        32,789
                                                                  25,852




                                                                   19,826
                                                                                   30,025


                                                                                   28,462
                                                                                                filed cases decreased by 19.5%.

                                                                                                From 2017 to 2020 disposed DUI
                                                                                                cases decreased by 45.6% and
                                                                                                from 2017 to 2021 disposed
                                                                                                cases decreased by 17.5%.
       10,000




                                                                                            -
                      2017              2018             2019      2020           2021


FELONY CASES
                                               Filed   Disposed
     90,000
                                                                                                From 2017 to 2020 new filed
                                                       75,446
                                      74,929                                    75,012          felony cases decreased by 9.1%
     80,000       73,530
                                                                                                and from 2016 to 2020 new filed
                                                                  66,857
                                                                                                cases decreased by 5.6%.
     70,000

     60,000        69,910             68,656
                                                       77,111

                                                                 - -             69,428         From 2017 to 2021 disposed
                                                                                                felony   cases    decreased
                                                                                                26.4% and from 2017 to 2021
                                                                                                                               by

     50,000

     40,000                -                                       51,459
                                                                                                disposed cases increased by 7.3%.




                                                                                            -
                    2017               2018            2019        2020           2021




18     IL COURTS ANNUAL REPORT 2021
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CIRCUIT COURTS OF ILLINOIS FIVE-YEAR TRENDS
JUVENILE
                                               Filed     Disposed
     25,000
                                                                                              From 2017 to 2020 new filed
                   19,716                              19,019                                 juvenile cases decreased by 12.8%
     20,000


     15,000        19,029    - -   -
                                      17,500


                                      16,377
                                                                    16,594
                                                                               14,271
                                                                                              and from 2017 to 2021 new filed
                                                                                              cases decreased by 25.0%.

                                                                                              From 2017 to 2020 disposed

     10,000


      5,000
                   2017
                             -   - -  2018
                                                       15,562




                                                       2019
                                                                    12,092


                                                                    2020
                                                                               13,777




                                                                                2021
                                                                                              juvenile cases decreased by 38.7%
                                                                                              and from 2017 to 2021 disposed
                                                                                              cases decreased by 30.1%.




DISSOLUTION AND FAMILY
                                               Filed   Disposed
       80,000
                                                        68,158
                                                                                               From 2017 to 2020 new filed
                    67,323             65,437                                                  dissolution and family cases
       70,000
                                                                                               decreased by 22.6% and from
                                                                                  55,314       2017 to 2021 new filed cases
       60,000                                                        52,131
                                        65,413                                                 decreased by 17.8%.



                                                                  - -
                    63,175                               64,743
       50,000                                                                                  From 2017 to 2020 disposed
                                                                                               dissolution and family cases
                                                                                  49,214



                                                                  -
       40,000                                                                                  decreased by 29.4% and from 2017
                                                                      44,591
                                                                                               to 2021 disposed cases decreased
       30,000                                                                                  by 22.1%
                      2017               2018            2019         2020       2021




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CIRCUIT COURTS OF ILLINOIS FIVE-YEAR TRENDS

CHANCERY
                                                Filed       Disposed
     50,000

     40,000
                 40,997                38,499
                                                        -   32,632
                                                                       -                      From 2017 to 2020 new filed
                                                                                              chancery cases decreased by 57.8%
                                                                                              and from 2017 to 2021 new filed
                                                                                              cases decreased by 68.1%.
     30,000
                 35,570                32,886                              17,799
                                                            31,342                  15,007    From 2017 to      2020 disposed
     20,000
                                                                                              chancery cases     decreased by
                                                                                              56.6% and from     2017 to 2021
     10,000                                                                                   disposed cases     decreased by
                                                                           15,022
                                                                                     11,350   63.4%.
            0
                   2017                 2018                2019           2020      2021


ALL LAW CASES
                                                Filed       Disposed

250,000
                                                                                              From 2017 to 2020 the total new
 200,000                                                166,827                               filed law cases decreased by 43.5%
                                      158,838                                                 and from 2017 to 2021 new filed
                 151,625                                                            136,708   cases decreased by 9.8%.
 150,000
                                                                           85,729
                 149,685          152,008                                                     From 2017 to 2020 the total
 100,000                                                163,556
                                                                                              disposed law cases decreased by



                                                                           -
                                                                                    105,243
                                                                           83,199             44.4% and from 2017 to 2021
 50,000
                                                                                              disposed cases decreased by 29.7%
        0
                 2017                 2018                  2019           2020      2021
                                                                                              --
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CIRCUIT COURTS OF ILLINOIS FIVE-YEAR TRENDS
LAW CASES $50,000 AND LESS
                                                  Filed    Disposed
 250,000
                                                                                               From 2017 to 2020 new filed law
                                                                                               cases under $50,000 decreased by
 200,000                                                                                       53.3% and form 2017 to 2021 new
                 128,497                                  140,289
                                    136,429                                                    filed cases decreased by 14.5%.
 150,000                                                                        109,894
                                                                                               From 2017 to 2020 disposed law
                                                                      64,328
 100,000                                126,822                                                cases under $50,000 decreased by
                                                          137,039
                  125,866                                                                      48.9% and from 2017 to 2021
     50,000                                                                                    disposed cased decreased by
                                                                                 78,966



                            -
                                                                      60,059                   37.3%.
         0
                    2017                 2018             2019        2020       2021


LAW CASES OVER $50,000
                                             Filed        Disposed
     50,000
                                                                                               From 2017 to 2020 new filed law
                                                                                               cases over $50,000 increased by
     40,000                                                                                    11.0% and from 2017 to 2021 new



                            -                             26,538                               filed cases increased by 15.9%.
                                         25,186                                  26,814
     30,000        23,819                                             25,670
                                                                                               From 2017 to 2020 disposed law
                                                                                               cases over $50,000 decreased by
     20,000                                                26,517                26,277        20.8% and from 2017 to 2021
                   23,128               22,409
                                                                       18,871                  disposed cased increased by 10.3%.
     10,000


          0
                    2017                 2018              2019        2020       2021




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 CASELOAD,
 CASELOAD, CLEARANCE
             CLEARANCE
 RATE
 RATE AND
       AND STATISTICAL
            STATISTICAL
RECORDS
RECORDS OFOF THE
             THE CIRCUIT
                 CIRCUIT
   COURTS
   COURTS OF
           OF ILLINOIS
              ILLINOIS
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CASELOAD SUMMARIES BY CIRCUIT
CIRCUIT COURTS OF ILLINOIS CALENDAR YEAR 2021
                                                                                                                                                     INCREASE/DECREASE % OF
         CIRCUIT           BEGINNING PENDING            NEW FILED               REINSTATED            DISPOSED               END PENDING
                                                                                                                                                       2021 PENDING CASES

1st                                       144,443                      58,790                    67                 60,361                 140,810                        -2.5

2nd                                            51,563                  26,511                    38                 25,948                  51,034                        -1.0

3rd                                            85,661                  54,306                  640                  59,138                  82,124                        -4.1

4th                                            42,577                  36,325                    66                 35,210                  43,137                         1.3

5th                                            68,777                 26,466                    181                 22,698                  72,206                         5.0

6th                                            74,799                 45,488                   649                  42,258                  59,709                      -20.2

7th                                        101,160                    58,440                     22                 78,388                 101,829                         0.7

8th                                            24,215                  21,669                    38                 22,236                  22,843                        -5.7

9th                                         28,092                     24,897                     7                 24,750                  29,640                         5.5

10th                                        54,493                    45,420                    317                 41,522                  54,856                         0.7

11th                                           38,882                  42,885                   759                42,247                   37,943                        -2.4

12th                                           96,936                 106,375                 3,601                111,324                  95,657                        -1.3

13th                                           22,171                  29,824                   629                 29,678                  22,243                         0.3

14th                                        62,014                     41,106                    11                 38,341                  63,606                         2.6

15th                                           31,636                  27,435                     6                 27,763                  30,728                        -2.9

16th                                       102,258                     57,994                   112                57,844                  102,422                         0.2

17th                                           84,173                  56,575                   138                58,440                   82,290                        -2.2

18th                                        74,590                    129,010                12,594                156,719                  59,190                      -20.6

19th                                       40,047                      83,598                 3,735                 89,355                  37,937                        -5.3

20th                                       134,906                     51,806                   277                 56,202                 136,013                        0.8

21st                                           35,343                  24,522                     1                 16,221                  43,569                       23.3

22nd                                           18,796                  41,509                 1,628                44,990                   16,864                       -10.3

23rd                                           25,133                  20,950                   773                24,448                   21,769                       -13.4

DOWNSTATE TOTAL                          1,442,665                  1,111,901                26,289              1,166,081             1,408,419                          -2.4

COOK COUNTY                              1,804,492                    522,927                15,453               462,760              1,880,868                          4.2

STATE TOTAL                              3,247,157                  1,634,828                41,742              1,628,841             3,289,287                           1.3




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CASE FILING RATIO: JUDGE/POPULATION
CIRCUIT COURTS OF ILLINOIS CALENDAR YEAR 2021
                                                                   2021 CENSUS               TOTAL NUMBER OF                           NUMBER OF JUDGES                                            NUMBER OF CASES
                                                                                                                                                                              NUMBER OF CASES
               Circuit            NUMBER OF COUNTIES               POPULATION               CASES FILED DURING                                                                                      FILED PER 1000
                                                                                                                                                                               FILED PER JUDGE
                                                                    ESTIMATE                      2021 **              CIRCUIT            ASSOCIATE           TOTAL *                                POPULATION

      1st
                                                           9                    203,604                      58,790               13                      7             20                 2,940               288.7
      2nd
                                                          12                    188,407                      26,511               15                      6              21                1,262               140.7
      3rd
                                                           2                    278,897                      54,306               8                    13                21                2,586               194.7
      4th
                                                           9                    233,735                      36,325               12                      7              19                1,912               155.4
      5th
                                                           5                    168,013                      26,466               11                      5              16                1,654                157.5
      6th
                                                           6                    362,419                      45,488               14                   11                25                1,820               125.5
      7th
                                                           6                     311,117                     58,440               12                   10                22                2,656               187.8
      8th
                                                           8                    135,088                      21,669               11                      5              16                1,354               160.4
      9th
                                                           6                    152,691                      24,897               10                      4              14                1,778                163.1
      10th
                                                           5                    330,716                      45,420               10                   11                21                2,163                137.3
      11th
                                                           5                    286,093                      42,885               11                   10                21                2,042               149.9
      12th
                                                           1                    688,726                     106,375               16                   21                37                2,875               154.5
      13th
                                                           3                    190,867                      29,824               8                       5              13                2,294               156.3
      14th
                                                           4                    259,199                      41,106               12                   10                22                1,868               158.6
      15th
                                                           5                    163,264                      27,435               8                       8              16                1,715               168.0
      16th
                                                           1                    531,010                      57,994               13                   17                30                1,933               109.2
      17th
                                                           2                    334,072                      56,575               10                   15                25                2,263               169.3
      18th
                                                           1                    917,481                     129,010               14                  30                44                 2,932               140.6
      19th
                                                           1                    693,593                      83,598               14                   25                39                2,144               120.5
      20th
                                                           5                    358,564                      51,806               11                   13               24                 2,159               144.5
      21st
                                                           2                    135,305                      24,522               6                       5              11                2,229               181.2
      22nd
                                                           1                    305,888                      41,509               8                    11                19                2,185                135.7
      23rd
                                                           2                    235,129                      20,950               8                       5              13                1,612                89.1
      DOWNSTATE TOTAL                                    101                  7,463,878                    1,111,901             255                  254               509                2,184               149.0

      COOK COUNTY                                          1                  5,108,284                     522,927              237                  143               380                1,376               102.4

      STATE TOTAL                                        102                 12,572,162                   1,634,828              492                  397               889                1,839               130.0
      * Average nubmer of sitting Cirucit Judges
      ** Total of all cases in all categories: Civil; Domestic Relations; Criminal; Quasi-Criminal ; and Juvenile.




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2021 CLEARANCE RATES BY CIRCUIT
                                ALL CASE TYPES                                            FIVE YEAR TREND CLEARANCE RATES: ALL CASE TYPES
                                                                                      Circuit                2021   2020   2019        2018        2017
                      2021 Clearance Rates: All Case Types                    1st . . . . . . . . . . . . .  102.6%  96.2%  90.2%       92.7%       92.4%
                                                                              2nd . . . . . . . . . . . . .   97.7%  87.1%   91.3%      93.7%       94.3%
        1st Circuit                                    102.6%
                                                                              3rd . . . . . . . . . . . . .  107.6%  83.4%  92.4%       94.7%       94.9%
       2nd Circuit                                   97.7%
                                                                              4th . . . . . . . . . . . . .   96.8%  83.0%  96.0%      100.1%       94.6%
        3rd Circuit                                      107.6%
                                                                              5th . . . . . . . . . . . . .   85.2%  69.3%  78.9%       79.0%       84.2%
        4th Circuit                                 96.8%
                                                                              6th . . . . . . . . . . . . .   91.6%  88.3%  92.6%       93.7%       92.5%
        5th Circuit                            85.2%
        6th Circuit
                                                                              7th . . . . . . . . . . . . .  134.1% 106.3% 116.0%      116.4%      107.5%
                                                  91.6%
        7th Circuit                                                           8th . . . . . . . . . . . . .  102.4%  90.8%  94.4%       96.0%       95.7%
                                                                    134.1%
        8th Circuit                                     102.4%
                                                                              9th . . . . . . . . . . . . .   99.4%  94.0%  98.6%       98.3%       95.1%
        9th Circuit                                   99.4%                   10th . . . . . . . . . . . . .  90.8%  85.3%   97.1%      98.2%       96.3%
      10th Circuit                                90.8%                       11th . . . . . . . . . . . . .  96.8%  94.0% 101.0%       99.5%       97.2%
       11th Circuit                                 96.8%                     12th . . . . . . . . . . . . . 101.2%  90.7%  97.6%       99.8%       99.7%
      12th Circuit                                     101.2%                 13th . . . . . . . . . . . . .  97.5%  93.2%  96.0%       97.9%       99.3%
      13th Circuit                                   97.5%                    14th . . . . . . . . . . . . .  93.2%  90.1%  94.5%       96.5%       91.4%
      14th Circuit                                 93.2%                      15th . . . . . . . . . . . . . 101.2%  89.1%  95.6%       95.8%       94.3%
      15th Circuit                                     101.2%                 16th . . . . . . . . . . . . .  99.5%  44.1%   71.3%      55.6%       65.8%
      16th Circuit                                    99.5%                   17th . . . . . . . . . . . . . 103.0% 101.5%  98.0%       99.0%      100.3%
      17th Circuit                                      103.0%                18th . . . . . . . . . . . . . 110.7%  82.5% 100.6%      101.0%       99.1%
      18th Circuit                                         110.7%             19th . . . . . . . . . . . . . 102.3%  97.0% 100.9%      100.2%       99.1%
      19th Circuit                                     102.3%                 20th . . . . . . . . . . . . . 107.9%  92.4%  96.9%       98.5%      105.1%
      20th Circuit                                        107.9%              21st . . . . . . . . . . . . .  66.1%  45.9%  69.0%       76.1%       87.0%
       21st Circuit                    66.1%                                  22nd . . . . . . . . . . . . . 104.3%  93.7% 102.0%       99.8%      100.6%
      22nd Circuit                                     104.3%                 23rd . . . . . . . . . . . . . 112.5%  81.6%  98.5%     100.8%        99.7%
      23rd Circuit                                        112.5%              DOWNSTATE TOTAL                102.5%  86.8%  95.5%       95.8%       95.9%
 Downstate Total                                      102.5%                  COOK COUNTY . . .               86.0%  74.1%  78.3%       77.2%       86.3%
     Cook County                               86.0%                          STATE TOTAL . . . .             97.2%  82.5%  89.2%       88.6%       92.1%
  Statewide Total                                  97.2%                      Note: Clearance Rate Percentage equals the number of disposed cases
                 25.0%       50.0%     75.0%      100.0%   125.0%    150.0%   divided by the sum of new filed and reinstated cases, with the total
                                                                              multiplied by 100.
                                 Clearance Rate



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   CLEARANCE RATES BY CIRCUIT
                                 CIVIL CATEGORY                                                     FIVE YEAR TREND CLEARANCE RATES: CIVIL CATEGORY
         (Arbitration, Chancery, Eminent Domain, Law, Law Magistrate, Municipal
     Corporation, Mental Health, Miscellaneous Remedy, Probate, Small Claims, Tax)

                                                                                                   Circuit             2021     2020       2019        2018        2017
                      2021 Clearance Rates: Civil Category
                                                                                      1st . . . . . . . . . . . . .    94.6%    111.1%      92.4%       86.3%       93.1%
        1st Circuit                                      94.6%                        2nd . . . . . . . . . . . . .    79.8%    96.9%       88.6%       88.0%       90.2%
       2nd Circuit                               79.8%                                3rd . . . . . . . . . . . . .     85.1%   86.7%       93.9%       92.6%       99.2%
       3rd Circuit                                 85.1%                              4th . . . . . . . . . . . . .     86.1%   85.0%       91.8%       99.0%       91.6%
       4th Circuit                                  86.1%
                                                                                      5th . . . . . . . . . . . . .     51.9%   48.8%       62.1%       60.9%       62.3%
       5th Circuit               51.9%
                                                                                      6th . . . . . . . . . . . . .    68.9%    84.0%       81.2%       89.0%       84.5%
       6th Circuit                         68.9%
       7th Circuit                                                       129.5%       7th . . . . . . . . . . . . .    129.5%   139.6%     131.0%      131.1%       95.4%
       8th Circuit                                 83.3%                              8th . . . . . . . . . . . . .     83.3%   100.1%      90.4%       96.8%       92.7%
       9th Circuit                                           102.8%                   9th . . . . . . . . . . . . .    102.8%   125.2%      96.1%       90.3%       85.9%
     10th Circuit                                80.1%                                10th . . . . . . . . . . . . .    80.1%   95.4%       87.3%       98.5%       86.4%
      11th Circuit                                 85.3%
                                                                                      11th . . . . . . . . . . . . .    85.3%   99.9%      104.5%       95.2%       99.1%
     12th Circuit                                            102.7%
     13th Circuit                                         98.9%
                                                                                      12th . . . . . . . . . . . . .   102.7%   102.7%      98.3%       99.2%       99.7%




                       --
     14th Circuit                                     91.7%                           13th . . . . . . . . . . . . .   98.9%    98.6%       95.3%       99.9%       96.5%
      15th Circuit                                    88.4%                           14th . . . . . . . . . . . . .    91.7%   87.6%      101.4%       95.9%       87.8%
     16th Circuit                        65.5%                                        15th . . . . . . . . . . . . .   88.4%     90.1%      91.2%       97.1%       93.5%
     17th Circuit                                           99.7%
                                                                                      16th . . . . . . . . . . . . .    65.5%   36.4%       69.4%       65.5%       63.2%
     18th Circuit                                           99.3%
                                                                                      17th . . . . . . . . . . . . .    99.7%    99.5%      96.6%       97.6%     100.6%
     19th Circuit                                          96.9%
     20th Circuit                                79.4%                                18th . . . . . . . . . . . . .    99.3%   94.6%       95.0%      103.8%       99.2%
      21st Circuit                     60.3%                                          19th . . . . . . . . . . . . .   96.9%    107.4%      99.3%      104.7%       98.8%
     22nd Circuit                                               108.2%                20th . . . . . . . . . . . . .   79.4%     92.5%      96.3%       98.3%     106.4%
     23rd Circuit                                              106.6%                 21st . . . . . . . . . . . . .   60.3%     63.1%      85.6%       96.6%      101.9%
Downstate Total                                       91.4%
                                                                                      22nd . . . . . . . . . . . . .   108.2%   94.2%       95.8%      103.3%       98.9%
   Cook County                                              103.6%
 Statewide Total                                         97.4%                        23rd . . . . . . . . . . . . .   106.6%   99.0%       95.9%      102.3%       99.5%
                                                                                      DOWNSTATE TOTAL                  91.4%    93.6%       94.3%       96.9%       93.3%
                 25.0%       50.0%       75.0%        100.0%        125.0%   150.0%
                                                                                      COOK COUNTY . . . .              103.6%   89.7%       95.7%       97.9%       94.3%
                                     Clearance Rate
                                                                                      STATE TOTAL . . . . . .          97.4%     91.7%      95.0%       97.4%       93.8%
                                                                                      Note: Clearance Rate Percentage equals the number of disposed cases divided by the
                                                                                      sum of new filed and reinstated cases, with the total multiplied by 100.
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CLEARANCE RATES BY CIRCUIT
                   DOMESTIC RELATIONS CATEGORY                                         FIVE YEAR TREND CLEARANCE RATES: DOMESTIC RELATIONS
       Adoption, Dissolutions of marriage, Family, Order of Protection
                                                                                            Circuit                 2021     2020     2019     2018       2017
              2021 Clearance Rates: Domestic Relations Category
                                                                                   1st . . . . . . . . . . . . .    112.3%    93.5%   99.6%     97.7%      91.0%
       1st Circuit                                               112.3%            2nd . . . . . . . . . . . . .     91.4%    93.9%   86.7%    85.4%       90.3%
      2nd Circuit                                   91.4%
                                                                                   3rd . . . . . . . . . . . . .    106.9%    97.4%    97.1%    97.5%      95.0%
       3rd Circuit                                          106.9%
                                                                                   4th . . . . . . . . . . . . .    94.6%     90.5%    98.1%   94.0%      104.9%
       4th Circuit                                      94.6%
       5th Circuit                       68.1%                                     5th . . . . . . . . . . . . .     68.1%    63.8%   44.7%    45.8%       94.7%
       6th Circuit                               85.5%                             6th . . . . . . . . . . . . .     85.5%    83.8%   88.8%     87.3%      95.3%
       7th Circuit                                                        137.2%   7th . . . . . . . . . . . . .    137.2%   140.4%   136.0%   135.1%     100.0%
       8th Circuit                                  93.9%                          8th . . . . . . . . . . . . .     93.9%   94.9%     87.5%   103.5%      49.4%
       9th Circuit                                                   124.4%        9th . . . . . . . . . . . . .    124.4%    99.1%    97.2%    93.6%      95.9%
      10th Circuit                                 90.9%
                                                                                   10th . . . . . . . . . . . . .   90.9%     97.2%   130.0%    88.3%      94.2%
      11th Circuit                                      96.8%
                                                                                   11th . . . . . . . . . . . . .   96.8%     93.6%   111.2%    99.2%     101.5%
      12th Circuit                                        101.9%
      13th Circuit                                      95.1%                      12th . . . . . . . . . . . . .   101.9%    97.6%   100.8%   98.0%       87.2%
      14th Circuit                                  93.6%                          13th . . . . . . . . . . . . .    95.1%   94.8%    96.2%     94.1%      89.0%
      15th Circuit                                  92.0%                          14th . . . . . . . . . . . . .    93.6%   92.4%     95.2%   104.6%     109.6%
      16th Circuit                                        100.5%                   15th . . . . . . . . . . . . .   92.0%    89.4%     89.1%   96.4%      103.9%
      17th Circuit                                 90.8%
                                                                                   16th . . . . . . . . . . . . .   100.5%    58.8%   93.8%     59.5%     100.4%
      18th Circuit                                        101.3%
                                                                                   17th . . . . . . . . . . . . .   90.8%    92.4%     93.2%    95.0%     105.3%
      19th Circuit                                       99.9%
      20th Circuit                                       97.7%
                                                                                   18th . . . . . . . . . . . . .   101.3%   89.4%    148.9%   96.6%       94.8%
      21st Circuit                              81.1%                              19th . . . . . . . . . . . . .   99.9%     98.7%   106.0%   99.9%       50.4%
     22nd Circuit                                          103.0%                  20th . . . . . . . . . . . . .    97.7%    92.9%   98.8%    109.5%      86.8%
      23rd Circuit                                       97.6%                     21st . . . . . . . . . . . . .    81.1%    59.7%    82.3%    94.1%     107.2%
Downstate Total                                          99.0%                     22nd . . . . . . . . . .. . .    103.0%    95.5%   96.4%    104.3%      91.6%
     Cook County                           74.2%
                                                                                   23rd . . . . . . . . . . . . .    97.6%    96.9%    95.9%   98.4%       95.4%
 Statewide Total                                   91.0%
                                                                                   DOWNSTATE TOTAL                  99.0%     93.9%   102.9%    96.3%      93.3%
                25.0%     50.0%         75.0%      100.0%        125.0%   150.0%
                                                                                   COOK COUNTY . . .                74.2%     74.1%   92.0%     93.6%      76.9%
                                Clearance Rate
                                                                                   STATE TOTAL . . . .               91.0%    87.7%    99.3%   95.4%       87.3%
                                                                                   Note: Clearance Rate Percentage equals the number of disposed cases divided by
                                                                                   the sum of new filed and reinstated cases, with the total multiplied by 100.


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CLEARANCE RATES BY CIRCUIT
                             JUVENILE CATEGORY                                             FIVE YEAR TREND CLEARANCE RATES: JUVENILE CATEGORY
           (Juvenile, Juvenile Abuse & Neglect, Juvenile Delinquency)
                                                                                            Circuit                 2021     2020     2019     2018       2017
                    2021 Clearance Rates: Juvenile Category
                                                                                   1st . . . . . . . . . . . . .     81.3%   89.8%    66.7%     72.7%      62.9%
       1st Circuit                         81.3%
                                            I                                      2nd . . . . . . . . . . . . .    100.0%    65.7%   59.6%     67.9%      60.7%
      2nd Circuit                                  100.0%                          3rd . . . . . . . . . . . . .    128.6%   80.6%    88.5%     87.2%      91.7%
       3rd Circuit                                           128.6%                4th . . . . . . . . . . . . .    93.0%    65.4%     73.3%    75.9%      86.9%
       4th Circuit                            93.0%
                                                                                   5th . . . . . . . . . . . . .     41.1%    27.7%    23.2%    39.7%      45.3%
       5th Circuit         41.1%
                ■
       6th Circuit
                                                                                   6th . . . . . . . . . . . . .    83.6%    68.5%    64.9%     75.9%      74.5%
                                           83.6%
       7th Circuit                                               146.1%            7th . . . . . . . . . . . . .    146.1%   132.5%   106.6%   140.9%     118.7%
       8th Circuit                                 101.8%                          8th . . . . . . . . . . . . .    101.8%    53.8%    55.7%   87.8%       60.1%
       9th Circuit                                   108.3%                        9th . . . . . . . . . . . . .    108.3%    65.5%   67.8%     73.3%      78.9%
      10th Circuit                                 101.9%                          10th . . . . . . . . . . . . .   101.9%    61.9%    77.9%    73.6%      88.4%
      11th Circuit                           90.8%
                                                                                   11th . . . . . . . . . . . . .   90.8%     82.5%    93.5%    73.5%      94.2%
      12th Circuit                            94.2%
      13th Circuit                         83.2%
                                                                                   12th . . . . . . . . . . . . .   94.2%    102.7%   98.3%    115.6%      97.7%
      14th Circuit                 61.3%                                           13th . . . . . . . . . . . . .    83.2%   64.4%    96.7%     87.5%      78.6%
      15th Circuit                            91.4%                                14th . . . . . . . . . . . . .    61.3%   66.7%    68.9%     69.3%      72.6%
      16th Circuit                    75.1%                                        15th . . . . . . . . . . . . .    91.4%    65.7%    57.3%   88.4%       81.5%
      17th Circuit                                      120.9%                     16th . . . . . . . . . . . . .    75.1%    56.3%    79.7%   70.0%       68.6%
      18th Circuit                                     116.2%
                                                                                   17th . . . . . . . . . . . . .   120.9%   91.4%     75.2%   90.3%      106.2%
      19th Circuit                                          125.5%
      20th Circuit                  65.4%
                                                                                   18th . . . . . . . . . . . . .   116.2%    97.7%   107.0%   114.9%     100.1%
      21st Circuit                          I 90.1%     I                          19th . . . . . . . . . . . . .   125.5%   103.4%   111.7%   103.6%     113.2%
     22nd Circuit                                           124.6%                 20th . . . . . . . . . . . . .   65.4%    42.3%    49.7%     54.7%      77.3%
      23rd Circuit                                                        177.8%   21st . . . . . . . . . . . . .    90.1%   103.9%   79.0%    101.3%      92.7%
Downstate Total                                 99.4%
                                                                                   22nd . . . . . . . . . . . .     124.6%    87.3%    93.3%   102.8%     102.6%
     Cook County                           80.2%
                                                                                   23rd . . . . . . . . . . . . .   177.8%    83.1%   78.4%     97.3%      81.6%
 Statewide Total                               95.6%
                                                                                   DOWNSTATE TOTAL                  99.4%     76.5%    77.2%   84.5%       86.1%
                25.0% 50.0% 75.0% 100.0% 125.0% 150.0% 175.0% 200.0%
                                                                                   COOK COUNTY . . .                80.2%    56.9%     95.3%   128.7%     145.3%
                                   Clearance Rate
                                                                                   STATE TOTAL . . . .               95.6%    72.3%    81.1%   92.4%      102.5%
                                                                                   Note: Clearance Rate Percentage equals the number of disposed cases divided by
                                                                                   the sum of new filed and reinstated cases, with the total multiplied by 100.


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CLEARANCE RATES BY CIRCUIT
                           CRIMINAL CATEGORY                                         FIVE YEAR TREND CLEARANCE RATES: CRIMINAL CATEGORY
                         (Felony, Misdemeanor, DUI)
                                                                                       Circuit                 2021     2020     2019     2018       2017
                 2021 Clearance Rates: Criminal Category
                                                                              1st . . . . . . . . . . . . .     87.5%   80.4%    88.3%    84.4%       86.0%
       1st Circuit                             87.5%                          2nd . . . . . . . . . . . . .    104.4%   70.4%    85.8%    90.4%       95.9%
      2nd Circuit                                      104.4%                 3rd . . . . . . . . . . . . .    110.1%   65.3%    86.6%    87.4%       90.5%
       3rd Circuit                                       110.1%
                                                                              4th . . . . . . . . . . . . .     90.5%   78.5%     93.2%   88.8%       90.0%
       4th Circuit                              90.5%
       5th Circuit
                                                                              5th . . . . . . . . . . . . .    100.9%    59.5%    87.3%   89.2%       89.0%
                                                    100.9%
       6th Circuit                                      111.2%                6th . . . . . . . . . . . . .    111.2%   89.7%    101.7%   98.3%       91.3%
       7th Circuit                                                   145.1%   7th . . . . . . . . . . . . .    145.1%   97.4%    119.7%   111.2%     107.0%
       8th Circuit                                       112.2%               8th . . . . . . . . . . . . .    112.2%    87.1%   91.4%    91.8%       91.3%
       9th Circuit                                97.1%
                                                                              9th . . . . . . . . . . . . .     97.1%   94.2%    94.0%    94.0%      108.6%
     10th Circuit                                 97.8%
                                                                              10th . . . . . . . . . . . . .    97.8%   80.6%    93.0%    95.7%       95.0%
      11th Circuit                                  100.7%
     12th Circuit                                     105.5%                  11th . . . . . . . . . . . . .   100.7%   79.7%    98.4%    94.2%       96.9%
     13th Circuit                                 96.9%                       12th . . . . . . . . . . . . .   105.5%   58.2%     91.5%   100.1%      99.4%
     14th Circuit                                  98.9%                      13th . . . . . . . . . . . . .    96.9%   88.4%    92.3%    97.0%      102.2%
     15th Circuit                                    104.2%
                                                                              14th . . . . . . . . . . . . .    98.9%   78.2%    89.2%     91.1%      91.0%
     16th Circuit                                                  136.3%
                                                                              15th . . . . . . . . . . . . .   104.2%    81.7%    92.5%   92.0%       96.3%
     17th Circuit                                   102.2%
     18th Circuit                                     107.7%                  16th . . . . . . . . . . . . .   136.3%   54.6%    114.0%   89.2%       72.2%
     19th Circuit                                   102.4%                    17th . . . . . . . . . . . . .   102.2%   98.8%    103.0%   96.3%       98.5%
     20th Circuit                                94.7%                        18th . . . . . . . . . . . . .   107.7%   78.3%     97.2%   96.8%       99.3%
      21st Circuit          46.8%                                             19th . . . . . . . . . . . . .   102.4%   86.0%     97.3%   99.9%       98.4%
     22nd Circuit                                  99.2%
                                                                              20th . . . . . . . . . . . . .    94.7%   80.5%    93.9%    93.0%      104.5%
     23rd Circuit                                        111.5%
Downstate Total                                       104.9%                  21st . . . . . . . . . . . . .   46.8%    43.6%    52.4%    62.7%       71.2%
    Cook County                                     101.5%                    22nd . . . . . . . . . . . .      99.2%   86.5%    105.6%   103.5%      97.1%
 Statewide Total                                     103.5%                   23rd . . . . . . . . . . . . .   111.5%    71.1%   102.0%   92.6%       91.7%
                25.0%    50.0%         75.0%   100.0%     125.0%    150.0%    DOWNSTATE TOTAL                  104.9%   78.0%    95.8%    94.1%       94.8%
                              Clearance Rate                                  COOK COUNTY . . .                101.5%   64.0%    59.9%    60.2%       63.6%
                                                                              STATE TOTAL . . . .              103.5%    72.1%   78.6%    78.4%       80.5%
                                                                              Note: Clearance Rate Percentage equals the number of disposed cases divided by
                                                                              the sum of new filed and reinstated cases, with the total multiplied by 100.


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CLEARANCE RATES BY CIRCUIT
                         QUASI-CRIMINAL CATEGORY                                             FIVE YEAR TREND CLEARANCE RATES: QUASI-CRIMINAL
        (Civil Law Violations, Conservation, Ordinance Violation, Traffic)
                                                                                            Circuit                 2021     2020     2019     2018       2017
             2021 Clearance Rates: Quasi-Criminal Category
                                                                                   1st . . . . . . . . . . . . .    104.6%   97.4%    89.9%    94.6%       93.4%
       1st Circuit                                      104.6%                     2nd . . . . . . . . . . . . .    102.2%   90.3%    96.0%     99.3%      97.5%
      2nd Circuit                                      102.2%                      3rd . . . . . . . . . . . . .    112.3%   89.0%     93.1%   96.8%       94.0%
       3rd Circuit                                           112.3%
                                                                                   4th . . . . . . . . . . . . .    101.1%   84.9%    98.0%    103.9%      96.1%
       4th Circuit                                     101.1%
                                                                                   5th . . . . . . . . . . . . .     96.1%   82.7%    89.9%     90.2%      97.7%
       5th Circuit                                  96.1%
       6th Circuit                                  95.1%                          6th . . . . . . . . . . . . .     95.1%    91.7%    95.2%    95.3%      97.3%
       7th Circuit                                                      133.4%     7th . . . . . . . . . . . . .    133.4%   97.2%    108.7%   110.1%     110.8%
       8th Circuit                                          108.1%                 8th . . . . . . . . . . . . .    108.1%   91.4%    98.0%     95.8%      98.4%
       9th Circuit                                  96.0%                          9th . . . . . . . . . . . . .    96.0%    89.6%    101.3%   102.1%      94.9%
      10th Circuit                                 92.2%
                                                                                   10th . . . . . . . . . . . . .    92.2%   85.2%    97.0%    100.4%      99.6%
      11th Circuit                                    99.1%
                                                                                   11th . . . . . . . . . . . . .    99.1%   97.2%     99.7%   101.7%      97.0%
      12th Circuit                                    100.6%
      13th Circuit                                   97.6%                         12th . . . . . . . . . . . . .   100.6%    91.1%    97.7%   100.0%      99.3%
      14th Circuit                                 93.3%                           13th . . . . . . . . . . . . .    97.6%   94.2%    96.8%     97.8%     100.3%
      15th Circuit                                      104.0%                     14th . . . . . . . . . . . . .    93.3%   95.2%     93.7%    97.2%      92.4%
      16th Circuit                                      103.5%                     15th . . . . . . . . . . . . .   104.0%    91.5%    97.8%    96.2%      93.9%
      17th Circuit                                         105.7%
                                                                                   16th . . . . . . . . . . . . .   103.5%   43.5%    66.0%     49.5%      66.6%
      18th Circuit                                            113.3%
      19th Circuit                                                                 17th . . . . . . . . . . . . .   105.7%   106.3%    98.5%   100.5%     100.9%
                                                        103.5%
      20th Circuit                                               121.3%            18th . . . . . . . . . . . . .   113.3%    81.2%   100.0%   101.1%      99.3%
      21st Circuit                      68.0%                                      19th . . . . . . . . . . . . .   103.5%    97.5%   101.2%    99.5%      98.9%
     22nd Circuit                                       104.0%                     20th . . . . . . . . . . . . .   121.3%   97.9%     98.1%   99.4%      106.4%
      23rd Circuit                                             115.9%              21st . . . . . . . . . . . . .   68.0%    40.9%     65.1%   70.4%       82.8%
Downstate Total                                         105.0%
                                                                                   22nd . . . . . . . . . . . .     104.0%   95.0%    103.3%   98.6%      101.0%
     Cook County                         70.4%
 Statewide Total                                     96.5%
                                                                                   23rd . . . . . . . . . . . . .   115.9%   78.5%    99.6%    102.4%     101.7%
                                                                                   DOWNSTATE TOTAL                  105.0%   87.7%     95.3%   96.0%       96.9%
                25.0%      50.0%       75.0%      100.0%      125.0%      150.0%
                                                                                   COOK COUNTY . . .                70.4%    67.9%    74.8%     72.1%      87.9%
                                 Clearance Rate
                                                                                   STATE TOTAL . . . .               96.5%   82.3%    88.8%     87.3%      93.7%
                                                                                   Note: Clearance Rate Percentage equals the number of disposed cases divided by
                                                                                   the sum of new filed and reinstated cases, with the total multiplied by 100.


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CIVIL AND DOMESTIC RELATIONS CASELOAD STATISTICS BY COUNTY
CIRCUIT COURTS - CALENDAR YEAR 2021
                                                                                                                                                                                  CIVIL                                                                                                                                                                                                  DOMESTIC RELATIONS
       CIRCUIT / COUNTY




                                                                                                                                                                                                                                                                                 TOTAL CIVIL CASES




                                                                                                                                                                                                                                                                                                           TOTAL ALL CASES*




                                                                                                                                                                                                                                                                                                                                                                                                                                               TOTAL ALL CASES*
                                                                           EMINENT DOMAIN




                                                                                                                                                                                                                                                                                                                                                                                                                        RELATIONS CASES
                                                                                                                                                                                                                                                                                                                                                                                                                        TOTAL DOMESTIC




                                                                                                                                                                                                                                                                                                                                                                                                                                                                       AS % OF ALL CASES
                                                                                                                                                                                                                                                                                                                                   CIVIL CASES AS %
                                                                                                                                                                                          MENTAL HEALTH




                                                                                                                                                                                                                                                                                                                                                                                                                                                                       RELATIONS CASES
                                                                                                               LAW NON-JURY




                                                                                                                                                    LAW NON-JURY


                                                                                                                                                                        CORPORATION




                                                                                                                                                                                                                                                  SMALL CLAIMS
                                                                                                                                                                                                               MISC. REMEDY




                                                                                                                                                                                                                                                                                                                                     OF ALL CASES




                                                                                                                                                                                                                                                                                                                                                                      DISSOLUTION
                                         ARBITRATION




                                                                                                                                                                                                                                                                                                                                                                                                       PROTECTION
                                                                                                                                  = < $50,000




                                                                                                                                                      = < $50,000
                                                           CHANCERY




                                                                                                                                                                         MUNICIPAL




                                                                                                                                                                                                                                                                                                                                                      ADOPTION
                                                                                                LAW JURY




                                                                                                                                   LAW JURY




                                                                                                                                                                                                                                                                                                                                                                                                        ORDER OF
                                                                                                                 > $50,000




                                                                                                                                                                                                                                   PROBATE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                           DOMESTIC
                                                                                                >$50,000




                                                                                                                                                                                                                                                                                                                                                                                         FAMILY
                                                                                                                                                                                                                                                                      TAX
1st       New Filed                                    0               3                    0              0                  6                 0              10                     0                    1                  74             16                  59         2                    171       3,002                               5.7                1                 26            18           33                    78        3,002                              2.6
ALEXANDER Reinstated                                   0               0                    0              0                  0                 0                   0                 0                   0                    0             0                    0         0                        0                         1              0.0                 1                  0             0                0                     1                        1        100.0
                           Disposed Of                 0               2                    0              0                  8                 1                   8                 0                   0                   11              6                  48         2                        86     2,477                              3.5                2                 16            4             15                   37         2,477                             1.5
                           End Pending                 0         134                        7         20                 83                     1          300                        1                    1     1,187                  292                923          338       3,287                   38,363                              8.6                44            178           708             691            1,621             38,363                              4.2
1st                        New Filed                   0              41                    2              0             80                     0           228                       2                   10             163             129               416               5    1,076                    7,826                           13.7                  13            170            103            264                 550           7,826                              7.0
JACKSON                    Reinstated                  0               0                    0              0                  1                 0                   2                 0                   0                    0             0                    9         0                        12                       50          24.0                    0                 14            23                1                38                           50           76.0
                           Disposed Of                 0              48                    2          18                77                     4           188                       1                   4              181                 99            438               5    1,065                     7,362                          14.5                  11            192            135            280                 618            7,362                            8.4
                           End Pending                 0              52                    0          25             200                       0           159                       4                    5                  96        426                 166             6       1,139                  4,418                           25.8                   9            120                86            17               232           4,418                              5.3
1st                        New Filed                   0              12                    0              1              11                    0              18                     0                   0              138                 41                  66         2                 289           3,632                             8.0                 6                 43            11           67                 127           3,632                             3.5
JOHNSON                    Reinstated                  0               0                    0              0                  0                 0                   0                 0                   0                    0             0                    0         0                        0                        0               0.0                 0                  0             0                0                     0                       0               0.0
                           Disposed Of                 0              12                    0              9                  7                 0              18                     0                   0               121                19                  81          3                270           3,582                              7.5                1                 48             8           68                 125           3,582                             3.5
                           End Pending                 0              20                    0          11                12                     2              30                     0                   0             164             188                      43         10              480           8,848                               5.4                10                 37            50                9            106          8,848                               1.2
1st                        New Filed                   0              14                    0              0             19                     0              47                     0                   0                   56             32             120             2                 290            7,116                             4.1                6                 63            35           88                192             7,116                            2.7
MASSAC                     Reinstated                  0               0                    0              0                  0                 0                   0                 0                   0                   0              0                    0         0                        0                        0               0.0                 0                  0            0                 0                     0                       0               0.0
                           Disposed Of                 0              15                    0              0                  9                 0              31                     0                   0                   28             19              117            0                  219         7,046                               3.1                2                 55             3           78                138           7,046                              2.0
                           End Pending                 0              79                    0        115                  71                    0           119                       1                    2           409              362                206          118      1,482                      6,655                          22.3                  42            152           190                75               459            6,655                             6.9
1st                        New Filed                   0               6                    0              0                  1                 0                   7                 0                   0                   21             16                  24          1                       76                839                     9.1                1                  9             3            17                   30                    839                    3.6
POPE                       Reinstated                  0               0                    0              0                  0                 0                   0                 0                   0                    0             0                    0         0                        0                        0               0.0                 0                  0             0                0                     0                       0               0.0
                           Disposed Of                 0               6                    0              0                  3                 0                   6                 0                   0                   18              5                  22          1                       61                 953                   6.4                 1                  8             3            13                   25                     953                   2.6
                           End Pending                 0              17                    0              0             10                     1              13                     1                    2                  53             89                  16          5                207                      682                30.4                    0                 13            22                8               43                     682                    6.3
1st                        New Filed                   0               1                    0              0                  3                 0              10                     0                   0                   51             13                  40         2                  120        12,119                               1.0                0                 17             8           23                   48        12,119                             0.4
PULASKI                    Reinstated                  0               0                    0              0                  0                 0                   0                 0                   0                    0             0                    0         0                        0                        0               0.0                 0                  0             0                0                     0                       0               0.0
                           Disposed Of                 0               1                    0              0                  2                 0                   4                 0                   0                    5              5                  17         0                        34   14,840                              0.2                 0                  9             0                7                16       14,840                              0.1
                           End Pending                 0          117                       0          11                78                     3           195                       1                   0              327             377               308          238        1,655                  62,901                               2.6                8             155          307             181                 651          62,901                              1.0
1st                        New Filed                   0               9                    3              0             36                     0           109                       0                   2                   84             54             197             4                498           4,186                           11.9                  30            120                40         207                 397           4,186                              9.5
SALINE                     Reinstated                  0               0                    0              0                  0                 0                   1                 0                   0                    0             0                    0         0                         1                        2          50.0                    0                  0             0                0                     0                        2              0.0
                           Disposed Of                 0              23                    3              0             37                     0              98                     0                    1                  56             33            269              0                 520          4,522                            11.5             114              286             123            178                 701           4,522                            15.5
                           End Pending                 0              47                    0         70              138                       5           320                       0                   16                  67        672                 322         175       1,832                    5,944                          30.8                   10           104             139            167                420            5,944                              7.1
1st                        New Filed                   0              15                    0              0             21                     0              59                     2                   35                  99             54             103              1                389           3,336                           11.7                 4                  70            45           33                 152           3,336                             4.6
UNION                      Reinstated                  0               0                    0              0                  0                 0                   0                 0                   0                    0             0                    0         0                        0                        0               0.0                 0                  0             0                0                     0                       0               0.0
                           Disposed Of                 0              22                    0              1             24                     0              51                     2                   32            106                  65             156              3               462            4,212                          11.0                   3                 79            32           32                146            4,212                             3.5
                           End Pending                 0              12                    0          10                42                     1              42                     0                   4                   17             69                  53          1                  251         2,018                          12.4                   2                 38            38                1                79         2,018                             3.9
1st        New Filed                                   0              58                    0          52             166                       0          294                        0                    2           408               183               626               3     1,792                  16,734                           10.7             106                333            169           442             1,050             16,734                              6.3
WILLIAMSON Reinstated                                  0               0                    0              0                  1                 0                   0                 0                   0                    0             0                   12         0                        13                       14           92.9                   0                  0             1                0                     1                       14              7.1
                           Disposed Of                 0          119                       0          56             140                       0          249                        0                   0             407             169                614              0      1,754                  15,367                           11.4              101              462             195            429            1,187             15,367                              7.7
                           End Pending                 0          152                       0          56             257                       1           168                       0                    2                  67        680                 551             21     1,955                  10,981                           17.8                  23           194             103              32                352          10,981                              3.2
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE




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                                                                      Case: 1:22-cv-06478 Document #: 41-1 Filed: 04/12/23 Page 32 of 203 PageID #:481

CIVIL AND DOMESTIC RELATIONS CASELOAD

                                                                                                                                                                                  CIVIL                                                                                                                                                                                                 DOMESTIC RELATIONS
      CIRCUIT / COUNTY




                                                                                                                                                                                                                                                                                 TOTAL CIVIL CASES




                                                                                                                                                                                                                                                                                                          TOTAL ALL CASES*




                                                                                                                                                                                                                                                                                                                                                                                                                                             TOTAL ALL CASES*
                                                                          EMINENT DOMAIN




                                                                                                                                                                                                                                                                                                                                                                                                                       RELATIONS CASES
                                                                                                                                                                                                                                                                                                                                                                                                                       TOTAL DOMESTIC




                                                                                                                                                                                                                                                                                                                                                                                                                                                                     AS % OF ALL CASES
                                                                                                                                                                                                                                                                                                                                  CIVIL CASES AS %
                                                                                                                                                                                          MENTAL HEALTH




                                                                                                                                                                                                                                                                                                                                                                                                                                                                     RELATIONS CASES
                                                                                                               LAW NON-JURY




                                                                                                                                                    LAW NON-JURY


                                                                                                                                                                        CORPORATION




                                                                                                                                                                                                                                                  SMALL CLAIMS
                                                                                                                                                                                                               MISC. REMEDY




                                                                                                                                                                                                                                                                                                                                    OF ALL CASES




                                                                                                                                                                                                                                                                                                                                                                     DISSOLUTION
                                        ARBITRATION




                                                                                                                                                                                                                                                                                                                                                                                                      PROTECTION
                                                                                                                                  = < $50,000




                                                                                                                                                      = < $50,000
                                                          CHANCERY




                                                                                                                                                                         MUNICIPAL




                                                                                                                                                                                                                                                                                                                                                     ADOPTION
                                                                                                LAW JURY




                                                                                                                                   LAW JURY




                                                                                                                                                                                                                                                                                                                                                                                                       ORDER OF
                                                                                                                 > $50,000




                                                                                                                                                                                                                                   PROBATE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                         DOMESTIC
                                                                                                >$50,000




                                                                                                                                                                                                                                                                                                                                                                                        FAMILY
                                                                                                                                                                                                                                                                      TAX
1st                       New Filed                   0          159                        5          53             343                       0           782                       4                   50   1,094                    538         1,651                   22    4,701                   58,790                             8.0            167               851           432          1,174            2,624              58,790                             4.5
CIRCUIT                   Reinstated                  0              0                     0               0                  2                 0                   3                 0                   0                    0              0                  21         0                        26                      67          38.8                    1                 14            24                1               40                           67           59.7
TOTAL                     Disposed Of                 0        248                          5         84              307                       5           653                       3                   37             933            420        1,762                    14   4,471                    60,361                             7.4           235         1,155                503         1,100             2,993              60,361                             5.0
                          End Pending                 0         630                         7        318              891                  14          1,346                          8                   32   2,387                3,155         2,588                 912      12,288 140,810                                               8.7          148                991       1,643            1,181             3,963 140,810                                        2.8
2nd                       New Filed                   0              19                    0               1             12                     0              45                     0                   4                   58             82             139              1                 361        2,454                           14.7                   5            105                34         195                 339          2,454                           13.8
CRAWFORD                  Reinstated                  0              0                     0               0                  0                 0                   0                 0                   0                    0              1                   3         0                        4                       4       100.0                      0                  0             0                 0                     0                      4               0.0
                          Disposed Of                 0              13                    0               3             14                     0              43                     0                   4                   43             49             120              1                290           2,181                         13.3                   5                 90            17         195                 307            2,181                         14.1
                          End Pending                 0          191                       0           19                38                     0           143                       0                   0              119            603                 154             50      1,317                  3,541                          37.2                  19             119          100                    9            247           3,541                             7.0
2nd                       New Filed                   0               3                    0               1                  0                 0              10                     0                   0                   19             22                  57          1                   113                   793                14.2                  4                  22            10           35                    71                    793                   9.0
EDWARDS                   Reinstated                  0              0                     0               0                  0                 0                   0                 0                   0                    0              0                   0         0                        0                       0               0.0                0                  0             0                 0                     0                      0               0.0
                          Disposed Of                 0               6                    0               0                  1                 0                   9                 0                   0                    8             17                  49          1                       91                778                 11.7                  2                 21            10           35                   68                     778                   8.7
                          End Pending                 0               3                    0               2                  9                 0                   9                 1                    1                  68             73                  36          6               208                       625                33.3                   3                 21            14                0                38                    625                   6.1
2nd                       New Filed                   0              29                    0           25                28                     2           188                       0                    1             110             123               358              28                892          5,788                          15.4                  26             175           116            451                 768           5,788                           13.3
FRANKLIN                  Reinstated                  0              0                     0               0                  0                 0                   0                 0                   0                    0              0                   1         0                         1                       1      100.0                      0                  0             0                 0                     0                       1              0.0
                          Disposed Of                 0              30                    0               4             48                     0           133                       0                   0                   27             52             357             18                669         4,814                           13.9                   7            186                30        448                  671          4,814                           13.9
                          End Pending                 0         524                        0         151              288                  20               861                       2                    5    1,063                   999        1,270                333        5,516                  14,273                          38.6              167               391           948             183            1,689             14,273                          11.8
2nd                       New Filed                   0               9                    0               0                  3                 0                   8                 0                   0                   46             11                  42         23                 142         1,208                          11.8                  14                 23             9           50                   96         1,208                             7.9
GALLATIN                  Reinstated                  0              0                     0               0                  0                 0                   0                 0                   0                    0              0                   0         0                        0                       0               0.0                0                  0              0                0                     0                      0               0.0
                          Disposed Of                 0               6                    0               0                  3                 0                   4                 0                   0                   13              7                  36         13                       82     1,129                             7.3                9                 19            4            47                    79         1,129                            7.0
                          End Pending                 0              47                     1              2             33                     0              64                     5                   0               133            117                125             55                582           1,559                         37.3                  11                 82            80           65                238            1,559                          15.3
2nd                       New Filed                   0               9                    0               0                  5                 0              19                     0                   0                   39             36                  43          1                  152        1,059                         14.4                    3                 30            20            57                110          1,059                          10.4
HAMILTON                  Reinstated                  0              0                     0               0                  0                 0                   0                 0                   0                    0              0                   0         0                        0                       0               0.0                0                  0              0                0                     0                      0               0.0
                          Disposed Of                 0               7                    0               2                  5                 0              19                     0                   0                   16             20                  61          6                  136                   962                 14.1                   6                 33            22           57                 118                     962                 12.3
                          End Pending                 0               9                    0               6              13                    0               11                    2                   0                   47         121                     20          2                  231                   796                29.0                    2                 12            11                2                27                   796                    3.4
2nd                       New Filed                   0               1                    0               0                  0                 0                   8                 0                   0                   25             13                  31          1                       79                635                12.4                  0                  16             5           55                    76                    635                12.0
HARDIN                    Reinstated                  0              0                     0               0                  0                 0                   0                 0                   0                    0              0                   0         0                        0                       0               0.0                0                  0              0                0                     0                      0               0.0
                          Disposed Of                 0               3                    0               1                  2                 0                   9                 0                   0                   19              5                  21          2                       62               566                 11.0                  0                  13            4            44                    61                   566                 10.8
                          End Pending                 0              17                    0               2             14                     0             46                      0                    3                  58             74                  74         38                 326                      775               42.1                  14                 18            62           79                 173                       775               22.3
2nd                       New Filed                   0              21                    0           23                31                     0          144                        0                   0               131            112               548               1      1,011                  4,578                          22.1                  32            156            113            307                608            4,578                           13.3
JEFFERSON                 Reinstated                  0              0                     0               0                  0                 0                   1                 0                   0                    0              0                  13         0                        14                      24           58.3                  0                  4              3                3                10                          24           41.7
                          Disposed Of                 0              45                    0               2             57                     0           112                       0                   0                   84             85            476              0                 861          4,585                          18.8                  24            159                57         301                 541           4,585                          11.8
                          End Pending                 0              73                    18        112                 64                43          1,000                          0                    3            665              517       1,700                199      4,394                    10,770                         40.8                   81            871           437             102            1,491             10,770                          13.8
2nd                       New Filed                   0               9                    0               5                  8                 0              30                     0                   0                   72             42             130             4                 300          1,426                          21.0                   6                 59            41         190                 296           1,426                          20.8
LAWRENCE                  Reinstated                  0              0                     0               0                  0                 0                   0                 0                   0                    0              0                   0         0                        0                       0               0.0                0                  0              0                0                     0                      0               0.0
                          Disposed Of                 0              14                    0               1                  2                 0              15                     0                   0                   59             23             126             0                240            2,153                          11.1                  5                 67            21         201                 294            2,153                          13.7
                          End Pending                 0              51                    0           14                62                     0              65                     1                   4                   87        189                 232         182                   887          2,328                          38.1                  15                 81            80            11               187           2,328                             8.0
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE




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CIVIL AND DOMESTIC RELATIONS CASELOAD

                                                                                                                                                                                   CIVIL                                                                                                                                                                                                  DOMESTIC RELATIONS
      CIRCUIT / COUNTY




                                                                                                                                                                                                                                                                                  TOTAL CIVIL CASES




                                                                                                                                                                                                                                                                                                            TOTAL ALL CASES*




                                                                                                                                                                                                                                                                                                                                                                                                                                                TOTAL ALL CASES*
                                                                           EMINENT DOMAIN




                                                                                                                                                                                                                                                                                                                                                                                                                         RELATIONS CASES
                                                                                                                                                                                                                                                                                                                                                                                                                         TOTAL DOMESTIC




                                                                                                                                                                                                                                                                                                                                                                                                                                                                        AS % OF ALL CASES
                                                                                                                                                                                                                                                                                                                                    CIVIL CASES AS %
                                                                                                                                                                                           MENTAL HEALTH




                                                                                                                                                                                                                                                                                                                                                                                                                                                                        RELATIONS CASES
                                                                                                                LAW NON-JURY




                                                                                                                                                     LAW NON-JURY


                                                                                                                                                                         CORPORATION




                                                                                                                                                                                                                                                   SMALL CLAIMS
                                                                                                                                                                                                                MISC. REMEDY




                                                                                                                                                                                                                                                                                                                                      OF ALL CASES




                                                                                                                                                                                                                                                                                                                                                                       DISSOLUTION
                                        ARBITRATION




                                                                                                                                                                                                                                                                                                                                                                                                        PROTECTION
                                                                                                                                   = < $50,000




                                                                                                                                                       = < $50,000
                                                           CHANCERY




                                                                                                                                                                          MUNICIPAL




                                                                                                                                                                                                                                                                                                                                                       ADOPTION
                                                                                                 LAW JURY




                                                                                                                                    LAW JURY




                                                                                                                                                                                                                                                                                                                                                                                                         ORDER OF
                                                                                                                  > $50,000




                                                                                                                                                                                                                                    PROBATE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                            DOMESTIC
                                                                                                 >$50,000




                                                                                                                                                                                                                                                                                                                                                                                          FAMILY
                                                                                                                                                                                                                                                                       TAX
2nd                       New Filed                   0               14                    0               9                  8                 0             40                      0                   2                   99             57              113             1                343           2,027                          16.9                  22                 70            25         138                 255            2,027                          12.6
RICHLAND                  Reinstated                  0               0                     0               0                  0                 0                   0                 0                   0                    0              0                   0          0                       0                        0               0.0                0                   0            0                 0                     0                       0               0.0
                          Disposed Of                 0                6                    0           12                     5                 3              35                     0                    1             118                 34            100               1                  315         2,376                          13.3                  21                 72            39         140                 272            2,376                          11.4
                          End Pending                 0               33                    0           21                     7                 0              28                     0                    1                  57         212                     75          5                439            1,610                         27.3                  4                  38            29                1                72          1,610                            4.5
2nd                       New Filed                   0                6                    2               0                  5                 0              22                     0                   2                   38             25                  72          2                 174            1,355                        12.8                   2                 41            15         112                 170              1,355                        12.5
WABASH                    Reinstated                  0               0                     0               0                  0                 0                   0                 0                   0                    0              0                  0           0                       0                        0               0.0                0                   0            0                 0                     0                       0               0.0
                          Disposed Of                 0               4                     2               0                  7                 0              22                     0                    1                   8             12                  55          1                  112          1,210                             9.3                1                 41             7           99                148             1,210                         12.2
                          End Pending                 0               75                    0               4             32                     1              76                     0                   2             144             287                 212             49               882            2,596                         34.0                   19                 82        131              73                305            2,596                           11.7
2nd                       New Filed                   0                9                    0               1                  7                 0              37                     0                   0                   53             65            106               2               280           2,678                           10.5                   5                 74            17         105                 201           2,678                              7.5
WAYNE                     Reinstated                  0               0                     0               0                  1                 0                   0                 0                   0                    0              0                  0           0                        1                        3           33.3                  0                   2            0                 0                     2                        3           66.7
                          Disposed Of                 0               18                    0               0             19                     1              62                     0                   0                    8             30                  89          0                 227           2,777                            8.2                 6                 77            19           95                197             2,777                            7.1
                          End Pending                 0               79                    0               5             18                     0              30                     2                   2             243             298                      68     153                  898           5,488                           16.4                  16                 40            18                4                78        5,488                              1.4
2nd                       New Filed                   0               18                    0               1              11                    0              29                     0                   3                   70             36             110              1                279           2,510                           11.1                 10                 57            29         123                 219            2,510                             8.7
WHITE                     Reinstated                  0               0                     0               0                  0                 0                   1                 0                   0                    0              0                   3         0                        4                        6            66.7                   1                  0            0                 0                     1                       6            16.7
                          Disposed Of                 0               17                    0               2                  9                 0              25                     0                   2                   37             40                  95         0                  227          2,417                             9.4                 3                 55            13         119                 190            2,417                             7.9
                          End Pending                 0               64                    0               3             41                     0              39                     4                   2                   44         157                130             24                508           6,673                              7.6               15                 58            85                7            165            6,673                             2.5
2nd                       New Filed                   0          147                        2          66               118                      2          580                        0                   12            760             624        1,749                    66    4,126                   26,511                           15.6             129               828            434         1,818             3,209              26,511                            12.1
CIRCUIT                   Reinstated                  0                0                    0               0                  1                 0                   2                 0                   0                    0              1                  20          0                       24                       38           63.2                   1                  6             3                3                13                           38           34.2
TOTAL                     Disposed Of                 0          169                        2           27              172                      4          488                        0                   8            440              374        1,585                    43      3,312                 25,948                           12.8                  89            833           243          1,781            2,946              25,948                           11.4
                          End Pending                 0     1,166                           19        341              619                  64          2,372                      17                      23   2,728               3,647          4,096               1,096      16,188                   51,034                            31.7            366        1,813             1,995               536            4,710             51,034                              9.2
3rd                       New Filed                   0                9                    0               2                  4                 0              35                     0                    1                  60             58             123              1                 293         4,245                              6.9                 7                 60            21         153                 241           4,245                              5.7
BOND                      Reinstated                  0                0                    0               0                  0                 0                   0                 0                   0                    0              0                   0          0                       0                         1              0.0                0                   0            0                 0                     0                        1              0.0
                          Disposed Of                 0                1                    0               0                  2                 0                   6                 0                   0                    3             10                  28          0                       50   4,045                                1.2                5                 56            12          111                184          4,045                               4.5
                          End Pending                  1          221                        1              0         408                        0           413                       3              101                823             660         1,165                   70   3,866                    11,037                           35.0                  11           278            392               53                734          11,037                              6.7
3rd                       New Filed              521            248                          5              0      1,588                         0           639                       6             328         1,283                    723      2,481                     30    7,852                   50,061                           15.7              163       1,014                  611        1,604              3,392             50,061                              6.8
MADISON                   Reinstated                  12               1                    0           12                     5                 0                   1                 0                   0                    1             12                  21          0                       65                639                 10.2                  0                  14            9                 4                27                    639                    4.2
                          Disposed Of            527             332                         3       658               602                       3          424                        1             214         1,147                   549       2,448                     28   6,936                    55,093                           12.6              165      1,144                  692          1,726             3,727             55,093                              6.8
                          End Pending            322             914                        10     2,987           3,521                         4      1,784                      15                456         1,334              4,062          3,746                 640      19,795                   71,087                           27.8                  54             531           519            340           1,444              71,087                              2.0
3rd                       New Filed              521             257                         5              2      1,592                         0          674                        6             329         1,343                    781      2,604                     31    8,145                   54,306                           15.0             170       1,074                  632          1,757             3,633             54,306                              6.7
CIRCUIT                   Reinstated                  12               1                    0           12                     5                 0                   1                 0                   0                    1             12                  21          0                       65               640                  10.2                  0                  14            9                 4                27                   640                     4.2
TOTAL                     Disposed Of            527              333                        3       658               604                       3          430                        1             214          1,150                  559       2,476                     28   6,986                    59,138                           11.8             170       1,200                  704          1,837             3,911             59,138                              6.6
                          End Pending            323        1,135                           11     2,987           3,929                         4      2,197                     18                  557         2,157             4,722           4,911                710      23,661                   82,124                          28.8                   65           809             911            393            2,178             82,124                              2.7
4th                       New Filed                   0               17                    0               0             25                     0           118                       3                   9               211            131               822               2     1,338                  4,809                            27.8                  20            124                67         401                 612          4,809                            12.7
CHRISTIAN                 Reinstated                  0                1                    0               0                  0                 0                   2                 0                   0                    2              1                  11          0                       17                       23           73.9                  0                   1             1                1                     3                       23           13.0
                          Disposed Of                 0               23                    0               2             40                     1              83                     3                   8              143             277               728               0    1,308                    4,726                           27.7                  18                 86            61         396                 561           4,726                            11.9
                          End Pending                 0               68                     1              8             45                     2              73                14                       0              381             727                316             16      1,651                  5,858                          28.2                   16           194             635                   7            852           5,858                           14.5
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE




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                                                                       Case: 1:22-cv-06478 Document #: 41-1 Filed: 04/12/23 Page 34 of 203 PageID #:483

CIVIL AND DOMESTIC RELATIONS CASELOAD

                                                                                                                                                                                   CIVIL                                                                                                                                                                                                 DOMESTIC RELATIONS
       CIRCUIT / COUNTY




                                                                                                                                                                                                                                                                                  TOTAL CIVIL CASES




                                                                                                                                                                                                                                                                                                           TOTAL ALL CASES*




                                                                                                                                                                                                                                                                                                                                                                                                                                              TOTAL ALL CASES*
                                                                           EMINENT DOMAIN




                                                                                                                                                                                                                                                                                                                                                                                                                        RELATIONS CASES
                                                                                                                                                                                                                                                                                                                                                                                                                        TOTAL DOMESTIC




                                                                                                                                                                                                                                                                                                                                                                                                                                                                      AS % OF ALL CASES
                                                                                                                                                                                                                                                                                                                                   CIVIL CASES AS %
                                                                                                                                                                                           MENTAL HEALTH




                                                                                                                                                                                                                                                                                                                                                                                                                                                                      RELATIONS CASES
                                                                                                                LAW NON-JURY




                                                                                                                                                     LAW NON-JURY


                                                                                                                                                                         CORPORATION




                                                                                                                                                                                                                                                   SMALL CLAIMS
                                                                                                                                                                                                                MISC. REMEDY




                                                                                                                                                                                                                                                                                                                                     OF ALL CASES




                                                                                                                                                                                                                                                                                                                                                                      DISSOLUTION
                                         ARBITRATION




                                                                                                                                                                                                                                                                                                                                                                                                       PROTECTION
                                                                                                                                   = < $50,000




                                                                                                                                                       = < $50,000
                                                           CHANCERY




                                                                                                                                                                          MUNICIPAL




                                                                                                                                                                                                                                                                                                                                                      ADOPTION
                                                                                                 LAW JURY




                                                                                                                                    LAW JURY




                                                                                                                                                                                                                                                                                                                                                                                                        ORDER OF
                                                                                                                  > $50,000




                                                                                                                                                                                                                                    PROBATE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                          DOMESTIC
                                                                                                 >$50,000




                                                                                                                                                                                                                                                                                                                                                                                         FAMILY
                                                                                                                                                                                                                                                                       TAX
4th                        New Filed                   0              10                    0               0             10                     0              27                     0                   0                   53             30             141             2                  273          1,530                         17.8                   5                 48            23          117                193            1,530                         12.6
CLAY                       Reinstated                  0               0                    0               0                  0                 0                   0                 0                   0                    0              0                   0         0                        0                       0               0.0                 0                  0             0                0                     0                      0               0.0
                           Disposed Of                 0              13                    0               1                  9                 0              15                     0                   0                   25             27             126             2                  218         1,467                          14.9                  4                  44            10         109                 167           1,467                          11.4
                           End Pending                 0              17                    0               8             14                     1              26                     0                   0                   50             73                  79         8                  276                   946                  29.2                   5                 58            45           14                122                     946                  12.9
4th                        New Filed                   0              12                    0               7             20                     0              74                     0                   0              130            108                 210             2                  563        2,980                           18.9                  10            103                32         106                  251         2,980                             8.4
CLINTON                    Reinstated                  0               0                    0               0                  0                 0                   0                 0                   0                    0              0                   0         0                        0                       0               0.0                 0                  0             0                0                     0                      0               0.0
                           Disposed Of                 0              22                    0               3             38                     0            113                      0                   0                   45             68            241              2                  532         2,785                          19.1                  4                  83            12         105                204            2,785                             7.3
                           End Pending                 0              29                    0          30                 27                     4              38                     0                    1            302             794                 126             10      1,361                  3,768                          36.1                   9           226            168                    2            405           3,768                          10.7
4th                        New Filed                   0              11                     1              1             61                     0              66                     0                   0             190              123               368               1                822           5,162                         15.9                  15            102                45         161                 323            5,162                            6.3
EFFINGHAM                  Reinstated                  0               3                    0               0                  0                 0                   6                 0                   0                    0              2                   1         0                        12                      14           85.7                   0                  1             0                0                     1                      14              7.1
                           Disposed Of                 0              27                    0               3             42                     0              70                     0                   0              192            106                338              2                 780         4,622                           16.9                   8            114                82         151                 355          4,622                              7.7
                           End Pending                 0              17                    2          38                 89                     0              53                     4                    3                  77        398                 191              3                 875        10,156                             8.6                 8                 69            44                8            129          10,156                             1.3
4th                        New Filed                   0              19                    0               0              11                    0             46                      2                   4             142                  73             195             2               494            5,227                              9.5               10           100                 49         150                 309           5,227                             5.9
FAYETTE                    Reinstated                  0              0                     0               0                  0                 0                   0                 0                   0                   0               0                   0         0                        0                       0               0.0                 0                  0             0                0                     0                      0               0.0
                           Disposed Of                 0              21                    0               0                  5                 0              31                     1                    5                  64             67            184              0                 378         6,088                              6.2                10           100                 47         143                 300          6,088                              4.9
                           End Pending                 0              49                    0           19               44                      2              87                 12                       2              517           270                160              56     1,218                  5,485                           22.2                   7            125                69            19               220          5,485                             4.0
4th                        New Filed                   0               5                    0               0                  2                 0              20                     0                    0                  31             33                  57          1                149          1,093                          13.6                   1                 40            17           50                108           1,093                             9.9
JASPER                     Reinstated                  0               0                    0               0                  0                 0                   0                 0                    0                   0              0                   0         0                        0                       0               0.0                 0                  0             0                0                     0                      0               0.0
                           Disposed Of                 0               8                    0               1                  4                 0              20                     0                    1                  13             12                  51         0                   110       1,080                           10.2                   1                 22             7           41                    71       1,080                              6.6
                           End Pending                 0              12                    0               2             10                     0              17                     0                   0              110            145                      48         14                 358        1,094                           32.7                   5                 52            41           26                124          1,094                            11.3
4th                        New Filed                   0              26                    11          21                 17                    1            131                      0                   64            222              158                 351             1    1,003                    6,218                           16.1                 18             151           112            265                 546           6,218                             8.8
MARION                     Reinstated                  0               0                    0               0                  5                 0                   0                 0                    0                   0              2                  15         0                        22                      27           81.5                   0                  0             4                1                     5                      27           18.5
                           Disposed Of                 0              40                    9               2            44                      2              85                     0                   60                  67         112               329               1                  751        5,958                          12.6                  19            170            135            274                 598           5,958                          10.0
                           End Pending                 0              60                    0          86                 14                     3              93                     0                    5             319            546                214              6     1,346                    5,128                          26.2                  16                 95            66                4             181          5,128                             3.5
4th                        New Filed                   0              18                    0               4             24                     0              75                     0                    3             153                 93             221              1                 592         7,598                              7.8               14            101                57         305                 477           7,598                             6.3
MONTGOMERY                 Reinstated                  0               0                    0               0                  0                 0                   0                 0                   0                    0              0                   2         0                         2                       2       100.0                      0                  0             0                0                     0                       2              0.0
                           Disposed Of                 0              23                    0               4              31                    0              71                     0                    2                  77             70             195             0                 473           7,011                             6.7                8                 78            50         305                 441            7,011                            6.3
                           End Pending                 0              74                    0           16                48                     0              91                     2                   13             413           444                  314             17    1,432                   8,980                           15.9                  15            120            158              25                318          8,980                              3.5
4th                        New Filed                   0              14                    0           11                     5                 0              32                     0                   0                   91             83             132              1                369          1,708                          21.6                  13                 84            33         143                 273           1,708                          16.0
SHELBY                     Reinstated                  0               0                    0               0                  0                 0                   0                 0                   0                    0              0                   0         0                        0                       0               0.0                 0                  0             0                0                     0                      0               0.0
                           Disposed Of                 0              11                    0               0             16                     0              30                     0                   0                   78             49             134             0                  318         1,473                          21.6                   9                 75            22         129                 235           1,473                          16.0
                           End Pending                 0              41                    0           21                 11                    0              27                     0                   0                   39        286                      71         8                504            1,722                         29.3                   7                 66            41           16                130            1,722                            7.5
4th                        New Filed                   0          132                       12         44               175                      1           589                       5                   80    1,223                   832       2,497                     13    5,603                   36,325                          15.4             106                853           435         1,698             3,092              36,325                             8.5
CIRCUIT                    Reinstated                  0              4                     0               0                  5                 0                   8                 0                   0                    2              5                  29         0                        53                      66          80.3                    0                  2             5                2                     9                      66           13.6
TOTAL                      Disposed Of                 0         188                        9           16             229                       3           518                       4                   76            704             788        2,326                     7   4,868                    35,210                          13.8                  81            772           426          1,653             2,932             35,210                             8.3
                           End Pending                 0         367                        3        228               302                  12               505                  32                       24   2,208               3,683            1,519               138       9,021                   43,137                         20.9                   88   1,005              1,267               121           2,481              43,137                             5.8
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE




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CIVIL AND DOMESTIC RELATIONS CASELOAD

                                                                                                                                                                                  CIVIL                                                                                                                                                                                                 DOMESTIC RELATIONS
      CIRCUIT / COUNTY




                                                                                                                                                                                                                                                                                  TOTAL CIVIL CASES




                                                                                                                                                                                                                                                                                                           TOTAL ALL CASES*




                                                                                                                                                                                                                                                                                                                                                                                                                                              TOTAL ALL CASES*
                                                                          EMINENT DOMAIN




                                                                                                                                                                                                                                                                                                                                                                                                                       RELATIONS CASES
                                                                                                                                                                                                                                                                                                                                                                                                                       TOTAL DOMESTIC




                                                                                                                                                                                                                                                                                                                                                                                                                                                                     AS % OF ALL CASES
                                                                                                                                                                                                                                                                                                                                  CIVIL CASES AS %
                                                                                                                                                                                          MENTAL HEALTH




                                                                                                                                                                                                                                                                                                                                                                                                                                                                     RELATIONS CASES
                                                                                                               LAW NON-JURY




                                                                                                                                                    LAW NON-JURY


                                                                                                                                                                        CORPORATION




                                                                                                                                                                                                                                                  SMALL CLAIMS
                                                                                                                                                                                                               MISC. REMEDY




                                                                                                                                                                                                                                                                                                                                    OF ALL CASES




                                                                                                                                                                                                                                                                                                                                                                     DISSOLUTION
                                        ARBITRATION




                                                                                                                                                                                                                                                                                                                                                                                                      PROTECTION
                                                                                                                                  = < $50,000




                                                                                                                                                      = < $50,000
                                                          CHANCERY




                                                                                                                                                                         MUNICIPAL




                                                                                                                                                                                                                                                                                                                                                     ADOPTION
                                                                                                LAW JURY




                                                                                                                                   LAW JURY




                                                                                                                                                                                                                                                                                                                                                                                                       ORDER OF
                                                                                                                 > $50,000




                                                                                                                                                                                                                                   PROBATE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                         DOMESTIC
                                                                                                >$50,000




                                                                                                                                                                                                                                                                                                                                                                                        FAMILY
                                                                                                                                                                                                                                                                      TAX
5th                       New Filed                   0              13                    0               0             14                     0              36                     0                    0                  55             49            149               1                   317         1,861                        17.0                   7                 59            24           67                 157            1,861                          8.4
CLARK                     Reinstated                  0               0                    0               0                  0                 0                   0                 0                    0                  0               0                   3         0                         3                       3      100.0                      0                   0            0                 0                     0                       3              0.0
                          Disposed Of                 0              12                    0               0             15                     0              32                     0                    0                  39             61             162              2                  323         1,928                         16.8                   3                 50            14           60                 127           1,928                            6.6
                          End Pending                 0              53                     1          21                63                     3           101                       0                    1             101             318              244               17                  923         3,739                        24.7                   12                 70            98           68               248             3,739                            6.6
5th                       New Filed                   0              44                    0               0             43                     0          268                        0             100                  471             118               479               3      1,526                   7,354                        20.8                   71            190            138            355                 754            7,354                         10.3
COLES                     Reinstated                  0               0                    0               0                  0                 0                   0                 0                    0                  0              0                   0          0                         0                       0              0.0                0                   0            0                 0                     0                       0              0.0
                          Disposed Of                 0               2                    0               2             10                     0              67                     1                   71             235                  3            384              0                   775        5,688                          13.6                   2            145                0          387                 534           5,688                             9.4
                          End Pending                 0         483                        6           72             374                       9      1,868                          4                   83   1,866                     913        2,731               195      8,604                    25,241                          34.1            480                 787       1,394               483           3,144              25,241                          12.5
5th                       New Filed                   0              14                    0               0                  7                 0              36                     0                    0                  20             31                  83          1                  192        1,458                          13.2                   3                 46            20            51               120            1,458                            8.2
CUMBERLAND Reinstated                                 0               0                    0               0                  0                 0                   0                 0                    0                  0               0                  0          0                         0                       0              0.0                0                   0            0                 0                     0                       0              0.0
                          Disposed Of                 0               2                    0               1                  2                 0              21                     0                    0                  12             13                  68         0                    119        1,203                            9.9                0                  42             7           47                   96          1,203                            8.0
                          End Pending                 0          157                       0           21                67                     3          204                        0                   4              231            436                394              76      1,593                   5,140                         31.0                  37             177           176            158                 548            5,140                         10.7
5th                       New Filed                   0              12                    0               0             14                     0              50                     0                    0                  80             77             138              1                  372         1,902                         19.6                   7                 77            37           91                212            1,902                          11.1
EDGAR                     Reinstated                  0               0                    0               0                  0                 0                   0                 0                    0                  0               0                  0          0                         0                       1              0.0                0                   1            0                 0                     1                       1        100.0
                          Disposed Of                 0               0                    0               0                  0                 0                   7                 0                    0                  30             30                  51         0                    118        1,656                             7.1               6                  62            14           96                178            1,656                         10.7
                          End Pending                 0          151                        2         40                 87                     0           390                  57                        0            347             627                818              42      2,561                  4,970                           51.5                 18                 62            59           29                168           4,970                             3.4
5th                       New Filed                   2              68                     6         43                  31                    7          620                        3                   4             636             259               694                3     2,376                  13,891                           17.1                 32            326           228             763            1,349             13,891                             9.7
VERMILION                 Reinstated                  0               0                    0               0                  0                 0                   0                 0                    0                  0               0                  0          0                         0                  177                 0.0                0                   0            0                 0                     0                  177                 0.0
                          Disposed Of                 2               8                    0           15                24                10               263                       1                    2                  98             34           694               0         1,151               12,223                             9.4                 5            150                12         665                 832          12,223                             6.8
                          End Pending                 1         576                        25          77            488               -101            2,898                          7                   84    3,158              3,209           2,778                153      13,353                   33,116                         40.3              140         1,355             1,831              986            4,312             33,116                          13.0
5th                       New Filed                   2          151                       6          43              109                       7      1,010                          3             104         1,262                   534        1,543                     9    4,783                   26,466                          18.1             120               698            447          1,327             2,592             26,466                             9.8
CIRCUIT                   Reinstated                  0               0                    0               0                  0                 0                   0                 0                    0                  0              0                    3         0                         3                  181                  1.7               0                   1            0                 0                     1                  181                 0.6
TOTAL                     Disposed Of                 2              24                    0           18                51                10               390                       2                   73            414              141       1,359                     2   2,486                    22,698                          11.0                  16          449                  47      1,255             1,767             22,698                             7.8
                          End Pending                 1   1,420                            34        231          1,079                  -86           5,461                     68                  172        5,703              5,503          6,965                 483      27,034                   72,206                          37.4             687        2,451             3,558           1,724             8,420              72,206                           11.7
6th                       New Filed                   0              79                     1              0          184                       0          870                        4                   97     1,118                  344       1,209                 108      4,014                    20,619                          19.5                  73            595           307         1,097             2,072              20,619                          10.0
CHAMPAIGN                 Reinstated                  0               0                    0               0                  0                 1                   0                 0                    0                   3              1                   1         0                         6                630                    1.0               0                   2             6                1                     9                630                   1.4
                          Disposed Of                 0         108                        0           75                     8            85                  26                     0                    0             722            201        1,027                    0      2,252                  19,774                          11.4                  59           543             155         1,107            1,864              19,774                             9.4
                          End Pending                 0   1,268                            16        195          1,226                    24          4,621                     12                  173        2,514              2,105          3,874                 790      16,818                   30,476                          55.2                  78   1,549              4,248           1,402              7,277             30,476                          23.9
6th                       New Filed                   0              13                    0               0             13                     0             40                      0                    0                  56             55             110              1                288           1,929                         14.9                  4                  57            27         154                 242            1,929                         12.5
DEWITT                    Reinstated                  0               0                    0               0                  0                 0                   0                 0                    0                  0              0                   0          0                         0                       0              0.0                0                   0            0                 0                     0                       0              0.0
                          Disposed Of                 0               8                    0               2              11                    0              25                     0                    0                  22             53                  98          1                 220         2,000                          11.0                   3                 64            15         147                 229           2,000                           11.5
                          End Pending                 0              49                     5              5             68                     0              55                     1                    1            818              313               108              55     1,478                   3,046                         48.5                   10                 44            36                8               98         3,046                             3.2
6th                       New Filed                   0               8                    0               7                  4                 0              32                     0                    0                  61             67            140               1                 320          2,769                         11.6                  0                  49            30         102                  181           2,769                            6.5
DOUGLAS                   Reinstated                  0               0                    0               0                  0                 0                   0                 0                    0                  0               0                   7         0                         7                       7      100.0                      0                   0            0                 0                     0                       7              0.0
                          Disposed Of                 0              15                    0               2                  1                 1              26                     0                    0                  56             36             129              3                 269           2,721                           9.9                0                  41            19         100                 160             2,721                           5.9
                          End Pending                 0              28                    0           22                10                     0              36                     0                    0                  23         185               108               3                  415         3,503                         11.8                   7                 76            45                2            130            3,503                            3.7
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE




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                                                                      Case: 1:22-cv-06478 Document #: 41-1 Filed: 04/12/23 Page 36 of 203 PageID #:485

CIVIL AND DOMESTIC RELATIONS CASELOAD

                                                                                                                                                                                  CIVIL                                                                                                                                                                                                  DOMESTIC RELATIONS
      CIRCUIT / COUNTY




                                                                                                                                                                                                                                                                                 TOTAL CIVIL CASES




                                                                                                                                                                                                                                                                                                           TOTAL ALL CASES*




                                                                                                                                                                                                                                                                                                                                                                                                                                               TOTAL ALL CASES*
                                                                          EMINENT DOMAIN




                                                                                                                                                                                                                                                                                                                                                                                                                        RELATIONS CASES
                                                                                                                                                                                                                                                                                                                                                                                                                        TOTAL DOMESTIC




                                                                                                                                                                                                                                                                                                                                                                                                                                                                       AS % OF ALL CASES
                                                                                                                                                                                                                                                                                                                                   CIVIL CASES AS %
                                                                                                                                                                                          MENTAL HEALTH




                                                                                                                                                                                                                                                                                                                                                                                                                                                                       RELATIONS CASES
                                                                                                               LAW NON-JURY




                                                                                                                                                    LAW NON-JURY


                                                                                                                                                                        CORPORATION




                                                                                                                                                                                                                                                  SMALL CLAIMS
                                                                                                                                                                                                               MISC. REMEDY




                                                                                                                                                                                                                                                                                                                                     OF ALL CASES




                                                                                                                                                                                                                                                                                                                                                                      DISSOLUTION
                                        ARBITRATION




                                                                                                                                                                                                                                                                                                                                                                                                       PROTECTION
                                                                                                                                  = < $50,000




                                                                                                                                                      = < $50,000
                                                          CHANCERY




                                                                                                                                                                         MUNICIPAL




                                                                                                                                                                                                                                                                                                                                                      ADOPTION
                                                                                                LAW JURY




                                                                                                                                   LAW JURY




                                                                                                                                                                                                                                                                                                                                                                                                        ORDER OF
                                                                                                                 > $50,000




                                                                                                                                                                                                                                   PROBATE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                           DOMESTIC
                                                                                                >$50,000




                                                                                                                                                                                                                                                                                                                                                                                         FAMILY
                                                                                                                                                                                                                                                                      TAX
6th                       New Filed                   0              78                    2               4          122                       0           635                       2                   20    1,063                   340                902               1     3,169                  17,297                           18.3                  80          404             305             959            1,748             17,297                           10.1
MACON                     Reinstated                  0               0                    0               0                  0                 0                   0                 0                   0                    0              0                   3         0                         3                       6           50.0                   0                  0              2                0                     2                       6            33.3
                          Disposed Of                 0          113                       2               0             86                     0          468                        0                   20            819             220                910              0     2,638                   15,035                           17.5                  72            363           189             810           1,434              15,035                              9.5
                          End Pending                 0          122                       0          88              307                       0           705                  27                       13             977       1,914             1,117                  19    5,289                   18,272                          28.9                   53           569        1,263               354            2,239             18,272                           12.3
6th                       New Filed                   0               9                    0               1                  2                 0              22                     0                    1                  45             58                  76          1                  215         1,398                          15.4                   2                 47            13           60                122            1,398                             8.7
MOULTRIE                  Reinstated                  0               0                    0               0                  0                 0                   1                 0                   0                    1              1                  0          0                         3                       6           50.0                   0                   3             0                0                     3                       6            50.0
                          Disposed Of                 0              12                    0               1                  4                 0              21                     0                   0                   34             27                  52         0                    151          1,331                         11.3                  1                 46            10           55                 112             1,331                          8.4
                          End Pending                 0              17                    0               3                  5                 1              14                     0                    1                  28        206                      64          7                346            1,196                        28.9                    2                 36            24                5                67          1,196                            5.6
6th                       New Filed                   0              4                     0               0             12                     0              30                     0                    1                  93             53                  87          3                283           1,476                          19.2                   3                 39            20         121                 183            1,476                          12.4
PIATT                     Reinstated                  0               0                    0               0                  0                 0                   0                 0                   0                   0               0                  0          0                        0                        0               0.0                0                  0              0                0                     0                       0               0.0
                          Disposed Of                 0               5                    0               4                  2                 0              21                     0                   0                   45             29                  87          1                194            1,397                         13.9                   2                 36             7           55                100             1,397                            7.2
                          End Pending                 0         138                        2           14                43                     1              28                     0                    1                  65        492                 375             28     1,187                     3,216                         36.9                  8             219           230               55                 512            3,216                         15.9
6th                       New Filed                   0          191                       3           12             337                       0      1,629                          6              119       2,436                     917      2,524                 115      8,289                    45,488                           18.2             162         1,191                702         2,493             4,548              45,488                           10.0
CIRCUIT                   Reinstated                  0               0                    0               0                  0                 1                   1                 0                   0                   4               2                  11         0                        19               649                     2.9                0                   5             8                1                14                   649                     2.2
TOTAL                     Disposed Of                 0         261                        2          84               112                 86               587                       0                   20   1,698                    566       2,303                      5    5,724                   42,258                           13.5              137       1,093                  395        2,274             3,899              42,258                              9.2
                          End Pending                 0   1,622                            23        327          1,659                    26          5,459                     40                 189        4,425                5,215         5,646                 902      25,533                   59,709                          42.8              158       2,493              5,846           1,826          10,323                59,709                            17.3
7th                       New Filed                   0              11                    0               5                  4                 0              42                     0                   8                   59             43             110              1                283            1,910                         14.8                  0                  46            23         136                 205             1,910                         10.7
GREENE                    Reinstated                  0               0                    0               0                  0                 0                   0                 0                   0                   0               0                  0          0                        0                        11              0.0                0                  0              0                0                     0                       11              0.0
                          Disposed Of                 0              14                    0               6                  7                 0              39                     0                   8                   60             57             118              1                 310         2,029                           15.3                   5                 58            23         132                 218           2,029                           10.7
                          End Pending                 0               8                    0           11                14                     0              16                     0                   0                    5             64                  71         14                203            1,031                         19.7                  0                  26            24            11                   61          1,031                            5.9
7th                       New Filed                   0              16                    0               0             24                     0              46                     0                   8                   85             68            228              12               487             5,533                            8.8                20                 72            39         133                 264             5,533                           4.8
JERSEY                    Reinstated                  0               0                    0               0                  0                 0                   0                 0                   0                   0               0                  0          0                        0                        0               0.0                0                  0              0                0                     0                       0               0.0
                          Disposed Of                 0              17                    0               2             19                     0              41                     0                    3                  37             55             175              7                 356         4,708                               7.6               13                 51            21         135                 220           4,708                              4.7
                          End Pending                 0              25                    0               8             62                     1             44                      0                   10                  64        438                 134             20               806           4,559                           17.7                   9                 60            44           19                 132          4,559                              2.9
7th                       New Filed                   0              23                    0               7              11                    0           108                       1                   19            124              150               421               1                865          8,019                           10.8                  23           146                 75         410                 654           8,019                              8.2
MACOUPIN                  Reinstated                  0               0                    0               0                  0                 0                   0                 0                   0                   0               0                  0          0                        0                        2               0.0                0                  0              0                2                     2                       2         100.0
                          Disposed Of                 0              40                    0               0             20                     0              89                     0                   0             100                  87           443               0                  779         7,508                          10.4                   14            163                66         431                 674           7,508                              9.0
                          End Pending                 0              55                     1         68                 54                     3           150                  22                       78             167            950        1,360                    21    2,929                   13,262                           22.1                  25           140             567            270           1,002              13,262                              7.6
7th                       New Filed                   0              23                    0               8             18                     0           118                       0                   0             146              121                371              1               806             3,318                        24.3                    7            130                65         282                484              3,318                         14.6
MORGAN                    Reinstated                  0               0                    0               0                  0                 0                   0                 0                   0                   0               0                  0          0                        0                        9               0.0                0                  0              0                0                     0                       9               0.0
                          Disposed Of                 0              32                    0           10                18                     0           118                       2                   0                   99             88            398              4                 769           3,303                          23.3                  8            140                 59         252                 459            3,303                          13.9
                          End Pending                 0              27                    0           25                29                     0              54                     0                   0              103             757               686               7    1,688                      3,127                        54.0                    6            101                85           32                224             3,127                            7.2
7th                       New Filed                   0         145                         3        116              106                  18           1,336                         1             387           1,711                  727      4,202                      2    8,754                   38,816                           22.6             104               659            455         2,429             3,647              38,816                              9.4
SANGAMON Reinstated                                   0               0                    0               0                  0                 0                   0                 0                   0                   0               0                  0          0                        0                        0               0.0                0                  0              0                0                     0                       0               0.0
                          Disposed Of                 0        248                          3        152                 51                19           1,139                         1            428          1,961               1,151          7,186                     9   12,348                   60,072                          20.6              140       1,420              1,228           2,899             5,687              60,072                              9.5
                          End Pending                 0    2,511                           9         574              980               649            3,696                     16                       30   3,899               6,388          17,815              1,092      37,659                   78,234                          48.1              129       1,807              3,057               372            5,365             78,234                              6.9
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE




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CIVIL AND DOMESTIC RELATIONS CASELOAD

                                                                                                                                                                                   CIVIL                                                                                                                                                                                                   DOMESTIC RELATIONS
       CIRCUIT / COUNTY




                                                                                                                                                                                                                                                                                   TOTAL CIVIL CASES




                                                                                                                                                                                                                                                                                                             TOTAL ALL CASES*




                                                                                                                                                                                                                                                                                                                                                                                                                                                 TOTAL ALL CASES*
                                                                           EMINENT DOMAIN




                                                                                                                                                                                                                                                                                                                                                                                                                          RELATIONS CASES
                                                                                                                                                                                                                                                                                                                                                                                                                          TOTAL DOMESTIC




                                                                                                                                                                                                                                                                                                                                                                                                                                                                         AS % OF ALL CASES
                                                                                                                                                                                                                                                                                                                                     CIVIL CASES AS %
                                                                                                                                                                                           MENTAL HEALTH




                                                                                                                                                                                                                                                                                                                                                                                                                                                                         RELATIONS CASES
                                                                                                                LAW NON-JURY




                                                                                                                                                     LAW NON-JURY


                                                                                                                                                                         CORPORATION




                                                                                                                                                                                                                                                   SMALL CLAIMS
                                                                                                                                                                                                                MISC. REMEDY




                                                                                                                                                                                                                                                                                                                                       OF ALL CASES




                                                                                                                                                                                                                                                                                                                                                                        DISSOLUTION
                                         ARBITRATION




                                                                                                                                                                                                                                                                                                                                                                                                         PROTECTION
                                                                                                                                   = < $50,000




                                                                                                                                                       = < $50,000
                                                           CHANCERY




                                                                                                                                                                          MUNICIPAL




                                                                                                                                                                                                                                                                                                                                                        ADOPTION
                                                                                                 LAW JURY




                                                                                                                                    LAW JURY




                                                                                                                                                                                                                                                                                                                                                                                                          ORDER OF
                                                                                                                  > $50,000




                                                                                                                                                                                                                                    PROBATE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                             DOMESTIC
                                                                                                 >$50,000




                                                                                                                                                                                                                                                                                                                                                                                           FAMILY
                                                                                                                                                                                                                                                                       TAX
7th                        New Filed                   0               5                    0               0                  1                 0              12                     0                   0                   11             29                  35         4                         97              844                    11.5                  2                 22            10           24                    58                  844                      6.9
SCOTT                      Reinstated                  0              0                     0               0                  0                 0                   0                 0                   0                   0               0                  0          0                         0                        0               0.0                0                  0              0                0                     0                       0               0.0
                           Disposed Of                 0               2                    0               1                  1                 0                   8                 0                   0                    6             4                   38         0                         60                768                     7.8                2                 12             0           19                    33                    768                    4.3
                           End Pending                 0              19                    0               2          150                       1              33                     0                    1                  80        203                106              19                 614            1,616                        38.0                    7                 70            83            12                172            1,616                         10.6
7th                        New Filed                   0         223                         3        136              164                  18          1,662                          2             422         2,136               1,138          5,367                    21   11,292                    58,440                           19.3              156       1,075                 667         3,414              5,312             58,440                              9.1
CIRCUIT                    Reinstated                  0              0                     0               0                  0                 0                   0                 0                   0                   0               0                  0          0                         0                        22              0.0                0                  0              0                2                     2                       22              9.1
TOTAL                      Disposed Of                 0          353                        3        171               116                 19          1,434                          3             439        2,263               1,442          8,358                     21   14,622                    78,388                           18.7             182       1,844              1,397           3,868              7,291             78,388                              9.3
                           End Pending                 0   2,645                            10       688           1,289                 654            3,993                     38                  119       4,318               8,800          20,172              1,173      43,899 101,829                                             43.1              176      2,204              3,860               716           6,956 101,829                                          6.8
8th                        New Filed                   0              43                    0               4             55                     0           256                       0             465                  291            208         1,137                   2      2,461                   10,457                           23.5                  58           262             179            561           1,060              10,457                           10.1
ADAMS                      Reinstated                  0              0                      1              3                  0                 0                   0                 0                   0                   10              0                  0           3                        17                       20          85.0                   0                  0              3                0                     3                       20           15.0
                           Disposed Of                 0              25                    0               0             29                     0           195                       0            384                   173             157              988               0        1,951                 11,182                           17.4                  52           299             166            528           1,045              11,182                              9.3
                           End Pending                 0              72                     1          19             147                       0           236                       3              153                 137            709        1,198                    25    2,700                      7,128                          37.9                  16            138            143              46                343            7,128                            4.8
8th                        New Filed                   0               2                    0               2                  5                 0              10                     0                   0                   31             19                  63         2                   134          1,003                          13.4                   1                 16             6           44                    67         1,003                             6.7
BROWN                      Reinstated                  0               1                    0               0                  0                 0                   0                 0                   0                   0               0                  0          0                          1                        1      100.0                      0                  0              0                0                     0                        1              0.0
                           Disposed Of                 0               2                    0               2                  0                 0                   5                 0                   0                   36             15                  51          1                   112         1,029                          10.9                   1                 14             3           40                    58         1,029                             5.6
                           End Pending                 0               6                    0               3             10                     0               11                    0                   0                   62             89                  53         6                 240                        759                31.6                  12                 25            34                7                78                     759                10.3
8th                        New Filed                   0               3                    0               0                  1                 0                   9                 0                   0                   18             11                  32          5                        79                  591               13.4                  0                  8              5           24                    37                      591                  6.3
CALHOUN                    Reinstated                  0              0                     0               0                  0                 0                   0                 0                   0                   0               0                  0          0                         0                        0               0.0                0                  0              0                0                     0                       0               0.0
                           Disposed Of                 0               5                    0               1                  1                 0                   7                 0                   0                   18              6                  27         4                         69                 567                12.2                  0                  4              1           25                    30                     567                   5.3
                           End Pending                 0               6                     1              2                  2                 0                   6                 0                   0                   28             49                  18         14                  126                     493                 25.6                  0                   9            10                4                23                    493                    4.7
8th                        New Filed                   0               7                    0               1                  1                 1              32                     0                    3                  41             41             137              1                  265           1,815                         14.6                  12                 50            25           89                176             1,815                            9.7
CASS                       Reinstated                  0               1                    0               0                  0                 0                   0                 0                   0                   0               2                  4          0                          7                       8            87.5                  0                  0              1                0                     1                       8            12.5
                           Disposed Of                 0              16                    0               3                  3                 0              31                     1                   0                   32             42            148               1                  277          1,914                          14.5                  17                 51            29           90                187            1,914                             9.8
                           End Pending                 0              17                    0               4             10                     2              23                     0                    3                  26         167                     96          5                  353         1,888                           18.7                   1                 45            40                8               94         1,888                              5.0
8th                        New Filed                   0              8                     0               1                  2                 0              42                     0                   0                   67             66             134              1                   321        2,524                           12.7                  4                  53            24         139                 220           2,524                              8.7
MASON                      Reinstated                  0              0                     0               0                  0                 0                   0                 0                   0                   0               0                  0          0                         0                        0               0.0                0                  0              0                0                     0                       0               0.0
                           Disposed Of                 0              9                     0               2                  6                 0              52                     0                   0                   58             22             134             0                  283          2,590                           10.9                  0                  43            13         124                 180           2,590                              6.9
                           End Pending                 0          118                        1              5             15                     0              39                 15                      4                   77        486                230              51     1,041                    3,894                           26.7                  27                 71        227            102                 427           3,894                           11.0
8th                        New Filed                   0              10                    0               3                  2                 1              24                     0                   0                   31             58                  82          1                  212                     862                24.6                   4                  23            19           88                134                       862                  15.5
MENARD                     Reinstated                  0              0                     0               0                  0                 0                   0                 0                   0                   0               1                   3         2                          6                       8            75.0                  0                  0              1                0                     1                       8            12.5
                           Disposed Of                 0              11                    0               1                  3                 0              15                     0                   0                   33             44                  81          1                  189                     747                 25.3                   3                 38            12           76                129                       747                  17.3
                           End Pending                 0              17                    0               6                  1                 1              23                     1                   0                   23         161                     47          3                 283                      878                 32.2                   1                 13            21           16                    51                    878                    5.8
8th                        New Filed                   0               9                    0               3                  8                 0              26                     0                   20             176                 69             145              1                 457           3,236                          14.1                   7                 46            44         163                 260            3,236                             8.0
PIKE                       Reinstated                  0              0                     0               0                  0                 0                   0                 0                   0                    0              0                  0          0                         0                        0               0.0                0                  0              0                0                     0                       0               0.0
                           Disposed Of                 0               7                    0               1                  9                 0              29                     0                   14            160                  56             136             0                   412          3,036                          13.6                  6                  53            28         134                 221            3,036                             7.3
                           End Pending                 0              90                     1          21                37                     1              82                21                       28            247             370                346          114         1,358                    6,387                          21.3                   5                 97            70           49                221            6,387                             3.5
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE




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                                                                      Case: 1:22-cv-06478 Document #: 41-1 Filed: 04/12/23 Page 38 of 203 PageID #:487

CIVIL AND DOMESTIC RELATIONS CASELOAD

                                                                                                                                                                                 CIVIL                                                                                                                                                                                                  DOMESTIC RELATIONS
      CIRCUIT / COUNTY




                                                                                                                                                                                                                                                                                TOTAL CIVIL CASES




                                                                                                                                                                                                                                                                                                          TOTAL ALL CASES*




                                                                                                                                                                                                                                                                                                                                                                                                                                              TOTAL ALL CASES*
                                                                          EMINENT DOMAIN




                                                                                                                                                                                                                                                                                                                                                                                                                       RELATIONS CASES
                                                                                                                                                                                                                                                                                                                                                                                                                       TOTAL DOMESTIC




                                                                                                                                                                                                                                                                                                                                                                                                                                                                      AS % OF ALL CASES
                                                                                                                                                                                                                                                                                                                                  CIVIL CASES AS %
                                                                                                                                                                                         MENTAL HEALTH




                                                                                                                                                                                                                                                                                                                                                                                                                                                                      RELATIONS CASES
                                                                                                              LAW NON-JURY




                                                                                                                                                   LAW NON-JURY


                                                                                                                                                                       CORPORATION




                                                                                                                                                                                                                                                 SMALL CLAIMS
                                                                                                                                                                                                              MISC. REMEDY




                                                                                                                                                                                                                                                                                                                                    OF ALL CASES




                                                                                                                                                                                                                                                                                                                                                                     DISSOLUTION
                                        ARBITRATION




                                                                                                                                                                                                                                                                                                                                                                                                      PROTECTION
                                                                                                                                 = < $50,000




                                                                                                                                                     = < $50,000
                                                          CHANCERY




                                                                                                                                                                        MUNICIPAL




                                                                                                                                                                                                                                                                                                                                                     ADOPTION
                                                                                               LAW JURY




                                                                                                                                  LAW JURY




                                                                                                                                                                                                                                                                                                                                                                                                       ORDER OF
                                                                                                                > $50,000




                                                                                                                                                                                                                                  PROBATE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                          DOMESTIC
                                                                                               >$50,000




                                                                                                                                                                                                                                                                                                                                                                                        FAMILY
                                                                                                                                                                                                                                                                     TAX
8th                       New Filed                   0               1                    0              2                  2                 0              21                     0                   0                   33             22             118              1               200              1,181                        16.9                   3                 23             5           29                   60            1,181                           5.1
SCHUYLER                  Reinstated                  0               0                    0              0                  0                 0                   0                 0                   0                    0              0                   1         0                         1                        1      100.0                       0                  0            0                 0                     0                        1              0.0
                          Disposed Of                 0               9                    0              3                  6                 0              19                     0                   0                   22             12             103             0                  174             1,171                       14.9                   1                 25             5            15                  46             1,171                          3.9
                          End Pending                 0              13                    0         20                      3                 3              19                     4                    1                  32        102                      86         21               304            1,416                          21.5                   5                 15            14           22                    56         1,416                            4.0
8th                       New Filed                   0              83                    0          16                76                     2          420                        0            488                 688             494        1,848                     14    4,129                   21,669                           19.1                  89           481            307          1,137            2,014              21,669                              9.3
CIRCUIT                   Reinstated                  0               2                    1              3                  0                 0                   0                 0                   0                   10              3                  8           5                       32                       38          84.2                    0                 0              5                0                     5                       38           13.2
TOTAL                     Disposed Of                 0              84                    0          13                57                     0           353                       1             398                  532            354       1,668                      7   3,467                    22,236                           15.6                  80            527            257        1,032             1,896              22,236                              8.5
                          End Pending                 0         339                        4         80              225                       7          439                   44                 189                 632         2,133         2,074                 239      6,405                    22,843                          28.0                   67            413            559            254            1,293             22,843                              5.7
9th                       New Filed                   0              25                    1              0             21                     0           100                       0                    1              171            112               324              63                818            5,158                         15.9                  10            128                62         263                 463             5,158                            9.0
FULTON                    Reinstated                  0               0                    0              1                  1                 0                   2                 0                   0                   0              0                   0          0                        4                        4       100.0                       0                 0             0                 0                     0                       4               0.0
                          Disposed Of                 0              29                    0              6             10                     0           139                       0                   0              156                 59            297              53                749           4,617                          16.2                  10            102                58         236                406             4,617                             8.8
                          End Pending                 0         100                        4         30                 66                     0           112                       0                    1                  98         621               465              31    1,528                    5,548                           27.5                  12             116               66           95                289           5,548                              5.2
9th                       New Filed                   0              15                    0              6                  0                 0              32                     0                    1                  81             76            269              31                   511       2,554                          20.0                    1                 53            17           91                162           2,554                              6.3
HANCOCK                   Reinstated                  0               0                    0              0                  0                 0                   0                 0                   0                   0              0                   0          0                        0                        0               0.0                 0                 0             0                 0                     0                       0               0.0
                          Disposed Of                 0              14                    0          10                     0                 0              24                     0                    1             116             173                157              7                502          2,399                          20.9                    1            102                31           90                224            2,399                             9.3
                          End Pending                 0              27                    0          35                     0                 0              42                     0                   0                    2         119                431             51                 707           3,125                         22.6                   0                 49            38           95                182             3,125                            5.8
9th       New Filed                                   0              4                     0              0                  7                 0              15                     0                   0                   38             26                  57          1                148          2,822                               5.2                2                 23             6           29                   60         2,822                              2.1
HENDERSON Reinstated                                  0               0                    0              0                  0                 0                   0                 0                   0                    0              0                   0         0                        0                        0               0.0                 0                  0            0                 0                     0                       0               0.0
                          Disposed Of                 0              4                     0              1                  9                 0              12                     0                   0                   30             25                  58         0                  139         2,907                              4.8                 0                 26             6           29                    61        2,907                              2.1
                          End Pending                 0              13                    1              1             12                     1              17                     0                    1                  41        214                      49         22                 372         1,849                           20.1                  4                  13            16                3                36        1,849                              1.9
9th                       New Filed                   0              29                    0          21                27                     1           227                       0                   20             126            202                370               1   1,024                     8,070                           12.7                  13            159            107           400                  679           8,070                             8.4
KNOX                      Reinstated                  0               0                    0              0                  0                 0                   0                 0                   0                   0               0                   0         0                        0                        0               0.0                 0                 0             0                 0                     0                       0               0.0
                          Disposed Of                 0              38                    0          19                13                     4           359                       0                   20           204              225                481              53    1,416                     8,518                          16.6                   9           149             218            392                 768            8,518                             9.0
                          End Pending                 0              45                    1              5           123                 35               102                       0                   0              157       1,028                  443               4     1,943                   10,565                          18.4                   18           292             167            159                 636          10,565                              6.0
9th                       New Filed                   0              19                    0          13                     2            56                 48                      0                   0              136                 83            426              0                  783          3,852                          20.3                  16                 78            38         128                 260            3,852                             6.7
MCDONOUGH Reinstated                                  0               0                    0              0                  0                 0                   0                 0                   0                    0              0                   0         0                        0                        0               0.0                 0                  0            0                 0                     0                       0               0.0
                          Disposed Of                 0              18                    0          14                     3            40                  20                     0                    5                  35             73             413             19               640            3,922                          16.3                  12                 82            39         429                 562            3,922                          14.3
                          End Pending                 0          119                       0         45                 16                42               374                       0                   0            442              640                 565             16    2,259                     5,818                         38.8                   14            182           368               20                584            5,818                          10.0
9th                       New Filed                   0               6                    0              0             12                     0              38                     0                    1                  56             62              111             3                289          2,441                           11.8                   3                 49            31         105                 188           2,441                              7.7
WARREN                    Reinstated                  0               0                    0              0                  0                 0                   0                 0                   0                    0              0                   3         0                         3                        3      100.0                       0                  0            0                 0                     0                        3              0.0
                          Disposed Of                 0              10                    0              0                  5                 2              30                     0                    1                  46             49                  92         0                  235          2,387                             9.8                 9                 52            73           99                233            2,387                             9.8
                          End Pending                 0              31                    1              4             36                     0              43                     0                    3                  46        209                      95         32                500            2,735                         18.3                   1                 38            39            17                   95          2,735                            3.5
9th                       New Filed                   0              98                    1         40                 69                57              460                        0                   23           608               561        1,557                   99     3,573                  24,897                          14.4                   45          490              261         1,016             1,812             24,897                              7.3
CIRCUIT                   Reinstated                  0               0                    0              1                  1                 0                   2                 0                   0                   0               0                   3         0                         7                        7      100.0                       0                 0             0                 0                     0                        7              0.0
TOTAL                     Disposed Of                 0          113                       0         50                 40                46              584                        0                   27            587             604       1,498                 132       3,681                   24,750                           14.9                  41             513          425          1,275            2,254              24,750                              9.1
                          End Pending                 0          335                       7        120              253                  78              690                        0                    5            786        2,831          2,048                 156       7,309                   29,640                          24.7                   49           690            694             389            1,822             29,640                              6.1
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE




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                                                                        Case: 1:22-cv-06478 Document #: 41-1 Filed: 04/12/23 Page 39 of 203 PageID #:488

CIVIL AND DOMESTIC RELATIONS CASELOAD

                                                                                                                                                                                   CIVIL                                                                                                                                                                                                  DOMESTIC RELATIONS
       CIRCUIT / COUNTY




                                                                                                                                                                                                                                                                                  TOTAL CIVIL CASES




                                                                                                                                                                                                                                                                                                            TOTAL ALL CASES*




                                                                                                                                                                                                                                                                                                                                                                                                                                                TOTAL ALL CASES*
                                                                            EMINENT DOMAIN




                                                                                                                                                                                                                                                                                                                                                                                                                         RELATIONS CASES
                                                                                                                                                                                                                                                                                                                                                                                                                         TOTAL DOMESTIC




                                                                                                                                                                                                                                                                                                                                                                                                                                                                        AS % OF ALL CASES
                                                                                                                                                                                                                                                                                                                                    CIVIL CASES AS %
                                                                                                                                                                                           MENTAL HEALTH




                                                                                                                                                                                                                                                                                                                                                                                                                                                                        RELATIONS CASES
                                                                                                                LAW NON-JURY




                                                                                                                                                     LAW NON-JURY


                                                                                                                                                                         CORPORATION




                                                                                                                                                                                                                                                   SMALL CLAIMS
                                                                                                                                                                                                                MISC. REMEDY




                                                                                                                                                                                                                                                                                                                                      OF ALL CASES




                                                                                                                                                                                                                                                                                                                                                                       DISSOLUTION
                                         ARBITRATION




                                                                                                                                                                                                                                                                                                                                                                                                        PROTECTION
                                                                                                                                   = < $50,000




                                                                                                                                                       = < $50,000
                                                            CHANCERY




                                                                                                                                                                          MUNICIPAL




                                                                                                                                                                                                                                                                                                                                                       ADOPTION
                                                                                                 LAW JURY




                                                                                                                                    LAW JURY




                                                                                                                                                                                                                                                                                                                                                                                                         ORDER OF
                                                                                                                  > $50,000




                                                                                                                                                                                                                                    PROBATE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                            DOMESTIC
                                                                                                 >$50,000




                                                                                                                                                                                                                                                                                                                                                                                          FAMILY
                                                                                                                                                                                                                                                                       TAX
10th                       New Filed                   0               11                    0              0              11                    0              20                     0                   0                   52             48             114              1                 257                      922                27.9                   3                 33            19           88                143                        922                 15.5
MARSHALL                   Reinstated                  0                0                    0              0                  0                 0                   0                 0                   0                   0               0                   1         0                         1                        1      100.0                      0                  0              0                0                     0                        1              0.0
                           Disposed Of                 0               15                    0              0                  5                 1              26                     0                   0                   39             38                  91          2                  217                    958                 22.7                   1                 34            20           89                144                       958                 15.0
                           End Pending                 0               15                    0          10                     4                 1               11                    0                   0                   16        143                      66          1                 267            1,152                        23.2                   2                 23            10                0                35           1,152                           3.0
10th                       New Filed                   0          120                        1         43              216                  23          1,254                          0             243          1,139                  524        1,546                256        5,365                  25,128                           21.4              176              574            414         1,347               2,511            25,128                           10.0
PEORIA                     Reinstated                  0               0                     0              0                  0                 0                   0                 0                   0                   0               0                  0          0                        0                        18              0.0                0                  0              0                0                     0                       18              0.0
                           Disposed Of                 0          180                        0          27              215                  13              679                       0             230                  521            467        1,658                230      4,220                    21,944                           19.2             140               545            385          1,210            2,280              21,944                           10.4
                           End Pending                 0           193                       3         98              685                  27           1,141                         0                   38   1,606                    247          1,511                  98   5,647                    37,252                           15.2                  85           433        1,649               376           2,543              37,252                              6.8
10th                       New Filed                   0               4                     0              1                  3                 0              13                     0                   0                   11             13                  64          1                  110                      811               13.6                   3                 15             8            15                   41                      811                  5.1
PUTNAM                     Reinstated                  0               0                     0              0                  0                 0                   0                 0                   0                   0               0                  0          0                        0                        0               0.0                0                  0              0                0                     0                       0               0.0
                           Disposed Of                 0               4                     0              0                  2                 0               11                    0                   0                    7              2                  66         0                        92                822                  11.2                  1                 13             5           10                    29                    822                    3.5
                           End Pending                 0               18                    0              6             16                     0              18                     0                   0                   68             84                  64         23                 297                     867                 34.3                   3                 38            23           23                    87                    867                 10.0
10th                       New Filed                   0                3                    1              0                  3                 1                   7                 0                   0                   14             25                  41          1                       96                754                 12.7                   1                 13             9            11                  34                     754                    4.5
STARK                      Reinstated                  0               0                     0              0                  0                 0                   0                 0                   0                   0               0                   2         0                         2                        3           66.7                  0                  0              1                0                     1                        3           33.3
                           Disposed Of                 0               8                     1              2                  2                 1                   4                 0                   0                   16             12                  52          2                100                       732                13.7                   2                 11            4             11                  28                      732                   3.8
                           End Pending                 0                5                    0              5                  2                 0                   3                 0                   0                   4          133                     24          3                  179                    702                 25.5                  0                  12            19                0                31                     702                  4.4
10th                       New Filed                   0               69                    0              0          102                       0          409                        1                   0             149             359               964                5   2,058                    17,805                            11.6                 24          400              150            893            1,467             17,805                              8.2
TAZEWELL                   Reinstated                  0                0                    0              0                  0                 0                   1                 0                   0                    0              0                   3         0                        4                  295                    1.4               0                  0              0                1                     1                 295                   0.3
                           Disposed Of                 0               96                    0              0             81                     1           285                       1                   0             109              191               927               1    1,692                   17,066                              9.9                 3            375                98         858            1,334             17,066                              7.8
                           End Pending                 0         442                         4          52             247                   15             588                        0                   0             346        2,706           1,166                168       5,734                   14,883                           38.5                  36            601            352              75          1,064              14,883                              7.1
10th                       New Filed                   0          207                        2         44              335                  24          1,703                          1             243         1,365                   969        2,729                264      7,886                    45,420                           17.4             207        1,035                 600         2,354             4,196              45,420                              9.2
CIRCUIT                    Reinstated                  0                0                    0              0                  0                 0                   1                 0                   0                   0               0                   6         0                         7                  317                   2.2               0                  0              1                1                     2                  317                  0.6
TOTAL                      Disposed Of                 0          303                        1         29              305                  16          1,005                          1             230                 692              710      2,794                 235        6,321                  41,522                           15.2             147               978             512        2,178              3,815             41,522                              9.2
                           End Pending                 0          673                        7        171              954                  43           1,761                         0                   38   2,040                3,313          2,831                293      12,124                   54,856                           22.1             126        1,107             2,053              474            3,760              54,856                              6.9
11th                       New Filed                   11              12                    0              2             10                     0              31                     0                   0                   39             41              112             6               264           1,428                           18.5                  4                  57            21           99                 181          1,428                           12.7
FORD                       Reinstated                  0               0                     0              0                  0                 0                   0                 0                   0                   0               0                  0          0                        0                        0               0.0                0                  0              0                0                     0                       0               0.0
                           Disposed Of                 8                6                    0              1                  5                 0              18                     0                   0                   10             49             110             0                 207           1,206                          17.2                   3                 51             2           81                 137           1,206                          11.4
                           End Pending                 27              68                    1         24                 55                     2              67                     0                    1            229             268                 165             37              944            2,396                          39.4                   11                 52        105              16                184           2,396                              7.7
11th                       New Filed                   0               37                    0              9             26                     1              87                     0                   0              177             152               283               3                 775          5,545                         14.0                   22             121               52         221                 416            5,545                             7.5
LIVINGSTON Reinstated                                  0               0                     0              0                  0                 0                   0                 0                   0                    1              0                  0          0                         1                        3           33.3                  0                  0              0                0                     0                        3              0.0
                           Disposed Of                 0               30                    0              4             18                     0              63                     0                   0             146                  82             277             0                 620            5,335                         11.6                  20             111               44         219                 394             5,335                            7.4
                           End Pending                 0               96                    4         40                 52                     2              81                     1                    3            140             463                 187             18    1,087                      7,172                         15.2                   9                 92            56                4             161            7,172                            2.2
11th                       New Filed                   0               30                    0              7              13                    1              70                     0                   6               155                84             791              1     1,158                    4,158                          27.8                  15                 87            33         283                 418            4,158                          10.1
LOGAN                      Reinstated                  0               0                     0              0                  0                 0                   0                 0                   0                   0               0                   0         0                        0                         1              0.0                0                  0              0                0                     0                        1              0.0
                           Disposed Of                 0               35                    1              1             27                     0              53                     0                   6              161                 60            704              0    1,048                     3,824                          27.4                   14                 77            24        248                  363           3,824                              9.5
                           End Pending                 0               46                    0         29                 38                     1             48                      0                   0                   97   1,226                   328              10     1,823                    6,555                          27.8                   7           108                 92           45                252            6,555                             3.8
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE




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                                                                        Case: 1:22-cv-06478 Document #: 41-1 Filed: 04/12/23 Page 40 of 203 PageID #:489

CIVIL AND DOMESTIC RELATIONS CASELOAD

                                                                                                                                                                                    CIVIL                                                                                                                                                                                                  DOMESTIC RELATIONS
       CIRCUIT / COUNTY




                                                                                                                                                                                                                                                                                   TOTAL CIVIL CASES




                                                                                                                                                                                                                                                                                                             TOTAL ALL CASES*




                                                                                                                                                                                                                                                                                                                                                                                                                                                 TOTAL ALL CASES*
                                                                            EMINENT DOMAIN




                                                                                                                                                                                                                                                                                                                                                                                                                          RELATIONS CASES
                                                                                                                                                                                                                                                                                                                                                                                                                          TOTAL DOMESTIC




                                                                                                                                                                                                                                                                                                                                                                                                                                                                         AS % OF ALL CASES
                                                                                                                                                                                                                                                                                                                                     CIVIL CASES AS %
                                                                                                                                                                                            MENTAL HEALTH




                                                                                                                                                                                                                                                                                                                                                                                                                                                                         RELATIONS CASES
                                                                                                                 LAW NON-JURY




                                                                                                                                                      LAW NON-JURY


                                                                                                                                                                          CORPORATION




                                                                                                                                                                                                                                                    SMALL CLAIMS
                                                                                                                                                                                                                 MISC. REMEDY




                                                                                                                                                                                                                                                                                                                                       OF ALL CASES




                                                                                                                                                                                                                                                                                                                                                                        DISSOLUTION
                                         ARBITRATION




                                                                                                                                                                                                                                                                                                                                                                                                         PROTECTION
                                                                                                                                    = < $50,000




                                                                                                                                                        = < $50,000
                                                            CHANCERY




                                                                                                                                                                           MUNICIPAL




                                                                                                                                                                                                                                                                                                                                                        ADOPTION
                                                                                                  LAW JURY




                                                                                                                                     LAW JURY




                                                                                                                                                                                                                                                                                                                                                                                                          ORDER OF
                                                                                                                   > $50,000




                                                                                                                                                                                                                                     PROBATE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                             DOMESTIC
                                                                                                  >$50,000




                                                                                                                                                                                                                                                                                                                                                                                           FAMILY
                                                                                                                                                                                                                                                                        TAX
11th                       New Filed             260                   66                    0          74                 89                     0          469                        0             526                  653            376        1,985                    0    4,498                    28,753                           15.6                  72            512           204             702           1,490              28,753                              5.2
MCLEAN                     Reinstated                  4                1                    0               1                  1                 0                   9                 0                   0                   0               3                  48         0                        67                 736                    9.1                0                 11            23                0               34                      736                   4.6
                           Disposed Of           205                   79                    0           77                74                     3           425                       0            494                  700             396       1,468                     0      3,921                  29,002                           13.5                  69           542            226             703            1,540             29,002                              5.3
                           End Pending           248              266                        10        121              387                       1           277                       0                   32             134       1,399           1,307                     1    4,183                   15,270                           27.4                  41            255           186                    5            487          15,270                              3.2
11th     New Filed                                     0               14                     1              5                  7                 1              57                     0                   0                   62         130               190               1               468            3,001                          15.6                  12                 99            37         185                 333            3,001                           11.1
WOODFORD Reinstated                                    0                3                    0               0                  2                 1                   3                 0                   0                   0               0                  10         0                        19                       19      100.0                       0                 0              0                0                     0                       19              0.0
                           Disposed Of                 0               28                     1              1             12                     1              51                     0                   0                   45             79             172             0                 390          2,880                           13.5                  11            103                47         184                 345           2,880                           12.0
                           End Pending                 0               67                    0           21                12                     4              56                     0                   0                   71        589                206              20   1,046                      6,550                          16.0                  28     1,167                264                    2       1,461               6,550                          22.3
11th                       New Filed              271              159                        1          97             145                       3           714                       0              532       1,086                    783        3,361                    11     7,163                  42,885                           16.7              125              876            347         1,490             2,838              42,885                              6.6
CIRCUIT                    Reinstated                  4               4                     0               1                  3                 1              12                     0                   0                    1              3                  58         0                        87                 759                 11.5                  0                 11            23                0               34                      759                   4.5
TOTAL                      Disposed Of            213             178                         2         84              136                       4           610                       0             500        1,062                    666         2,731                   0     6,186                   42,247                           14.6              117             884             343         1,435              2,779             42,247                              6.6
                           End Pending            275             543                        15        235              544                  10               529                       1                   36             671       3,945           2,193                    86   9,083                    37,943                           23.9                  96   1,674                  703               72          2,545              37,943                              6.7
12th                       New Filed       1,195                  476                        6         279              716                       7      1,345                          2              273        3,293              1,274          7,885                     19   16,770 106,375                                            15.8             102         2,151                869         2,604              5,726 106,375                                         5.4
WILL                       Reinstated                  32              29                    6         123                 54                     6             64                      0                   0                   17             40             114             0                485            3,601                          13.5                   2                 93            26                3            124            3,601                             3.4
                           Disposed Of    1,142                   871                        26       930               368                  39          1,061                          2              277       3,298               1,082          8,596                     24   17,716                   111,324                          15.9              101       2,335                  919        2,604              5,959             111,324                             5.4
                           End Pending           863        1,354                            17     1,553               363                  45               622                       2                    3            632        4,897           2,901                    14   13,266                   95,657                           13.9                  64    1,526                 491               18          2,099              95,657                              2.2
12th                       New Filed       1,195                  476                        6         279              716                       7      1,345                          2              273        3,293              1,274          7,885                     19   16,770 106,375                                            15.8             102         2,151                869         2,604              5,726 106,375                                         5.4
CIRCUIT                    Reinstated                  32              29                    6         123                 54                     6              64                     0                   0                   17             40             114             0                485            3,601                          13.5                   2                 93            26                3            124            3,601                             3.4
TOTAL                      Disposed Of    1,142                   871                        26       930               368                  39          1,061                          2              277       3,298               1,082          8,596                     24   17,716                   111,324                          15.9              101       2,335                  919        2,604              5,959             111,324                             5.4
                           End Pending           863        1,354                            17     1,553               363                  45               622                       2                    3            632        4,897          2,901                     14   13,266                   95,657                           13.9                  64    1,526                 491               18          2,099              95,657                              2.2
13th                       New Filed                   0               19                    0               0             24                     0             94                      0                    1             120             107              404                1                 770          3,782                         20.4                   11            102                40         100                 253            3,782                             6.7
BUREAU                     Reinstated                  0               0                     0               0                  0                 0                   0                 0                   0                   0               0                   0         0                        0                        0               0.0                 0                 0              0                0                     0                       0               0.0
                           Disposed Of                 0               15                    0               1             22                     0             80                      0                   0              101                 94            346              0                 659          3,346                           19.7                   8                 96            27           75                206           3,346                              6.2
                           End Pending                 0               65                    0               9             58                     2              71                     1                    1                  69        556                 261             32      1,125                   5,019                         22.4                   14            106                64           27                 211           5,019                             4.2
13th                       New Filed                   0               30                    0           15                45                     2           199                       0                   22            243             149       1,087                     0      1,792                   8,224                           21.8                  11             151               66         131                 359           8,224                             4.4
GRUNDY                     Reinstated                  0               4                     0               0                  0                 0                   5                 0                   0                   0               1                  24         0                        34                       35           97.1                   0                  1             0                0                     1                       35              2.9
                           Disposed Of                 0               42                    0          34                 36                     1           157                       0                   23            236                  85   1,064                      1    1,679                     7,939                           21.1                  9            166                53         132                 360            7,939                             4.5
                           End Pending                 0               69                    0          86                 47                     4           107                       0                   0                   33        528                520              4     1,398                    4,869                           28.7                   8            185                79                4            276           4,869                              5.7
13th                       New Filed                   0               70                     1         66                 65                     3          428                        0                    2           460              279         1,337               116       2,827                   17,818                           15.9                  38            363           186             436            1,023             17,818                              5.7
LASALLE                    Reinstated                  0                6                    0               3                  1                 0                   8                 0                   0                   0               6                  62         0                        86                594                 14.5                   0                 10             5                1                16                    594                    2.7
                           Disposed Of                 0           116                       0         133                 36                14               387                       0                    1           462              254        1,603                105          3,111                18,393                           16.9                  31            335            195           444             1,005             18,393                              5.5
                           End Pending                 0           116                        2        207                 68                10              248                        0                    2                  94        972               496               72    2,287                    12,355                          18.5                  22           299             165              18                504           12,355                             4.1
13th                       New Filed                   0           119                        1          81             134                       5           721                       0                   25            823              535      2,828                 117       5,389                   29,824                           18.1                  60            616           292             667            1,635             29,824                              5.5
CIRCUIT                    Reinstated                  0               10                    0               3                  1                 0              13                     0                   0                   0               7                  86         0                  120                     629                 19.1                   0                 11             5                1                17                    629                    2.7
TOTAL                      Disposed Of                 0           173                       0         168                 94                 15             624                        0                   24            799             433        3,013                106      5,449                    29,678                           18.4                  48            597            275            651             1,571            29,678                              5.3
                           End Pending                 0          250                         2        302               173                 16              426                        1                    3             196       2,056            1,277               108      4,810                    22,243                           21.6                  44           590            308               49                991          22,243                              4.5
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE




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                                                                        Case: 1:22-cv-06478 Document #: 41-1 Filed: 04/12/23 Page 41 of 203 PageID #:490

CIVIL AND DOMESTIC RELATIONS CASELOAD

                                                                                                                                                                                    CIVIL                                                                                                                                                                                                 DOMESTIC RELATIONS
       CIRCUIT / COUNTY




                                                                                                                                                                                                                                                                                   TOTAL CIVIL CASES




                                                                                                                                                                                                                                                                                                            TOTAL ALL CASES*




                                                                                                                                                                                                                                                                                                                                                                                                                                                TOTAL ALL CASES*
                                                                            EMINENT DOMAIN




                                                                                                                                                                                                                                                                                                                                                                                                                         RELATIONS CASES
                                                                                                                                                                                                                                                                                                                                                                                                                         TOTAL DOMESTIC




                                                                                                                                                                                                                                                                                                                                                                                                                                                                        AS % OF ALL CASES
                                                                                                                                                                                                                                                                                                                                    CIVIL CASES AS %
                                                                                                                                                                                            MENTAL HEALTH




                                                                                                                                                                                                                                                                                                                                                                                                                                                                        RELATIONS CASES
                                                                                                                 LAW NON-JURY




                                                                                                                                                      LAW NON-JURY


                                                                                                                                                                          CORPORATION




                                                                                                                                                                                                                                                    SMALL CLAIMS
                                                                                                                                                                                                                 MISC. REMEDY




                                                                                                                                                                                                                                                                                                                                      OF ALL CASES




                                                                                                                                                                                                                                                                                                                                                                       DISSOLUTION
                                         ARBITRATION




                                                                                                                                                                                                                                                                                                                                                                                                        PROTECTION
                                                                                                                                    = < $50,000




                                                                                                                                                        = < $50,000
                                                            CHANCERY




                                                                                                                                                                           MUNICIPAL




                                                                                                                                                                                                                                                                                                                                                       ADOPTION
                                                                                                  LAW JURY




                                                                                                                                     LAW JURY




                                                                                                                                                                                                                                                                                                                                                                                                         ORDER OF
                                                                                                                   > $50,000




                                                                                                                                                                                                                                     PROBATE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                            DOMESTIC
                                                                                                  >$50,000




                                                                                                                                                                                                                                                                                                                                                                                          FAMILY
                                                                                                                                                                                                                                                                        TAX
14th                       New Filed                   25              34                    4               1             19                     0              71                     1                    5            262              187               368               2                979          6,927                          14.1                  23           146                 93         203                 465            6,927                             6.7
HENRY                      Reinstated                  0                0                    0               0                  0                 0                   2                 0                    0                   1             0                   0           0                       3                       3       100.0                       0                  0             0                0                     0                       3               0.0
                           Disposed Of                 22              47                     3              1              13                    0              70                     1                    2            246              119                365              0               889          7,087                           12.5                  23             137           120            173                 453           7,087                              6.4
                           End Pending                 28              91                     1         20                 63                     1              43                     1                    3             114            845                269              14    1,493                  12,005                           12.4                  16            192            210            100                 518          12,005                              4.3
14th                       New Filed                    2               7                    0               0                  7                 0              18                     0                    1                  39             79                  95          1               249            1,198                        20.8                    9                 41            20           81                 151            1,198                         12.6
MERCER                     Reinstated                  0                0                    0               0                  0                 0                   0                 0                    0                   0             0                   0           0                       0                       0               0.0                 0                  0             0                0                     0                       0               0.0
                           Disposed Of                  5              11                    0               2                  3                 0               11                    0                    0                  4              27                  73          0                  136                   905                 15.0                   3                 27            4            39                    73                    905                    8.1
                           End Pending                  7              49                     3              0              15                    0              38                     0                   14            205             294                  121            16                 762         1,639                         46.5                   16                 65            49           19                149            1,639                             9.1
14th                       New Filed              192              112                       6               1           118                      1          476                        0                   13    1,016                   435         1,611                    1   3,982                   22,535                           17.7                  44           457            383         1,298              2,182             22,535                              9.7
ROCK ISLAND                Reinstated                  0                0                    0               0                  0                 0                   0                 0                    0                   0              2                   1          0                       3                       4            75.0                   0                  0             0                1                     1                       4            25.0
                           Disposed Of            195              125                       6               0          122                       0           293                       0                    8            887              301       1,620                    4      3,561                 20,426                           17.4                  40           496            348          1,192            2,076              20,426                           10.2
                           End Pending            307             422                         7         42              393                       1      1,014                          3                   23            528         2,811         1,340                     12   6,903                   40,124                           17.2                  31           414            642               89           1,176             40,124                              2.9
14th                       New Filed               112                 42                     9              0             49                     0           114                       0                   13             158             162        1,351                    2    2,012                  10,446                           19.3                  17            179            119            296                  611         10,446                              5.8
WHITESIDE                  Reinstated                  0                0                    0               0                  0                 0                   1                 0                    0                   0              2                  0           0                       3                       4            75.0                   0                  0             0                0                     0                       4               0.0
                           Disposed Of            125                  66                     3              1              51                    0           102                       0                   13             147             172       1,365                     2   2,047                     9,923                         20.6                   17            181            102            289                 589            9,923                             5.9
                           End Pending                 54              44                     9              0          142                       0              41                     0                    0                  42        750               608                7     1,697                  9,838                           17.2                   8            142                69            13               232           9,838                              2.4
14th                       New Filed               331             195                       19              2          193                       1           679                       1                   32    1,475                   863       3,425                      6    7,222                  41,106                           17.6                  93           823             615        1,878             3,409              41,106                              8.3
CIRCUIT                    Reinstated                  0                0                    0               0                  0                 0                   3                 0                    0                   1             4                    1          0                       9                       11           81.8                   0                  0             0                1                     1                       11              9.1
TOTAL                      Disposed Of           347              249                        12              4          189                       0          476                        1                   23   1,284                    619       3,423                      6    6,633                  38,341                           17.3                  83           841            574         1,693              3,191             38,341                              8.3
                           End Pending           396              606                        20         62              613                       2       1,136                         4                   40           889         4,700           2,338                    49   10,855                  63,606                            17.1                 71            813           970             221            2,075             63,606                              3.3
15th                       New Filed                   0                8                    0               0             14                     0              35                     0                    2                  72             57            124               1                  313         2,152                         14.5                  11                 48            24           73                156             2,152                            7.2
CARROLL                    Reinstated                  0                0                    0               0                  0                 0                   0                 0                    0                  0              0                   0           0                       0                       0               0.0                 0                  0            0                 0                     0                       0               0.0
                           Disposed Of                 0               10                    0               0             10                     0              19                     0                    2                  23             38             125              0                 227         1,987                          11.4                   5                 40            0            59                104            1,987                             5.2
                           End Pending                 0               33                     3              1             18                     1             40                      0                    1             133             156                     81         30                497          2,545                          19.5                  15                 47       109               32                203            2,545                             8.0
15th                       New Filed                   0               61                    12              3             20                     0              37                     0                    0              113                63             173              2              484             3,577                         13.5                   5                 60            18           66                149             3,577                            4.2
JO DAVIESS                 Reinstated                  0                0                    0               0                  0                 0                   0                 0                    0                  0              0                   0          0                        0                       0               0.0                 0                  0            0                 0                     0                       0               0.0
                           Disposed Of                 0               41                    4               3             23                     0              32                     0                    1             110                 43             178              7               442          3,642                            12.1                 4                  65            28           61                158           3,642                              4.3
                           End Pending                 0               61                    10          13                28                     0              21                     0                    0                  22        246                      61          1                463          3,023                          15.3                   3                 36             9           10                    58         3,023                             1.9
15th                       New Filed                   0               25                     5              3             25                     1              93                     0                   27              112           109                534               1                 935          5,715                         16.4                  28            105                63         201                 397             5,715                            6.9
LEE                        Reinstated                  0                0                    0               0                  1                 0                   0                 0                    0                  0              0                   0          0                        1                       3            33.3                   0                  0            0                 0                     0                       3               0.0
                           Disposed Of                 0               20                     7              3             16                     1              54                     0                   27                  64             65            348              0                 605         5,497                           11.0                  12                 46            10         199                 267           5,497                              4.9
                           End Pending                 0               80                     1              2           125                      1           135                       0                    0              133           655                569              21     1,722                   7,491                          23.0                  18            216            217                   0            451            7,491                             6.0
15th                       New Filed                   0               35                    0               0            44                      0           101                       1                    5                  77         116               387               2                768         7,968                              9.6                14             175               69         270                 528           7,968                              6.6
OGLE                       Reinstated                  0                0                    0               0                  0                 0                   1                 0                    0                   0             0                   0           0                       1                       1       100.0                       0                  0             0                0                     0                       1               0.0
                           Disposed Of                 0               66                    0               1             37                     0           116                       0                    5                  79             86           466               4                860            8,121                         10.6                  15            186                90         269                 560             8,121                            6.9
                           End Pending                 0               23                    0               0             75                     0              38                     1                    0                  28        438                 141             4                748         11,056                              6.8                 8           146                 58                0            212          11,056                              1.9
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE




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                                                                        Case: 1:22-cv-06478 Document #: 41-1 Filed: 04/12/23 Page 42 of 203 PageID #:491

CIVIL AND DOMESTIC RELATIONS CASELOAD

                                                                                                                                                                                    CIVIL                                                                                                                                                                                                DOMESTIC RELATIONS
       CIRCUIT / COUNTY




                                                                                                                                                                                                                                                                                   TOTAL CIVIL CASES




                                                                                                                                                                                                                                                                                                            TOTAL ALL CASES*




                                                                                                                                                                                                                                                                                                                                                                                                                                               TOTAL ALL CASES*
                                                                            EMINENT DOMAIN




                                                                                                                                                                                                                                                                                                                                                                                                                        RELATIONS CASES
                                                                                                                                                                                                                                                                                                                                                                                                                        TOTAL DOMESTIC




                                                                                                                                                                                                                                                                                                                                                                                                                                                                      AS % OF ALL CASES
                                                                                                                                                                                                                                                                                                                                   CIVIL CASES AS %
                                                                                                                                                                                            MENTAL HEALTH




                                                                                                                                                                                                                                                                                                                                                                                                                                                                      RELATIONS CASES
                                                                                                                 LAW NON-JURY




                                                                                                                                                      LAW NON-JURY


                                                                                                                                                                          CORPORATION




                                                                                                                                                                                                                                                    SMALL CLAIMS
                                                                                                                                                                                                                 MISC. REMEDY




                                                                                                                                                                                                                                                                                                                                     OF ALL CASES




                                                                                                                                                                                                                                                                                                                                                                      DISSOLUTION
                                         ARBITRATION




                                                                                                                                                                                                                                                                                                                                                                                                       PROTECTION
                                                                                                                                    = < $50,000




                                                                                                                                                        = < $50,000
                                                            CHANCERY




                                                                                                                                                                           MUNICIPAL




                                                                                                                                                                                                                                                                                                                                                      ADOPTION
                                                                                                  LAW JURY




                                                                                                                                     LAW JURY




                                                                                                                                                                                                                                                                                                                                                                                                        ORDER OF
                                                                                                                   > $50,000




                                                                                                                                                                                                                                     PROBATE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                          DOMESTIC
                                                                                                  >$50,000




                                                                                                                                                                                                                                                                                                                                                                                         FAMILY
                                                                                                                                                                                                                                                                        TAX
15th                       New Filed                   0               30                     0              5             34                     0           138                       0                   0              122             138               386               2                 855        8,023                          10.7                   8             135               94         271                 508           8,023                             6.3
STEPHENSON                 Reinstated                  0               0                      0              0                  0                 0                   0                 0                   0                   0              0                   0           0                       0                       2              0.0                 0                 0              2                0                     2                       2        100.0
                           Disposed Of                 0               36                     0              0             37                     0           129                       0                   0                   95        120                410               5                832          8,516                            9.8                 5            143                92         271                  511           8,516                            6.0
                           End Pending                 0               39                     0          14                59                     0             44                      0                   0                   24        542                 135              6                863          6,613                          13.1                  5                 59            96                2            162            6,613                            2.4
15th                       New Filed                   0           159                       17          11              137                      1          404                        1                   34           496              483       1,604                      8     3,355                 27,435                          12.2                  66            523           268             881            1,738             27,435                             6.3
CIRCUIT                    Reinstated                  0               0                      0              0                  1                 0                   1                 0                   0                   0              0                   0           0                       2                       6           33.3                   0                 0              2                0                     2                       6           33.3
TOTAL                      Disposed Of                 0           173                       11              7           123                      1           350                       0                   35             371             352        1,527                   16    2,966                  27,763                          10.7                  41          480             220             859           1,600              27,763                             5.8
                           End Pending                 0          236                        14         30              305                       2           278                       1                    1            340        2,037                   987              62    4,293                  30,728                         14.0                   49           504            489               44          1,086              30,728                             3.5
16th                       New Filed              932             266                        13          39             567                       5           912                       2              177        2,227                   728       4,582                 108      10,558                  57,994                          18.2              133        1,551                 539        1,096              3,319             57,994                             5.7
KANE                       Reinstated                  0               0                      0              0                  2                 0                   0                 0                   0                    1              1                   2          0                       6                  112                 5.4                0                  6              0                0                     6                  112                 5.4
                           Disposed Of            727             289                         3              9          374                       3           491                       0             154                  721            536        3,527                    88    6,922                  57,844                          12.0             164       1,400                  865             914            3,343             57,844                             5.8
                           End Pending    1,103               1,115                          44          33         1,618                         4          868                   12                340         3,520               2,345           5,156                172      16,330 102,422                                          15.9                  59   1,403                  387             787           2,636 102,422                                         2.6
16th                       New Filed              932             266                        13          39             567                       5           912                       2              177        2,227                   728       4,582                 108      10,558                  57,994                          18.2              133        1,551                 539        1,096              3,319             57,994                             5.7
CIRCUIT                    Reinstated                  0               0                      0              0                  2                 0                   0                 0                   0                    1              1                   2          0                       6                  112                 5.4                0                  6              0                0                     6                  112                 5.4
TOTAL                      Disposed Of            727             289                         3              9          374                       3           491                       0             154                  721            536        3,527                    88    6,922                  57,844                          12.0             164       1,400                  865             914            3,343             57,844                             5.8
                           End Pending    1,103               1,115                          44          33         1,618                         4          868                   12                340          3,520              2,345           5,156                172      16,330 102,422                                          15.9                  59   1,403                  387             787            2,636 102,422                                        2.6
17th                       New Filed                   66              27                     1          12                22                     2              47                     0                   0              156                 90              551             3                 977          7,316                        13.4                  16             161               66         340                 583             7,316                           8.0
BOONE                      Reinstated                  0               0                      0              0                  0                 0                   0                 0                   0                    1             0                   0           0                       1                       3           33.3                   0                  2             0                0                     2                       3           66.7
                           Disposed Of                 72              53                     1              6             45                     0              32                     0                   0             148                  74            614               3   1,048                      7,913                        13.2                  18            189                57         324                 588             7,913                           7.4
                           End Pending                 32              61                     0         49                 19                     3              23                     0                   0                   11        248                 197              2                645        12,754                              5.1                6            101                48           33                188          12,754                             1.5
17th                       New Filed              562             219                         0        161              220                       2      1,030                          1             262         1,039                   638       2,881                 187       7,202                  49,259                          14.6             187        1,012                 908         3,124              5,231             49,259                          10.6
WINNEBAGO Reinstated                                   19              4                      0              3                  3                 0              28                     0                    1                   2             18                  38          1                   117                    135             86.7                    0                  7             1                0                     8                  135                 5.9
                           Disposed Of            576              361                        0       247               142                       4           709                       1             243                 967              521      3,220                 232       7,223                  50,527                          14.3              111             940             526         3,124             4,701              50,527                             9.3
                           End Pending            378             709                         3       564               239                       4          908                        0                   51             581       7,058            3,117               178      13,790                  69,536                          19.8             273        1,148             1,806                      0       3,227             69,536                             4.6
17th                       New Filed             628              246                         1        173              242                       4      1,077                          1             262          1,195                  728       3,432                 190       8,179                  56,575                          14.5             203         1,173                974         3,464             5,814              56,575                          10.3
CIRCUIT                    Reinstated                  19              4                      0              3                  3                 0              28                     0                    1                   3             18                  38          1                  118                    138               85.5                   0                 9              1                0                10                     138                  7.2
TOTAL                      Disposed Of          648               414                         1        253              187                       4           741                       1             243           1,115                 595       3,834                 235       8,271                  58,440                          14.2             129        1,129                 583         3,448             5,289              58,440                             9.1
                           End Pending           410              770                         3        613              258                       7           931                       0                   51            592        7,306           3,314                180      14,435                  82,290                          17.5             279       1,249              1,854                 33           3,415             82,290                             4.1
18th                       New Filed      2,154                   491                         9       444           1,196                         8      1,750                          4             677         1,363               1,510         7,420                 163      17,189 129,010                                          13.3                  82   2,343                  687         1,654             4,766 129,010                                         3.7
DUPAGE                     Reinstated                  79              35                     0         83                 43                     0              23                     0                   0                   15             45             137              3                463        12,594                              3.7                1                 79            19                2             101         12,594                             0.8
                           Disposed Of    2,314                   701                         3    1,049                549                  14          1,452                          4             653         1,281               1,311         8,041                 161      17,533                  156,719                          11.2                 87   2,458                  490         1,897             4,932              156,719                            3.1
                           End Pending     1,551                  749                        16     1,793               548                   15              841                       1                   72            598        2,005          3,202                     35   11,426                  59,190                          19.3                  33   1,484              1,539               102            3,158             59,190                             5.3
18th                       New Filed      2,154                   491                         9       444           1,196                         8      1,750                          4              677        1,363               1,510         7,420                 163      17,189 129,010                                          13.3                  82   2,343                  687         1,654             4,766 129,010                                         3.7
CIRCUIT                    Reinstated                  79              35                     0         83                 43                     0              23                     0                   0                   15             45              137             3                463        12,594                              3.7                1                 79            19                2             101         12,594                             0.8
TOTAL                      Disposed Of    2,314                   701                         3     1,049               549                  14          1,452                          4              653        1,281               1,311         8,041                 161      17,533                  156,719                          11.2                 87   2,458                  490         1,897             4,932              156,719                            3.1
                           End Pending     1,551                  749                        16     1,793               548                   15              841                       1                   72            598        2,005          3,202                     35   11,426                  59,190                          19.3                  33   1,484              1,539               102            3,158             59,190                             5.3
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE




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CIVIL AND DOMESTIC RELATIONS CASELOAD

                                                                                                                                                                                    CIVIL                                                                                                                                                                                                  DOMESTIC RELATIONS
       CIRCUIT / COUNTY




                                                                                                                                                                                                                                                                                   TOTAL CIVIL CASES




                                                                                                                                                                                                                                                                                                             TOTAL ALL CASES*




                                                                                                                                                                                                                                                                                                                                                                                                                                                 TOTAL ALL CASES*
                                                                            EMINENT DOMAIN




                                                                                                                                                                                                                                                                                                                                                                                                                          RELATIONS CASES
                                                                                                                                                                                                                                                                                                                                                                                                                          TOTAL DOMESTIC




                                                                                                                                                                                                                                                                                                                                                                                                                                                                         AS % OF ALL CASES
                                                                                                                                                                                                                                                                                                                                     CIVIL CASES AS %
                                                                                                                                                                                            MENTAL HEALTH




                                                                                                                                                                                                                                                                                                                                                                                                                                                                         RELATIONS CASES
                                                                                                                 LAW NON-JURY




                                                                                                                                                      LAW NON-JURY


                                                                                                                                                                          CORPORATION




                                                                                                                                                                                                                                                    SMALL CLAIMS
                                                                                                                                                                                                                 MISC. REMEDY




                                                                                                                                                                                                                                                                                                                                       OF ALL CASES




                                                                                                                                                                                                                                                                                                                                                                        DISSOLUTION
                                         ARBITRATION




                                                                                                                                                                                                                                                                                                                                                                                                         PROTECTION
                                                                                                                                    = < $50,000




                                                                                                                                                        = < $50,000
                                                            CHANCERY




                                                                                                                                                                           MUNICIPAL




                                                                                                                                                                                                                                                                                                                                                        ADOPTION
                                                                                                  LAW JURY




                                                                                                                                     LAW JURY




                                                                                                                                                                                                                                                                                                                                                                                                          ORDER OF
                                                                                                                   > $50,000




                                                                                                                                                                                                                                     PROBATE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                             DOMESTIC
                                                                                                  >$50,000




                                                                                                                                                                                                                                                                                                                                                                                           FAMILY
                                                                                                                                                                                                                                                                        TAX
19th                       New Filed      1,327                   455                        12        377              560                       5      1,045                          0             184        1,028               1,238          6,081                     26   12,338                   83,598                           14.8                  74    1,901                 698         2,502              5,175             83,598                              6.2
LAKE                       Reinstated                  78              64                    0         123                 36                     3           108                       0                   0                   13             47            427               1               900             3,735                         24.1                   1                 72            22                4               99           3,735                            2.7
                           Disposed Of     1,133                  833                        30        522              505                   11              934                       0             184         1,050              1,088           6,518                    14   12,822                   89,355                           14.3                  74   2,002                  685         2,506              5,267             89,355                              5.9
                           End Pending           805         1,107                           22        774               371                  12              411                       0                    3            260        5,482           1,794                    30   11,071                    37,937                          29.2                  32   1,098                   333               15          1,478              37,937                             3.9
19th                       New Filed      1,327                   455                        12        377              560                       5      1,045                          0             184        1,028               1,238          6,081                     26   12,338                   83,598                           14.8                  74    1,901                 698         2,502              5,175             83,598                              6.2
CIRCUIT                    Reinstated                  78              64                    0         123                 36                     3           108                       0                   0                   13             47            427               1               900             3,735                         24.1                   1                 72            22                4                99          3,735                            2.7
TOTAL                      Disposed Of     1,133                  833                        30        522              505                   11             934                        0             184         1,050              1,088           6,518                    14   12,822                   89,355                           14.3                  74   2,002                  685         2,506              5,267             89,355                              5.9
                           End Pending           805         1,107                           22        774               371                  12              411                       0                    3            260        5,482           1,794                    30   11,071                    37,937                          29.2                  32   1,098                   333               15          1,478              37,937                             3.9
20th                       New Filed                   0               11                    0           15                18                     1              70                     5                    2             156                 66             213              2                 559         4,545                           12.3                  16            122                38         119                 295           4,545                              6.5
MONROE                     Reinstated                  0                1                    0               0                  0                 0                   4                 0                   0                    0             0                    6         0                        11                       13          84.6                    0                 0             0                 0                     0                       13              0.0
                           Disposed Of                 0               17                    0               0             25                     1              62                     5                    1             147                 42            224              0                 524           5,194                          10.1                   9             111               32         123                 275            5,194                             5.3
                           End Pending                 0               20                    0          48                 22                     5              54                     3                    1                  59        220                 102             4                  538         3,748                          14.4                    8                 78            30                0             116          3,748                              3.1
20th                       New Filed                   0               8                     0               0             21                     0              56                     0                   0                   69             57            140              0                   351        2,047                            17.1                 18                 75            50           34                 177          2,047                              8.6
PERRY                      Reinstated                  0                1                    0               0                  0                 0                   0                 0                   0                    0             0                   0          0                         1                        1      100.0                       0                 0             0                 0                     0                        1              0.0
                           Disposed Of                 0               16                    0               3             18                     0             40                      0                   0                    7             15             105             0                204             1,741                          11.7                 19                 71            16           26                 132            1,741                            7.6
                           End Pending                 0               96                    0           32                82                     2           139                       0                    3             661            646                  157            75    1,893                     3,786                         50.0                   13                 54            87           35                189            3,786                             5.0
20th                       New Filed                   0               16                    0               0             28                     0              78                     0             214                   119                80             218              1                754          2,978                           25.3                  19                 99            83          115                316           2,978                           10.6
RANDOLPH                   Reinstated                  0               0                     0               0                  0                 0                   0                 0                   0                    0             0                   4          0                        4                        6            66.7                   0                  1             1                0                     2                       6            33.3
                           Disposed Of                 0               19                    0           13                     9                 0              46                     0              152                      12             78             187             0                  516          2,578                         20.0                   16                 93            35         127                  271           2,578                          10.5
                           End Pending                 0               27                    0           21                51                     2              83                     1                   19             174            800                 183             12      1,373                   3,198                         42.9                   16                 96        143              18                273            3,198                             8.5
20th                       New Filed             463               217                       0        630               629                       7           739                       1                   29            328             650       3,003                     10   6,706                    40,609                           16.5                  92    1,149                  712         1,107            3,060              40,609                              7.5
ST. CLAIR                  Reinstated                  15               1                    0               0                  4                 0                   2                 0                   0                    1              1                   5         0                        29               248                   11.7                  0                 0              1                0                     1               248                    0.4
                           Disposed Of            579             262                        2         191              501                       5           652                       0                   0              159            336       2,743                     0    5,430                    45,074                           12.0                  77    1,124                 796          1,102            3,099              45,074                              6.9
                           End Pending            363             329                         3     2,687               423                  16               528                       2                   65             251       1,280          1,920                 346       8,213                   122,138                              6.7               44            561           896                    1       1,502             122,138                             1.2
20th                       New Filed                   0               15                    0               8                  7                 1              29                     0                   0                   25             51                  98          1                 235           1,627                        14.4                   54                 32            24           32                142             1,627                            8.7
WASHINGTON Reinstated                                  0               0                     0               0                  0                 0                   9                 0                   0                    0             0                    0         0                        9                        9       100.0                       0                 0             0                 0                     0                       9               0.0
                           Disposed Of                 0               16                    0               5                  5                 0              21                     0                   0                   18             23            109              0                   197           1,615                        12.2                  51                 37            15           22                 125             1,615                           7.7
                           End Pending                 0               39                    0          29                 16                     2              50                     0                    1                  49        266                      93         24                569           3,143                          18.1                  72                 47            76           26                221            3,143                             7.0
20th                       New Filed             463              267                        0         653              703                       9           972                       6             245                 697             904        3,672                    14   8,605                    51,806                           16.6             199        1,477                 907         1,407             3,990              51,806                              7.7
CIRCUIT                    Reinstated                  15               3                    0               0                  4                 0              15                     0                   0                    1              1                  15         0                        54                 277                19.5                   0                  1             2                0                     3                 277                    1.1
TOTAL                      Disposed Of            579             330                         2        212              558                       6           821                       5              153                343            494        3,368                     0     6,871                   56,202                           12.2              172      1,436                  894         1,400             3,902              56,202                              6.9
                           End Pending            363              511                        3     2,817               594                  27              854                        6                   89    1,194               3,212         2,455                 461      12,586                   136,013                              9.3           153              836        1,232                 80           2,301             136,013                             1.7
21st                       New Filed                   0               16                    0               4             20                 11                 55                     0                   0                   65         105                223              2                 501         4,566                           11.0                   9                 90            41         253                 393           4,566                              8.6
IROQUOIS                   Reinstated                  0               0                     0               0                  0                 0                   0                 0                   0                    0             0                    1         0                         1                        1      100.0                       0                 0             0                 0                     0                        1              0.0
                           Disposed Of                 0               20                    0               0             14                     0              57                     0                   0                   46             56             178              1                 372          4,215                             8.8                 1                 73             9         243                 326            4,215                             7.7
                           End Pending                 0               73                     1              9             74                18                  99                     0                    2                  64        526                453              54      1,373                  11,315                           12.1                 33            110           106               25                274           11,315                             2.4
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE




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CIVIL AND DOMESTIC RELATIONS CASELOAD
                                                                                                                                                                                        CIVIL                                                                                                                                                                                                            DOMESTIC RELATIONS
       CIRCUIT / COUNTY




                                                                                                                                                                                                                                                                                            TOTAL CIVIL CASES




                                                                                                                                                                                                                                                                                                                       TOTAL ALL CASES*




                                                                                                                                                                                                                                                                                                                                                                                                                                                               TOTAL ALL CASES*
                                                                            EMINENT DOMAIN




                                                                                                                                                                                                                                                                                                                                                                                                                                       RELATIONS CASES
                                                                                                                                                                                                                                                                                                                                                                                                                                       TOTAL DOMESTIC




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        AS % OF ALL CASES
                                                                                                                                                                                                                                                                                                                                                CIVIL CASES AS %
                                                                                                                                                                                                MENTAL HEALTH




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        RELATIONS CASES
                                                                                                                 LAW NON-JURY




                                                                                                                                                      LAW NON-JURY


                                                                                                                                                                          CORPORATION




                                                                                                                                                                                                                                                           SMALL CLAIMS
                                                                                                                                                                                                                      MISC. REMEDY




                                                                                                                                                                                                                                                                                                                                                  OF ALL CASES




                                                                                                                                                                                                                                                                                                                                                                                    DISSOLUTION
                                         ARBITRATION




                                                                                                                                                                                                                                                                                                                                                                                                                      PROTECTION
                                                                                                                                    = < $50,000




                                                                                                                                                        = < $50,000
                                                            CHANCERY




                                                                                                                                                                           MUNICIPAL




                                                                                                                                                                                                                                                                                                                                                                   ADOPTION
                                                                                                  LAW JURY




                                                                                                                                     LAW JURY




                                                                                                                                                                                                                                                                                                                                                                                                                       ORDER OF
                                                                                                                   > $50,000




                                                                                                                                                                                                                                           PROBATE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            DOMESTIC
                                                                                                  >$50,000




                                                                                                                                                                                                                                                                                                                                                                                                        FAMILY
                                                                                                                                                                                                                                                                                TAX
21st                       New Filed                   0               87                    0          48                 86                     8          476                        0                  141                   317            360         1,556                      2     3,081                     19,956                           15.4                  18            399             254             826            1,497               19,956                              7.5
KANKAKEE                   Reinstated                  0               0                     0               0                  0                 0                   0                 0                       0                    0               0                    0            0                        0                          0               0.0                0                   0              0                 0                     0                         0               0.0
                           Disposed Of                 0          103                        0           52                88                     4           216                       0                       98              216             222                 789                0     1,788                     12,006                           14.9                  15            386                  93         712            1,206               12,006                           10.0
                           End Pending                 0           391                        1        159              299                       0           716                       2                       96     1,168               1,433           2,203                  124        6,592                     32,254                          20.4                   33            509             724             553            1,819               32,254                              5.6
21st                       New Filed                   0          103                        0           52             106                  19               531                       0                  141                 382              465         1,779                     4      3,582                     24,522                           14.6                  27           489              295         1,079             1,890                24,522                              7.7
CIRCUIT                    Reinstated                  0               0                     0               0                  0                 0                   0                 0                       0                    0               0                     1           0                         1                          1      100.0                      0                   0              0                 0                     0                          1              0.0
TOTAL                      Disposed Of                 0           123                       0           52             102                       4           273                       0                       98             262              278                 967                1     2,160                     16,221                           13.3                  16            459              102            955            1,532               16,221                              9.4
                           End Pending                 0         464                          2        168              373                  18               815                       2                       98     1,232               1,959           2,656                  178        7,965                     43,569                           18.3                  66             619            830             578           2,093                43,569                             4.8
22nd                       New Filed             508              187                         3        132               217                      7           385                       1                       20    1,098                    484         2,624                      30    5,696                      41,509                           13.7                  23            930              235            933            2,121               41,509                              5.1
MCHENRY                    Reinstated                  34              66                     1          13                16                     2              24                     0                       0                    6               11              195               0                 368                 1,628                      22.6                   1                  38              5                0               44                1,628                         2.7
                           Disposed Of           582              346                        10        251              144                   13              383                       1                       19     1,140                    439        3,200                      31     6,559                     44,990                           14.6                  31     1,032                  240             928            2,231               44,990                              5.0
                           End Pending           226               331                        1       439               150                       5           116                       0                        1              733             596                 867                1    3,466                      16,864                          20.6                   8             547              133                   2            690            16,864                              4.1
22nd                       New Filed             508              187                         3        132               217                      7           385                       1                       20    1,098                    484         2,624                      30    5,696                      41,509                           13.7                  23            930              235            933            2,121               41,509                              5.1
CIRCUIT                    Reinstated                  34              66                     1          13                16                     2              24                     0                       0                    6               11              195               0                 368                 1,628                      22.6                   1                  38              5                0               44                1,628                         2.7
TOTAL                      Disposed Of           582              346                        10        251              144                   13              383                       1                       19     1,140                    439        3,200                      31     6,559                     44,990                           14.6                  31     1,032                  240             928            2,231               44,990                              5.0
                           End Pending           226               331                        1       439               150                       5           116                       0                        1              733             596                 867                1    3,466                      16,864                          20.6                   8             547              133                   2            690            16,864                              4.1
23rd                       New Filed                   0               65                    0          43                 41                     4           461                       0                        1              281             147                 834               19     1,896                     11,093                            17.1                 18             303             195            526           1,042                11,093                              9.4
DEKALB                     Reinstated                  0               10                    0               3                  1                 0              13                     0                       0                     1              20                   34           0                        82                        592           13.9                  0                    5              2                0                     7                        592              1.2
                           Disposed Of                 0               91                    0          49                 29                     2          394                        0                        1             283               170                 933              21      1,973                    14,594                           13.5                  19            304              195            528           1,046                14,594                              7.2
                           End Pending                 0               59                    0         132                 28                     8           202                       0                       0                    78         548                  359              4      1,418                     12,665                            11.2                  5             183                 75           24                287            12,665                              2.3
23rd                       New Filed                   0               62                    0               0          104                       0          466                        0                       11             302              164         1,283                     30    2,422                            9,857                     24.6                   12           404               122            392                 930                  9,857                         9.4
KENDALL                    Reinstated                  0                5                    0               6                  0                 3              27                     0                       0                     7              17             100                0                  165                             181           91.2                  0                   10              1                0                11                            181              6.1
                           Disposed Of                 0           155                       4          90                 34                 17             408                        0                       11             270               170        1,706                     27    2,892                           9,854                       29.3                  17           404                   96         379                 896                 9,854                          9.1
                           End Pending                 0          238                        8         128                 61                     9           216                       4                       0                157            560                 564               12      1,957                         9,104                       21.5                   5            340             220               62                627                 9,104                          6.9
23rd                       New Filed                   0           127                       0          43              145                       4           927                       0                       12             583               311         2,117                    49     4,318                     20,950                          20.6                   30             707             317            918            1,972               20,950                              9.4
CIRCUIT                    Reinstated                  0               15                    0               9                  1                 3             40                      0                       0                    8               37              134               0                 247                              773           32.0                  0                   15              3                0                18                            773              2.3
TOTAL                      Disposed Of                 0          246                        4         139                 63                19              802                        0                       12              553             340        2,639                      48    4,865                     24,448                            19.9                  36            708              291            907           1,942               24,448                               7.9
                           End Pending                 0          297                        8        260                  89                 17              418                       4                       0               235        1,108                    923               16      3,375                    21,769                           15.5                  10             523            295               86                914            21,769                              4.2
DOWNSTATE                  New Filed      8,332             4,898                        121        2,839           8,379                  189        20,971                       45       4,484                    28,661               17,694          74,879                1,399      172,891                   1,111,901                           15.5      2,568           24,136              11,960         38,761           77,425                1,111,901                             7.0
TOTAL                      Reinstated             273             237                        8         374              178                  16              349                        0                        1                   83          237        1,330                     10    3,096                      26,289                           11.8                   7             377             163              25                572            26,289                              2.2
                           Disposed Of    8,214             7,002                       129        4,830            5,385                  325        15,460                       29           3,897                22,692               14,191           77,513               1,224 160,891 1,166,081                                                 13.8       2,277           25,125              11,390         38,450           77,242 1,166,081                                            6.6
                           End Pending    6,316             18,665                     292        14,570         17,199                   996         32,468                    299             2,085                38,476               84,650          82,913                7,494 306,423 1,408,419                                                 21.8       2,894           26,842              31,950           9,701           71,387 1,408,419                                           5.1
COOK                       New Filed     4,497              6,452                            78   10,625            4,971              1,656          87,078                            1         5,153               1,604                7,544          10,785               11,722      152,166                    522,927                           29.1             227                      0    19,218         16,965           36,410                 522,927                              7.0
                           Reinstated                  0          108                         1     1,322                575          3,064              3,797                          0                       4                    39              73    5,863                       4   14,850                      15,453                           96.1                  0                   0              90         513                 603            15,453                              3.9
                           Disposed Of    2,826             8,005                      160        10,572           5,490               9,337          53,844                            0       5,394                   1,631              5,149          57,837               12,857      173,102                    462,760                           37.4             225                      0    12,699         14,537           27,461                 462,760                              5.9
                           End Pending   11,507             15,456                     142        21,524           7,008              4,478           175,873                      49             1,372               5,865 100,399                       -11,142              24,606      357,137 1,880,868                                            19.0              -49                     0    40,976         20,790            61,717 1,880,868                                           3.3
STATE                      New Filed     12,829             11,350                     199        13,464         13,350               1,845 108,049                                46            9,637               30,265               25,238          85,664               13,121 325,057 1,634,828                                                 19.9       2,795           24,136              31,178         55,726           113,835 1,634,828                                           7.0
TOTAL                      Reinstated             273             345                        9      1,696                753          3,080              4,146                          0                        5              122              310        7,193                     14   17,946                      41,742                          43.0                    7             377             253            538             1,175              41,742                              2.8
                           Disposed Of   11,040             15,007                    289         15,402         10,875               9,662           69,304                       29            9,291               24,323               19,340          135,350              14,081 333,993 1,628,841                                                 20.5       2,502           25,125              24,089         52,987 104,703 1,628,841                                                     6.4
                           End Pending   17,823             34,121                    434         36,094         24,207               5,474 208,341                             348              3,457               44,341 185,049                        71,771              32,100 663,560 3,289,287                                                 20.2       2,845           26,842              72,926         30,491           133,104 3,289,287                                          4.0
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE




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CRIMINAL AND QUASI-CRIMINAL CASELOAD STATISTICS BY COUNTY
CIRCUIT COURTS - CALENDAR YEAR 2021
                                                                                         CRIMINAL                                                                                                                                          QUASI-CRIMINAL
          CIRCUIT / COUNTY




                                                                                                                                                       CRIMINAL AS % OF
                                                                                                                             TOTAL ALL CASES




                                                                                                                                                                                                                                                                                          TOTAL ALL CASES




                                                                                                                                                                                                                                                                                                                    QUASI-CRIMINAL AS
                                                                                                    TOTAL CRIMINAL




                                                                                                                                                                                                                                                                 QUASI-CRIMINAL
                                                                                                                                                                                                    CONSERVATION
                                                               MISDEMEANOR




                                                                                                                                                                                                                                                                                                                     % OF ALL CASES
                                                                                                                                                                                                                         ORDINANCE
                                                                                                                                                          ALL CASES




                                                                                                                                                                                                                                                CIVIL LAW




                                                                                                                                                                                                                                                                   TOTAL OF
                                                                                                                                                                                 TRAFFIC
                                              FELONY




                                                                                                                                                                                                                           CASES
                                                                                                        CASES




                                                                                                                                                                                                       CASES
                                                                                   DUI




                                                                                                                                    *




                                                                                                                                                                                                                                                                                                 *
 1st                           New Filed                 96                   22          21                          139                      3,002                       4.6              2,557                   17                 7                     3                    2,584                     3,002                       86.1
 ALEXANDER                     Reinstated                 0                   0            0                            0                          1                       0.0                 0                    0                 0                     0                        0                          1                        0.0
                               Disposed Of               92                   23          11                          126                      2,477                       5.1              2,209                  10                  7                     1                    2,227                     2,477                       89.9
                               End Pending              278                  383         172                          833                38,363                            2.2             31,603                  218               322                    32               32,175                   38,363                            83.9
 1st                           New Filed                526                  533         114                         1,173                     7,826                      15.0              4,091                  77                701                    13                    4,882                     7,826                       62.4
 JACKSON                       Reinstated                 0                   0            0                            0                        50                        0.0                 0                    0                 0                     0                        0                        50                         0.0
                               Disposed Of              330                  360         118                          808                      7,362                      11.0             4,045                   64                662                    17                    4,788                     7,362                       65.0
                               End Pending              691                  590         128                         1,409                     4,418                      31.9              1,262                  28                145                     2                    1,437                     4,418                       32.5
 1st                           New Filed                105                   82          24                           211                     3,632                       5.8              2,918                  36                  1                    6                     2,961                     3,632                       81.5
 JOHNSON                       Reinstated                 0                   0            0                            0                         0                        0.0                 0                    0                 0                     0                        0                         0                         0.0
                               Disposed Of               58                  64           24                          146                      3,582                       4.1              2,961                  45                  1                    6                     3,013                     3,582                       84.1
                               End Pending              209                  127          61                          397                  8,848                           4.5              7,720                   33                26                     2                    7,781                 8,848                           87.9
 1st                           New Filed                177                  171          52                          400                      7,116                       5.6              6,156                  14                 17                    0                     6,187                     7,116                       86.9
 MASSAC                        Reinstated                 0                   0            0                            0                         0                        0.0                 0                    0                 0                     0                        0                         0                         0.0
                               Disposed Of              170                  159          48                          377                  7,046                           5.4              6,230                   13                22                     1                    6,266                 7,046                           88.9
                               End Pending              349                  329         102                          780                      6,655                      11.7              3,688                  16                 31                    8                     3,743                     6,655                       56.2
 1st                           New Filed                 39                   21          11                            71                      839                        8.5               609                   26                 0                     12                     647                       839                        77.1
 POPE                          Reinstated                 0                   0            0                            0                         0                        0.0                 0                    0                 0                     0                        0                         0                         0.0
                               Disposed Of               32                   28          11                            71                      953                        7.5               713                   48                 0                     15                     776                       953                        81.4
                               End Pending               63                   27           9                           99                       682                       14.5               265                   20                 0                      2                     287                       682                        42.1
 1st                           New Filed                103                   19          24                          146                 12,119                           1.2             11,780                   11                0                      1               11,792                    12,119                           97.3
 PULASKI                       Reinstated                 0                   0            0                            0                         0                        0.0                 0                    0                 0                     0                        0                         0                         0.0
                               Disposed Of               73                   55          25                          153               14,840                             1.0             14,629                   5                 0                      3              14,637                   14,840                             98.6
                               End Pending              171                  149          59                          379               62,901                             0.6             59,618                  66                123                     2             59,809                    62,901                             95.1
 1st                           New Filed                380                  228          25                          633                      4,186                      15.1             2,444                   34                118                     2                    2,598                     4,186                       62.1
 SALINE                        Reinstated                  1                  0            0                             1                        2                       50.0                 0                    0                 0                     0                        0                         2                         0.0
                               Disposed Of              424                  262          30                          716                      4,522                      15.8              2,357                   31               118                     1                    2,507                     4,522                       55.4
                               End Pending             1,309                 377          44                         1,730                 5,944                          29.1              1,552                   15               246                     1                    1,814                 5,944                           30.5
 1st                           New Filed                246                  117          34                          397                      3,336                      11.9              2,246                  37                 38                    6                     2,327                     3,336                       69.8
 UNION                         Reinstated                 0                   0            0                            0                         0                        0.0                 0                    0                 0                     0                        0                         0                         0.0
                               Disposed Of              286                  260          38                          584                      4,212                      13.9              2,760                  115                32                    19                    2,926                     4,212                       69.5
                               End Pending              414                  138          47                          599                      2,018                      29.7               889                   25                49                      5                     968                      2,018                       48.0
 1st                           New Filed                640                  556         228                         1,424               16,734                            8.5             11,754                  54                500                    8                12,316                   16,734                            73.6
 WILLIAMSON                    Reinstated                 0                   0            0                            0                        14                        0.0                 0                    0                 0                     0                        0                        14                         0.0
                               Disposed Of              512                  306         222                         1,040               15,367                            6.8             10,595                  83                577                    12               11,267                   15,367                            73.3
                               End Pending             1,148                 695         380                         2,223               10,981                           20.2              6,081                  47                 67                    14                    6,209               10,981                            56.5
 * TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE




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CRIMINAL AND QUASI-CRIMINAL CASELOAD

                                                                                          CRIMINAL                                                                                                                                            QUASI-CRIMINAL
        CIRCUIT / COUNTY




                                                                                                                                                        CRIMINAL AS % OF
                                                                                                                              TOTAL ALL CASES




                                                                                                                                                                                                                                                                                             TOTAL ALL CASES




                                                                                                                                                                                                                                                                                                                       QUASI-CRIMINAL AS
                                                                                                     TOTAL CRIMINAL




                                                                                                                                                                                                                                                                    QUASI-CRIMINAL
                                                                                                                                                                                                     CONSERVATION
                                                             MISDEMEANOR




                                                                                                                                                                                                                                                                                                                        % OF ALL CASES
                                                                                                                                                                                                                          ORDINANCE
                                                                                                                                                           ALL CASES




                                                                                                                                                                                                                                                   CIVIL LAW




                                                                                                                                                                                                                                                                      TOTAL OF
                                                                                                                                                                                  TRAFFIC
                                            FELONY




                                                                                                                                                                                                                            CASES
                                                                                                         CASES




                                                                                                                                                                                                        CASES
                                                                                   DUI




                                                                                                                                     *




                                                                                                                                                                                                                                                                                                    *
1st                          New Filed               2,312                 1,749          533                     4,594                  58,790                             7.8             44,555                  306               1,382                    51             46,294                    58,790                             78.7
CIRCUIT                      Reinstated                  1                    0             0                             1                       67                        1.5                 0                    0                   0                     0                        0                        67                         0.0
TOTAL                        Disposed Of             1,977                 1,517          527                         4,021              60,361                             6.7         46,499                      414               1,419                    75             48,407                    60,361                             80.2
                             End Pending             4,632                 2,815         1,002                    8,449               140,810                               6.0        112,678                      468               1,009                    68           114,223                  140,810                               81.1
2nd                          New Filed                298                   191            58                          547                      2,454                      22.3               996                    35                116                     0                     1,147                     2,454                       46.7
CRAWFORD                     Reinstated                 0                     0             0                            0                         4                        0.0                 0                    0                   0                     0                        0                         4                         0.0
                             Disposed Of              250                   201            50                          501                      2,181                      23.0               895                    42                102                     0                     1,039                     2,181                       47.6
                             End Pending              302                   246           133                          681                      3,541                      19.2               857                    26                167                     0                     1,050                     3,541                       29.7
2nd                          New Filed                 38                    20             8                           66                       793                        8.3               519                     3                 13                     0                      535                       793                        67.5
EDWARDS                      Reinstated                 0                     0             0                            0                         0                        0.0                 0                    0                   0                     0                        0                         0                         0.0
                             Disposed Of               33                    26             9                           68                       778                        8.7               529                     3                 10                      1                     543                       778                        69.8
                             End Pending               71                    43            21                          135                       625                       21.6               206                     1                 18                      3                     228                       625                        36.5
2nd                          New Filed                404                   428            91                          923                      5,788                      15.9              2,916                   54                144                      5                    3,119                     5,788                       53.9
FRANKLIN                     Reinstated                 0                     0             0                            0                          1                       0.0                 0                    0                   0                     0                        0                          1                        0.0
                             Disposed Of              493                   373            45                          911                      4,814                      18.9              2,232                  40                 130                      1                    2,403                     4,814                       49.9
                             End Pending              773                   674           200                         1,647               14,273                           11.5              4,811                  119                 211                    36                    5,177               14,273                            36.3
2nd                          New Filed                 59                    65             6                          130                      1,208                      10.8               796                    23                 12                     0                      831                      1,208                       68.8
GALLATIN                     Reinstated                 0                     0             0                            0                         0                        0.0                 0                    0                   0                     0                        0                         0                         0.0
                             Disposed Of               57                    47             5                          109                      1,129                       9.7               819                    26                 10                     0                      855                      1,129                       75.7
                             End Pending              149                   166            31                          346                      1,559                      22.2               296                    15                 14                     0                      325                      1,559                       20.8
2nd                          New Filed                 57                    32            16                          105                      1,059                       9.9               652                    28                  4                      1                     685                      1,059                       64.7
HAMILTON                     Reinstated                 0                     0             0                            0                         0                        0.0                 0                    0                   0                     0                        0                         0                         0.0
                             Disposed Of               61                    30            15                          106                       962                       11.0               564                    15                  7                      1                     587                       962                        61.0
                             End Pending               71                    35            26                          132                       796                       16.6               346                    28                  3                     0                      377                       796                        47.4
2nd                          New Filed                 39                    39             9                           87                       635                       13.7               361                     7                 17                     0                      385                       635                        60.6
HARDIN                       Reinstated                 0                     0             0                            0                         0                        0.0                 0                    0                   0                     0                        0                         0                         0.0
                             Disposed Of               37                    36             7                           80                       566                       14.1               330                    17                  11                    0                      358                       566                        63.3
                             End Pending               43                    39             11                          93                       775                       12.0                133                    8                 25                     0                      166                       775                        21.4
2nd                          New Filed                387                   221           130                          738                      4,578                      16.1              2,019                   31                  5                      2                    2,057                     4,578                       44.9
JEFFERSON                    Reinstated                 0                     0             0                            0                        24                        0.0                 0                    0                   0                     0                        0                        24                         0.0
                             Disposed Of              462                   245           141                          848                      4,585                      18.5              2,144                   27                  4                      7                    2,182                     4,585                       47.6
                             End Pending              587                   446           135                         1,168               10,770                           10.8              2,943                   27                 75                     14                    3,059               10,770                            28.4
2nd                          New Filed                150                    93            36                          279                      1,426                      19.6               509                    19                  0                     0                      528                      1,426                       37.0
LAWRENCE                     Reinstated                 0                     0             0                            0                         0                        0.0                 0                    0                   0                     0                        0                         0                         0.0
                             Disposed Of              264                   215            80                          559                      2,153                      26.0              1,033                   23                  2                      1                    1,059                     2,153                       49.2
                             End Pending               81                   114            44                          239                      2,328                      10.3               675                    47                 64                      7                     793                      2,328                       34.1
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE




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CRIMINAL AND QUASI-CRIMINAL CASELOAD

                                                                                           CRIMINAL                                                                                                                                            QUASI-CRIMINAL
        CIRCUIT / COUNTY




                                                                                                                                                         CRIMINAL AS % OF
                                                                                                                               TOTAL ALL CASES




                                                                                                                                                                                                                                                                                              TOTAL ALL CASES




                                                                                                                                                                                                                                                                                                                        QUASI-CRIMINAL AS
                                                                                                      TOTAL CRIMINAL




                                                                                                                                                                                                                                                                     QUASI-CRIMINAL
                                                                                                                                                                                                      CONSERVATION
                                                             MISDEMEANOR




                                                                                                                                                                                                                                                                                                                         % OF ALL CASES
                                                                                                                                                                                                                           ORDINANCE
                                                                                                                                                            ALL CASES




                                                                                                                                                                                                                                                    CIVIL LAW




                                                                                                                                                                                                                                                                       TOTAL OF
                                                                                                                                                                                   TRAFFIC
                                            FELONY




                                                                                                                                                                                                                             CASES
                                                                                                          CASES




                                                                                                                                                                                                         CASES
                                                                                    DUI




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                                                                                                                                                                                                                                                                                                     *
2nd                          New Filed                306                    176            45                          527                      2,027                      26.0               747                    19                 84                      1                     851                      2,027                        42.0
RICHLAND                     Reinstated                 0                      0             0                            0                         0                        0.0                 0                    0                   0                     0                        0                         0                          0.0
                             Disposed Of              289                    245            67                          601                      2,376                      25.3              1,024                   23                 78                      8                    1,133                     2,376                        47.7
                             End Pending              336                    177            48                          561                      1,610                      34.8               386                     3                 21                      6                     416                      1,610                        25.8
2nd                          New Filed                 116                    85            28                          229                      1,355                      16.9               722                    10                 18                     0                      750                      1,355                        55.4
WABASH                       Reinstated                 0                      0             0                            0                         0                        0.0                 0                    0                   0                     0                        0                         0                          0.0
                             Disposed Of               61                     76            30                          167                      1,210                      13.8               747                    8                  23                     0                      778                      1,210                        64.3
                             End Pending              229                    153            80                          462                      2,596                      17.8               688                     3                 74                     0                      765                      2,596                        29.5
2nd                          New Filed                238                    137            26                          401                      2,678                      15.0              1,706                   35                  0                      1                    1,742                     2,678                        65.0
WAYNE                        Reinstated                 0                      0             0                            0                         3                        0.0                 0                    0                   0                     0                        0                         3                          0.0
                             Disposed Of              187                     99            29                          315                      2,777                      11.3              1,969                   32                  0                      1                    2,002                     2,777                        72.1
                             End Pending              340                    242            54                          636                      5,488                      11.6              3,672                   41                 17                      2                    3,732                     5,488                        68.0
2nd                          New Filed                185                    124            25                          334                      2,510                      13.3              1,554                   17                 42                      2                    1,615                     2,510                        64.3
WHITE                        Reinstated                 0                       1            0                             1                        6                       16.7                 0                    0                   0                     0                        0                         6                          0.0
                             Disposed Of              180                    102            13                          295                      2,417                      12.2              1,545                   21                 39                     21                    1,626                     2,417                        67.3
                             End Pending              167                    106            20                          293                      6,673                      4.4               5,426                  68                  61                     0                     5,555                     6,673                        83.2
2nd                          New Filed               2,277                  1,611          478                         4,366               26,511                           16.5             13,497                  281                455                     12             14,245                     26,511                             53.7
CIRCUIT                      Reinstated                 0                       1            0                             1                       38                        2.6                 0                    0                   0                     0                        0                        38                          0.0
TOTAL                        Disposed Of             2,374                  1,695          491                     4,560                  25,948                            17.6             13,831                  277                416                     41              14,565                   25,948                              56.1
                             End Pending             3,149                 2,441           803                         6,393              51,034                            12.5             20,439                  386                750                     68              21,643                   51,034                              42.4
3rd                          New Filed                156                     59             11                         226                      4,245                       5.3              3,409                  20                   9                      1                    3,439                     4,245                        81.0
BOND                         Reinstated                 0                      0             0                            0                          1                       0.0                  1                   0                   0                      0                        1                         1                       100.0
                             Disposed Of              143                     78             11                         232                  4,045                           5.7              3,533                   14                  5                      2                    3,554                 4,045                            87.9
                             End Pending              264                    216            31                           511               11,037                            4.6              5,155                   29                 113                     3                    5,300               11,037                            48.0
3rd                          New Filed               3,930                 4,884           793                         9,607              50,061                            19.2             25,334                  64                3,170                    14              28,582                   50,061                              57.1
MADISON                      Reinstated               545                      0             0                          545                       639                       85.3                 0                    0                   0                      0                       0                       639                          0.0
                             Disposed Of             4,320                  5,929          944                    11,193                  55,093                            20.3             28,541                  109               3,681                    62              32,393                   55,093                              58.8
                             End Pending             5,694                 10,823         1,664                   18,181                   71,087                           25.6             29,603                  88                1,483                    71              31,245                    71,087                            44.0
3rd                          New Filed               4,086                 4,943           804                         9,833              54,306                            18.1             28,743                  84                3,179                    15              32,021                   54,306                              59.0
CIRCUIT                      Reinstated               545                      0             0                          545                       640                       85.2                  1                   0                   0                     0                         1                      640                          0.2
TOTAL                        Disposed Of             4,463                 6,007           955                   11,425                    59,138                           19.3             32,074                  123               3,686                    64              35,947                    59,138                             60.8
                             End Pending             5,958                 11,039         1,695                  18,692                    82,124                           22.8             34,758                  117               1,596                    74              36,545                    82,124                            44.5
4th                          New Filed                348                    138            59                          545                  4,809                          11.3              2,100                   17                 83                      3                    2,203                 4,809                            45.8
CHRISTIAN                    Reinstated                 0                      0             0                            0                        23                        0.0                 0                    0                   0                      0                       0                        23                          0.0
                             Disposed Of              348                    145            51                          544                      4,726                      11.5              2,117                   29                 57                      9                    2,212                     4,726                        46.8
                             End Pending              594                    225            93                          912                      5,858                      15.6              2,045                   14                100                     4                     2,163                     5,858                        36.9
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE




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CRIMINAL AND QUASI-CRIMINAL CASELOAD

                                                                                         CRIMINAL                                                                                                                                          QUASI-CRIMINAL
        CIRCUIT / COUNTY




                                                                                                                                                       CRIMINAL AS % OF
                                                                                                                             TOTAL ALL CASES




                                                                                                                                                                                                                                                                                           TOTAL ALL CASES




                                                                                                                                                                                                                                                                                                                     QUASI-CRIMINAL AS
                                                                                                    TOTAL CRIMINAL




                                                                                                                                                                                                                                                                  QUASI-CRIMINAL
                                                                                                                                                                                                    CONSERVATION
                                                             MISDEMEANOR




                                                                                                                                                                                                                                                                                                                      % OF ALL CASES
                                                                                                                                                                                                                         ORDINANCE
                                                                                                                                                          ALL CASES




                                                                                                                                                                                                                                                CIVIL LAW




                                                                                                                                                                                                                                                                    TOTAL OF
                                                                                                                                                                                 TRAFFIC
                                            FELONY




                                                                                                                                                                                                                           CASES
                                                                                                        CASES




                                                                                                                                                                                                       CASES
                                                                                   DUI




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4th                          New Filed                 86                    73           12                          171                      1,530                      11.2               833                    20                16                     0                      869                      1,530                       56.8
CLAY                         Reinstated                 0                     0            0                            0                         0                        0.0                 0                    0                 0                      0                        0                         0                         0.0
                             Disposed Of               96                    65           16                          177                      1,467                      12.1               852                    26                12                      2                     892                      1,467                       60.8
                             End Pending              103                    77           19                          199                       946                       21.0               279                     3                 5                     0                      287                       946                        30.3
4th                          New Filed                275                   193           56                          524                      2,980                      17.6              1,501                   55                 6                     11                    1,573                     2,980                       52.8
CLINTON                      Reinstated                 0                     0            0                            0                         0                        0.0                 0                    0                 0                      0                        0                         0                         0.0
                             Disposed Of              198                   196           62                          456                      2,785                      16.4              1,452                   67                 1                     11                    1,531                     2,785                       55.0
                             End Pending              254                   199           48                          501                      3,768                      13.3              1,341                  24                 12                      2                    1,379                     3,768                       36.6
4th                          New Filed                479                   317           96                          892                      5,162                      17.3              2,957                    7                67                     11                    3,042                     5,162                       58.9
EFFINGHAM                    Reinstated                 0                     0            0                            0                        14                        0.0                  1                   0                 0                      0                         1                       14                         7.1
                             Disposed Of              331                   216           64                          611                      4,622                      13.2             2,649                     2                67                    36                     2,754                     4,622                       59.6
                             End Pending              642                   555          225                         1,422               10,156                           14.0              7,312                   10                29                    58                 7,409                   10,156                            73.0
4th                          New Filed                369                   141           28                          538                      5,227                      10.3              3,711                   51                70                     4                     3,836                     5,227                       73.4
FAYETTE                      Reinstated                 0                     0            0                            0                         0                        0.0                 0                    0                 0                      0                        0                         0                         0.0
                             Disposed Of              275                   148           54                          477                  6,088                           7.8              4,725                   51                56                    10                 4,842                     6,088                           79.5
                             End Pending              667                   358          115                         1,140                     5,485                      20.8              2,731                   59                62                     11                    2,863                     5,485                       52.2
4th                          New Filed                 75                    77           34                          186                      1,093                      17.0               544                   34                 41                     0                      619                      1,093                       56.6
JASPER                       Reinstated                 0                     0            0                            0                         0                        0.0                 0                    0                 0                      0                        0                         0                         0.0
                             Disposed Of               77                    88           43                          208                      1,080                      19.3               581                   40                 42                     0                      663                      1,080                       61.4
                             End Pending               72                    48           28                          148                      1,094                      13.5               394                    11                 5                     0                      410                      1,094                       37.5
4th                          New Filed                392                   181           68                          641                      6,218                      10.3              3,251                   82               535                      2                    3,870                     6,218                       62.2
MARION                       Reinstated                 0                     0            0                            0                        27                        0.0                 0                    0                 0                      0                        0                        27                         0.0
                             Disposed Of              363                   177           85                          625                      5,958                      10.5              3,231                   75               559                      3                    3,868                     5,958                       64.9
                             End Pending              521                   290          169                          980                      5,128                      19.1              2,116                  42                 88                     8                     2,254                     5,128                       44.0
4th                          New Filed                372                   210          109                          691                      7,598                       9.1              5,598                   50               127                     11                    5,786                     7,598                       76.2
MONTGOMERY                   Reinstated                 0                     0            0                            0                         2                        0.0                 0                    0                 0                      0                        0                         2                         0.0
                             Disposed Of              278                   333           95                          706                      7,011                      10.1              5,171                   57               123                     19                    5,370                     7,011                       76.6
                             End Pending              692                   362          131                         1,185                 8,980                          13.2              5,748                   22               48                     39                     5,857                 8,980                           65.2
4th                          New Filed                171                    82           27                          280                      1,708                      16.4               643                    47               49                       1                     740                      1,708                       43.3
SHELBY                       Reinstated                 0                     0            0                            0                         0                        0.0                 0                    0                 0                      0                        0                         0                         0.0
                             Disposed Of              116                   102           20                          238                      1,473                      16.2               539                   47                44                      23                     653                      1,473                       44.3
                             End Pending              212                   116           42                          370                      1,722                      21.5               462                    15                77                     8                      562                      1,722                       32.6
4th                          New Filed               2,567                 1,412         489                     4,468                   36,325                           12.3             21,138                  363               994                    43               22,538                    36,325                            62.0
CIRCUIT                      Reinstated                 0                     0            0                            0                        66                        0.0                  1                   0                 0                      0                         1                       66                         1.5
TOTAL                        Disposed Of             2,082                 1,470         490                     4,042                   35,210                           11.5             21,317                  394               961                    113              22,785                    35,210                            64.7
                             End Pending             3,757                 2,230         870                         6,857               43,137                           15.9             22,428                  200               426                    130              23,184                    43,137                            53.7
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE




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CRIMINAL AND QUASI-CRIMINAL CASELOAD

                                                                                         CRIMINAL                                                                                                                                            QUASI-CRIMINAL
        CIRCUIT / COUNTY




                                                                                                                                                       CRIMINAL AS % OF
                                                                                                                             TOTAL ALL CASES




                                                                                                                                                                                                                                                                                            TOTAL ALL CASES




                                                                                                                                                                                                                                                                                                                      QUASI-CRIMINAL AS
                                                                                                    TOTAL CRIMINAL




                                                                                                                                                                                                                                                                   QUASI-CRIMINAL
                                                                                                                                                                                                    CONSERVATION
                                                             MISDEMEANOR




                                                                                                                                                                                                                                                                                                                       % OF ALL CASES
                                                                                                                                                                                                                         ORDINANCE
                                                                                                                                                          ALL CASES




                                                                                                                                                                                                                                                  CIVIL LAW




                                                                                                                                                                                                                                                                     TOTAL OF
                                                                                                                                                                                 TRAFFIC
                                            FELONY




                                                                                                                                                                                                                           CASES
                                                                                                        CASES




                                                                                                                                                                                                       CASES
                                                                                   DUI




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5th                          New Filed                 80                   174           37                          291                      1,861                      15.6              1,037                    7                 33                     0                     1,077                     1,861                       57.9
CLARK                        Reinstated                 0                     0            0                            0                         3                        0.0                 0                    0                   0                     0                        0                         3                         0.0
                             Disposed Of               77                   189           43                          309                      1,928                      16.0              1,135                    5                 29                     0                     1,169                     1,928                       60.6
                             End Pending               72                   209           84                          365                      3,739                       9.8              2,107                   8                  35                      7                    2,157                     3,739                       57.7
5th                          New Filed                636                   537          146                         1,319                     7,354                      17.9             3,400                    17                201                      3                    3,621                     7,354                       49.2
COLES                        Reinstated                 0                     0            0                            0                         0                        0.0                 0                    0                   0                     0                        0                         0                         0.0
                             Disposed Of              570                   581          133                         1,284                     5,688                      22.6              2,851                   23                220                     0                 3,094                         5,688                       54.4
                             End Pending             1,105                 1,245         230                         2,580               25,241                           10.2             4,745                    39               4,792                     5                    9,581               25,241                            38.0
5th                          New Filed                 77                    65           41                          183                      1,458                      12.6               923                    6                   7                     0                      936                      1,458                       64.2
CUMBERLAND                   Reinstated                 0                     0            0                            0                         0                        0.0                 0                    0                   0                     0                        0                         0                         0.0
                             Disposed Of               75                    53           32                          160                      1,203                      13.3               814                     5                  2                     0                      821                      1,203                       68.2
                             End Pending               99                    75           58                          232                      5,140                       4.5              2,510                   9                  28                      1                    2,548                     5,140                       49.6
5th                          New Filed                234                   168           23                          425                      1,902                      22.3               760                    0                  89                     0                      849                      1,902                       44.6
EDGAR                        Reinstated                 0                     0            0                            0                          1                       0.0                 0                    0                   0                     0                        0                          1                        0.0
                             Disposed Of              220                   159           23                          402                      1,656                      24.3               776                    6                 176                     0                      958                      1,656                       57.9
                             End Pending              446                   267           85                          798                  4,970                          16.1              1,108                   4                  42                     0                     1,154                 4,970                           23.2
5th                          New Filed                821                   850          172                         1,843               13,891                           13.3              7,676                   55                329                     0                 8,060                   13,891                            58.0
VERMILION                    Reinstated                 3                      1           0                            4                       177                        2.3               166                     3                  4                     0                      173                       177                        97.7
                             Disposed Of              695                  1,123         130                         1,948               12,223                           15.9              7,810                  30                 259                      1                    8,100               12,223                            66.3
                             End Pending             1,598                 1,547         441                         3,586               33,116                           10.8             9,698                   100                414                     26              10,238                    33,116                            30.9
5th                          New Filed               1,848                 1,794         419                         4,061              26,466                            15.3             13,796                   85                659                      3              14,543                   26,466                             54.9
CIRCUIT                      Reinstated                 3                      1           0                            4                       181                        2.2               166                     3                  4                     0                      173                       181                        95.6
TOTAL                        Disposed Of             1,637                 2,105         361                         4,103              22,698                            18.1             13,386                  69                 686                      1              14,142                   22,698                             62.3
                             End Pending             3,320                 3,343         898                         7,561              72,206                            10.5             20,168                  160               5,311                    39              25,678                    72,206                            35.6
6th                          New Filed               1,621                  612          376                         2,609              20,619                            12.7             11,391                   10                279                     8               11,688                   20,619                             56.7
CHAMPAIGN                    Reinstated               250                    34           11                          295                       630                       46.8               289                    0                  17                     6                      312                       630                        49.5
                             Disposed Of             2,352                  921          463                         3,736               19,774                           18.9             11,435                   6                 353                     6               11,800                    19,774                            59.7
                             End Pending             1,549                  689          273                         2,511              30,476                             8.2              3,119                   10                172                     16                    3,317              30,476                             10.9
6th                          New Filed                 98                   126           20                          244                      1,929                      12.6              1,025                   81                 10                      7                    1,123                     1,929                       58.2
DEWITT                       Reinstated                 0                     0            0                            0                         0                        0.0                 0                    0                   0                     0                        0                         0                         0.0
                             Disposed Of              142                   144           34                          320                  2,000                          16.0              1,119                  90                   9                     10                    1,228                 2,000                           61.4
                             End Pending               99                   124           27                          250                  3,046                           8.2               672                   43                  15                     39                     769                  3,046                           25.2
6th                          New Filed                210                    99           78                          387                      2,769                      14.0              1,814                    2                 38                      3                    1,857                     2,769                       67.1
DOUGLAS                      Reinstated                 0                     0            0                            0                         7                        0.0                 0                    0                   0                     0                        0                         7                         0.0
                             Disposed Of              227                   122           77                          426                      2,721                      15.7              1,816                    3                 28                     4                     1,851                     2,721                       68.0
                             End Pending              232                   103           70                          405                      3,503                      11.6             2,480                    4                  29                     14                    2,527                     3,503                       72.1
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE




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CRIMINAL AND QUASI-CRIMINAL CASELOAD

                                                                                           CRIMINAL                                                                                                                                           QUASI-CRIMINAL
         CIRCUIT / COUNTY




                                                                                                                                                         CRIMINAL AS % OF
                                                                                                                               TOTAL ALL CASES




                                                                                                                                                                                                                                                                                              TOTAL ALL CASES




                                                                                                                                                                                                                                                                                                                        QUASI-CRIMINAL AS
                                                                                                      TOTAL CRIMINAL




                                                                                                                                                                                                                                                                     QUASI-CRIMINAL
                                                                                                                                                                                                       CONSERVATION
                                                              MISDEMEANOR




                                                                                                                                                                                                                                                                                                                         % OF ALL CASES
                                                                                                                                                                                                                            ORDINANCE
                                                                                                                                                            ALL CASES




                                                                                                                                                                                                                                                   CIVIL LAW




                                                                                                                                                                                                                                                                       TOTAL OF
                                                                                                                                                                                    TRAFFIC
                                             FELONY




                                                                                                                                                                                                                              CASES
                                                                                                          CASES




                                                                                                                                                                                                          CASES
                                                                                    DUI




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6th                           New Filed               1,650                  733           474                         2,857               17,297                            16.5              8,797                   39               347                      1                    9,184               17,297                             53.1
MACON                         Reinstated                  1                    0             0                             1                        6                        16.7                 0                    0                 0                      0                        0                         6                          0.0
                              Disposed Of             1,500                  637           492                         2,629               15,035                            17.5              7,582                  40                319                     0                     7,941               15,035                             52.8
                              End Pending             1,728                  887           350                         2,965               18,272                            16.2             6,426                    6                316                    27                     6,775               18,272                             37.1
6th                           New Filed                 96                    46            36                          178                      1,398                       12.7               812                    18                27                     0                      857                      1,398                        61.3
MOULTRIE                      Reinstated                 0                     0             0                            0                         6                         0.0                 0                    0                 0                      0                        0                         6                          0.0
                              Disposed Of               68                    52            47                          167                      1,331                       12.5               845                   20                 18                     0                      883                      1,331                        66.3
                              End Pending               99                    75            49                          223                      1,196                       18.6               459                    4                 17                     0                      480                      1,196                        40.1
6th                           New Filed                 90                    39            39                          168                      1,476                       11.4               793                     5                16                     5                      819                      1,476                        55.5
PIATT                         Reinstated                 0                     0             0                            0                         0                         0.0                 0                    0                 0                      0                        0                         0                          0.0
                              Disposed Of              103                    65            48                          216                      1,397                       15.5               831                     1                28                     3                      863                      1,397                        61.8
                              End Pending              106                    74            53                          233                      3,216                        7.2              1,111                   8                48                     32                     1,199                     3,216                        37.3
6th                           New Filed               3,765                 1,655         1,023                    6,443                  45,488                             14.2             24,632                  155               717                    24               25,528                   45,488                              56.1
CIRCUIT                       Reinstated               251                    34             11                         296                       649                        45.6               289                    0                 17                     6                      312                       649                         48.1
TOTAL                         Disposed Of             4,392                 1,941         1,161                    7,494                  42,258                             17.7             23,628                  160               755                    23              24,566                    42,258                              58.1
                              End Pending             3,813                 1,952          822                         6,587              59,709                             11.0             14,267                   75               597                    128              15,067                   59,709                              25.2
7th                           New Filed                127                    115           27                          269                      1,910                       14.1              1,088                   17                15                     0                     1,120                     1,910                        58.6
GREENE                        Reinstated                 6                     0             5                            11                        11                      100.0                 0                    0                 0                      0                        0                         11                         0.0
                              Disposed Of              154                   152            46                          352                      2,029                       17.3              1,056                   29                12                     9                     1,106                     2,029                        54.5
                              End Pending              133                    83            26                          242                      1,031                       23.5               469                     3                 7                     4                      483                      1,031                        46.8
7th                           New Filed                333                   243           141                          717                      5,533                       13.0              3,752                   38               199                     2                     3,991                     5,533                        72.1
JERSEY                        Reinstated                 0                     0             0                            0                         0                         0.0                 0                    0                 0                      0                        0                         0                          0.0
                              Disposed Of              328                   234           106                          668                  4,708                           14.2              3,185                   57               216                      1                    3,459                 4,708                            73.5
                              End Pending              379                   244           131                          754                      4,559                       16.5              2,412                   36                59                     4                     2,511                     4,559                        55.1
7th                           New Filed                435                   309           121                          865                      8,019                       10.8              5,266                   23               254                     0                     5,543                     8,019                        69.1
MACOUPIN                      Reinstated                 0                     0             0                            0                         2                         0.0                 0                    0                 0                      0                        0                         2                          0.0
                              Disposed Of              300                   296           116                          712                      7,508                        9.5             4,997                    26               243                     0                     5,266                     7,508                        70.1
                              End Pending              836                   932           192                         1,960               13,262                            14.8             5,948                    25               752                     3                     6,728               13,262                             50.7
7th                           New Filed                203                   216            55                          474                      3,318                       14.3              1,452                   14                47                     0                     1,513                     3,318                        45.6
MORGAN                        Reinstated                 0                     0             0                            0                         9                         0.0                 9                    0                 0                      0                        9                         9                        100.0
                              Disposed Of              186                   222            66                          474                      3,303                       14.4              1,521                   13                45                     0                     1,579                     3,303                        47.8
                              End Pending              253                   155            40                          448                      3,127                       14.3               654                     3                21                     0                      678                      3,127                        21.7
7th                           New Filed               1,139                  817           671                         2,627               38,816                             6.8             23,150                  80                294                    18               23,542                    38,816                             60.7
SANGAMON                      Reinstated                 0                     0             0                            0                         0                         0.0                 0                    0                 0                      0                        0                         0                          0.0
                              Disposed Of             2,253                 1,492         1,269                        5,014              60,072                              8.3             35,943                  60                389                    40               36,432                   60,072                              60.6
                              End Pending             2,122                 2,348         1,343                        5,813              78,234                              7.4             27,187                  224               902                    55               28,368                   78,234                              36.3
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE




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CRIMINAL AND QUASI-CRIMINAL CASELOAD

                                                                                          CRIMINAL                                                                                                                                            QUASI-CRIMINAL
        CIRCUIT / COUNTY




                                                                                                                                                        CRIMINAL AS % OF
                                                                                                                              TOTAL ALL CASES




                                                                                                                                                                                                                                                                                             TOTAL ALL CASES




                                                                                                                                                                                                                                                                                                                       QUASI-CRIMINAL AS
                                                                                                     TOTAL CRIMINAL




                                                                                                                                                                                                                                                                    QUASI-CRIMINAL
                                                                                                                                                                                                     CONSERVATION
                                                             MISDEMEANOR




                                                                                                                                                                                                                                                                                                                        % OF ALL CASES
                                                                                                                                                                                                                          ORDINANCE
                                                                                                                                                           ALL CASES




                                                                                                                                                                                                                                                   CIVIL LAW




                                                                                                                                                                                                                                                                      TOTAL OF
                                                                                                                                                                                  TRAFFIC
                                            FELONY




                                                                                                                                                                                                                            CASES
                                                                                                         CASES




                                                                                                                                                                                                        CASES
                                                                                   DUI




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7th                          New Filed                 25                    17             5                           47                       844                        5.6               608                    10                   1                    4                      623                       844                        73.8
SCOTT                        Reinstated                 0                     0             0                            0                         0                        0.0                 0                    0                   0                     0                        0                         0                         0.0
                             Disposed Of               28                    20             4                           52                       768                        6.8               605                    12                  0                      6                     623                       768                        81.1
                             End Pending               39                    27             8                           74                      1,616                       4.6               597                     1                  3                     10                     611                      1,616                       37.8
7th                          New Filed               2,262                 1,717         1,020                    4,999                 58,440                              8.6             35,316                  182                810                     24              36,332                  58,440                              62.2
CIRCUIT                      Reinstated                 6                     0             5                            11                       22                       50.0                 9                    0                   0                     0                        9                        22                        40.9
TOTAL                        Disposed Of             3,249                 2,416         1,607                        7,272              78,388                             9.3             47,307                  197                905                     56             48,465                    78,388                             61.8
                             End Pending             3,762                 3,789         1,740                        9,291           101,829                               9.1             37,267                  292               1,744                    76              39,379                101,829                               38.7
8th                          New Filed                794                   423           121                         1,338              10,457                            12.8             4,994                    17                461                     0                     5,472              10,457                             52.3
ADAMS                        Reinstated                 0                     0             0                            0                        20                        0.0                 0                    0                   0                     0                        0                        20                         0.0
                             Disposed Of             1,046                  488           119                         1,653                11,182                          14.8              5,661                   33                658                      1                    6,353                11,182                           56.8
                             End Pending              935                   460           133                         1,528                     7,128                      21.4              2,112                   6                  77                      6                    2,201                     7,128                       30.9
8th                          New Filed                 33                    29             8                           70                      1,003                       7.0               712                    10                  3                     0                      725                      1,003                       72.3
BROWN                        Reinstated                 0                     0             0                            0                          1                       0.0                 0                    0                   0                     0                        0                          1                        0.0
                             Disposed Of               33                    23             8                           64                      1,029                       6.2               775                    9                   2                     0                      786                      1,029                       76.4
                             End Pending               44                    77            14                          135                       759                       17.8               264                    6                   8                      7                     285                       759                        37.5
8th                          New Filed                 39                    25             8                           72                       591                       12.2               342                    33                  5                     0                      380                       591                        64.3
CALHOUN                      Reinstated                 0                     0             0                            0                         0                        0.0                 0                    0                   0                     0                        0                         0                         0.0
                             Disposed Of               33                    23             11                          67                       567                       11.8               334                   48                   5                      1                     388                       567                        68.4
                             End Pending               34                    26             7                           67                       493                       13.6               239                    13                  4                      1                     257                       493                        52.1
8th                          New Filed                102                    72            29                          203                      1,815                      11.2              1,073                   51                 21                      2                    1,147                     1,815                       63.2
CASS                         Reinstated                 0                     0             0                            0                         8                        0.0                 0                    0                   0                     0                        0                         8                         0.0
                             Disposed Of              138                    78            20                          236                      1,914                      12.3              1,120                  47                   11                     5                    1,183                     1,914                       61.8
                             End Pending              205                   115            56                          376                      1,888                      19.9               940                   39                  21                      7                    1,007                     1,888                       53.3
8th                          New Filed                 91                   127            30                          248                      2,524                       9.8              1,530                  59                  115                     1                    1,705                     2,524                       67.6
MASON                        Reinstated                 0                     0             0                            0                         0                        0.0                 0                    0                   0                     0                        0                         0                         0.0
                             Disposed Of              101                   151            42                          294                      2,590                      11.4              1,609                  67                  111                     3                    1,790                     2,590                       69.1
                             End Pending               112                  157            43                          312                      3,894                       8.0              1,861                   37                 68                     11                    1,977                     3,894                       50.8
8th                          New Filed                 59                    38            26                          123                       862                       14.3               369                    10                  3                     0                      382                       862                        44.3
MENARD                       Reinstated                 0                     0             0                            0                         8                        0.0                 0                    0                   0                     0                        0                         8                         0.0
                             Disposed Of               39                    37            27                          103                       747                       13.8               307                     7                  3                     0                      317                       747                        42.4
                             End Pending               52                    26            20                           98                       878                       11.2               399                    4                   7                     0                      410                       878                        46.7
8th                          New Filed                294                   127            62                          483                      3,236                      14.9              1,956                  26                   0                      1                    1,983                     3,236                       61.3
PIKE                         Reinstated                 0                     0             0                            0                         0                        0.0                 0                    0                   0                     0                        0                         0                         0.0
                             Disposed Of              266                   106            57                          429                      3,036                      14.1              1,912                   55                  0                      7                    1,974                     3,036                       65.0
                             End Pending              335                   353            96                          784                      6,387                      12.3              3,179                  96                  30                     34                    3,339                     6,387                       52.3
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE




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CRIMINAL AND QUASI-CRIMINAL CASELOAD

                                                                                         CRIMINAL                                                                                                                                            QUASI-CRIMINAL
        CIRCUIT / COUNTY




                                                                                                                                                       CRIMINAL AS % OF
                                                                                                                             TOTAL ALL CASES




                                                                                                                                                                                                                                                                                            TOTAL ALL CASES




                                                                                                                                                                                                                                                                                                                      QUASI-CRIMINAL AS
                                                                                                    TOTAL CRIMINAL




                                                                                                                                                                                                                                                                   QUASI-CRIMINAL
                                                                                                                                                                                                    CONSERVATION
                                                             MISDEMEANOR




                                                                                                                                                                                                                                                                                                                       % OF ALL CASES
                                                                                                                                                                                                                         ORDINANCE
                                                                                                                                                          ALL CASES




                                                                                                                                                                                                                                                  CIVIL LAW




                                                                                                                                                                                                                                                                     TOTAL OF
                                                                                                                                                                                 TRAFFIC
                                            FELONY




                                                                                                                                                                                                                           CASES
                                                                                                        CASES




                                                                                                                                                                                                       CASES
                                                                                   DUI




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8th                          New Filed                 42                    39           14                           95                      1,181                       8.0               791                    11                 12                      2                     816                      1,181                       69.1
SCHUYLER                     Reinstated                 0                     0            0                            0                          1                       0.0                 0                    0                   0                     0                        0                          1                        0.0
                             Disposed Of               47                    40           19                          106                      1,171                       9.1               821                    6                   11                     2                     840                      1,171                       71.7
                             End Pending               50                    48           22                          120                      1,416                       8.5               884                    19                  6                      7                     916                      1,416                       64.7
8th                          New Filed               1,454                  880          298                         2,632               21,669                           12.1             11,767                  217                620                      6              12,610                    21,669                            58.2
CIRCUIT                      Reinstated                 0                     0            0                            0                        38                        0.0                 0                    0                   0                     0                        0                        38                         0.0
TOTAL                        Disposed Of             1,703                  946          303                         2,952               22,236                           13.3             12,539                  272                801                     19               13,631                   22,236                            61.3
                             End Pending             1,767                 1,262         391                         3,420              22,843                            15.0              9,878                  220                221                     73              10,392                   22,843                             45.5
9th                          New Filed                346                   308           99                          753                      5,158                      14.6              2,768                   57                221                     15                    3,061                     5,158                       59.3
FULTON                       Reinstated                 0                     0            0                            0                         4                        0.0                 0                    0                   0                     0                        0                         4                         0.0
                             Disposed Of              276                   298           82                          656                      4,617                      14.2              2,481                  45                 220                     23                    2,769                     4,617                       60.0
                             End Pending              686                   614          138                         1,438                     5,548                      25.9              1,809                   19                 59                     45                    1,932                     5,548                       34.8
9th                          New Filed                143                   106           95                          344                      2,554                      13.5              1,459                  47                  12                      1                    1,519                     2,554                       59.5
HANCOCK                      Reinstated                 0                     0            0                            0                         0                        0.0                 0                    0                   0                     0                        0                         0                         0.0
                             Disposed Of              128                   105           50                          283                      2,399                      11.8              1,332                   31                  4                      1                    1,368                     2,399                       57.0
                             End Pending              169                   239          124                          532                      3,125                      17.0              1,629                   23                 44                     0                     1,696                     3,125                       54.3
9th                          New Filed                 79                    29           88                          196                      2,822                       6.9              2,384                   15                  8                     0                     2,407                     2,822                       85.3
HENDERSON                    Reinstated                 0                     0            0                            0                         0                        0.0                 0                    0                   0                     0                        0                         0                         0.0
                             Disposed Of               78                    44           76                          198                      2,907                       6.8             2,445                   40                  16                     0                     2,501                     2,907                       86.0
                             End Pending              100                    76          127                          303                      1,849                      16.4              1,040                   8                  75                     0                     1,123                     1,849                       60.7
9th                          New Filed                640                   722          140                         1,502                     8,070                      18.6             4,479                    12                245                     14                    4,750                     8,070                       58.9
KNOX                         Reinstated                 0                     0            0                            0                         0                        0.0                 0                    0                   0                     0                        0                         0                         0.0
                             Disposed Of              843                   696          158                         1,697                     8,518                      19.9              4,302                   21                215                      8                4,546                         8,518                       53.4
                             End Pending             1,214                  986          214                         2,414               10,565                           22.8              5,213                   4                  73                     21                    5,311               10,565                            50.3
9th                          New Filed                230                   260           91                          581                      3,852                      15.1              1,851                   17                276                      2                    2,146                     3,852                       55.7
MCDONOUGH                    Reinstated                 0                     0            0                            0                         0                        0.0                 0                    0                   0                     0                        0                         0                         0.0
                             Disposed Of              169                   188          107                          464                      3,922                      11.8              1,692                  47                 268                     55                    2,062                     3,922                       52.6
                             End Pending              317                   276          118                           711                     5,818                      12.2              1,293                   6                 776                     0                     2,075                     5,818                       35.7
9th                          New Filed                155                   108           28                          291                      2,441                      11.9              1,357                   18                261                      1                    1,637                     2,441                       67.1
WARREN                       Reinstated                 0                     0            0                            0                         3                        0.0                 0                    0                   0                     0                        0                         3                         0.0
                             Disposed Of              123                    98           43                          264                      2,387                      11.1              1,388                   18                248                      1                    1,655                     2,387                       69.3
                             End Pending              249                   160           86                          495                      2,735                      18.1              1,302                   8                  40                      2                    1,352                     2,735                       49.4
9th                          New Filed               1,593                 1,533         541                         3,667              24,897                            14.7             14,298                  166               1,023                    33              15,520                   24,897                             62.3
CIRCUIT                      Reinstated                 0                     0            0                            0                         7                        0.0                 0                    0                   0                     0                        0                         7                         0.0
TOTAL                        Disposed Of             1,617                 1,429         516                         3,562              24,750                            14.4             13,640                  202                971                     88              14,901                   24,750                             60.2
                             End Pending             2,735                 2,351         807                         5,893              29,640                            19.9             12,286                  68                1,067                    68              13,489                   29,640                             45.5
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE




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CRIMINAL AND QUASI-CRIMINAL CASELOAD

                                                                                          CRIMINAL                                                                                                                                          QUASI-CRIMINAL
        CIRCUIT / COUNTY




                                                                                                                                                        CRIMINAL AS % OF
                                                                                                                              TOTAL ALL CASES




                                                                                                                                                                                                                                                                                           TOTAL ALL CASES




                                                                                                                                                                                                                                                                                                                     QUASI-CRIMINAL AS
                                                                                                     TOTAL CRIMINAL




                                                                                                                                                                                                                                                                  QUASI-CRIMINAL
                                                                                                                                                                                                     CONSERVATION
                                                             MISDEMEANOR




                                                                                                                                                                                                                                                                                                                      % OF ALL CASES
                                                                                                                                                                                                                          ORDINANCE
                                                                                                                                                           ALL CASES




                                                                                                                                                                                                                                                 CIVIL LAW




                                                                                                                                                                                                                                                                    TOTAL OF
                                                                                                                                                                                  TRAFFIC
                                            FELONY




                                                                                                                                                                                                                            CASES
                                                                                                         CASES




                                                                                                                                                                                                        CASES
                                                                                   DUI




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10th                         New Filed                 52                    71            17                          140                       922                       15.2               330                    13                15                    0                      358                       922                         38.8
MARSHALL                     Reinstated                 0                     0             0                            0                          1                       0.0                 0                    0                 0                     0                        0                          1                         0.0
                             Disposed Of               52                   113            29                          194                       958                       20.3               353                    13                13                     1                     380                       958                         39.7
                             End Pending               75                    93            41                          209                      1,152                      18.1               606                    2                 8                      1                     617                      1,152                        53.6
10th                         New Filed                844                  1,108          390                         2,342               25,128                            9.3             13,547                  43                567                    0               14,157                    25,128                             56.3
PEORIA                       Reinstated                 0                     0             0                            0                        18                        0.0                 0                    0                 18                    0                       18                        18                        100.0
                             Disposed Of              672                  1,105          408                         2,185              21,944                            10.0             11,785                  41                576                     1              12,403                   21,944                              56.5
                             End Pending             1,120                 1,153          736                         3,009               37,252                            8.1             24,316                  28                343                    0              24,687                     37,252                             66.3
10th                         New Filed                 17                    30            23                           70                       811                        8.6               545                   25                 6                      1                     577                       811                         71.1
PUTNAM                       Reinstated                 0                     0             0                            0                         0                        0.0                 0                    0                 0                     0                        0                         0                          0.0
                             Disposed Of               14                    37            18                           69                       822                        8.4               599                   27                  5                     1                     632                       822                         76.9
                             End Pending               26                    60            26                           112                      867                       12.9               279                    15                 5                     1                     300                       867                         34.6
10th                         New Filed                 17                    21             11                          49                       754                        6.5               550                    0                 11                    0                      561                       754                         74.4
STARK                        Reinstated                 0                     0             0                            0                         3                        0.0                 0                    0                 0                     0                        0                         3                          0.0
                             Disposed Of               29                    26            15                           70                       732                        9.6               520                    0                 11                    0                      531                       732                         72.5
                             End Pending               39                    23            21                           83                       702                       11.8               392                     1                0                     0                      393                       702                         56.0
10th                         New Filed                656                   771           269                         1,696               17,805                            9.5             11,780                  94                329                    0               12,203                    17,805                             68.5
TAZEWELL                     Reinstated                 11                   55             0                           66                       295                       22.4                221                   0                  3                    0                      224                       295                         75.9
                             Disposed Of              616                   838           296                         1,750              17,066                            10.3             11,540                  91                333                    0               11,964                   17,066                              70.1
                             End Pending              730                   544           475                         1,749              14,883                            11.8              5,007                  41                120                    0                     5,168              14,883                              34.7
10th                         New Filed               1,586                 2,001          710                         4,297              45,420                             9.5             26,752                  175               928                     1              27,856                   45,420                              61.3
CIRCUIT                      Reinstated                 11                   55             0                           66                       317                       20.8                221                   0                 21                    0                      242                       317                         76.3
TOTAL                        Disposed Of             1,383                 2,119          766                         4,268               41,522                           10.3             24,797                  172               938                     3              25,910                    41,522                             62.4
                             End Pending             1,990                 1,873         1,299                        5,162              54,856                             9.4             30,600                  87                476                     2               31,165                  54,856                              56.8
11th                         New Filed                 82                    58            36                          176                      1,428                      12.3               748                     1                33                     1                     783                      1,428                        54.8
FORD                         Reinstated                 0                     0             0                            0                         0                        0.0                 0                    0                 0                     0                        0                         0                          0.0
                             Disposed Of               84                    45            22                           151                     1,206                      12.5               682                    2                 13                     5                     702                      1,206                        58.2
                             End Pending              218                   151            92                          461                      2,396                      19.2               587                    5                69                     19                     680                      2,396                        28.4
11th                         New Filed                411                   251           120                          782                      5,545                      14.1              3,409                   5                 73                    12                    3,499                     5,545                        63.1
LIVINGSTON                   Reinstated                 2                     0             0                            2                         3                       66.7                 0                    0                 0                     0                        0                         3                          0.0
                             Disposed Of              480                   261           115                          856                      5,335                      16.0              3,331                   9                 58                    11                3,409                         5,335                        63.9
                             End Pending              463                   247           136                          846                      7,172                      11.8              4,413                   0                453                    6                     4,872                     7,172                        67.9
11th                         New Filed                273                   270            77                          620                      4,158                      14.9              1,708                   11               186                    11                    1,916                     4,158                        46.1
LOGAN                        Reinstated                 0                     0             0                            0                          1                       0.0                  1                   0                 0                     0                         1                         1                       100.0
                             Disposed Of              197                   235            85                          517                      3,824                      13.5              1,655                   6                172                    14                    1,847                     3,824                        48.3
                             End Pending              377                   487           102                          966                      6,555                      14.7              3,276                  10                 56                     7                    3,349                     6,555                        51.1
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE




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CRIMINAL AND QUASI-CRIMINAL CASELOAD

                                                                                          CRIMINAL                                                                                                                                            QUASI-CRIMINAL
        CIRCUIT / COUNTY




                                                                                                                                                        CRIMINAL AS % OF
                                                                                                                              TOTAL ALL CASES




                                                                                                                                                                                                                                                                                             TOTAL ALL CASES




                                                                                                                                                                                                                                                                                                                       QUASI-CRIMINAL AS
                                                                                                     TOTAL CRIMINAL




                                                                                                                                                                                                                                                                    QUASI-CRIMINAL
                                                                                                                                                                                                     CONSERVATION
                                                             MISDEMEANOR




                                                                                                                                                                                                                                                                                                                        % OF ALL CASES
                                                                                                                                                                                                                          ORDINANCE
                                                                                                                                                           ALL CASES




                                                                                                                                                                                                                                                   CIVIL LAW




                                                                                                                                                                                                                                                                      TOTAL OF
                                                                                                                                                                                  TRAFFIC
                                            FELONY




                                                                                                                                                                                                                            CASES
                                                                                                         CASES




                                                                                                                                                                                                        CASES
                                                                                   DUI




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11th                         New Filed               1,375                 1,357          777                         3,509               28,753                           12.2             18,646                   13                364                     22             19,045                     28,753                            66.2
MCLEAN                       Reinstated                125                  178            50                          353                       736                       48.0               272                     0                  8                      0                     280                       736                        38.0
                             Disposed Of             1,727                 1,407          826                         3,960              29,002                            13.7             18,750                   26                532                     21              19,329                   29,002                             66.6
                             End Pending             1,198                  866           683                         2,747               15,270                           18.0              7,457                   0                  -20                     3                7,440                   15,270                            48.7
11th                         New Filed                201                   132            76                          409                      3,001                      13.6              1,665                    7                 21                     10                    1,703                     3,001                       56.7
WOODFORD                     Reinstated                 0                     0             0                            0                        19                        0.0                 0                    0                   0                      0                       0                        19                         0.0
                             Disposed Of              210                   126            71                          407                      2,880                      14.1              1,672                    8                  11                    10                    1,701                     2,880                       59.1
                             End Pending              207                   196            77                          480                      6,550                       7.3              3,172                   31                 31                      9                    3,243                     6,550                       49.5
11th                         New Filed               2,342                 2,068         1,086                        5,496              42,885                            12.8             26,176                   37                677                     56             26,946                    42,885                             62.8
CIRCUIT                      Reinstated                127                  178            50                          355                       759                       46.8               273                     0                  8                      0                     281                       759                        37.0
TOTAL                        Disposed Of             2,698                 2,074         1,119                        5,891              42,247                            13.9             26,090                   51                786                     61             26,988                    42,247                             63.9
                             End Pending             2,463                 1,947         1,090                        5,500              37,943                            14.5             18,905                   46                589                     44              19,584                   37,943                             51.6
12th                         New Filed               1,913                 2,181         1,172                        5,266           106,375                               5.0             75,847                   85               2,022                    24              77,978                106,375                               73.3
WILL                         Reinstated                50                    33             3                           86                      3,601                       2.4              2,774                    0                 89                      2                    2,865                     3,601                       79.6
                             Disposed Of             1,981                 2,432         1,234                        5,647            111,324                              5.1             79,077                   80               2,170                    38              81,365                 111,324                              73.1
                             End Pending             4,414                 3,548         3,847                  11,809                    95,657                           12.3             62,986                   26               4,421                    10             67,443                     95,657                            70.5
12th                         New Filed               1,913                 2,181         1,172                        5,266           106,375                               5.0             75,847                   85               2,022                    24              77,978                106,375                               73.3
CIRCUIT                      Reinstated                50                    33             3                           86                      3,601                       2.4              2,774                    0                 89                      2                    2,865                     3,601                       79.6
TOTAL                        Disposed Of             1,981                 2,432         1,234                        5,647            111,324                              5.1             79,077                   80               2,170                    38              81,365                 111,324                              73.1
                             End Pending             4,414                 3,548         3,847                  11,809                    95,657                           12.3             62,986                   26               4,421                    10             67,443                     95,657                            70.5
13th                         New Filed                 81                   235            93                          409                      3,782                      10.8              2,138                   94                 50                     11                    2,293                     3,782                       60.6
BUREAU                       Reinstated                 0                     0             0                            0                         0                        0.0                 0                     0                  0                      0                       0                         0                         0.0
                             Disposed Of               98                   215            70                          383                      3,346                      11.4              1,950                   89                 41                     18                    2,098                     3,346                       62.7
                             End Pending               76                   269            99                          444                      5,019                       8.8              2,711                   24                 47                      4                    2,786                     5,019                       55.5
13th                         New Filed                310                   240           307                          857                      8,224                      10.4              4,897                   35                199                      0                    5,131                     8,224                       62.4
GRUNDY                       Reinstated                 0                     0             0                            0                        35                        0.0                 0                     0                  0                      0                       0                        35                         0.0
                             Disposed Of              245                   245           243                          733                      7,939                       9.2              4,828                   38                216                      0                    5,082                     7,939                       64.0
                             End Pending              428                   240           301                          969                  4,869                          19.9              2,001                    5                 41                      2                2,049                     4,869                           42.1
13th                         New Filed                453                   708           434                         1,595               17,818                            9.0             11,247                  279                649                     39              12,214                    17,818                            68.5
LASALLE                      Reinstated                74                    48            16                          138                       594                       23.2               336                    0                  16                      0                     352                       594                        59.3
                             Disposed Of              526                   814           449                         1,789               18,393                            9.7             11,352                  299                634                     36               12,321                   18,393                            67.0
                             End Pending              488                   401           367                         1,256               12,355                           10.2              8,076                   27                 99                      9                    8,211               12,355                            66.5
13th                         New Filed                844                  1,183          834                         2,861              29,824                             9.6             18,282                  408                898                     50              19,638                   29,824                             65.8
CIRCUIT                      Reinstated                74                    48            16                          138                       629                       21.9               336                    0                  16                      0                     352                       629                        56.0
TOTAL                        Disposed Of              869                  1,274          762                         2,905              29,678                             9.8             18,130                  426                891                     54              19,501                   29,678                             65.7
                             End Pending              992                   910           767                         2,669               22,243                           12.0             12,788                   56                187                     15             13,046                     22,243                            58.7
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE




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CRIMINAL AND QUASI-CRIMINAL CASELOAD

                                                                                          CRIMINAL                                                                                                                                            QUASI-CRIMINAL
        CIRCUIT / COUNTY




                                                                                                                                                        CRIMINAL AS % OF
                                                                                                                              TOTAL ALL CASES




                                                                                                                                                                                                                                                                                             TOTAL ALL CASES




                                                                                                                                                                                                                                                                                                                       QUASI-CRIMINAL AS
                                                                                                     TOTAL CRIMINAL




                                                                                                                                                                                                                                                                    QUASI-CRIMINAL
                                                                                                                                                                                                     CONSERVATION
                                                             MISDEMEANOR




                                                                                                                                                                                                                                                                                                                        % OF ALL CASES
                                                                                                                                                                                                                          ORDINANCE
                                                                                                                                                           ALL CASES




                                                                                                                                                                                                                                                   CIVIL LAW




                                                                                                                                                                                                                                                                      TOTAL OF
                                                                                                                                                                                  TRAFFIC
                                            FELONY




                                                                                                                                                                                                                            CASES
                                                                                                         CASES




                                                                                                                                                                                                        CASES
                                                                                   DUI




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14th                         New Filed                503                   267           115                          885                      6,927                      12.8              4,388                  10                  90                     31                    4,519                     6,927                       65.2
HENRY                        Reinstated                 0                     0             0                            0                         3                        0.0                 0                    0                   0                     0                        0                         3                         0.0
                             Disposed Of              479                   468           147                         1,094                     7,087                      15.4             4,478                    12                104                     33                    4,627                     7,087                       65.3
                             End Pending              750                   533           292                         1,575               12,005                           13.1              7,830                   6                  63                     43                    7,942               12,005                            66.2
14th                         New Filed                102                    43            36                          181                      1,198                      15.1               455                   30                  95                      7                     587                      1,198                       49.0
MERCER                       Reinstated                 0                     0             0                            0                         0                        0.0                 0                    0                   0                     0                        0                         0                         0.0
                             Disposed Of               82                    37            27                          146                       905                       16.1               449                    32                 64                      5                     550                       905                        60.8
                             End Pending              142                    78            28                          248                      1,639                      15.1               193                    4                 113                      3                     313                      1,639                       19.1
14th                         New Filed               1,111                  798           467                         2,376               22,535                           10.5             13,399                  50                 226                     34              13,709                    22,535                            60.8
ROCK ISLAND                  Reinstated                 0                     0             0                            0                         4                        0.0                 0                    0                   0                     0                        0                         4                         0.0
                             Disposed Of             1,040                  768           470                         2,278              20,426                            11.2             12,100                   52                126                     33               12,311                  20,426                             60.3
                             End Pending             1,477                 2,282          851                         4,610              40,124                            11.5             24,366                  82                2,017                    22             26,487                    40,124                             66.0
14th                         New Filed                393                   246           203                          842               10,446                             8.1              6,699                  30                 153                     13                    6,895              10,446                             66.0
WHITESIDE                    Reinstated                 0                     0             0                            0                         4                        0.0                  1                   0                   0                     0                         1                        4                        25.0
                             Disposed Of              337                   230           151                          718                      9,923                       7.2              6,312                   27                148                     11                6,498                         9,923                       65.5
                             End Pending              860                    511          291                         1,662                     9,838                      16.9              5,888                  30                 125                     11                6,054                         9,838                       61.5
14th                         New Filed               2,109                 1,354          821                     4,284                  41,106                            10.4             24,941                  120                564                     85              25,710                   41,106                             62.5
CIRCUIT                      Reinstated                 0                     0             0                            0                         11                       0.0                  1                   0                   0                     0                         1                        11                        9.1
TOTAL                        Disposed Of             1,938                 1,503          795                         4,236               38,341                           11.0             23,339                  123                442                     82              23,986                    38,341                            62.6
                             End Pending             3,229                 3,404         1,462                        8,095              63,606                            12.7             38,277                  122               2,318                    79             40,796                    63,606                             64.1
15th                         New Filed                123                   169            45                          337                      2,152                      15.7              1,276                   22                 32                     4                     1,334                     2,152                       62.0
CARROLL                      Reinstated                 0                     0             0                            0                         0                        0.0                 0                    0                   0                     0                        0                         0                         0.0
                             Disposed Of               112                   173           57                          342                      1,987                      17.2              1,274                  20                  16                      2                    1,312                     1,987                       66.0
                             End Pending              162                   326            62                          550                      2,545                      21.6              1,088                  89                  40                      7                    1,224                     2,545                       48.1
15th                         New Filed                 171                   173          132                          476                      3,577                      13.3              2,269                  43                 128                      5                    2,445                     3,577                       68.4
JO DAVIESS                   Reinstated                 0                     0             0                            0                         0                        0.0                 0                    0                   0                     0                        0                         0                         0.0
                             Disposed Of              204                   168           124                          496                      3,642                      13.6              2,308                  56                 161                      6                    2,531                     3,642                       69.5
                             End Pending               111                  150            82                          343                      3,023                      11.3              2,068                    7                 45                      1                    2,121                     3,023                       70.2
15th                         New Filed                227                   159           153                          539                      5,715                       9.4              3,583                   18                193                      5                    3,799                     5,715                       66.5
LEE                          Reinstated                 0                     0             0                            0                         3                        0.0                 0                    0                   2                     0                        2                         3                        66.7
                             Disposed Of              279                    155          156                          590                      5,497                      10.7              3,760                  26                 201                      5                    3,992                     5,497                       72.6
                             End Pending              415                   365           162                          942                      7,491                      12.6              4,226                   23                 49                     4                     4,302                     7,491                       57.4
15th                         New Filed                260                   210           172                          642                      7,968                       8.1              5,850                   33                 21                     19                    5,923                     7,968                       74.3
OGLE                         Reinstated                 0                     0             0                            0                          1                       0.0                 0                    0                   0                     0                        0                          1                        0.0
                             Disposed Of              318                   254           181                          753                      8,121                       9.3              5,790                  42                  23                     32                    5,887                     8,121                       72.5
                             End Pending              366                   739           279                         1,384               11,056                           12.5             8,044                   65                 107                     17                    8,233               11,056                            74.5
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE




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CRIMINAL AND QUASI-CRIMINAL CASELOAD

                                                                                          CRIMINAL                                                                                                                                            QUASI-CRIMINAL
        CIRCUIT / COUNTY




                                                                                                                                                        CRIMINAL AS % OF
                                                                                                                              TOTAL ALL CASES




                                                                                                                                                                                                                                                                                              TOTAL ALL CASES




                                                                                                                                                                                                                                                                                                                        QUASI-CRIMINAL AS
                                                                                                     TOTAL CRIMINAL




                                                                                                                                                                                                                                                                     QUASI-CRIMINAL
                                                                                                                                                                                                     CONSERVATION
                                                             MISDEMEANOR




                                                                                                                                                                                                                                                                                                                         % OF ALL CASES
                                                                                                                                                                                                                          ORDINANCE
                                                                                                                                                           ALL CASES




                                                                                                                                                                                                                                                   CIVIL LAW




                                                                                                                                                                                                                                                                       TOTAL OF
                                                                                                                                                                                  TRAFFIC
                                            FELONY




                                                                                                                                                                                                                            CASES
                                                                                                         CASES




                                                                                                                                                                                                        CASES
                                                                                   DUI




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15th                         New Filed                319                   873            131                        1,323                     8,023                      16.5              4,889                  46                 274                       2                    5,211                     8,023                       65.0
STEPHENSON                   Reinstated                 0                     0             0                            0                         2                        0.0                 0                    0                   0                      0                        0                         2                         0.0
                             Disposed Of              248                   901           126                         1,275                     8,516                      15.0              5,375                   30                327                       1                    5,733                     8,516                       67.3
                             End Pending              414                   725           179                         1,318                     6,613                      19.9              3,924                   28                105                       1                4,058                         6,613                       61.4
15th                         New Filed               1,100                 1,584          633                         3,317               27,435                           12.1             17,867                  162                648                      35               18,712                   27,435                            68.2
CIRCUIT                      Reinstated                 0                     0             0                            0                         6                        0.0                 0                    0                   2                      0                        2                         6                        33.3
TOTAL                        Disposed Of             1,161                 1,651          644                         3,456               27,763                           12.4             18,507                  174                728                     46               19,455                    27,763                            70.1
                             End Pending             1,468                 2,305          764                         4,537              30,728                            14.8             19,350                  212                346                     30               19,938                   30,728                             64.9
16th                         New Filed               2,223                 2,380         1,324                        5,927              57,994                            10.2             36,383                   55               1,324                     6               37,768                   57,994                             65.1
KANE                         Reinstated                10                     7             0                           17                       112                       15.2                83                    0                   0                      0                       83                       112                        74.1
                             Disposed Of             2,846                 3,119         2,136                        8,101              57,844                            14.0             37,181                  698               1,262                    20               39,161                   57,844                             67.7
                             End Pending             4,199                 3,852         2,157                  10,208                102,422                              10.0             71,055                  69                1,176                    36               72,336                102,422                               70.6
16th                         New Filed               2,223                 2,380         1,324                        5,927              57,994                            10.2             36,383                   55               1,324                     6               37,768                   57,994                             65.1
CIRCUIT                      Reinstated                10                     7             0                           17                       112                       15.2                83                    0                   0                      0                       83                       112                        74.1
TOTAL                        Disposed Of             2,846                 3,119         2,136                        8,101              57,844                            14.0             37,181                  698               1,262                    20               39,161                   57,844                             67.7
                             End Pending             4,199                 3,852         2,157                  10,208                102,422                              10.0             71,055                  69                1,176                    36               72,336                102,422                               70.6
17th                         New Filed                333                   232           250                          815                      7,316                      11.1              4,596                   21                180                      21                    4,818                     7,316                       65.9
BOONE                        Reinstated                 0                     0             0                            0                         3                        0.0                 0                    0                   0                      0                        0                         3                         0.0
                             Disposed Of              349                   247           202                          798                      7,913                      10.1              5,140                   22                175                      21                    5,358                     7,913                       67.7
                             End Pending              499                   809           449                         1,757               12,754                           13.8              9,880                   0                  45                       2                    9,927               12,754                            77.8
17th                         New Filed               2,543                 2,734         1,043                        6,320              49,259                            12.8             29,104                  168                441                     93              29,806                    49,259                             60.5
WINNEBAGO                    Reinstated                 5                      1             1                           7                       135                        5.2                 2                    0                   0                      0                        2                       135                         1.5
                             Disposed Of             2,705                 2,802          994                         6,501               50,527                           12.9             30,488                  184                426                     129               31,227                   50,527                            61.8
                             End Pending             3,709                 7,481         1,912                  13,102                   69,536                            18.8             35,848                  189                477                      71              36,585                   69,536                             52.6
17th                         New Filed               2,876                 2,966         1,293                        7,135               56,575                           12.6             33,700                  189                621                     114             34,624                     56,575                            61.2
CIRCUIT                      Reinstated                 5                      1             1                           7                       138                        5.1                 2                    0                   0                      0                        2                       138                         1.4
TOTAL                        Disposed Of             3,054                 3,049         1,196                        7,299             58,440                             12.5             35,628                  206                601                     150              36,585                  58,440                              62.6
                             End Pending             4,208                 8,290         2,361                  14,859                   82,290                            18.1             45,728                  189                522                      73              46,512                   82,290                             56.5
18th                         New Filed               2,317                 3,375         4,275                        9,967           129,010                               7.7             93,732                   23               2,972                     53             96,780                 129,010                               75.0
DUPAGE                       Reinstated               970                  1,293          669                         2,932               12,594                           23.3              8,898                   4                 146                      0                 9,048                   12,594                            71.8
                             Disposed Of             3,623                 5,210         5,063                  13,896                 156,719                              8.9        116,183                      34                3,656                    69            119,942                   156,719                              76.5
                             End Pending             3,140                 2,827         4,743                  10,710                   59,190                            18.1             30,919                  44                2,439                     18             33,420                    59,190                             56.5
18th                         New Filed               2,317                 3,375         4,275                        9,967           129,010                               7.7             93,732                   23               2,972                     53             96,780                 129,010                               75.0
CIRCUIT                      Reinstated               970                  1,293          669                         2,932               12,594                           23.3              8,898                   4                 146                      0                 9,048                   12,594                            71.8
TOTAL                        Disposed Of             3,623                 5,210         5,063                  13,896                 156,719                              8.9        116,183                      34                3,656                    69            119,942                   156,719                              76.5
                             End Pending             3,140                 2,827         4,743                  10,710                   59,190                            18.1             30,919                  44                2,439                     18             33,420                    59,190                             56.5
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE




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CRIMINAL AND QUASI-CRIMINAL CASELOAD

                                                                                           CRIMINAL                                                                                                                                            QUASI-CRIMINAL
        CIRCUIT / COUNTY




                                                                                                                                                         CRIMINAL AS % OF
                                                                                                                               TOTAL ALL CASES




                                                                                                                                                                                                                                                                                              TOTAL ALL CASES




                                                                                                                                                                                                                                                                                                                        QUASI-CRIMINAL AS
                                                                                                      TOTAL CRIMINAL




                                                                                                                                                                                                                                                                     QUASI-CRIMINAL
                                                                                                                                                                                                      CONSERVATION
                                                             MISDEMEANOR




                                                                                                                                                                                                                                                                                                                         % OF ALL CASES
                                                                                                                                                                                                                           ORDINANCE
                                                                                                                                                            ALL CASES




                                                                                                                                                                                                                                                    CIVIL LAW




                                                                                                                                                                                                                                                                       TOTAL OF
                                                                                                                                                                                   TRAFFIC
                                            FELONY




                                                                                                                                                                                                                             CASES
                                                                                                          CASES




                                                                                                                                                                                                         CASES
                                                                                    DUI




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19th                         New Filed               1,918                  2,286         1,911                        6,115              83,598                             7.3             57,910                  190               1,382                    17             59,499                    83,598                             71.2
LAKE                         Reinstated               268                    303            89                          660                      3,735                      17.7              2,022                    2                 23                      2                2,049                         3,735                       54.9
                             Disposed Of             2,253                  2,823         1,860                        6,936               89,355                            7.8             61,955                  241               1,487                    22              63,705                    89,355                            71.3
                             End Pending             1,931                  1,725         1,952                        5,608               37,937                           14.8             18,136                   57                605                     22              18,820                    37,937                            49.6
19th                         New Filed               1,918                  2,286         1,911                        6,115              83,598                             7.3             57,910                  190               1,382                    17             59,499                    83,598                             71.2
CIRCUIT                      Reinstated               268                    303            89                          660                      3,735                      17.7              2,022                    2                 23                      2                2,049                         3,735                       54.9
TOTAL                        Disposed Of             2,253                  2,823         1,860                        6,936               89,355                            7.8             61,955                  241               1,487                    22              63,705                    89,355                            71.3
                             End Pending             1,931                  1,725         1,952                        5,608               37,937                           14.8             18,136                   57                605                     22              18,820                    37,937                            49.6
20th                         New Filed                282                    232            98                          612                      4,545                      13.5              2,920                   8                 104                     0                     3,032                     4,545                       66.7
MONROE                       Reinstated                  1                      1            0                            2                         13                      15.4                 0                    0                   0                     0                        0                         13                        0.0
                             Disposed Of              284                    228           119                          631                      5,194                      12.1              3,539                   17                160                      3                    3,719                     5,194                       71.6
                             End Pending              372                    269            111                         752                      3,748                      20.1              2,190                    2                 62                      1                    2,255                     3,748                       60.2
20th                         New Filed                105                     89            45                          239                      2,047                      11.7               957                   63                 230                     0                     1,250                     2,047                       61.1
PERRY                        Reinstated                 0                      0             0                            0                          1                       0.0                 0                    0                   0                     0                        0                          1                        0.0
                             Disposed Of               94                     75            42                           211                     1,741                      12.1               939                   41                 210                     0                     1,190                     1,741                       68.4
                             End Pending              152                     80            47                          279                      3,786                       7.4               959                   65                 140                      1                    1,165                     3,786                       30.8
20th                         New Filed                284                    182            52                          518                      2,978                      17.4              1,196                  36                  78                     0                     1,310                     2,978                       44.0
RANDOLPH                     Reinstated                 0                      0             0                            0                         6                        0.0                 0                    0                   0                     0                        0                         6                         0.0
                             Disposed Of              262                    180            46                          488                      2,578                      18.9              1,144                  54                  74                     0                     1,272                     2,578                       49.3
                             End Pending              293                    149            56                          498                      3,198                      15.6               789                   14                  87                     0                      890                      3,198                       27.8
20th                         New Filed               2,036                  3,302          580                         5,918             40,609                             14.6             20,778                  74                3,676                    10              24,538                  40,609                              60.4
ST. CLAIR                    Reinstated               213                       1             1                         215                       248                       86.7                 3                    0                   0                     0                        3                       248                         1.2
                             Disposed Of             1,815                  3,168          708                         5,691              45,074                            12.6             25,721                  88                4,731                    29             30,569                    45,074                             67.8
                             End Pending             2,402                 17,648         2,129                  22,179                 122,138                             18.2             79,304                  138               9,731                    86              89,259                 122,138                              73.1
20th                         New Filed                127                    107            32                          266                      1,627                      16.3               920                    11                 14                      2                     947                      1,627                       58.2
WASHINGTON                   Reinstated                 0                      0             0                            0                         9                        0.0                 0                    0                   0                     0                        0                         9                         0.0
                             Disposed Of              159                    147            30                          336                      1,615                      20.8               909                    16                 15                      2                     942                      1,615                       58.3
                             End Pending              132                     90            41                          263                      3,143                       8.4              1,788                   12                 10                      5                    1,815                     3,143                       57.7
20th                         New Filed               2,834                  3,912          807                         7,553              51,806                            14.6             26,771                  192               4,102                    12              31,077                   51,806                             60.0
CIRCUIT                      Reinstated               214                      2              1                         217                       277                       78.3                 3                    0                   0                     0                        3                       277                         1.1
TOTAL                        Disposed Of             2,614                  3,798          945                         7,357              56,202                            13.1             32,252                  216               5,190                    34              37,692                   56,202                             67.1
                             End Pending             3,351                 18,236         2,384                  23,971                 136,013                             17.6             85,030                  231          10,030                        93             95,384                  136,013                              70.1
21st                         New Filed                133                    187            60                          380                      4,566                       8.3              3,135                   31                 91                      3                    3,260                     4,566                       71.4
IROQUOIS                     Reinstated                 0                      0             0                            0                          1                       0.0                 0                    0                   0                     0                        0                          1                        0.0
                             Disposed Of              128                    162            52                          342                      4,215                       8.1              3,024                   29                 84                      3                    3,140                     4,215                       74.5
                             End Pending              275                    547           208                         1,030                11,315                           9.1              8,261                  66                 191                     33                    8,551                11,315                           75.6
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE




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CRIMINAL AND QUASI-CRIMINAL CASELOAD
                                                                                             CRIMINAL                                                                                                                                              QUASI-CRIMINAL
        CIRCUIT / COUNTY




                                                                                                                                                           CRIMINAL AS % OF
                                                                                                                                 TOTAL ALL CASES




                                                                                                                                                                                                                                                                                                      TOTAL ALL CASES




                                                                                                                                                                                                                                                                                                                                QUASI-CRIMINAL AS
                                                                                                        TOTAL CRIMINAL




                                                                                                                                                                                                                                                                             QUASI-CRIMINAL
                                                                                                                                                                                                        CONSERVATION
                                                              MISDEMEANOR




                                                                                                                                                                                                                                                                                                                                 % OF ALL CASES
                                                                                                                                                                                                                               ORDINANCE
                                                                                                                                                              ALL CASES




                                                                                                                                                                                                                                                        CIVIL LAW




                                                                                                                                                                                                                                                                               TOTAL OF
                                                                                                                                                                                     TRAFFIC
                                            FELONY




                                                                                                                                                                                                                                 CASES
                                                                                                            CASES




                                                                                                                                                                                                           CASES
                                                                                     DUI




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21st                         New Filed                 642                    561            567                         1,770               19,956                            8.9             12,249                    45                1,201                        4               13,499                    19,956                            67.6
KANKAKEE                     Reinstated                  0                      0              0                            0                         0                        0.0                 0                      0                   0                         0                        0                         0                         0.0
                             Disposed Of               329                    245             90                          664               12,006                             5.5              7,803                    15                 438                         0                     8,256              12,006                             68.8
                             End Pending              2,237                  1,976          2,395                    6,608                   32,254                           20.5             15,381                    94                1,328                       43              16,846                     32,254                            52.2
21st                         New Filed                 775                    748            627                         2,150               24,522                            8.8             15,384                    76                1,292                        7               16,759                    24,522                            68.3
CIRCUIT                      Reinstated                  0                      0              0                            0                          1                       0.0                 0                      0                   0                         0                        0                          1                        0.0
TOTAL                        Disposed Of               457                    407            142                         1,006               16,221                            6.2             10,827                    44                 522                         3               11,396                    16,221                            70.3
                             End Pending              2,512                  2,523          2,603                        7,638              43,569                            17.5             23,642                   160                1,519                       76               25,397                   43,569                             58.3
22nd                         New Filed                1,056                  1,236           833                         3,125              41,509                             7.5             28,650                   144                1,516                       26               30,336                   41,509                             73.1
MCHENRY                      Reinstated                 79                     61             19                          159                      1,628                       9.8              1,048                     0                   6                         2                     1,056                     1,628                       64.9
                             Disposed Of              1,003                  1,383           871                         3,257             44,990                              7.2             30,897                   170                1,541                       46               32,654                  44,990                              72.6
                             End Pending              1,272                  1,403           836                         3,511              16,864                            20.8              8,243                    16                 514                        14                     8,787              16,864                             52.1
22nd                         New Filed                1,056                  1,236           833                         3,125              41,509                             7.5             28,650                   144                1,516                       26               30,336                   41,509                             73.1
CIRCUIT                      Reinstated                 79                     61             19                          159                      1,628                       9.8              1,048                     0                   6                         2                     1,056                     1,628                       64.9
TOTAL                        Disposed Of              1,003                  1,383           871                         3,257             44,990                              7.2             30,897                   170                1,541                       46               32,654                  44,990                              72.6
                             End Pending              1,272                  1,403           836                         3,511              16,864                            20.8              8,243                    16                 514                        14                     8,787              16,864                             52.1
23rd                         New Filed                 602                   1,023           299                         1,924               11,093                           17.3              6,041                    42                   1                         2                 6,086                   11,093                            54.9
DEKALB                       Reinstated                  8                      4              2                           14                       592                        2.4               369                      4                 116                         0                      489                       592                        82.6
                             Disposed Of               853                   1,312           322                         2,487              14,594                            17.0              8,061                    53                 570                        10                 8,694                  14,594                             59.6
                             End Pending              1,317                  1,820           592                         3,729               12,665                           29.4              7,023                    23                  14                        37                     7,097               12,665                            56.0
23rd                         New Filed                 401                    537            235                         1,173                     9,857                      11.9              5,098                    14                  26                        14                     5,152                     9,857                       52.3
KENDALL                      Reinstated                  0                      0              0                            0                       181                        0.0                 0                      0                   1                         0                         1                      181                         0.6
                             Disposed Of               269                    523            190                          982                      9,854                      10.0             4,842                     14                  23                        14                     4,893                     9,854                       49.7
                             End Pending               808                    983            356                         2,147                     9,104                      23.6              3,678                     2                  12                        16                     3,708                     9,104                       40.7
23rd                         New Filed                1,003                  1,560           534                         3,097              20,950                            14.8             11,139                    56                  27                        16                11,238                  20,950                             53.6
CIRCUIT                      Reinstated                  8                      4              2                           14                       773                        1.8               369                      4                 117                         0                      490                       773                        63.4
TOTAL                        Disposed Of              1,122                  1,835            512                        3,469             24,448                             14.2             12,903                    67                 593                        24               13,587                  24,448                              55.6
                             End Pending              2,125                  2,803           948                         5,876               21,769                           27.0             10,701                    25                  26                        53               10,805                    21,769                            49.6
DOWNSTATE                    New Filed               47,060                 46,128         22,465               115,653              1,111,901                                10.4       701,276                       3,751          28,812                           713           734,552              1,111,901                                 66.1
TOTAL                        Reinstated               2,622                  2,021           866                         5,509              26,289                            21.0             16,496                    13                 449                         12              16,970                   26,289                             64.6
                             Disposed Of             50,496                 52,203         24,456                127,155            1,166,081                                 10.9        751,987                      4,810          31,407                         1,132          789,336              1,166,081                                  67.7
                             End Pending             70,187                 86,868         36,241               193,296            1,408,419                                  13.7       760,529                       3,326          37,889                         1,289          803,033             1,408,419                                   57.0
COOK                         New Filed               22,368                 56,613          5,997                 84,978                 522,927                              16.3       245,456                        272                 463                       291           246,482                   522,927                               47.1
                             Reinstated                  0                      0              0                            0                15,453                            0.0                 0                      0                   0                         0                        0                15,453                             0.0
                             Disposed Of             24,516                 56,149          5,569                 86,234                462,760                               18.6        172,995                       274                 374                         0            173,643                 462,760                                37.5
                             End Pending             27,178          202,702               19,392              249,272             1,880,868                                  13.3   1,077,516                         5,330          89,136                        19,203       1,191,185              1,880,868                                   63.3
STATE                        New Filed               69,428          102,741               28,462              200,631             1,634,828                                  12.3       946,732                       4,023          29,275                         1,004          981,034             1,634,828                                   60.0
TOTAL                        Reinstated               2,622                  2,021           866                         5,509              41,742                            13.2             16,496                    13                 449                         12              16,970                   41,742                             40.7
                             Disposed Of             75,012          108,352               30,025               213,389            1,628,841                                  13.1       924,982                   5,084              31,781                         1,132          962,979             1,628,841                                   59.1
                             End Pending             97,365         289,570                55,633              442,568             3,289,287                                  13.5   1,838,045                         8,656        127,025                         20,492     1,994,218                3,289,287                                   60.6
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE




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JUVENILE CASELOAD STATISTICS BY COUNTY
CIRCUIT COURTS - CALENDAR YEAR 2021
                                                                                                                                                                                    JUVENILE AS %
      CIRCUIT / COUNTY                                         ABUSE & NEGLECT                 DELINQUENT         OTHER **         TOTAL JUVENILE         TOTAL ALL CASES *
                                                                                                                                                                                     OF ALL CASES
1st                          New Filed                                               23                       6                1                     30                  3,002                      1.0
ALEXANDER                    Reinstated                                               0                      0                0                      0                          1                   0.0
                             Disposed Of                                              0                      0                 1                      1                  2,477                      0.0
                             End Pending                                            110                      78              259                    447                 38,363                      1.2
1st                          New Filed                                               97                      47                1                    145                  7,826                      1.9
JACKSON                      Reinstated                                               0                      0                0                      0                         50                   0.0
                             Disposed Of                                             39                      42               2                      83                  7,362                      1.1
                             End Pending                                            153                      41               7                     201                  4,418                      4.5
1st                          New Filed                                               41                       3               0                     44                   3,632                      1.2
JOHNSON                      Reinstated                                               0                      0                0                      0                         0                    0.0
                             Disposed Of                                             23                       5               0                      28                  3,582                      0.8
                             End Pending                                             78                       6               0                     84                   8,848                      0.9
1st                          New Filed                                               42                      4                 1                     47                  7,116                      0.7
MASSAC                       Reinstated                                               0                      0                0                      0                         0                    0.0
                             Disposed Of                                             36                      10               0                     46                   7,046                      0.7
                             End Pending                                           136                       45              10                     191                  6,655                      2.9
1st                          New Filed                                               11                      4                0                      15                       839                   1.8
POPE                         Reinstated                                               0                      0                0                      0                         0                    0.0
                             Disposed Of                                              9                      11               0                      20                       953                   2.1
                             End Pending                                             29                      17               0                     46                        682                   6.7
1st                          New Filed                                                3                      10               0                      13                 12,119                      0.1
PULASKI                      Reinstated                                               0                      0                0                      0                         0                    0.0
                             Disposed Of                                              0                      0                0                      0                  14,840                      0.0
                             End Pending                                           148                      204               55                    407                 62,901                      0.6
1st                          New Filed                                              46                       12               2                      60                  4,186                      1.4
SALINE                       Reinstated                                               0                      0                0                      0                          2                   0.0
                             Disposed Of                                             59                      16               3                      78                  4,522                      1.7
                             End Pending                                            131                      13               4                     148                  5,944                      2.5
1st                          New Filed                                               55                      16               0                      71                  3,336                      2.1
UNION                        Reinstated                                               0                      0                0                      0                         0                    0.0
                             Disposed Of                                            46                       31               17                     94                  4,212                      2.2
                             End Pending                                            115                       6               0                     121                  2,018                      6.0
1st                          New Filed                                             106                       23              23                     152                 16,734                      0.9
WILLIAMSON                   Reinstated                                               0                      0                0                       0                        14                   0.0
                             Disposed Of                                             92                      12               15                    119                 15,367                      0.8
                             End Pending                                           198                       20              24                     242                 10,981                      2.2
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE
** INCLUDES ADDICTED MINORS, MINORS REQUIRING AUTHORITATIVE INTERVENTION, AND TRUANTS.




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JUVENILE CASELOAD


                                                                                                                                                                                    JUVENILE AS %
      CIRCUIT / COUNTY                                         ABUSE & NEGLECT                 DELINQUENT         OTHER **         TOTAL JUVENILE         TOTAL ALL CASES *
                                                                                                                                                                                     OF ALL CASES
1st                          New Filed                                             424                      125              28                     577                 58,790                      1.0
CIRCUIT                      Reinstated                                               0                      0                0                      0                         67                   0.0
TOTAL                        Disposed Of                                           304                      127              38                     469                 60,361                      0.8
                             End Pending                                         1,098                      430              359                1,887                  140,810                      1.3
2nd                          New Filed                                               22                      38               0                      60                  2,454                      2.4
CRAWFORD                     Reinstated                                               0                      0                0                      0                         4                    0.0
                             Disposed Of                                             12                      32               0                     44                   2,181                      2.0
                             End Pending                                             85                     159               2                     246                  3,541                      6.9
2nd                          New Filed                                                5                       3               0                       8                       793                   1.0
EDWARDS                      Reinstated                                               0                      0                0                      0                         0                    0.0
                             Disposed Of                                              5                       3               0                       8                       778                   1.0
                             End Pending                                              9                       7               0                      16                       625                   2.6
2nd                          New Filed                                               55                      29               2                      86                  5,788                      1.5
FRANKLIN                     Reinstated                                               0                      0                0                      0                          1                   0.0
                             Disposed Of                                            80                       76               4                     160                  4,814                      3.3
                             End Pending                                           162                       65               17                    244                 14,273                      1.7
2nd                          New Filed                                                5                      4                0                       9                  1,208                      0.7
GALLATIN                     Reinstated                                               0                      0                0                      0                         0                    0.0
                             Disposed Of                                              2                       2               0                      4                   1,129                      0.4
                             End Pending                                            40                       28               0                      68                  1,559                      4.4
2nd                          New Filed                                                3                      4                0                       7                  1,059                      0.7
HAMILTON                     Reinstated                                               0                      0                0                      0                         0                    0.0
                             Disposed Of                                              9                       6               0                      15                       962                   1.6
                             End Pending                                             13                      16               0                      29                       796                   3.6
2nd                          New Filed                                                8                      0                0                       8                       635                   1.3
HARDIN                       Reinstated                                               0                      0                0                      0                         0                    0.0
                             Disposed Of                                              5                      0                0                       5                       566                   0.9
                             End Pending                                             10                       7               0                      17                       775                   2.2
2nd                          New Filed                                               86                      59               19                    164                  4,578                      3.6
JEFFERSON                    Reinstated                                               0                      0                0                      0                        24                    0.0
                             Disposed Of                                             93                     44                16                    153                  4,585                      3.3
                             End Pending                                           376                      208              74                     658                 10,770                      6.1
2nd                          New Filed                                                8                      15               0                      23                  1,426                      1.6
LAWRENCE                     Reinstated                                               0                      0                0                      0                         0                    0.0
                             Disposed Of                                              0                       1               0                       1                  2,153                      0.0
                             End Pending                                            155                      67               0                     222                  2,328                      9.5
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE
** INCLUDES ADDICTED MINORS, MINORS REQUIRING AUTHORITATIVE INTERVENTION, AND TRUANTS.




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JUVENILE CASELOAD


                                                                                                                                                                                    JUVENILE AS %
      CIRCUIT / COUNTY                                         ABUSE & NEGLECT                 DELINQUENT         OTHER **         TOTAL JUVENILE         TOTAL ALL CASES *
                                                                                                                                                                                     OF ALL CASES
2nd                          New Filed                                               26                      25               0                      51                  2,027                       2.5
RICHLAND                     Reinstated                                               0                       0               0                       0                        0                    0.0
                             Disposed Of                                             29                      26               0                      55                  2,376                       2.3
                             End Pending                                           107                       15               0                     122                  1,610                       7.6
2nd                          New Filed                                               16                      16               0                      32                  1,355                      2.4
WABASH                       Reinstated                                               0                       0               0                       0                        0                    0.0
                             Disposed Of                                              3                       2               0                       5                  1,210                      0.4
                             End Pending                                            115                      65                2                    182                  2,596                       7.0
2nd                          New Filed                                              40                       14               0                      54                  2,678                       2.0
WAYNE                        Reinstated                                               0                       0               0                       0                         3                   0.0
                             Disposed Of                                             22                      14               0                      36                  2,777                       1.3
                             End Pending                                            123                      21               0                     144                  5,488                       2.6
2nd                          New Filed                                               15                      46                2                     63                  2,510                       2.5
WHITE                        Reinstated                                               0                       0               0                       0                        6                    0.0
                             Disposed Of                                             33                      43                3                     79                  2,417                       3.3
                             End Pending                                             58                      90               4                     152                  6,673                       2.3
2nd                          New Filed                                             289                      253               23                    565                 26,511                       2.1
CIRCUIT                      Reinstated                                               0                       0               0                       0                       38                    0.0
TOTAL                        Disposed Of                                           293                      249               23                    565                 25,948                       2.2
                             End Pending                                          1,253                     748               99                2,100                   51,034                       4.1
3rd                          New Filed                                               33                      12                1                     46                  4,245                       1.1
BOND                         Reinstated                                               0                       0               0                       0                         1                   0.0
                             Disposed Of                                             17                       8               0                      25                  4,045                      0.6
                             End Pending                                             66                      19              541                    626                 11,037                       5.7
3rd                          New Filed                                             347                      277               4                     628                 50,061                       1.3
MADISON                      Reinstated                                               1                       1               0                       2                       639                    0.3
                             Disposed Of                                            411                     432                1                    844                 55,093                       1.5
                             End Pending                                           146                      271                5                    422                 71,087                      0.6
3rd                          New Filed                                             380                      289                5                    674                 54,306                       1.2
CIRCUIT                      Reinstated                                               1                       1               0                       2                   640                        0.3
TOTAL                        Disposed Of                                           428                      440                1                    869                 59,138                       1.5
                             End Pending                                            212                     290              546                1,048                   82,124                       1.3
4th                          New Filed                                               87                      22                2                    111                  4,809                       2.3
CHRISTIAN                    Reinstated                                               3                       0               0                       3                        23                   13.0
                             Disposed Of                                             67                      33                1                    101                  4,726                       2.1
                             End Pending                                           218                       60                2                    280                  5,858                      4.8
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE
** INCLUDES ADDICTED MINORS, MINORS REQUIRING AUTHORITATIVE INTERVENTION, AND TRUANTS.




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JUVENILE CASELOAD


                                                                                                                                                                                  JUVENILE AS %
      CIRCUIT / COUNTY                                         ABUSE & NEGLECT                 DELINQUENT         OTHER **        TOTAL JUVENILE         TOTAL ALL CASES *
                                                                                                                                                                                   OF ALL CASES
4th                          New Filed                                               16                       7               1                     24                  1,530                     1.6
CLAY                         Reinstated                                               0                      0               0                      0                        0                    0.0
                             Disposed Of                                              5                      8               0                      13                  1,467                     0.9
                             End Pending                                             53                      6                3                     62                   946                      6.6
4th                          New Filed                                               37                      22              10                     69                  2,980                     2.3
CLINTON                      Reinstated                                               0                      0               0                      0                        0                    0.0
                             Disposed Of                                             22                      33               7                     62                  2,785                     2.2
                             End Pending                                             87                     24               11                    122                  3,768                     3.2
4th                          New Filed                                               43                      36              4                      83                  5,162                     1.6
EFFINGHAM                    Reinstated                                               0                      0               0                      0                        14                   0.0
                             Disposed Of                                             26                      93               3                    122                  4,622                     2.6
                             End Pending                                            133                     187               1                    321                 10,156                     3.2
4th                          New Filed                                               36                      14              0                      50                  5,227                     1.0
FAYETTE                      Reinstated                                               0                      0               0                      0                        0                    0.0
                             Disposed Of                                             63                      28              0                      91                  6,088                     1.5
                             End Pending                                             29                      15              0                     44                   5,485                     0.8
4th                          New Filed                                               13                      18              0                      31                  1,093                     2.8
JASPER                       Reinstated                                               0                      0               0                      0                        0                    0.0
                             Disposed Of                                             10                      18              0                      28                  1,080                     2.6
                             End Pending                                            40                       11               3                     54                  1,094                     4.9
4th                          New Filed                                              113                     40                5                    158                  6,218                     2.5
MARION                       Reinstated                                               0                      0               0                      0                        27                   0.0
                             Disposed Of                                             75                      31              10                    116                  5,958                     1.9
                             End Pending                                           327                       21              19                    367                  5,128                     7.2
4th                          New Filed                                               28                     24               0                      52                  7,598                     0.7
MONTGOMERY                   Reinstated                                               0                      0               0                      0                         2                   0.0
                             Disposed Of                                             13                      8               0                      21                  7,011                     0.3
                             End Pending                                           143                      45               0                     188                  8,980                     2.1
4th                          New Filed                                               32                      14              0                     46                   1,708                     2.7
SHELBY                       Reinstated                                               0                      0               0                      0                        0                    0.0
                             Disposed Of                                             16                      13              0                      29                  1,473                     2.0
                             End Pending                                            137                      19              0                     156                  1,722                     9.1
4th                          New Filed                                             405                      197              22                    624                 36,325                     1.7
CIRCUIT                      Reinstated                                               3                      0               0                       3                       66                   4.5
TOTAL                        Disposed Of                                           297                      265              21                    583                 35,210                     1.7
                             End Pending                                          1,167                     388              39                1,594                   43,137                     3.7
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE
** INCLUDES ADDICTED MINORS, MINORS REQUIRING AUTHORITATIVE INTERVENTION, AND TRUANTS.




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JUVENILE CASELOAD
                                                                                             JUVENILE CASELOAD STATISTICS BY COUNTY
                                                                                                    CIRCUIT COURTS OF ILLINOIS



                                                                                                                                                                                      JUVENILE AS %
      CIRCUIT / COUNTY                                         ABUSE & NEGLECT                 DELINQUENT           OTHER **         TOTAL JUVENILE         TOTAL ALL CASES *
                                                                                                                                                                                       OF ALL CASES
5th                          New Filed                                               19                        0                0                      19                  1,861                       1.0
CLARK                        Reinstated                                               0                        0                0                      0                          3                   0.0
                             Disposed Of                                              0                        0                0                      0                   1,928                      0.0
                             End Pending                                             36                       10                0                     46                   3,739                       1.2
5th                          New Filed                                               74                       48                12                    134                  7,354                       1.8
COLES                        Reinstated                                               0                        0                0                      0                         0                    0.0
                             Disposed Of                                              1                        0                0                       1                  5,688                      0.0
                             End Pending                                            555                      713               64                 1,332                   25,241                       5.3
5th                          New Filed                                               17                       10                0                      27                  1,458                       1.9
CUMBERLAND                   Reinstated                                               0                        0                0                      0                         0                    0.0
                             Disposed Of                                              4                        3                0                       7                  1,203                       0.6
                             End Pending                                             67                      137                15                    219                  5,140                       4.3
5th                          New Filed                                               32                       12                0                     44                   1,902                       2.3
EDGAR                        Reinstated                                               0                        0                0                      0                          1                   0.0
                             Disposed Of                                              0                        0                0                      0                   1,656                      0.0
                             End Pending                                            117                      172                0                     289                  4,970                       5.8
5th                          New Filed                                             143                       120                0                     263                 13,891                       1.9
VERMILION                    Reinstated                                               0                        0                0                      0                        177                   0.0
                             Disposed Of                                             18                      174                0                     192                 12,223                       1.6
                             End Pending                                           510                       962               155                1,627                   33,116                       4.9
5th                          New Filed                                             285                       190                12                    487                 26,466                       1.8
CIRCUIT                      Reinstated                                               0                        0                0                      0                        181                   0.0
TOTAL                        Disposed Of                                             23                      177                0                     200                 22,698                       0.9
                             End Pending                                          1,285                     1,994              234                3,513                   72,206                       4.9
6th                          New Filed                                               93                      140                 3                    236                 20,619                       1.1
CHAMPAIGN                    Reinstated                                               0                        8                0                       8                       630                    1.3
                             Disposed Of                                             52                       66                4                     122                 19,774                       0.6
                             End Pending                                           356                       157               40                     553                 30,476                       1.8
6th                          New Filed                                                9                       23                0                      32                  1,929                       1.7
DEWITT                       Reinstated                                               0                        0                0                      0                         0                    0.0
                             Disposed Of                                              2                         1               0                       3                  2,000                       0.2
                             End Pending                                             90                      350                11                    451                  3,046                      14.8
6th                          New Filed                                               11                        8                 5                     24                  2,769                       0.9
DOUGLAS                      Reinstated                                               0                        0                0                      0                          7                   0.0
                             Disposed Of                                              3                        8                4                      15                  2,721                       0.6
                             End Pending                                             18                        5                 3                     26                  3,503                       0.7
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE
** INCLUDES ADDICTED MINORS, MINORS REQUIRING AUTHORITATIVE INTERVENTION, AND TRUANTS.




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JUVENILE CASELOAD
                                                                                             JUVENILE CASELOAD STATISTICS BY COUNTY
                                                                                                    CIRCUIT COURTS OF ILLINOIS



                                                                                                                                                                                  JUVENILE AS %
      CIRCUIT / COUNTY                                         ABUSE & NEGLECT                 DELINQUENT         OTHER **        TOTAL JUVENILE         TOTAL ALL CASES *
                                                                                                                                                                                   OF ALL CASES
6th                          New Filed                                             230                      109               0                    339                 17,297                     2.0
MACON                        Reinstated                                               0                       0               0                     0                        6                    0.0
                             Disposed Of                                           267                      126               0                    393                 15,035                     2.6
                             End Pending                                           701                      295               8                1,004                   18,272                     5.5
6th                          New Filed                                               20                       6               0                     26                  1,398                     1.9
MOULTRIE                     Reinstated                                               0                       0               0                     0                        6                    0.0
                             Disposed Of                                              2                      16               0                     18                  1,331                     1.4
                             End Pending                                             53                      27               0                    80                   1,196                     6.7
6th                          New Filed                                               19                      4                0                     23                  1,476                     1.6
PIATT                        Reinstated                                               0                       0               0                     0                        0                    0.0
                             Disposed Of                                             19                       5               0                     24                  1,397                     1.7
                             End Pending                                             75                      10               0                     85                  3,216                     2.6
6th                          New Filed                                             382                      290               8                    680                 45,488                     1.5
CIRCUIT                      Reinstated                                               0                       8               0                      8                   649                      1.2
TOTAL                        Disposed Of                                           345                      222               8                    575                 42,258                     1.4
                             End Pending                                          1,293                     844              62                2,199                   59,709                     3.7
7th                          New Filed                                               21                      12               0                     33                  1,910                     1.7
GREENE                       Reinstated                                               0                       0               0                     0                        11                   0.0
                             Disposed Of                                             22                      21               0                     43                  2,029                     2.1
                             End Pending                                             38                      4                0                     42                  1,031                     4.1
7th                          New Filed                                               38                      35               1                     74                  5,533                     1.3
JERSEY                       Reinstated                                               0                       0               0                     0                        0                    0.0
                             Disposed Of                                              4                       1               0                      5                  4,708                     0.1
                             End Pending                                           199                      155               2                    356                  4,559                     7.8
7th                          New Filed                                               56                      27               9                     92                  8,019                     1.1
MACOUPIN                     Reinstated                                               0                       0               0                     0                        2                    0.0
                             Disposed Of                                            60                       17               0                     77                  7,508                     1.0
                             End Pending                                           336                      224              83                    643                 13,262                     4.8
7th                          New Filed                                               32                       9               0                     41                  3,318                     1.2
MORGAN                       Reinstated                                               0                       0               0                     0                        9                    0.0
                             Disposed Of                                             17                       5               0                     22                  3,303                     0.7
                             End Pending                                             73                      16               0                     89                  3,127                     2.8
7th                          New Filed                                              165                      81               0                    246                 38,816                     0.6
SANGAMON                     Reinstated                                               0                       0               0                     0                        0                    0.0
                             Disposed Of                                           500                       84               7                    591                 60,072                     1.0
                             End Pending                                           607                      387              35                1,029                   78,234                     1.3
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE
** INCLUDES ADDICTED MINORS, MINORS REQUIRING AUTHORITATIVE INTERVENTION, AND TRUANTS.




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JUVENILE CASELOAD


                                                                                                                                                                                    JUVENILE AS %
       CIRCUIT / COUNTY                                        ABUSE & NEGLECT                 DELINQUENT         OTHER **         TOTAL JUVENILE         TOTAL ALL CASES *
                                                                                                                                                                                     OF ALL CASES
7th                          New Filed                                                8                      11               0                      19                   844                        2.3
SCOTT                        Reinstated                                               0                      0                0                      0                         0                    0.0
                             Disposed Of                                              0                      0                0                      0                        768                   0.0
                             End Pending                                             38                     107               0                     145                  1,616                      9.0
7th                          New Filed                                             320                      175               10                    505                 58,440                      0.9
CIRCUIT                      Reinstated                                               0                      0                0                      0                         22                   0.0
TOTAL                        Disposed Of                                           603                      128                7                    738                 78,388                      0.9
                             End Pending                                          1,291                     893              120                2,304                  101,829                       2.3
8th                          New Filed                                               87                      39               0                     126                 10,457                       1.2
ADAMS                        Reinstated                                               0                      0                0                      0                         20                   0.0
                             Disposed Of                                             97                      74               9                     180                 11,182                       1.6
                             End Pending                                           280                       69                7                    356                  7,128                       5.0
8th                          New Filed                                                5                       2               0                       7                  1,003                       0.7
BROWN                        Reinstated                                               0                      0                0                      0                          1                   0.0
                             Disposed Of                                              8                       1               0                       9                  1,029                      0.9
                             End Pending                                             16                       5               0                      21                       759                    2.8
8th                          New Filed                                               15                       5                3                     23                       591                    3.9
CALHOUN                      Reinstated                                               0                      0                0                      0                         0                    0.0
                             Disposed Of                                              9                       1                3                     13                       567                    2.3
                             End Pending                                             14                       6               0                     20                        493                    4.1
8th                          New Filed                                               11                      13               0                     24                   1,815                       1.3
CASS                         Reinstated                                               0                      0                0                      0                         8                    0.0
                             Disposed Of                                             17                      14               0                      31                  1,914                       1.6
                             End Pending                                             37                      21               0                      58                  1,888                       3.1
8th                          New Filed                                               16                      14               0                     30                   2,524                       1.2
MASON                        Reinstated                                               0                      0                0                      0                         0                    0.0
                             Disposed Of                                             28                      14                1                    43                   2,590                       1.7
                             End Pending                                           109                       28               0                     137                  3,894                       3.5
8th                          New Filed                                                6                       5               0                      11                       862                    1.3
MENARD                       Reinstated                                               1                      0                0                       1                        8                    12.5
                             Disposed Of                                              7                       2               0                       9                       747                    1.2
                             End Pending                                             33                       3               0                      36                       878                    4.1
8th                          New Filed                                               31                      18               4                      53                  3,236                       1.6
PIKE                         Reinstated                                               0                      0                0                      0                         0                    0.0
                             Disposed Of                                              0                      0                0                      0                   3,036                      0.0
                             End Pending                                           168                      450              67                     685                  6,387                      10.7
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE
** INCLUDES ADDICTED MINORS, MINORS REQUIRING AUTHORITATIVE INTERVENTION, AND TRUANTS.




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JUVENILE CASELOAD


                                                                                                                                                                                    JUVENILE AS %
      CIRCUIT / COUNTY                                         ABUSE & NEGLECT                 DELINQUENT         OTHER **        TOTAL JUVENILE           TOTAL ALL CASES *
                                                                                                                                                                                     OF ALL CASES
8th                          New Filed                                                3                       7              0                       10                   1,181                     0.8
SCHUYLER                     Reinstated                                               0                      0               0                        0                         1                   0.0
                             Disposed Of                                              4                       1              0                        5                   1,171                     0.4
                             End Pending                                             12                       7               1                      20                   1,416                      1.4
8th                          New Filed                                             174                      103              7                      284                  21,669                      1.3
CIRCUIT                      Reinstated                                               1                      0               0                        1                        38                    2.6
TOTAL                        Disposed Of                                           170                      107              13                     290                  22,236                      1.3
                             End Pending                                           669                      589              75                1,333                     22,843                      5.8
9th                          New Filed                                               38                      23              2                       63                   5,158                      1.2
FULTON                       Reinstated                                               0                      0               0                        0                        4                    0.0
                             Disposed Of                                             30                       7              0                       37                   4,617                     0.8
                             End Pending                                           184                      168              9                      361                   5,548                      6.5
9th                          New Filed                                               10                       8              0                       18                   2,554                      0.7
HANCOCK                      Reinstated                                               0                      0               0                        0                        0                    0.0
                             Disposed Of                                             17                       5              0                       22                   2,399                     0.9
                             End Pending                                              3                       5              0                        8                   3,125                      0.3
9th                          New Filed                                                4                       6               1                      11                   2,822                     0.4
HENDERSON                    Reinstated                                               0                      0               0                        0                        0                    0.0
                             Disposed Of                                              5                       3              0                        8                   2,907                      0.3
                             End Pending                                              7                       7               1                      15                   1,849                     0.8
9th                          New Filed                                               56                      59              0                      115                   8,070                      1.4
KNOX                         Reinstated                                               0                      0               0                        0                        0                    0.0
                             Disposed Of                                             42                      49              0                       91                   8,518                      1.1
                             End Pending                                           184                       77              0                      261                  10,565                      2.5
9th                          New Filed                                              48                       32              2                       82                   3,852                      2.1
MCDONOUGH                    Reinstated                                               0                      0               0                        0                        0                    0.0
                             Disposed Of                                             55                     139              0                      194                   3,922                     4.9
                             End Pending                                            161                      20              8                      189                   5,818                      3.2
9th                          New Filed                                                7                      29              0                       36                   2,441                      1.5
WARREN                       Reinstated                                               0                      0               0                        0                         3                   0.0
                             Disposed Of                                              0                      0               0                        0                   2,387                     0.0
                             End Pending                                           120                      172               1                     293                   2,735                     10.7
9th                          New Filed                                             163                      157               5                     325                  24,897                      1.3
CIRCUIT                      Reinstated                                               0                      0               0                        0                         7                   0.0
TOTAL                        Disposed Of                                           149                      203              0                      352                  24,750                      1.4
                             End Pending                                           659                      449              19                    1,127                 29,640                      3.8
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE
** INCLUDES ADDICTED MINORS, MINORS REQUIRING AUTHORITATIVE INTERVENTION, AND TRUANTS.




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JUVENILE CASELOAD


                                                                                                                                                                                    JUVENILE AS %
       CIRCUIT / COUNTY                                        ABUSE & NEGLECT                 DELINQUENT         OTHER **         TOTAL JUVENILE         TOTAL ALL CASES *
                                                                                                                                                                                     OF ALL CASES
10th                         New Filed                                               11                      12                1                    24                        922                   2.6
MARSHALL                     Reinstated                                               0                      0                0                      0                          1                   0.0
                             Disposed Of                                              9                      12                2                     23                       958                   2.4
                             End Pending                                             22                       2               0                     24                   1,152                      2.1
10th                         New Filed                                             451                      299                3                    753                 25,128                      3.0
PEORIA                       Reinstated                                               0                      0                0                      0                         18                   0.0
                             Disposed Of                                           560                      292               4                     856                 21,944                      3.9
                             End Pending                                          1,162                     187               17                1,366                   37,252                      3.7
10th                         New Filed                                                1                      11                1                     13                       811                   1.6
PUTNAM                       Reinstated                                               0                      0                0                      0                         0                    0.0
                             Disposed Of                                              0                      0                0                      0                        822                   0.0
                             End Pending                                              7                      58               6                      71                       867                   8.2
10th                         New Filed                                                3                      8                 3                     14                       754                   1.9
STARK                        Reinstated                                               0                      0                0                      0                          3                   0.0
                             Disposed Of                                              0                       1                2                      3                       732                   0.4
                             End Pending                                              4                      10                2                     16                       702                   2.3
10th                         New Filed                                             292                      87                 2                    381                 17,805                      2.1
TAZEWELL                     Reinstated                                               0                      0                0                      0                        295                   0.0
                             Disposed Of                                           234                       92               0                     326                 17,066                      1.9
                             End Pending                                           804                      281              83                 1,168                   14,883                      7.8
10th                         New Filed                                             758                      417               10                1,185                   45,420                      2.6
CIRCUIT                      Reinstated                                               0                      0                0                      0                        317                   0.0
TOTAL                        Disposed Of                                           803                      397               8                 1,208                   41,522                      2.9
                             End Pending                                          1,999                     538              108                2,645                   54,856                      4.8
11th                         New Filed                                               14                      10               0                     24                   1,428                      1.7
FORD                         Reinstated                                               0                      0                0                      0                         0                    0.0
                             Disposed Of                                              5                      4                0                       9                  1,206                      0.7
                             End Pending                                            49                      76                 2                    127                  2,396                      5.3
11th                         New Filed                                               52                      21               0                      73                  5,545                      1.3
LIVINGSTON                   Reinstated                                               0                      0                0                      0                          3                   0.0
                             Disposed Of                                             38                      17                1                     56                  5,335                      1.0
                             End Pending                                            141                     54                11                    206                  7,172                      2.9
11th                         New Filed                                               31                      15               0                     46                   4,158                      1.1
LOGAN                        Reinstated                                               0                      0                0                      0                          1                   0.0
                             Disposed Of                                            44                        5               0                     49                   3,824                      1.3
                             End Pending                                           102                      63                0                     165                  6,555                      2.5
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE
** INCLUDES ADDICTED MINORS, MINORS REQUIRING AUTHORITATIVE INTERVENTION, AND TRUANTS.




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JUVENILE CASELOAD


                                                                                                                                                                                     JUVENILE AS %
       CIRCUIT / COUNTY                                        ABUSE & NEGLECT                 DELINQUENT         OTHER **        TOTAL JUVENILE           TOTAL ALL CASES *
                                                                                                                                                                                      OF ALL CASES
11th                         New Filed                                               87                     124              0                      211                  28,753                      0.7
MCLEAN                       Reinstated                                               2                      0               0                        2                        736                   0.3
                             Disposed Of                                            115                     137              0                      252                  29,002                      0.9
                             End Pending                                           259                      154              0                      413                  15,270                      2.7
11th                         New Filed                                               53                      35              0                       88                   3,001                      2.9
WOODFORD                     Reinstated                                               0                      0               0                        0                         19                   0.0
                             Disposed Of                                             18                      19              0                       37                   2,880                      1.3
                             End Pending                                           190                      129               1                     320                   6,550                      4.9
11th                         New Filed                                             237                      205              0                      442                  42,885                      1.0
CIRCUIT                      Reinstated                                               2                      0               0                        2                        759                   0.3
TOTAL                        Disposed Of                                           220                      182               1                     403                  42,247                      1.0
                             End Pending                                           741                      476              14                    1,231                 37,943                      3.2
12th                         New Filed                                             375                      251              9                      635                 106,375                      0.6
WILL                         Reinstated                                              41                      0               0                       41                   3,601                      1.1
                             Disposed Of                                            351                     274              12                     637                 111,324                      0.6
                             End Pending                                           610                      420              10                1,040                     95,657                      1.1
12th                         New Filed                                             375                      251              9                      635                 106,375                      0.6
CIRCUIT                      Reinstated                                              41                      0               0                       41                   3,601                      1.1
TOTAL                        Disposed Of                                            351                     274              12                     637                 111,324                      0.6
                             End Pending                                           610                      420              10                1,040                     95,657                      1.1
13th                         New Filed                                               32                      25              0                       57                   3,782                      1.5
BUREAU                       Reinstated                                               0                      0               0                        0                         0                    0.0
                             Disposed Of                                              0                      0               0                        0                   3,346                      0.0
                             End Pending                                            122                     319              12                     453                   5,019                      9.0
13th                         New Filed                                               53                      32              0                       85                   8,224                      1.0
GRUNDY                       Reinstated                                               0                      0               0                        0                         35                   0.0
                             Disposed Of                                             47                      38              0                       85                   7,939                      1.1
                             End Pending                                             66                     111              0                      177                   4,869                      3.6
13th                         New Filed                                               53                     94               12                     159                  17,818                      0.9
LASALLE                      Reinstated                                               0                       2              0                        2                        594                   0.3
                             Disposed Of                                             58                      92              17                     167                  18,393                      0.9
                             End Pending                                             39                      55               3                      97                  12,355                      0.8
13th                         New Filed                                             138                      151              12                     301                  29,824                      1.0
CIRCUIT                      Reinstated                                               0                       2              0                        2                        629                   0.3
TOTAL                        Disposed Of                                           105                      130              17                     252                  29,678                      0.8
                             End Pending                                           227                      485              15                     727                  22,243                      3.3
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE
** INCLUDES ADDICTED MINORS, MINORS REQUIRING AUTHORITATIVE INTERVENTION, AND TRUANTS.




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JUVENILE CASELOAD


                                                                                                                                                                                   JUVENILE AS %
       CIRCUIT / COUNTY                                        ABUSE & NEGLECT                 DELINQUENT         OTHER **        TOTAL JUVENILE         TOTAL ALL CASES *
                                                                                                                                                                                    OF ALL CASES
14th                         New Filed                                               47                      31               1                     79                  6,927                       1.1
HENRY                        Reinstated                                               0                      0                0                     0                          3                   0.0
                             Disposed Of                                             15                       9               0                     24                  7,087                       0.3
                             End Pending                                           176                      261              40                    477                 12,005                      4.0
14th                         New Filed                                                9                      21               0                     30                  1,198                       2.5
MERCER                       Reinstated                                               0                      0                0                     0                         0                    0.0
                             Disposed Of                                              0                      0                0                     0                        905                   0.0
                             End Pending                                             83                      77               7                    167                  1,639                      10.2
14th                         New Filed                                              135                     150               1                    286                 22,535                       1.3
ROCK ISLAND                  Reinstated                                               0                      0                0                     0                         4                    0.0
                             Disposed Of                                             96                     104               0                    200                 20,426                       1.0
                             End Pending                                           454                      482              12                    948                 40,124                      2.4
14th                         New Filed                                               56                      26              4                      86                 10,446                      0.8
WHITESIDE                    Reinstated                                               0                      0                0                     0                         4                    0.0
                             Disposed Of                                            44                       25               2                     71                  9,923                       0.7
                             End Pending                                            172                      18               3                    193                  9,838                       2.0
14th                         New Filed                                             247                      228               6                    481                 41,106                       1.2
CIRCUIT                      Reinstated                                               0                      0                0                     0                         11                   0.0
TOTAL                        Disposed Of                                            155                     138               2                    295                 38,341                      0.8
                             End Pending                                           885                      838              62                1,785                   63,606                       2.8
15th                         New Filed                                               11                       1               0                     12                  2,152                      0.6
CARROLL                      Reinstated                                               0                      0                0                     0                         0                    0.0
                             Disposed Of                                              1                       1               0                      2                  1,987                       0.1
                             End Pending                                             58                       9              4                      71                  2,545                       2.8
15th                         New Filed                                               21                       2               0                     23                  3,577                      0.6
JO DAVIESS                   Reinstated                                               0                      0                0                     0                         0                    0.0
                             Disposed Of                                             15                      0                0                     15                  3,642                      0.4
                             End Pending                                             36                       2               0                     38                  3,023                       1.3
15th                         New Filed                                               21                      22               2                     45                  5,715                      0.8
LEE                          Reinstated                                               0                      0                0                     0                          3                   0.0
                             Disposed Of                                             21                      20               2                     43                  5,497                      0.8
                             End Pending                                             27                      41               6                     74                  7,491                       1.0
15th                         New Filed                                               52                      54               1                    107                  7,968                       1.3
OGLE                         Reinstated                                               0                      0                0                     0                          1                   0.0
                             Disposed Of                                             26                      35               0                     61                  8,121                      0.8
                             End Pending                                            137                     289              53                    479                 11,056                      4.3
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE
** INCLUDES ADDICTED MINORS, MINORS REQUIRING AUTHORITATIVE INTERVENTION, AND TRUANTS.




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JUVENILE CASELOAD


                                                                                                                                                                                      JUVENILE AS %
       CIRCUIT / COUNTY                                        ABUSE & NEGLECT                 DELINQUENT           OTHER **         TOTAL JUVENILE         TOTAL ALL CASES *
                                                                                                                                                                                       OF ALL CASES
15th                         New Filed                                              60                        64                2                     126                  8,023                      1.6
STEPHENSON                   Reinstated                                               0                        0                0                      0                         2                    0.0
                             Disposed Of                                             88                       77                0                     165                  8,516                      1.9
                             End Pending                                             89                      119                4                     212                  6,613                      3.2
15th                         New Filed                                              165                      143                 5                    313                 27,435                      1.1
CIRCUIT                      Reinstated                                               0                        0                0                      0                         6                    0.0
TOTAL                        Disposed Of                                            151                      133                2                     286                 27,763                      1.0
                             End Pending                                           347                       460               67                     874                 30,728                      2.8
16th                         New Filed                                             198                       217                7                     422                 57,994                      0.7
KANE                         Reinstated                                               0                        0                0                      0                        112                   0.0
                             Disposed Of                                           145                       168                4                     317                 57,844                      0.5
                             End Pending                                           334                       536               42                     912                102,422                      0.9
16th                         New Filed                                             198                       217                7                     422                 57,994                      0.7
CIRCUIT                      Reinstated                                               0                        0                0                      0                        112                   0.0
TOTAL                        Disposed Of                                           145                       168                4                     317                 57,844                      0.5
                             End Pending                                           334                       536               42                     912                102,422                      0.9
17th                         New Filed                                               45                       76                2                     123                  7,316                      1.7
BOONE                        Reinstated                                               0                        0                0                      0                         3                    0.0
                             Disposed Of                                             25                       96                0                     121                  7,913                      1.5
                             End Pending                                             85                      150                2                     237                 12,754                      1.9
17th                         New Filed                                             438                       253                9                     700                 49,259                      1.4
WINNEBAGO                    Reinstated                                               0                        0                 1                      1                       135                   0.7
                             Disposed Of                                           528                       326                21                    875                 50,527                      1.7
                             End Pending                                         1,433                      1,263              136                2,832                   69,536                      4.1
17th                         New Filed                                             483                       329                11                    823                 56,575                      1.5
CIRCUIT                      Reinstated                                               0                        0                 1                      1                       138                   0.7
TOTAL                        Disposed Of                                            553                      422                21                    996                 58,440                      1.7
                             End Pending                                          1,518                     1,413              138                3,069                   82,290                      3.7
18th                         New Filed                                               82                      226                0                     308                129,010                      0.2
DUPAGE                       Reinstated                                               3                       47                0                      50                 12,594                      0.4
                             Disposed Of                                             67                      348                 1                    416                156,719                      0.3
                             End Pending                                           187                       287                2                     476                 59,190                      0.8
18th                         New Filed                                               82                      226                0                     308                129,010                      0.2
CIRCUIT                      Reinstated                                               3                       47                0                      50                 12,594                      0.4
TOTAL                        Disposed Of                                             67                      348                 1                    416                156,719                      0.3
                             End Pending                                           187                       287                2                     476                 59,190                      0.8
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE
** INCLUDES ADDICTED MINORS, MINORS REQUIRING AUTHORITATIVE INTERVENTION, AND TRUANTS.




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JUVENILE CASELOAD


                                                                                                                                                                                     JUVENILE AS %
       CIRCUIT / COUNTY                                        ABUSE & NEGLECT                 DELINQUENT         OTHER **        TOTAL JUVENILE           TOTAL ALL CASES *
                                                                                                                                                                                      OF ALL CASES
19th                         New Filed                                             264                      207              0                      471                  83,598                      0.6
LAKE                         Reinstated                                               5                      22              0                       27                   3,735                      0.7
                             Disposed Of                                           272                      353              0                      625                  89,355                      0.7
                             End Pending                                           705                      255              0                      960                  37,937                      2.5
19th                         New Filed                                             264                      207              0                      471                  83,598                      0.6
CIRCUIT                      Reinstated                                               5                      22              0                       27                   3,735                      0.7
TOTAL                        Disposed Of                                           272                      353              0                      625                  89,355                      0.7
                             End Pending                                           705                      255              0                      960                  37,937                      2.5
20th                         New Filed                                               11                      35               1                      47                   4,545                      1.0
MONROE                       Reinstated                                               0                      0               0                        0                         13                   0.0
                             Disposed Of                                             13                     30                2                      45                   5,194                      0.9
                             End Pending                                             21                     64                2                      87                   3,748                      2.3
20th                         New Filed                                               26                       2               2                      30                   2,047                      1.5
PERRY                        Reinstated                                               0                      0               0                        0                          1                   0.0
                             Disposed Of                                              4                      0               0                        4                   1,741                      0.2
                             End Pending                                           170                       73              17                     260                   3,786                      6.9
20th                         New Filed                                              46                      34               0                       80                   2,978                      2.7
RANDOLPH                     Reinstated                                               0                      0               0                        0                         6                    0.0
                             Disposed Of                                             12                      19              0                       31                   2,578                      1.2
                             End Pending                                            122                      41               1                     164                   3,198                      5.1
20th                         New Filed                                             232                      152               3                     387                  40,609                      1.0
ST. CLAIR                    Reinstated                                               0                      0               0                        0                    248                       0.0
                             Disposed Of                                            135                     146              4                      285                  45,074                      0.6
                             End Pending                                           580                      401              4                      985                 122,138                      0.8
20th                         New Filed                                               22                      12               3                      37                   1,627                      2.3
WASHINGTON                   Reinstated                                               0                      0               0                        0                         9                    0.0
                             Disposed Of                                              7                       7               1                      15                   1,615                      0.9
                             End Pending                                             98                     150              27                     275                   3,143                      8.7
20th                         New Filed                                             337                      235              9                      581                  51,806                      1.1
CIRCUIT                      Reinstated                                               0                      0               0                        0                        277                   0.0
TOTAL                        Disposed Of                                            171                     202               7                     380                  56,202                      0.7
                             End Pending                                           991                      729              51                    1,771                136,013                      1.3
21st                         New Filed                                               12                     20               0                       32                   4,566                      0.7
IROQUOIS                     Reinstated                                               0                      0               0                        0                          1                   0.0
                             Disposed Of                                             14                      21              0                       35                   4,215                      0.8
                             End Pending                                             63                      13              11                      87                  11,315                      0.8
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE
** INCLUDES ADDICTED MINORS, MINORS REQUIRING AUTHORITATIVE INTERVENTION, AND TRUANTS.




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JUVENILE CASELOAD
                                                                                                                                                                                         JUVENILE AS %
       CIRCUIT / COUNTY                                        ABUSE & NEGLECT                 DELINQUENT            OTHER **           TOTAL JUVENILE         TOTAL ALL CASES *
                                                                                                                                                                                          OF ALL CASES
21st                         New Filed                                               18                        91                  0                     109                 19,956                      0.5
KANKAKEE                     Reinstated                                               0                         0                  0                      0                         0                    0.0
                             Disposed Of                                             25                        67                  0                      92                 12,006                      0.8
                             End Pending                                           120                        261                  8                     389                 32,254                      1.2
21st                         New Filed                                               30                        111                 0                     141                 24,522                      0.6
CIRCUIT                      Reinstated                                               0                         0                  0                      0                          1                   0.0
TOTAL                        Disposed Of                                             39                        88                  0                     127                 16,221                      0.8
                             End Pending                                           183                        274                 19                     476                 43,569                      1.1
22nd                         New Filed                                               75                       152                  4                     231                 41,509                      0.6
MCHENRY                      Reinstated                                               0                          1                 0                       1                  1,628                      0.1
                             Disposed Of                                            119                       167                  3                     289                 44,990                      0.6
                             End Pending                                            195                        211                 4                     410                 16,864                      2.4
22nd                         New Filed                                               75                       152                  4                     231                 41,509                      0.6
CIRCUIT                      Reinstated                                               0                          1                 0                       1                  1,628                      0.1
TOTAL                        Disposed Of                                            119                       167                  3                     289                 44,990                      0.6
                             End Pending                                            195                        211                 4                     410                 16,864                      2.4
23rd                         New Filed                                               81                        61                  3                     145                 11,093                      1.3
DEKALB                       Reinstated                                               0                         0                  0                      0                        592                   0.0
                             Disposed Of                                           120                        219                 55                     394                 14,594                      2.7
                             End Pending                                             45                        83                  6                     134                 12,665                      1.1
23rd                         New Filed                                               67                       103                 10                     180                  9,857                      1.8
KENDALL                      Reinstated                                               2                         2                  0                      4                        181                   2.2
                             Disposed Of                                             22                       165                  4                     191                  9,854                      1.9
                             End Pending                                           134                        509                 22                     665                  9,104                      7.3
23rd                         New Filed                                             148                        164                 13                     325                 20,950                      1.6
CIRCUIT                      Reinstated                                               2                         2                  0                      4                        773                   0.5
TOTAL                        Disposed Of                                           142                        384                 59                     585                 24,448                      2.4
                             End Pending                                            179                       592                 28                     799                 21,769                      3.7
DOWNSTATE                    New Filed                                           6,359                       4,815               206                11,380                 1,111,901                     1.0
TOTAL                        Reinstated                                              58                        83                  1                     142                 26,289                      0.5
                             Disposed Of                                         5,905                      5,304                248                11,457                1,166,081                      1.0
                             End Pending                                        18,028                      14,139              2,113               34,280                1,408,419                      2.4
COOK                         New Filed                                            1,198                      1,693                 0                 2,891                  522,927                      0.6
                             Reinstated                                               0                         0                  0                      0                  15,453                      0.0
                             Disposed Of                                           853                       1,467                 0                 2,320                  462,760                      0.5
                             End Pending                                         2,858                      18,699                 0                 21,557               1,880,868                      1.1
STATE                        New Filed                                            7,557                     6,508                206                14,271                1,634,828                      0.9
TOTAL                        Reinstated                                              58                        83                  1                     142                 41,742                      0.3
                             Disposed Of                                         6,758                       6,771               248                13,777                1,628,841                      0.8
                             End Pending                                        20,886                      32,838              2,113               55,837                3,289,287                      1.7
* TOTAL OF ALL CASES IN ALL CATEGORIES: CIVIL; DOMESTIC RELATIONS; CRIMINAL; QUASI-CRIMINAL; AND JUVENILE
** INCLUDES ADDICTED MINORS, MINORS REQUIRING AUTHORITATIVE INTERVENTION, AND TRUANTS.




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                                       Case: 1:22-cv-06478 Document #: 41-1 Filed: 04/12/23 Page 73 of 203 PageID #:522

AGE OF PENDING CASES BY CASE CATEGORY
DOWNSTATE CIRCUITS AS OF DECEMBER 31, 2021
                                                                                                                                                                                             TOTAL       % PENDING
                                     2021 NO. PENDING & %      2020 NO. PENDING & %      2019 NO. PENDING & %      2018 NO. PENDING & %      2017 NO. PENDING & %       BEFORE 2017 NO.
         CASE CATEGORY                OF TOTAL PENDING          OF TOTAL PENDING          OF TOTAL PENDING                                                           PENDING & % OF TOTAL    PENDING     MORE THAN
                                                                                                                    OF TOTAL PENDING          OF TOTAL PENDING
                                            CASES                     CASES                     CASES                     CASES                     CASES               PENDING CASES         CASES      12 MONTHS



ADOPTION                                   943          32.6         364          12.6          311         10.7          263          9.1         213         7.4         800        27.6      2,894         67.4
ARBITRATION                              4,210          66.7         837          13.3         594           9.4         422           6.7          52         0.8         200         3.2       6,315        33.3
CHANCERY                                  3,201         17.2        2,515         13.5        3,291         17.6        1,925         10.3        1057         5.7       6,675        35.8     18,664         82.8
DISSOLUTION OF MARRIAGE                 10,626          39.6        3,766         14.0        2,415          9.0        1,330          5.0        1,023        3.8       7,683       28.6      26,843         60.4
EMINENT DOMAIN                              64          21.9           38         13.0           28          9.6           34         11.6          10         3.4         118       40.4         292         78.1
FAMILY                                   6,479          20.3        3,365         10.5        2,934          9.2        2,569          8.0       2,097         6.6      14,506       45.4      31,950         79.7
LAW > $50,000                            8,816          27.7        6,595         20.8        4,901         15.4        3,062          9.6       2,014         6.3       6,383        20.1      31,771        72.3
LAW = < $50,000                          9,242          27.6        3,062          9.2        3,156          9.4        2,136          6.4        1,736        5.2      14,125       42.2      33,457         72.4
MUNICIPAL CORPORATION                        23          7.7           17          5.7           14          4.7            6          2.0           11        3.7         228        76.3        299         92.3
MENTAL HEALTH                               719         34.5         436          20.9          271         13.0         254          12.2          67         3.2         338        16.2      2,085         65.5
MISCELLANEOUS REMEDY                     9,802          25.5        6,855         17.8        5,236         13.6        3,323          8.6        2,551        6.6      10,712        27.8     38,479         74.5
ORDER OF PROTECTION                      2,696          27.8        1,164         12.0        1059          10.9         644           6.6         618         6.4       3,520        36.3      9,701         72.2
PROBATE                                 15,086          17.8       8,588          10.1        6,917          8.2        5,636          6.7       4,874         5.8      43,549        51.4     84,650         82.2
SMALL CLAIMS                            30,457          36.7        9,321         11.2        7,615          9.2        4,583          5.5        3,273        3.9      27,664       33.4      82,913         63.3
TAX                                        418           5.6         280           3.7          335          4.5         796          10.6         621         8.3       5,042        67.3      7,492         94.4
CONTEMPT OF COURT                          229          21.8          107         10.2          131         12.5          119         11.3          75         7.1         391        37.2       1052         78.2
CRIMINAL FELONY                         31,569          45.0       15,119         21.5        8,976         12.8        3,973          5.7        2,114        3.0       8,436        12.0     70,187         55.0
CRIMINAL MISDEMEANOR                    27,029          31.1       12,572         14.5        9,026         10.4        3,831          4.4        3,032        3.5      31,378        36.1     86,868         68.9
JUVENILE                                   178           8.4           86          4.1         100           4.7          143          6.8          80         3.8       1,526        72.2       2,113        91.6
JUVENILE ABUSE/NEGLECT                   5,042          28.0        4,197         23.3        3,161         17.5        1,843         10.2         920         5.1       2,865        15.9     18,028         72.0
JUVENILE DELINQUENT                      3,492          24.7       1,964          13.9       1,840          13.0        1,292          9.1         865         6.1       4,686        33.1     14,139         75.3
CONSERVATION VIOLATION                    1,012         30.3          275          8.2          123          3.7          114          3.4         136         4.1       1,682        50.3      3,342         69.7
DRIVING UNDER INFLUENCE                 14,580          40.2        5,630         15.5        3,185          8.8        1,651          4.5        1135         3.1      10,109        27.9     36,290         59.8
ORDINANCE VIOLATION                       7,412         19.6        1,920          5.1        1,612          4.3        1,321          3.5        1,238        3.3      24,388       64.4      37,891         80.4
TRAFFIC CASES                          192,556          25.3      78,730          10.3      49,469           6.5      27,056           3.6       23,471        3.1     389,444        51.2    760,726         74.7
CIVIL LAW VIOLATION                        206          16.2          137         10.8          322         25.4          302         23.8         231        18.2          71         5.6       1,269        83.8
TOTALS                                 386,087          27.4     167,940          11.9     117,022           8.3      68,628           4.9       53,514        3.8     616,519       43.7    1,409,710        72.6
Note: Each column indicates how many cases and the percentage of cases that are pending for that specific year out of the total pending cases.




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AGE OF PENDING CASES BY CASE CATEGORY

                                            2021 CIVIL AND DOMESTIC RELATIONS CASELOAD
                                                  % PENDING MORE THAN 12 MONTHS
 100.0
                                                          92.3                                   94.4

     90.0
                         82.8                                                    82.2
                                                                                                                       79.7
                                   78.1
     80.0
                                                                         74.5
                                           72.3   72.4                                                                        72.2
     70.0                                                                                                67.4
                                                                  65.5
                                                                                         63.3
                                                                                                                60.4
     60.0


     50.0


     40.0
                33.3

     30.0


     20.0


     10.0


      0.0




74          IL COURTS ANNUAL REPORT 2021
                                Case: 1:22-cv-06478 Document #: 41-1 Filed: 04/12/23 Page 75 of 203 PageID #:524

AGE OF PENDING CASES BY CASE CATEGORY

                                                2021 CRIMINAL AND QUASI-CRIMINAL CASELOAD
                                                      % PENDING MORE THAN 12 MONTHS
 90.0
                                                                                                                             83.8
                                                                                                 80.4
 80.0             78.2
                                                                                                               74.7

                                                      68.9                         69.7
 70.0


                                                                    59.8
 60.0
                                    55.0


 50.0



 40.0



 30.0



 20.0



 10.0



     0.0
             CONTEMPT OF      CRIMINAL FELONY        CRIMINAL   DRIVING UNDER   CONSERVATION   ORDINANCE   TRAFFIC CASES   CIVIL LAW
                COURT                             MISDEMEANOR     INFLUENCE       VIOLATION    VIOLATION                   VIOLATION




75         IL COURTS ANNUAL REPORT 2021
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AGE OF PENDING CASES BY CASE CATEGORY

                                                       2021 JUVENILE CASELOAD
                                                   % PENDING MORE THAN 12 MONTHS
 100.0

                                   91.6
     90.0



     80.0
                                                                                                                    75.3
                                                                          72.0

     70.0



     60.0



     50.0



     40.0



     30.0



     20.0



     10.0



      0.0
                                 JUVENILE                       JUVENILE ABUSE/NEGLECT                   JUVENILE DELINQUENT




76          IL COURTS ANNUAL REPORT 2021
                                Case: 1:22-cv-06478 Document #: 41-1 Filed: 04/12/23 Page 77 of 203 PageID #:526

LAW CASE DISPOSITIONS BY CIRCUIT
CIRCUIT COURTS - CALENDAR YEAR 2021
                                                       Total Law Cases Disposed                                                            Number of Law Jury Cases Terminated By Verdict


       Circuit                        % of total law                              % of total law
                     Law Over                               Law $50,000                                               Law Over           % of total law      Law $50,000          % of total law
                                      dispositions                                dispositions       Total                                                                                            Total
                     $50,000           (non-jury)              Or Less             (non-jury)                         $50,000          dispositions (jury)     Or Less          dispositions (jury)


1st                             391               37.3                    658                 62.7            1,049               23                  82.1                  5                  17.9            28

2nd                             199               28.8                    492                 71.2             691                10                100.0                  0                    0.0            10

3rd                         1,262                 74.5                    433                 25.5            1,695                3                100.0                  0                    0.0             3

4th                             245               32.0                    521                 68.0             766                 7                 70.0                   3                 30.0             10

5th                              69               14.7                    400                 85.3             469                 2                100.0                  0                    0.0             2

6th                             196               22.6                    673                 77.4             869                4                  80.0                   1                 20.0              5

7th                             287               16.5                   1,453                83.5            1,740                7                100.0                  0                    0.0             7

8th                              70               16.5                    353                 83.5             423                4                 100.0                  0                    0.0            4

9th                              90               12.5                    630                 87.5             720                 2                100.0                  0                    0.0             2

10th                            334               24.6                   1,021                75.4            1,355                5                  83.3                  1                  16.7            6

11th                            220               26.4                    614                 73.6             834                 9                 90.0                   1                  10.0            10

12th                        1,298                 54.1                   1,100                45.9            2,398               6                 100.0                  0                    0.0            6

13th                            262               29.1                    639                 70.9             901                33                  97.1                  1                   2.9           34

14th                            193               28.8                    476                 71.2             669                 2                100.0                  0                    0.0             2

15th                            130               27.0                    351                 73.0             481                 1                100.0                  0                    0.0             1

16th                            383               43.7                    494                 56.3             877                0                    0.0                 0                    0.0            0

17th                            440               37.1                    745                 62.9            1,185                1                100.0                  0                    0.0             1

18th                        1,598                 52.2                   1,466                47.8           3,064                19                100.0                  0                    0.0            19

19th                        1,027                 52.1                    945                 47.9            1,972               15                  93.8                  1                   6.3            16

20th                            770               48.2                    827                 51.8            1,597               18                100.0                  0                    0.0            18

21st                            154               35.7                    277                 64.3             431                0                    0.0                 0                    0.0            0

22nd                            395               49.9                    396                 50.1             791                4                 100.0                  0                    0.0            4

23rd                            202               19.7                    821                 80.3            1,023                2                100.0                  0                    0.0             2

DOWNSTATE TOTAL            10,215                 39.3               15,785                   60.7       26,000                  177                  93.2                 13                   6.8           190

COOK COUNTY                16,062                 20.3               63,181                   79.7           79,243              47                   82.5                 10                  17.5            57

STATE TOTAL                26,277                 25.0               78,966                   75.0       105,243                 224                 90.7                  23                   9.3           247




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LAW CASE DISPOSITIONS BY COUNTY
CIRCUIT COURTS - CALENDAR YEAR 2021
                                                                  TOTAL LAW CASES DISPOSED                                   LAW JURY CASES NO. TERMINATED BY VERDICT

      CIRCUIT                 COUNTY                                       LAW                                                                 LAW
                                               LAW OVER                                                           LAW OVER
                                                                          $50,000                 TOTAL                                       $50,000                   TOTAL
                                                $50,000                                                            $50,000
                                                                          OR LESS                                                             OR LESS
1st               ALEXANDER                                   8                              9              17                   0                            1                  1
                  JACKSON                                    95                          192               287                  14                            4                 18
                  JOHNSON                                    16                              18             34                   0                            0                  0
                  MASSAC                                      9                              31             40                   0                            0                  0
                  POPE                                        3                              6               9                   0                            0                  0
                  PULASKI                                     2                              4               6                   0                            0                  0
                  SALINE                                     37                          98                135                   0                            0                  0
                  UNION                                      25                              51             76                   1                            0                  1
                  WILLIAMSON                               196                          249                445                   8                            0                  8
1st               CIRCUIT TOTAL                             391                         658               1,049                 23                            5                 28
2nd               CRAWFORD                                   17                          43                 60                   1                            0                  1
                  EDWARDS                                     1                              9              10                   0                            0                  0
                  FRANKLIN                                   52                          133               185                   4                            0                 4
                  GALLATIN                                    3                              4               7                   0                            0                  0
                  HAMILTON                                    7                              19             26                   2                            0                  2
                  HARDIN                                      3                              9              12                   1                            0                  1
                  JEFFERSON                                  59                          112               171                   2                            0                  2
                  LAWRENCE                                    3                              15             18                   0                            0                  0
                  RICHLAND                                   17                          38                 55                   0                            0                  0
                  WABASH                                      7                           22                29                   0                            0                  0
                  WAYNE                                      19                           63                82                   0                            0                  0
                  WHITE                                      11                              25             36                   0                            0                  0
2nd               CIRCUIT TOTAL                            199                          492                691                  10                            0                 10
3rd               BOND                                        2                              6               8                   0                            0                  0
                  MADISON                                 1,260                         427               1,687                  3                            0                  3
3rd               CIRCUIT TOTAL                           1,262                          433              1,695                  3                            0                  3
4th               CHRISTIAN                                 42                           84                126                   0                            1                  1
                  CLAY                                       10                              15             25                   1                            0                  1
                  CLINTON                                    41                          113               154                   0                            0                  0
                  EFFINGHAM                                 45                           70                115                   2                            0                  2
                  FAYETTE                                     5                              31             36                   0                            0                  0
                  JASPER                                      5                          20                 25                   0                            0                  0
                  MARION                                    46                           87                133                   2                            2                 4
                  MONTGOMERY                                 35                              71            106                   2                            0                  2
                  SHELBY                                     16                          30                 46                   0                            0                  0
4th               CIRCUIT TOTAL                            245                           521               766                   7                            3                 10
5th               CLARK                                      15                              32             47                   0                            0                  0
                  COLES                                      12                          67                 79                   0                            0                  0
                  CUMBERLAND                                  3                              21             24                   2                            0                  2
                  EDGAR                                       0                               7              7                   0                            0                  0
                  VERMILION                                  39                          273               312                   0                            0                  0
5th               CIRCUIT TOTAL                             69                          400                469                   2                            0                  2




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LAW CASE DISPOSITIONS BY COUNTY


                                                                 TOTAL LAW CASES DISPOSED                                   LAW JURY CASES NO. TERMINATED BY VERDICT

       CIRCUIT                  COUNTY                                    LAW                                                                 LAW
                                                LAW OVER                                                         LAW OVER
                                                                         $50,000                 TOTAL                                       $50,000                   TOTAL
                                                 $50,000                                                          $50,000
                                                                         OR LESS                                                             OR LESS
6th                CHAMPAIGN                                83                          111               194                   3                            0                 3
                   DEWITT                                   13                              25             38                   0                            0                 0
                   DOUGLAS                                   3                           27                30                   1                            1                 2
                   MACON                                    86                         468                554                   0                            0                 0
                   MOULTRIE                                  5                              21             26                   0                            0                 0
                   PIATT                                     6                              21             27                   0                            0                 0
6th                CIRCUIT TOTAL                           196                          673              869                    4                            1                 5
7th                GREENE                                   13                           39                52                   0                            0                 0
                   JERSEY                                   21                           41                62                   1                            0                  1
                   MACOUPIN                                 20                           89               109                   0                            0                 0
                   MORGAN                                   28                          118               146                   0                            0                 0
                   SANGAMON                                203                         1,158             1,361                  5                            0                 5
                   SCOTT                                     2                              8              10                   1                            0                  1
7th                CIRCUIT TOTAL                           287                         1453              1,740                  7                            0                  7
8th                ADAMS                                    29                          195               224                   1                            0                  1
                   BROWN                                     2                               5              7                   0                            0                 0
                   CALHOUN                                   2                               7              9                   0                            0                 0
                   CASS                                      6                              31             37                   0                            0                 0
                   MASON                                     8                              52             60                   2                            0                 2
                   MENARD                                    4                              15             19                   0                            0                 0
                   PIKE                                     10                           29                39                   1                            0                  1
                   SCHUYLER                                  9                              19             28                   0                            0                 0
8th                CIRCUIT TOTAL                            70                          353               423                   4                            0                 4
9th                FULTON                                   16                          139               155                   1                            0                  1
                   HANCOCK                                  10                           24                34                   0                            0                 0
                   HENDERSON                                10                              12             22                   0                            0                 0
                   KNOX                                     32                          363               395                   1                            0                  1
                   MCDONOUGH                                17                           60                77                   0                            0                 0
                   WARREN                                    5                              32             37                   0                            0                 0
9th                CIRCUIT TOTAL                            90                         630                720                   2                            0                 2
10th               MARSHALL                                  5                           27                32                   0                            0                 0
                   PEORIA                                  242                         692                934                   4                            1                 5
                   PUTNAM                                    2                              11             13                   1                            0                  1
                   STARK                                     4                               5              9                   0                            0                 0
                   TAZEWELL                                 81                         286                367                   0                            0                 0
10th               CIRCUIT TOTAL                           334                         1,021             1,355                  5                            1                 6
11th               FORD                                      6                              18             24                   0                            0                 0
                   LIVINGSTON                               22                           63                85                   0                            0                 0
                   LOGAN                                    28                              53             81                   1                            0                  1
                   MCLEAN                                  151                         428                579                   7                            0                 7
                   WOODFORD                                 13                              52             65                   1                            1                 2
11th               CIRCUIT TOTAL                           220                          614               834                   9                            1                 10




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LAW CASE DISPOSITIONS BY COUNTY


                                                                    TOTAL LAW CASES DISPOSED                                     LAW JURY CASES NO. TERMINATED BY VERDICT

       CIRCUIT                  COUNTY                                         LAW                                                                 LAW
                                                LAW OVER                                                              LAW OVER
                                                                              $50,000                TOTAL                                        $50,000                   TOTAL
                                                 $50,000                                                               $50,000
                                                                              OR LESS                                                             OR LESS
12th               WILL                                     1,298                          1,100              2,398                  6                            0                   6
12th               CIRCUIT TOTAL                            1,298                          1,100              2,398                  6                            0                   6
13th               BUREAU                                     23                                80             103                   0                            0                  0
                   GRUNDY                                     70                               158             228                  33                            1                 34
                   LASALLE                                   169                               401             570                   0                            0                  0
13th               CIRCUIT TOTAL                             262                               639             901                  33                            1                 34
14th               HENRY                                      14                                70              84                   1                            0                   1
                   MERCER                                      5                                11              16                   0                            0                  0
                   ROCK ISLAND                               122                               293             415                   0                            0                  0
                   WHITESIDE                                  52                               102             154                   1                            0                   1
14th               CIRCUIT TOTAL                             193                               476             669                   2                            0                   2
15th               CARROLL                                    10                                19              29                   0                            0                  0
                   JO DAVIESS                                 26                                32              58                   0                            0                  0
                   LEE                                        19                                55              74                   0                            0                  0
                   OGLE                                       38                               116             154                   1                            0                   1
                   STEPHENSON                                 37                               129             166                   0                            0                  0
15th               CIRCUIT TOTAL                             130                               351             481                   1                            0                   1
16th               KANE                                      383                               494             877                   0                            0                  0
16th               CIRCUIT TOTAL                             383                               494             877                   0                            0                  0
17th               BOONE                                      51                                32              83                   0                            0                  0
                   WINNEBAGO                                 389                               713            1,102                  1                            0                   1
17th               CIRCUIT TOTAL                            440                                745            1,185                  1                            0                   1
18th               DUPAGE                                   1,598                          1,466              3,064                 19                            0                  19
18th               CIRCUIT TOTAL                            1,598                          1,466              3,064                 19                            0                  19
19th               LAKE                                     1,027                              945            1,972                 15                            1                  16
19th               CIRCUIT TOTAL                            10,27                              945            1,972                 15                            1                  16
20th               MONROE                                     25                                63              88                   0                            0                  0
                   PERRY                                      21                                40              61                   0                            0                   0
                   RANDOPLH                                   22                                46              68                  11                            0                  11
                   ST. CLAIR                                 692                               657            1,349                  7                            0                   7
                   WASHINGTON                                 10                                21              31                   0                            0                  0
20th               CIRCUIT TOTAL                             770                               827            1,597                 18                            0                  18
21st               IROQUOIS                                   14                                57              71                   0                            0                  0
                   KANKAKEE                                  140                               220             360                   0                            0                   0
21st               CIRCUIT TOTAL                             154                               277             431                   0                            0                  0
22nd               MCHENRY                                   395                               396             791                   4                            0                   4
22nd               CIRCUIT TOTAL                             395                               396             791                   4                            0                  4
23rd               DEKALB                                     78                               396             474                   0                            0                  0
                   KENDALL                                   124                               425             549                   2                            0                   2
23rd               CIRCUIT TOTAL                             202                               821            1023                   2                            0                   2
                   DOWNSTATE TOTAL                         10,215                         15,785             26,000                177                           13                 190
COOK               COOK COUNTY                             16,062                         63,181             79,243                 47                           10                  57




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TIME LAPSE: CASE FILING TO DATE OF VERDICT BY CIRCUIT
ALL LAW JURY VERDICTS - CALENDAR YEAR 2021
                                                    LAW JURY OVER $50,000                                                   LAW JURY $50,000 OR LESS


              CIRCUIT
                                                                    AVG. TIME LAPSE IN MONTHS BETWEEN                                        AVG. TIME LAPSE IN MONTHS BETWEEN
                                NUMBER TERMINATED BY VERDICT                                             NUMBER TERMINATED BY VERDICT
                                                                    DATE OF FILING AND DATE OF VERDICT                                       DATE OF FILING AND DATE OF VERDICT


1st                                                            23                                 40.9                                   5                                 20.1
2nd                                                            10                                 34.6                                  0                                   0.0
3rd                                                             3                                 43.5                                  0                                   0.0
4th                                                             7                                 33.9                                   3                                 37.8
5th                                                            2                                  26.8                                  0                                   0.0
6th                                                            4                                  41.7                                   1                                 38.9
7th                                                             7                                 60.6                                  0                                   0.0
8th                                                            4                                  18.7                                  0                                   0.0
9th                                                            2                                  33.4                                  0                                   0.0
10th                                                            5                                 68.5                                   1                                 65.2
11th                                                           9                                  42.2                                   1                                 27.6
12th                                                           6                                  57.6                                  0                                   0.0
13th                                                           33                                 23.2                                   1                                  3.0
14th                                                           2                                  56.7                                  0                                   0.0
15th                                                            1                                 24.4                                  0                                   0.0
16th                                                           0                                   0.0                                  0                                   0.0
17th                                                            1                                115.0                                  0                                   0.0
18th                                                           19                                 59.3                                  0                                   0.0
19th                                                           15                                 23.8                                   1                                 15.8
20th                                                           18                                 35.9                                  0                                   0.0
21st                                                           0                                   0.0                                  0                                   0.0
22nd                                                           4                                  48.0                                  0                                   0.0
23rd                                                           2                                 103.3                                  0                                   0.0
DOWNSTATE TOTAL                                            177                                    39.9                                  13                                 28.0
COOK COUNTY                                                47                                     43.4                                  10                                 39.4
STATE TOTAL                                               224                                     40.6                                  23                                 33.0



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TIME LAPSE: CASE FILING TO DATE OF VERDICT BY COUNTY
ALL LAW JURY VERDICTS - CALENDAR YEAR 2021
                                                                LAW JURY OVER $50,000                                            LAW JURY $50,000 OR LESS
        CIRCUIT                   COUNTY                                         AVG. TIME LAPSE IN MONTHS                                            AVG. TIME LAPSE IN MONTHS
                                              NUMBER TERMINATED BY VERDICT    BETWEEN DATE OF FILING AND DATE   NUMBER TERMINATED BY VERDICT       BETWEEN DATE OF FILING AND DATE
                                                                                         OF VERDICT                                                           OF VERDICT
1st                     ALEXANDER                                         0                               0.0                                  1                              26.7
                        JACKSON                                          14                              46.1                                  4                              18.5
                        JOHNSON                                           0                               0.0                                  0                               0.0
                        MASSAC                                            0                               0.0                                  0                               0.0
                        POPE                                              0                               0.0                                  0                               0.0
                        PULASKI                                           0                               0.0                                  0                               0.0
                        SALINE                                            0                               0.0                                  0                               0.0
                        UNION                                             1                              31.7                                  0                               0.0
                        WILLIAMSON                                        8                              33.1                                  0                               0.0
1st                     CIRCUIT TOTAL                                    23                              40.9                                  5                              20.1
2nd                     CRAWFORD                                          1                               0.4                                  0                               0.0
                        EDWARDS                                           0                               0.0                                  0                               0.0
                        FRANKLIN                                          4                              48.9                                  0                               0.0
                        GALLATIN                                          0                               0.0                                  0                               0.0
                        HAMILTON                                          2                              24.2                                  0                               0.0
                        HARDIN                                            1                              45.1                                  0                               0.0
                        JEFFERSON                                         2                              28.4                                  0                               0.0
                        LAWRENCE                                          0                               0.0                                  0                               0.0
                        RICHLAND                                          0                               0.0                                  0                               0.0
                        WABASH                                            0                               0.0                                  0                               0.0
                        WAYNE                                             0                               0.0                                  0                               0.0
                        WHITE                                             0                               0.0                                  0                               0.0
2nd                     CIRCUIT TOTAL                                    10                              34.6                                  0                               0.0
3rd                     BOND                                              0                               0.0                                  0                               0.0
                        MADISON                                           3                              43.5                                  0                               0.0
3rd                     CIRCUIT TOTAL                                     3                              43.5                                  0                               0.0
4th                     CHRISTIAN                                         0                               0.0                                  1                              53.3
                        CLAY                                              1                              24.2                                  0                               0.0
                        CLINTON                                           0                               0.0                                  0                               0.0
                        EFFINGHAM                                         2                              52.5                                  0                               0.0
                        FAYETTE                                           0                               0.0                                  0                               0.0
                        JASPER                                            0                               0.0                                  0                               0.0
                        MARION                                            2                               8.9                                  2                              30.0
                        MONTGOMERY                                        2                              45.1                                  0                               0.0
                        SHELBY                                            0                               0.0                                  0                               0.0
4th                     CIRCUIT TOTAL                                     7                              33.9                                  3                              37.8
5th                     CLARK                                             0                               0.0                                  0                               0.0
                        COLES                                             0                               0.0                                  0                               0.0
                        CUMBERLAND                                        2                              26.8                                  0                               0.0
                        EDGAR                                             0                               0.0                                  0                               0.0
                        VERMILION                                         0                               0.0                                  0                               0.0
5th                     CIRCUIT TOTAL                                     2                              26.8                                  0                               0.0



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TIME LAPSE: CASE FILING TO DATE OF VERDICT BY COUNTY


                                                                 LAW JURY OVER $50,000                                               LAW JURY $50,000 OR LESS
         CIRCUIT                   COUNTY                                            AVG. TIME LAPSE IN MONTHS                                            AVG. TIME LAPSE IN MONTHS
                                               NUMBER TERMINATED BY VERDICT       BETWEEN DATE OF FILING AND DATE   NUMBER TERMINATED BY VERDICT       BETWEEN DATE OF FILING AND DATE
                                                                                             OF VERDICT                                                           OF VERDICT
6th                      CHAMPAIGN                                            3                              48.2                                  0                               0.0
                         DEWITT                                               0                               0.0                                  0                               0.0
                         DOUGLAS                                              1                              22.3                                  1                              38.9
                         MACON                                                0                               0.0                                  0                               0.0
                         MOULTRIE                                             0                               0.0                                  0                               0.0
                         PIATT                                                0                               0.0                                  0                               0.0
6th                      CIRCUIT TOTAL                                        4                              41.7                                  1                              38.9
7th                      GREENE                                               0                               0.0                                  0                               0.0
                         JERSEY                                               1                              63.5                                  0                               0.0
                         MACOUPIN                                             0                               0.0                                  0                               0.0
                         MORGAN                                               0                               0.0                                  0                               0.0
                         SANGAMON                                             5                              67.2                                  0                               0.0
                         SCOTT                                                1                              24.2                                  0                               0.0
7th                      CIRCUIT TOTAL                                        7                              60.6                                  0                               0.0
8th                      ADAMS                                                1                              44.0                                  0                               0.0
                         BROWN                                                0                               0.0                                  0                               0.0
                         CALHOUN                                              0                               0.0                                  0                               0.0
                         CASS                                                 0                               0.0                                  0                               0.0
                         MASON                                                2                               7.1                                  0                               0.0
                         MENARD                                               0                               0.0                                  0                               0.0
                         PIKE                                                 1                              16.6                                  0                               0.0
                         SCHUYLER                                             0                               0.0                                  0                               0.0
8th                      CIRCUIT TOTAL                                        4                              18.7                                  0                               0.0
9th                      FULTON                                               1                              37.0                                  0                               0.0
                         HANCOCK                                              0                               0.0                                  0                               0.0
                         HENDERSON                                            0                               0.0                                  0                               0.0
                         KNOX                                                 1                              29.8                                  0                               0.0
                         MCDONOUGH                                            0                               0.0                                  0                               0.0
                         WARREN                                               0                               0.0                                  0                               0.0
9th                      CIRCUIT TOTAL                                        2                              33.4                                  0                               0.0
10th                     MARSHALL                                             0                               0.0                                  0                               0.0
                         PEORIA                                               4                              67.3                                  1                              65.2
                         PUTNAM                                               1                              73.0                                  0                               0.0
                         STARK                                                0                               0.0                                  0                               0.0
                         TAZEWELL                                             0                               0.0                                  0                               0.0
10th                     CIRCUIT TOTAL                                        5                              68.5                                  1                              65.2
11th                     FORD                                                 0                               0.0                                  0                               0.0
                         LIVINGSTON                                           0                               0.0                                  0                               0.0
                         LOGAN                                                1                              37.9                                  0                               0.0
                         MCLEAN                                               7                              44.3                                  0                               0.0
                         WOODFORD                                             1                              31.7                                  1                              27.6
11th                     CIRCUIT TOTAL                                        9                              42.2                                  1                              27.6



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TIME LAPSE: CASE FILING TO DATE OF VERDICT BY COUNTY


                                                                 LAW JURY OVER $50,000                                           LAW JURY $50,000 OR LESS
         CIRCUIT                  COUNTY                                         AVG. TIME LAPSE IN MONTHS                                         AVG. TIME LAPSE IN MONTHS
                                               NUMBER TERMINATED BY VERDICT   BETWEEN DATE OF FILING AND DATE   NUMBER TERMINATED BY VERDICT    BETWEEN DATE OF FILING AND DATE
                                                                                         OF VERDICT                                                        OF VERDICT
12th                     WILL                                             6                              57.6                               0                               0.0
12th                     CIRCUIT TOTAL                                    6                              57.6                               0                               0.0
13th                     BUREAU                                           0                               0.0                               0                               0.0
                         GRUNDY                                          33                              23.2                               1                               3.0
                         LASALLE                                          0                               0.0                               0                               0.0
13th                     CIRCUIT TOTAL                                   33                              23.2                               1                               3.0
14th                     HENRY                                            1                              38.4                               0                               0.0
                         MERCER                                           0                               0.0                               0                               0.0
                         ROCK ISLAND                                      0                               0.0                               0                               0.0
                         WHITESIDE                                        1                              75.1                               0                               0.0
14th                     CIRCUIT TOTAL                                    2                              56.7                               0                               0.0
15th                     CARROLL                                          0                               0.0                               0                               0.0
                         JO DAVIESS                                       0                               0.0                               0                               0.0
                         LEE                                              0                               0.0                               0                               0.0
                         OGLE                                             1                              24.4                               0                               0.0
                         STEPHENSON                                       0                               0.0                               0                               0.0
15th                     CIRCUIT TOTAL                                    1                              24.4                               0                               0.0
16th                     KANE                                             0                               0.0                               0                               0.0
16th                     CIRCUIT TOTAL                                    0                               0.0                               0                               0.0
17th                     BOONE                                            0                               0.0                               0                               0.0
                         WINNEBAGO                                        1                             115.0                               0                               0.0
17th                     CIRCUIT TOTAL                                    1                             115.0                               0                               0.0
18th                     DUPAGE                                          19                              59.3                               0                               0.0
18th                     CIRCUIT TOTAL                                   19                              59.3                               0                               0.0
19th                     LAKE                                            15                              23.8                               1                              15.8
19th                     CIRCUIT TOTAL                                   15                              23.8                               1                              15.8
20th                     MONROE                                           0                               0.0                               0                               0.0
                         PERRY                                            0                               0.0                               0                               0.0
                         RANDOPLH                                        11                              38.1                               0                               0.0
                         ST. CLAIR                                        7                              32.5                               0                               0.0
                         WASHINGTON                                       0                               0.0                               0                               0.0
20th                     CIRCUIT TOTAL                                   18                              35.9                               0                               0.0
21st                     IROQUOIS                                         0                               0.0                               0                               0.0
                         KANKAKEE                                         0                               0.0                               0                               0.0
21st                     CIRCUIT TOTAL                                    0                               0.0                               0                               0.0
22nd                     MCHENRY                                          4                              48.0                               0                               0.0
22nd                     CIRCUIT TOTAL                                    4                              48.0                               0                               0.0
23rd                     DEKALB                                           0                               0.0                               0                               0.0
                         KENDALL                                          2                             103.3                               0                               0.0
23rd                     CIRCUIT TOTAL                                    2                             103.3                               0                               0.0
                         DOWNSTATE TOTAL                                177                              39.9                              13                              28.0
COOK                     COOK COUNTY                                     47                              43.4                              10                              39.4
                         STATE TOTAL                                    224                              40.6                              23                              33.0



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FELONY DISPOSITIONS AND SENTENCES BY CIRCUIT
CALENDAR YEAR 2021
                                                                        CONVICTED OF FELONIES                           FOUND NOT GUILTY                                                      SENTENCES
                        TOTAL NUMBER          TOTAL                                                                                                     REMAINING
       CIRCUIT
                        OF DEFENDANTS       CONVICTED                                                                                                   BALANCE*
                                                                              CONVICTED BY       CONVICTED BY                                                              STATE                                        TOTAL
                                                            PLEA OF GUILTY                                          BENCH TRIAL       JURY TRIAL                                       PROBATION      OTHER**
                                                                                 COURT              JURY                                                               IMPRISONMENT                                   SENTENCES

1st                               2,005               845              832                   5                  8                 2                 3          1,155            260            483              102           845
2nd                                2,261            1,218             1,192              15                 11                    0                 2          1,041            397            627              194          1,218
3rd                               4,460             1,742             1,739                  2                  1                 1                 2          2,715            475           1,017             250          1,742
4th                                2,261            1,272            1,264               4                  4                     7                 5           977             356            845               71          1,272
5th                                1,516              910              897                   2              11                    3                4            599             280            571               59           910
6th                                3,316            1,828             1,551             256                 21                    9                11         1,468             564          1,034              230          1,828
7th                                2,453            1,193             1,187                  1                  5                 3                 3          1,254            369            653              171          1,193
8th                                1,703            1,121             1,114              4                      3                 2                 3           577             363            688              70           1,121
9th                               1,488               607              595                   8              4                     3                4            874              181           302              124           607
10th                               1,299              809              796                   5                  8                 2                4            484             289            448               72           809
11th                              2,696             1,727             1,659              36                 32                    8                10           951             570          1,081               76          1,727
12th                               1,981            1,396            1,380               16                 0                 31                    0           554             356            788              252          1,396
13th                                856               569              567               0                      2                 1                 1           285              173           274              122           569
14th                               1,933            1,223            1,209                   9                  5                 3                 3           704             306            646              271          1,223
15th                               1,137              627              575                   7              45                    1                 8           501             143            362              122           627
16th                               2,033            1,449             1,391             45                  13                13                    8           563             596            803              50          1,449
17th                               2,958            1,699             1,667             20                  12                    7                 6          1,246            384          1,056              259          1,699
18th                               3,623            1,935             1,883             44                      8                 4                64          1,620             373           795              767          1,935
19th                               2,142              894              886                   3                  5                 8                 0         1,240              231           584               79           894
20th                               3,143            1,784             1,770                  6                  8                 9                 3          1,347            530           1,162              92          1,784
21st                                 537              322              316                   2              4                     5                 3           207              79            179              64            322
22nd                                958               407              394                   8                  5                 3                 3           545             147            207               53           407
23rd                                786              480               472                   8              0                     7                 3           296              125           196              159           480
DOWNSTATE TOTAL                  47,545            26,057           25,336              506                215                132              153            21,203           7,547        14,801          3,709           26,057

COOK COUNTY                       31,942           15,852            11,152           4,635                 65               334                   31         15,725           6,750         6,646          2,456           15,852

STATE TOTAL                      79,487            41,909           36,488            5,141                280               466               184            36,928          14,297        21,447          6,165          41,909
* INCLUDES SUCH DISPOSITIONS AS TRANSFERS TO INACTIVE/FUGITIVE WARRANT CALENDAR, EXTRADITION PROCEEDINGS, AND DISMISSED ON MOTION OF STATE.

**INCLUDES IMPRISONMENT IN A LOCAL JAIL, FINE ONLY, COMMUNITY SERVICE, ECT.




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FELONY DISPOSITIONS AND SENTENCES BY CIRCUIT
                                               2021 STATEWIDE DISPOSITIONS BY PERCENTAGE




     Remaining Balance*, 46.5                                                                           Guilty Plea, 45.9



                                                                                                                            Guilty Plea
                                                                                                                            Convicted by Court
                                                                                                                              •
                                                                                                                              •
                                                                                                                            Convicted  by Jury
                                                                                                                              • Guilty - Bench
                                                                                                                            Not
                                                                                                                              •
                                                                                                                            Not Guilty - Jury
                                                                                                                              •
                                                                                                                            Remaining Balance*
                                                                                                                              •



                      Not Guilty - Jury, 0.2                                              Convicted by Court, 6.5


                                       Not Guilty - Bench, 0.6   Convicted by Jury, 0.4



* Includes transfers to inactive/fugitive warrant calendar, extradition proceedings, and dismissed on motion of state



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FELONY DISPOSITIONS AND SENTENCES BY CIRCUIT
                                          2021 STATEWIDE SENTENCING BY PERCENTAGE

                                  Other**, 14.7




                                                                                          Prison, 34.1




                                                                                                                   Prison
                                                                                                               ■


                                                                                                                   Probation
                                                                                                               ■


                                                                                                                   Other**
                                                                                                               ■




                Probation, 51.2




** Includes imprisonment in a local jail, fine only, community service, etc.



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FELONY DISPOSITIONS AND SENTENCES BY COUNTY
CALENDAR YEAR 2021
                                                                                         CONVICTED OF FELONIES                            FOUND NOT GUILTY              REMAINING                                   SENTENCES
                                    TOTAL NUMBER OF
      CIRCUIT            COUNTY                         TOTAL CONVICTED                       CONVICTED BY       CONVICTED BY                                           BALANCE              STATE
                                      DEFENDANTS                           PLEA OF GUILTY                                            BENCH TRIAL       JURY TRIAL                                            PROBATION         OTHER **         TOTAL SENTENCES
                                                                                                 COURT               JURY                                                   *             IMPRISONMENT
1st               ALEXANDER                        92                52                 50                   2                  0                  0                1                39               12                  38                2                52

                  JACKSON                         356               192                189                   0                  3                  0                0               164               73             104                   15               192

                  JOHNSON                          58                48                 47                   1                  0                  0                0                10               18                 29                 1                48

                  MASSAC                          171                88                 88                   0                  0                  0                0                83               22                  63                3                88

                  POPE                             32                23                 22                   0                  1                  0                0                9                14                  8                 1                23

                  PULASKI                          73                29                 29                   0                  0                  1                0               43                   5                18               6                 29

                  SALINE                          418               147                143                   1                  3                  0                2               269              46                  99                 2               147

                  UNION                          286                 93                 92                   0                  1                  1                0               192               32                  41              20                 93

                  WILLIAMSON                      519               173                172                   1                  0                  0                0               346               38                  83               52               173

1st               CIRCUIT TOTAL                 2,005               845                832                   5                  8                  2                3             1,155              260             483                  102               845

2nd               CRAWFORD                        250               151                151                   0                  0                  0                1               98                61                  76               14               151

                  EDWARDS                          33                28                 27                   0                  1                  0                0                 5               11                  15                2                28

                  FRANKLIN                       493                156                156                   0                  0                  0                0               337              40                   79               37               156

                  GALLATIN                         47                25                 25                   0                  0                  0                0                22                  7                12               6                 25

                  HAMILTON                         61                39                 39                   0                  0                  0                0                22                  6                21               12                39

                  HARDIN                           37                22                 22                   0                  0                  0                0                15                  5                15                2                22

                  JEFFERSON                      462                328                323                   0                  5                  0                0               134              131                 160               37               328

                  LAWRENCE                        163               117                114                   0                  3                  0                0               46                52                  57               8                117

                  RICHLAND                       289                 97                 96                   0                  1                  0                0               192               13                 62                22                97

                  WABASH                           61                36                 35                   0                  1                  0                0                25               13                  19               4                 36

                  WAYNE                           185                81                 66               15                     0                  0                0               104               15                  61                5                81

                  WHITE                           180               138                138                   0                  0                  0                1                41               43                 50               45                138

2nd               CIRCUIT TOTAL                 2,261              1,218              1,192              15                     11                 0                2           1,041                397                 627              194              1,218

3rd               BOND                           140                116                115                   0                  1                  1                0                23               39                 74                 3               116

                  MADISON                       4,320              1,626             1,624                   2                  0                  0                2           2,692                436             943                  247              1,626

3rd               CIRCUIT TOTAL                 4,460              1,742              1,739                  2                  1                  1                2           2,715                475            1,017                 250              1,742

4th               CHRISTIAN                      348                184                184                   0                  0                  0                0               164               55                 117               12               184

                  CLAY                             96                61                 58                   3                  0                  0                0                35               19                  39                3                61

                  CLINTON                         198               154                154                   0                  0                  0                0               44                53                  87               14               154

                  EFFINGHAM                       331               171                167                   1                  3                  1                2               157               45                 114               12               171

                  FAYETTE                        454                275                275                   0                  0                  0                2               177               66                 203               6                275

                  JASPER                           77                19                 19                   0                  0                  0                0                58                  1                11                7                19

                  MARION                          363               213                213                   0                  0                  6                1               143               66             140                    7               213

                  MONTGOMERY                      278               130                129                   0                  1                  0                0               148               36                 89                 5               130

                  SHELBY                          116                65                 65                   0                  0                  0                0                51               15                 45                 5                65

4th               CIRCUIT TOTAL                 2,261              1,272             1,264                   4                  4                  7                5               977              356             845                   71              1,272

5th               CLARK                            77                62                 62                   0                  0                  0                0                15               15                 40                 7                62

                  COLES                           570               333                332                   0                  1                  1                4               232               89                 229               15               333

                  CUMBERLAND                       73                53                 51                   1                  1                  0                0               20                14                  33               6                 53

                  EDGAR                           222               128                127                   0                  1                  0                0               94               42                  80                6                128

                  VERMILION                       574               334                325                   1                  8                  2                0               238              120                 189               25               334

5th               CIRCUIT TOTAL                 1,516               910                897                   2                  11                 3                4               599              280                 571               59               910

* INCLUDES SUCH DISPOSITIONS AS TRANSFERS TO INACTIVE/FUGITIVE WARRANT CALENDAR, EXTRADITION PROCEEDINGS, AND DISMISSED ON MOTION OF STATE.
**INCLUDES IMPRISONMENT IN A LOCAL JAIL, FINE ONLY, COMMUNITY SERVICE, ETC.




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FELONY DISPOSITIONS AND SENTENCES

                                                                                         CONVICTED OF FELONIES                             FOUND NOT GUILTY               REMAINING                                   SENTENCES
                                    TOTAL NUMBER OF
       CIRCUIT            COUNTY                        TOTAL CONVICTED                         CONVICTED BY       CONVICTED BY                                           BALANCE              STATE
                                      DEFENDANTS                           PLEA OF GUILTY                                             BENCH TRIAL       JURY TRIAL                                             PROBATION         OTHER **         TOTAL SENTENCES
                                                                                                   COURT               JURY                                                   *             IMPRISONMENT
6th               Champaign                     1,281               702                439                 253                10                    5                 5               569              191                 419              92                702

                  DeWitt                          142               105                101                     3                  1                 0                0                 37               30                  56               19               105

                  Douglas                        220                134                134                     0                  0                 0                0                 86               41                 49               44                134

                  Macon                         1,502               793                785                     0                  8                 4                6                699              264             454                   75               793

                  Moultrie                         68                40                 40                     0                  0                 0                0                 28               16                 24                0                 40

                  Piatt                           103                54                 52                     0                  2                 0                0                 49               22                  32               0                 54
6th               Circuit Total                 3,316              1,828              1,551                256                21                    9                11           1,468                564            1,034                 230              1,828
7th               Greene                          162                94                 94                     0                  0                 0                0                 68               22                  67                5                94

                  Jersey                          328               211                211                     0                  0                 0                0                117              60                  86                65               211

                  Macoupin                       300                261                261                     0                  0                 0                0                 39              64                  186               11               261

                  Morgan                          194               112                112                     0                  0                 1                0                 81               41                 66                 5               112

                  Sangamon                      1,441               495                489                     1                  5                 2                 3               941              174                 236               85               495

                  Scott                            28                20                 20                     0                  0                 0                0                  8                  8                12               0                 20
7th               Circuit Total                 2,453              1,193              1,187                    1                  5                 3                 3           1,254                369                 653              171              1,193
8th               Adams                         1,046               706                705                     0                  1                 0                 3               337              216                 455               35               706

                  Brown                            33                12                 12                     0                  0                 0                0                 21                  2                8                 2                12

                  Calhoun                          33                28                 26                     1                  1                 0                0                  5               15                  13               0                 28

                  Cass                            138                59                 59                     0                  0                 1                0                 78               17                  35                7                59

                  Mason                           101                50                 50                     0                  0                 0                0                 51              24                   22               4                 50

                  Menard                           39                23                 23                     0                  0                 0                0                 16                  8                14                1                23

                  Pike                           266                209                206                     2                  1                 1                0                 56               74                 119               16               209

                  Schuyler                         47                34                 33                     1                  0                 0                0                 13                  7                22                5                34

8th               Circuit Total                 1,703              1,121              1,114                    4                  3                 2                 3               577              363             688                  70               1,121

9th               Fulton                          276               124                124                     0                  0                 1                 1               150               66                  16              42                124

                  Hancock                         129                88                 88                     0                  0                 0                0                 41               15                  57               16                88

                  Henderson                        78                34                 34                     0                  0                 0                0                44                   4               30                0                 34

                  Knox                           700                206                202                     3                  1                 1                 3               490               75                 131               0                206

                  McDonough                       192               113                105                     5                  3                 0                0                 79               14                 49               50                113

                  Warren                          113                42                 42                     0                  0                 1                0                 70                  7                19               16                42
9th               Circuit Total                 1,488               607                595                     8                  4                 3                4                874              181                 302              124               607
10th              Marshall                         52                29                 28                     1                  0                 0                0                 23               12                  16                1                29

                  Peoria                         664                414                408                     1                  5                 2                4                244              158                 214              42                414

                  Putnam                           14                 6                     6                  0                  0                 0                0                  8                  1                 3                2                 6

                  Stark                            29                12                 12                     0                  0                 0                0                 17                  6                 5                1                12

                  Tazewell                       540                348                342                     3                  3                 0                0                192              112                 210              26                348

10th              Circuit Total                 1,299               809                796                     5                  8                 2                4                484              289             448                   72               809

11th              Ford                             83                49                 36                     1              12                    0                0                 34               10                  38                1                49

                  Livingston                     479                344                317                  23                    4                 5                4                126              129                 182               33               344

                  Logan                           197               151                148                     0                  3                 1                 1               44                57                  87                7               151

                  McLean                        1,727             1,028              1,007                     9              12                    1                4                694              307             690                   31              1,028

                  Woodford                        210               155                151                     3                  1                 1                 1                53               67                 84                4                155

11th              Circuit Total                 2,696              1,727             1,659                 36                 32                    8                10               951              570            1,081                  76              1,727

* INCLUDES SUCH DISPOSITIONS AS TRANSFERS TO INACTIVE/FUGITIVE WARRANT CALENDAR, EXTRADITION PROCEEDINGS, AND DISMISSED ON MOTION OF STATE.
**INCLUDES IMPRISONMENT IN A LOCAL JAIL, FINE ONLY, COMMUNITY SERVICE, ETC.




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FELONY DISPOSITIONS AND SENTENCES

                                                                                         CONVICTED OF FELONIES                           FOUND NOT GUILTY                 REMAINING                                    SENTENCES
                                   TOTAL NUMBER OF
       CIRCUIT           COUNTY                         TOTAL CONVICTED                       CONVICTED BY       CONVICTED BY                                             BALANCE              STATE
                                      DEFENDANTS                           PLEA OF GUILTY                                           BENCH TRIAL        JURY TRIAL                                               PROBATION         OTHER **         TOTAL SENTENCES
                                                                                                 COURT               JURY                                                     *             IMPRISONMENT
12th             Will                           1,981              1,396             1,380                 16                   0                 31                 0                554                356                788              252              1,396
12th             Circuit Total                  1,981              1,396             1,380                 16                   0                 31                 0                554                356                788              252              1,396
13th             Bureau                            96                84                 84                   0                  0                 0                   1                11                 37                 38               9                 84
                 Grundy                          244                146                144                   0                  2                 0                  0                 98                 43                 75              28                146
                 LaSalle                         516                339                339                   0                  0                  1                 0                176                 93                161               85               339
13th             Circuit Total                   856                569                567                   0                  2                  1                  1               285                173            274                  122               569
14th             Henry                           475                312                302                   8                  2                 2                   2               159                 74                165               73               312
                 Mercer                            82                47                 47                   0                  0                  1                 0                 34                 13                30                4                 47
                 Rock Island                    1,039               646                644                   0                  2                 0                   1               392                139                335              172               646
                 Whiteside                       337                218                216                   1                  1                 0                  0                119                 80                116               22               218
14th             Circuit Total                  1,933              1,223             1,209                   9                  5                 3                   3               704                306            646                  271              1,223
15th             Carroll                          112                56                 53                   1                  2                 0                   2                54                 24                 25                7                56
                 Jo Daviess                      204                  71                71                   0                  0                 0                  0                133                 20                 27              24                  71
                 Lee                             255                164                119                   4               41                   0                   1               90                  35                 77               52               164
                 Ogle                            318                164                163                   1                  0                  1                  3               150                 21                118               25               164
                 Stephenson                      248                172                169                   1                  2                 0                   2                74                 43                115               14               172
15th             Circuit Total                  1,137               627                575                   7               45                    1                 8                501                143                362              122               627
16th             Kane                           2,033             1,449               1,391                45                13                   13                 8                563                596            803                  50              1,449
16th             Circuit Total                  2,033             1,449               1,391                45                13                   13                 8                563                596            803                  50              1,449
17th             Boone                           349                297                296                   1                  0                 2                   3                47                 92                168               37               297
                 Winnebago                      2,609              1,402              1,371                19                12                   5                   3            1,199                 292            888                  222              1,402
17th             Circuit Total                  2,958              1,699             1,667                 20                12                   7                  6             1,246                 384           1,056                 259              1,699
18th             DuPage                         3,623              1,935             1,883                 44                   8                 4                 64             1,620                 373                795              767              1,935
18th             Circuit Total                  3,623              1,935             1,883                 44                   8                 4                 64             1,620                 373                795              767              1,935
19th             Lake                           2,142               894                886                   3                  5                 8                  0             1,240                 231            584                   79               894
19th             Circuit Total                  2,142               894                886                   3                  5                 8                  0             1,240                 231            584                   79               894
20th             Monroe                          281                182                182                   0                  0                 2                   1                96                 46                121               15               182
                 Perry                             94                58                 58                   0                  0                  1                 0                 35                 21                28                9                 58
                 Randolph                        262                195                192                   2                  1                 0                  0                 67                 71                114               10               195
                 St. Clair                      2,347              1,282              1,273                  3                  6                 6                   2            1,057                 382                858              42               1,282
                 Washington                      159                 67                 65                   1                  1                 0                  0                 92                 10                 41               16                67
20th             Circuit Total                  3,143              1,784              1,770                  6                  8                 9                   3            1,347                 530           1,162                 92               1,784
21st             Iroquois                        128                 81                 81                   0                  0                 0                  0                 47                  11                67                3                81
                 Kankakee                        409                241                235                   2                  4                 5                   3               160                 68                112               61               241
21st             Circuit Total                   537                322                316                   2                  4                 5                   3               207                 79                179              64                322
22nd             McHenry                         958                407                394                   8                  5                 3                   3               545                147                207               53               407
22nd             Circuit Total                   958                407                394                   8                  5                 3                   3               545                147                207               53               407
23rd             DeKalb                          561                299                296                   3                  0                 3                   1               258                 82                106              111               299
                 Kendall                         225                181                176                   5                  0                 4                   2                38                 43                90               48                181
23rd             Circuit Total                   786                480                472                   8                  0                 7                   3               296                125                196              159               480
                 Downstate Total               47,545             26,057            25,336                506               215               132                   153           21,203                7,547         14,801             3,709               26,057
COOK             Cook County                   31,942             15,852             11,152              4,635               65               334                    31           15,725                6,750          6,646             2,456               15,852

                 State Total                   79,487            41,909             36,488               5,141              280               466                   184           36,928               14,297         21,447             6,165              41,909
* INCLUDES SUCH DISPOSITIONS AS TRANSFERS TO INACTIVE/FUGITIVE WARRANT CALENDAR, EXTRADITION PROCEEDINGS, AND DISMISSED ON MOTION OF STATE.
**INCLUDES IMPRISONMENT IN A LOCAL JAIL, FINE ONLY, COMMUNITY SERVICE, ETC.




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FINANCIAL SUMMARY OF THE
CIRCUIT COURTS OF ILLINOIS
The amounts reported on the following pages are for FY 2021. In most
counties, FY21 ended 11/30/2021.
Those counties with different fiscal years are as follows:
               CALHOUN                               FY21 ENDED 08/31/2021
               DEKALB                                FY21 ENDED 12/31/2021
               DOUGLAS                               FY21 ENDED 12/31/2021
               GREENE                                FY21 ENDED 12/31/2021
               MACOUPIN                              FY21 ENDED 08/31/2021
               MASSAC                                FY21 ENDED 12/31/2021
               MCLEAN                                FY21 ENDED 12/31/2021
               MORGAN                                FY21 ENDED 08/31/2021
               PEORIA                                FY21 ENDED 12/31/2021
               ST.CLAIR                              FY21 ENDED 12/31/2021
               SHELBY                                FY21 ENDED 08/31/2021
               STEPHENSON                            FY21 ENDED 12/31/2021
               WINNEBAGO                             FY21 ENDED 09/30/2021
Beginning in October of 1999, employers began sending child support payments to the State
Disbursement Unit rather than to circuit clerks for processing and disbursement to recipients.
The amounts reported by circuit clerks under the heading "Maintenance and Child Support
Payments" include payments processed and disbursed by the State Disbursements Unit.
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CIRCUIT CLERK FEES AND OTHER REVENUE BY COUNTY
DECEMBER 1, 2020 - NOVEMBER 30, 2021
                                                                                               FEES AND OTHER REVENUE OF CLERK'S OFFICE


      CIRCUIT         COUNTY                         COURT          MAINTENANCE                        OPERATION         CLERK'S       INTEREST ON     DHFS IV-D
                                  CLERK'S FEES                                         DOCUMENT                                                                                    TOTAL FEES AND
                                                   AUTOMATION        AND CHILD                         AND ADMIN.      E-CITATION        INVESTED      CONTR. &        OTHER
                                  AND COSTS                                          STORAGE FUND                         FUND                                                     OTHER REVENUE
                                                      FUND            SUPPORT                            FUND                              FUNDS        INCENT.

1st.......        Alexander             102,910            37,686                0           37,565          10,229           12,569               0           2,500           0          203,458
                  Jackson                321,372           83,961          25,709            83,464          48,849          19,937            4,007           6,357           0           593,655
                  Johnson               150,005            53,776                0           53,726          13,798          18,539               94           1,561           0          291,499
                  Massac                371,068           111,103                0          110,793          27,354                0           2,124           1,617         963          625,023
                  Pope                    52,831           14,951                0           14,926            3,836           5,045              22             105           0             91,715
                  Pulaski               371,786          187,379                 0          186,061          48,176          69,202              739             504           0          863,846
                  Saline                139,944           42,956               108           42,443          12,200            9,430               0         11,322            0          258,404
                  Union                 168,494           59,984             5,845           38,507            9,976          10,577             237           3,103           0          296,723
                  Williamson            741,206          180,452               329          179,748          47,464          51,374            9,273          35,151           0        1,244,997
1st.......        Circuit Total       2,419,616          772,248           31,990          747,234          221,882         196,672           16,496         62,220          963        4,469,320
2nd......         Crawford              123,704            23,731              661           23,083            6,170           5,399             827               0           0           183,577
                  Edwards                 43,973           12,641            3,467           12,646            3,287           3,616             173           2,431           0            82,233
                  Franklin              303,998            50,811                0            55,318         14,124            8,890             465           6,987           0          440,593
                  Gallatin                52,952           14,583               71           14,591            3,966           4,519             358               0           0            91,040
                  Hamilton                61,760          14,999             4,632            15,077           4,170           3,766             986           1,645           0          107,034
                  Hardin                  31,080            6,755              186             7,073           2,131               0              21             147          72            47,465
                  Jefferson             277,989            54,134            8,017           53,985          27,414            8,243               0           5,118           0          434,900
                  Lawrence               108,513           18,590          13,893            18,254            4,368           3,354               0              63           0           167,035
                  Richland              114,699            21,136            6,725           21,490            6,720           4,080             226               0           0           175,076
                  Wabash                  56,607          14,476             5,737           14,568            4,543           3,589              53           1,005           0          100,578
                  Wayne                 143,592            32,121            5,905            31,972           9,867           9,209             226           2,140           0           235,032
                  White                  132,301           36,257            7,917           36,741          11,834            9,248             739           2,893           0          237,930
2nd......         Circuit Total       1,451,168          300,233            57,211         304,799           98,594          63,913            4,076         22,428           72        2,302,492
3rd.......        Bond                    45,931          64,801                36           64,900          16,530           23,182             482           1,122           0           216,983
                  Madison             6,386,103        1,089,766           70,358         1,102,955         276,241          84,286           38,301         20,502       25,103        9,093,616
3rd.......        Circuit Total       6,432,034        1,154,567           70,394         1,167,855         292,772         107,468           38,783         21,624       25,103        9,310,599
4th.......        Christian             205,691            52,096           8,996            51,464          13,914           10,221             617           6,168           0          349,167
                  Clay                    87,774           23,035            7,337           21,674            5,238           5,029             869           8,817           0           159,773
                  Clinton                183,221           37,723          19,521            39,761          10,514            7,801             564          4,898            0          304,004
                  Effingham             192,742            52,735            3,515           53,748          36,420          12,864            4,037          4,180            0          360,242
                  Fayette               184,602           82,840           18,918            82,633           21,101         26,962              217           2,887           0          420,160
                  Jasper                  55,925           12,594                0           12,603            3,742           3,269             233           1,477           0            89,842
                  Marion                  78,695          64,842           33,682            63,804          17,882           17,913               0           8,295           0           285,112
                  Montgomery            203,962           81,040           17,244            81,462           21,822         24,848            1,485          7,880            0          439,743
                  Shelby                  73,171           20,663         74,004             20,580            6,038           4,115             139           1,134           0          199,844
4th.......        Circuit Total       1,265,783          427,569          183,217           427,729         136,671         113,022            8,161         45,736            0        2,607,888
5th.......        Clark                  103,725           24,961            3,795           24,881            7,871           6,322              64             798          17          172,434
                  Coles                 360,672            73,388              144           73,449           18,715         15,088            1,002           7,210           0          549,668
                  Cumberland              77,641           17,158            3,854            17,035           5,531           4,114               0           2,746           0          128,080
                  Edgar                 110,878            18,076           4,324            17,986            5,347           3,514           1,099             945           0           162,170
                  Vermilion           1,208,968          109,203           30,508           109,433          28,839          26,342                0           6,614      10,483        1,530,389
5th.......        Circuit Total       1,861,884          242,786           42,625           242,785          66,303          55,380            2,166         18,313       10,500        2,542,741




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CIRCUIT CLERK FEES AND OTHER REVENUE


                                                                                                FEES AND OTHER REVENUE OF CLERK'S OFFICE

      CIRCUIT          COUNTY                          COURT          MAINTENANCE                       OPERATION          CLERK'S        INTEREST ON       DHFS IV-D
                                   CLERK'S FEES                                         DOCUMENT                         E-CITATION                                                       TOTAL FEES AND
                                                     AUTOMATION        AND CHILD                        AND ADMIN.                          INVESTED        CONTR. &        OTHER
                                   AND COSTS                                          STORAGE FUND                          FUND                                                          OTHER REVENUE
                                                        FUND            SUPPORT                           FUND                                FUNDS          INCENT.

6th........        Champaign            1,347,866          312,522            9,558         223,805          202,094            53,719             7,777          11,697              0         2,169,038
                   DeWitt                 105,864           24,572            5,268           24,522             6,861           6,369                 14          1,416              0           174,886
                   Douglas                  56,563          34,841            6,040          34,496            18,451            9,334                343          1,909              0            161,976
                   Macon                   951,337        162,290            77,747         161,374            45,861          27,214             13,815          16,174              0         1,455,812
                   Moultrie                 71,355          17,427            4,603           17,504             6,872           5,016                 10          2,757              0            125,544
                   Piatt                    86,218          16,670              324           16,269            8,986            3,818                 89          2,872              0            135,247
6th........        Circuit Total        2,619,202         568,322           103,540         477,970          289,125          105,470            22,048           36,825              0         4,222,503
7th........        Greene                   81,160          20,262            4,508           20,130             5,821           4,612                  4          2,014              0            138,511
                   Jersey                 163,656           61,853            3,187           61,287           14,841          16,550                248          20,933              0            342,555
                   Macoupin               277,705           68,119              101           66,873           27,239          18,294                 283          4,739              0            463,352
                   Morgan                 214,205           39,636           14,357           39,965           14,267           7,444              2,250           4,277              0           336,402
                   Sangamon               384,654         378,886            45,252         371,270          111,428           94,937           109,040           23,308              0          1,518,773
                   Scott                    33,257          12,982              720           12,949             3,203           3,789                  0          2,903              0             69,802
7th........        Circuit Total        1,154,636         581,738            68,124         572,474          176,797          145,627            111,825          58,174              0         2,869,395
8th........        Adams                  480,569         130,598            13,598         130,447            35,611           30,515             3,889          11,740              0           836,968
                   Brown                    57,921           15,871           3,430            15,851            4,287           5,366                  0               0             0            102,725
                   Calhoun                  33,610            7,820             913             7,885            2,477           2,357                 92             796             0             55,951
                   Cass                     89,885          22,380           10,492           22,364             5,686           5,828                 83           1,218             0            157,935
                   Mason                  129,969           37,573            1,892           37,847           10,459           11,509                734          2,098              0           232,080
                   Menard                   47,148            9,901              48             9,967            2,224           1,965                570             975             0             72,797
                   Pike                     61,656          47,391            7,146           48,267           17,180          14,655                   0               0             0            196,295
                   Schuyler                60,340           18,167            6,154           18,134             4,719            5,111                 0           2,221             0           114,846
8th........        Circuit Total          961,099         289,699            43,673         290,762            82,642          77,306              5,367          19,048              0         1,769,597
9th........        Fulton                 147,618           55,964            9,410           56,299           15,616           13,556             1,473           3,843             45            303,825
                   Hancock                  19,379          31,471               72           31,399            8,794            8,317              1,731          1,977              0            103,140
                   Henderson                16,751          39,043            3,685           38,751           10,652          14,036                   6             315             0            123,239
                   Knox                   116,060           76,255           10,055           76,043           23,898          18,688                   0          6,279              0            327,276
                   McDonough              241,184           48,239            9,488           48,816           17,087           12,192              1,137          2,079              0            380,222
                   Warren                   35,563          28,664           21,906           28,541             8,267           8,070                 17          1,794              0            132,824
9th........        Circuit Total          576,556         279,636            54,617         279,848            84,315          74,859              4,365          16,287             45         1,370,526
10th......         Marshall                 63,918            8,554           5,585             8,395            5,855           1,301                 67             870             0             94,545
                   Peoria               1,532,886         260,447             2,858         261,709          109,030           49,798              1,559          15,860              0         2,234,146
                   Putnam                   30,260          12,160            1,484            12,113            3,189           3,755                 70          1,435            264             64,729
                   Stark                    63,317            9,920           4,396           10,439             3,023           2,629                 86           1,615             0             95,425
                   Tazewell             1,048,593          252,573           32,504          253,116          94,406           69,083                630           6,510              0          1,757,415
10th......         Circuit Total        2,738,974         543,654            46,827         545,772           215,502         126,566              2,412          26,290            264         4,246,260
11th......         Ford                   116,004           16,998              108           17,187             5,327           3,152                201          5,168              0            164,145
                   Livingston             384,005           68,483           11,241          66,485            23,140          18,196              2,004           5,433              0            578,987
                   Logan                  286,327           45,365           15,965           45,376           16,390            8,614                230          3,962              0            422,229
                   McLean                 408,593         354,744            57,847         351,243            92,885          98,681              9,540           9,240              0         1,382,773
                   Woodford               256,012           42,633              746           40,953            12,315         10,484                   0          3,529              0            366,672
11th......         Circuit Total        1,450,941         528,222            85,907         521,244          150,057          139,126             11,975          27,333              0         2,914,806




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CIRCUIT CLERK FEES AND OTHER REVENUE


                                                                                                      FEES AND OTHER REVENUE OF CLERK'S OFFICE

      CIRCUIT         COUNTY                             COURT           MAINTENANCE                          OPERATION          CLERK'S        INTEREST ON      DHFS IV-D
                                    CLERK'S FEES                                             DOCUMENT                                                                                          TOTAL FEES AND
                                                       AUTOMATION         AND CHILD                           AND ADMIN.       E-CITATION         INVESTED       CONTR. &         OTHER
                                    AND COSTS                                              STORAGE FUND                                                                                        OTHER REVENUE
                                                          FUND             SUPPORT                              FUND              FUND              FUNDS         INCENT.

12th......        Will                      853,631         1,255,582            86,031         1,227,426           632,764          338,246           59,095           18,249             0         4,471,024
12th......        Circuit Total             853,631         1,255,582            86,031         1,227,426           632,764          338,246           59,095           18,249             0         4,471,024
13th......        Bureau                    240,232             48,383            15,263            48,401           14,561            10,476             820            6,011             0            384,147
                  Grundy                    536,411           103,488             16,115          103,304            26,624            25,554           1,319            4,635             0            817,451
                  LaSalle                   207,852           219,278              9,405           219,133          124,112            56,936              133           6,804             0           843,654
13th......        Circuit Total            984,495            371,149            40,783           370,839           165,297            92,966           2,272           17,450             0         2,045,252
14th......        Henry                    307,046              83,650            18,138            80,551           25,417            20,450           2,653            7,701             0            545,606
                  Mercer                      81,478            14,246                 0            14,277             4,134            2,295             140            3,460             0            120,030
                  Rock Island             1,342,129           226,637           111,868           242,022            92,768            53,998          14,806           18,518             0         2,102,746
                  Whiteside                 549,829           140,892                  0          140,528            34,209            36,145                0           5,860         9,277            916,740
14th......        Circuit Total          2,280,483            465,425           130,006           477,378           156,528          112,887           17,600           35,539         9,277          3,685,123
15th......        Carroll                     85,565            27,684             4,095            27,708             7,138            7,249           1,015             2,515            0            162,970
                  Jo Daviess                149,215            42,904                  0            42,833           10,794            11,969                0           1,729             0            259,443
                  Lee                       238,321             70,880            10,223            71,158           18,738            19,903             734            1,722             0            431,679
                  Ogle                      321,063            111,258                 0           111,518           28,991            34,607           3,341            3,129             0            613,907
                  Stephenson                307,002           102,079              9,226          101,728            24,343            27,682                0           7,284             0            579,344
15th......        Circuit Total           1,101,166           354,804            23,544           354,945            90,005          101,410            5,091           16,379             0         2,047,343
16th......        Kane                   3,017,507            793,496            86,781           755,734           494,781           175,556           7,997           11,739             0          5,343,591
16th......        Circuit Total          3,017,507            793,496            86,781           755,734           494,781           175,556           7,997           11,739             0          5,343,591
17th......        Boone                     144,203             90,822            10,912            90,733           26,609            22,958           2,427            4,579             0           393,244
                  Winnebago              2,549,468            446,162             51,055          466,340           104,995          107,884                 0          23,945             0         3,749,849
17th......        Circuit Total          2,693,671            536,984            61,967           557,073           131,604          130,843            2,427           28,524             0         4,143,093
18th......        DuPage                 2,461,469          1,524,233           325,229         1,518,238         1,149,184          452,814          131,682                 0            0         7,562,849
18th......        Circuit Total          2,461,469          1,524,233           325,229         1,518,238         1,149,184          452,814          131,682                 0            0         7,562,849
19th......        Lake                    1,475,527           997,617            49,352           985,557           258,891          251,366            3,217                 0            0         4,021,527
19th......        Circuit Total           1,475,527           997,617            49,352           985,557           258,891          251,366            3,217                 0            0         4,021,527
20th......        Monroe                    294,167             52,241             8,100             56,131          18,843            14,856              578           2,688             0           447,604
                  Perry                     137,050             29,076             9,214            29,137             7,587            6,717                0                0            0            218,780
                  Randolph                   152,777            53,744            11,124            49,388           14,230             7,773              295            1,533            0           290,864
                  St. Clair              1,298,634          1,023,754            63,538         1,025,216            16,309            74,910           2,204           23,079             0         3,527,644
                  Washington                 98,047             19,760             3,068            19,777             5,499            4,714              220           3,281             0            154,367
20th......        Circuit Total          1,980,675          1,178,574            95,044         1,179,648            62,468          108,970            3,298           30,581             0         4,639,259
21st......        Iroquois                 206,896              55,287               203            54,836            15,937           14,869             194            3,319             0            351,542
                  Kankakee                  972,455           200,309            44,946           200,912            49,424           45,443                 0           7,749            60          1,521,297
21st......        Circuit Total           1,179,351           255,596            45,149           255,748            65,361            60,312             194           11,068            60         1,872,839
22nd.....         McHenry                1,974,780            611,934             71,178          580,476           158,379          169,169          168,796            8,022             0         3,742,735
22nd.....         Circuit Total          1,974,780            611,934             71,178          580,476           158,379          169,169          168,796            8,022             0         3,742,735
23rd.....         DeKalb                   568,430            153,080             12,810           153,147           78,666            36,406            1,715           6,006         1,093          1,011,352
                  Kendall                 1,114,550            132,316           56,189            132,305           33,182            22,489               90           2,462             0         1,493,582
                  Circuit Total          1,682,980            285,396            68,999           285,451           111,848            58,895           1,804            8,468         1,093         2,504,934
                  Downstate Total       44,617,630        14,319,464          1,872,187        14,126,984         5,291,768        3,258,843          631,146         540,298         47,375        84,705,695
Cook              Cook County           59,892,473         7,248,693                 979        6,466,857         1,951,579          533,019          116,450         760,967              0        76,971,017
                  State Total          104,510,103         21,568,157         1,873,166        20,593,841         7,243,347        3,791,862          747,596        1,301,265        47,375       161,676,712




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CIRCUIT CLERK COST OF OPERATING BY COUNTY
DECEMBER 1, 2020 - NOVEMBER 30, 2021
                                                                                                        COST OF OPERATING CLERK'S OFFICE
                                                                                                                                      MAINTENANCE         COURT
                                                             ALL OTHER                                                                                                   OPERATION &                                           TOTAL COST OF
                                                                                                                 AUTOMATION            AND CHILD        DOCUMENT                           E-CITATION       OTHER OFFICE
       CIRCUIT              COUNTY       CLERK'S SALARY      PERSONNEL       FULL TIME STAFF   PART TIME STAFF                                                           ADMIN. FUND                                             OPERATING
                                                                                                                  EXPENSES *        SUPPORT EXPENSES     STORAGE                            EXPENSES         EXPENSES
                                                              SALARIES                                                                                                    EXPENSES                                                EXPENSES
                                                                                                                                           *            EXPENSES *
1st........         Alexander                       39,500         65,463                  2                 0           50,010                    0            5,317            7,005                  0                  0           167,295
                    Jackson                         71,753         572,519                12                 1            87,143                9,157          84,573            6,627                  0          333,139           1,164,913
                    Johnson                         49,276         129,217                 4                 0           24,010                    0           36,461            1442                   0            6,232            246,640
                    Massac                          48,608        140,296                  4                 0           18,924                6,380           19,079                  0                0           29,413             262,701
                    Pope                            43,725         28,738                  1                 0           13,649                    0           10,221            2364                   0            5,029             103,727
                    Pulaski                         61,565        112,548                  4                 0          234,967                    0                 0                 0                0           15,849            424,929
                    Saline                          66,193        183,434                  5                 0            30,821               5,000           20,564            8,842                  0                  0          314,854
                    Union                           63,918         162,225                 5                 0           24,409                  662                 0            3329                  0            7,564            262,108
                    Williamson                      87,310        615,896                 20                 4           49,222                  624           26,253            3,608                  0           15,986            798,899
1st.........        Circuit Total                  531,848       2,010,338                57                 5           533,156               21,825         202,470           33,217                  0          413,211           3,746,066
2nd........         Crawford                        58,319        170,065                  4                 2            15,521                 672                 0            1061                  0           17,159            262,800
                    Edwards                         38,567         39,453                  1                 2            18,188                 180           15,138              691                  0            5,579             117,797
                    Franklin                        64,453        229,275                  7                 0                 0                   0           25006              8336                  0           17,009            344,080
                    Gallatin                        51,760         42,619                  1                 1            11,839                 163            4,513            1,932                  0            9,247             122,073
                    Hamilton                        45,039         72,634                  2                 0                 85               2,355          19,702            4,170                  0            3,345             147,332
                    Hardin                          31,826         20,642                  1                 0                 0                   0            2,731              69                   0           18,402              73,671
                    Jefferson                       64,582        327,044                  8                 0           44,142                    0           16,298            12648                  0           13015             477,729
                    Lawrence                        43,557         86,412                  4                 0           30,702                  247             192             4,320                  0           14,529            179,960
                    Richland                        48,634        107,970                  0                 0            24,591                   0            6,009           13,763                  0                  0          200,967
                    Wabash                          37,500         77,983                  3                 0            15,410               5,896           14,793            6,088                  0           4,346              162,017
                    Wayne                           51,579         151,163                 4                 2                 0                   0            8,369             865                   0            8,312            220,289
                    White                           50,771         98,589                  4                 0            31,779                   0            7,651            4,106                  0            4,308            197,206
2nd........         Circuit Total                  586,588       1,423,855                39                 7           192,257                9,515         120,406           58,047                  0          115,251           2,505,921
3rd........         Bond                            61,351        182,420                  5                 1           46,522                    0           51,947            5,571            11,751             6,207            365,770
                    Madison                        116,730       4,231,347                74                 0           311,110                4,161          87,319           25,567            43,240           203,866           5,023,342
3rd........         Circuit Total                  178,080       4,413,768                79                 1           357,632                4,161         139,266           31,138            54,991           210,073           5,389,111
4th........         Christian                       66,591        200,566                  8                 0           28,966                  183           13,426            1,361                  0           57,131            368,224
                    Clay                            61,775         80,526                  2                 1            19,502                3,031                0             328                  0           10,512             175,675
                    Clinton                         72,107         211,527                 5                 0            19,714                   0           24,676             403              2956             17,016            348,399
                    Effingham                       68,108        449,654                 11                 1            18,628                   0           10,089           31,389                  0             706              578,575
                    Fayette                         57,399        182,789                  6                 1            28220                 9909            9053              845               7151                   0          295,367
                    Jasper                          58,000         66,472                  1                 1           16,044                    0             716                   0                0            6,598             147,831
                    Marion                          61,759        292,193                  8                 1            27,453                   0           32,685            8,387            13472             47,330            483,279
                    Montgomery                      66,817        202,868                  7                 0            48,571                   0           32,333           25,614             4180             4,449             384,832
                    Shelby                          56,430        139,793                  4                 0            19,921               6,647            1,309            8,768                  0           14,590            247,460
4th........         Circuit Total                  568,985       1,826,389                52                 5           227,019               19,772         124,290           77,095            27759            158,332           3,029,643
5th........         Clark                           51,000        141,567                  4                 3           46,520                    0            1,132            3,633             3,911             9,332            257,096
                    Coles                           66,435        275,803                  9                 5             8,566                 281                 0                 0                0           11,921            363,006
                    Cumberland                      43,727         92,634                  3                 0           17,649                    0            8,447              141                  0            9,775             172,375
                    Edgar                           51,194         131,133                 5                 1           20,969                 3740                 0           2700                   0           14,216            223,954
                    Vermilion                       72,830        673,692                 23                 1            31,188                1,553          10,660            4,331                  0           32,087            826,342
5th........         Circuit Total                  285,186       1,314,830                44                10           124,891               5,574           20,240           10,805             3,911            77,332           1,842,772
* Includes expenditures paid from the County General Fund




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CIRCUIT CLERK COST OF OPERATING

                                                                                                           COST OF OPERATING CLERK'S OFFICE
                                                                                                                                        MAINTENANCE         COURT
                                                                ALL OTHER                                                                                                   OPERATION &                                           TOTAL COST OF
                                                                                                                    AUTOMATION           AND CHILD        DOCUMENT                            E-CITATION       OTHER OFFICE
      CIRCUIT               COUNTY       CLERK'S SALARY         PERSONNEL       FULL TIME STAFF   PART TIME STAFF                                                           ADMIN. FUND                                             OPERATING
                                                                                                                     EXPENSES *       SUPPORT EXPENSES     STORAGE                             EXPENSES         EXPENSES
                                                                 SALARIES                                                                                                    EXPENSES                                                EXPENSES
                                                                                                                                             *            EXPENSES *
6th......           Champaign                       95,877          1,413,427                37                 0          323,874                   0           99,032            27,353                  0           90122            2,049,686
                    DeWitt                          59,300            127,182                 3                 1           22,498                   0            7,735             3,959                  0            5,489             226,163
                    Douglas                         68,566            217,673                 6                 0            12,748               1774           13,798              6919                  0            9,779             331,259
                    Macon                           83,858           868,995                 25                 0            57,210              4,471           68,120            54,593             6343            342,383           1,485,973
                    Moultrie                        54,637            137,114                 5                 0            72,828             30,458           36,273             9998              6929             11,140             359,378
                    Piatt                           62,688           169,304                  5                 0           16,404                   0            11472              9818                  0           13,310            282,997
6th......           Circuit Total                 424,926           2,933,697                81                 1           505,562             36,703          236,431           112,639             13272           472,223           4,735,455
7th......           Greene                          64,312            87,035                  3                 0             7,911                  0           14,765              1619                  0           4,080              179,723
                    Jersey                          60,158            188,235                 5                 0            75,197               3226           32,429            15,833                  0           15,483            390,562
                    Macoupin                        69,131           353,969                  9                 0            86,587                217           10,523            11,200                  0           23,035            554,663
                    Morgan                                  0               0                 9                 0                 0                  0                 0                  0                0                  0                0
                    Sangamon                      106,000           2,202,005                58                18           317,892             14,356          133,856            54650             10818            896,691           3,736,268
                    Scott                          46,490              27,796                 2                 0                 0                  0                 0                  0                0            9,776             84,063
7th......           Circuit Total                  346,091          2,859,042                86                18          487,587               17799          191,574            83,302            10818           949,064            4,945,278
8th......           Adams                           63,019            543,157                14                 0            34,352                  0                 0           10,438              420             46,651            698,038
                    Brown                                   0               0                 0                 0                 0                  0                 0                  0                0                  0                0
                    Calhoun                         37,860             36,145                 1                 1             8,776                333            8,976              300                   0            5648              98,039
                    Cass                            83,546           124,808                  3                 1            14,841                  0           43,073               779                  0            8,139             275,187
                    Mason                           71,880           134,785                  4                 0            22,784                  0                 0            1,832            17901              8,570             257,752
                    Menard                          62,338           106,000                  3                 0            16,062                  0            1,439                   0                0           10,096             195,935
                    Pike                            54,316            155,265                 5                 1           46,583                   0           45,643                   0                0            3,092            304,900
                    Schuyler                        44,685            93,906                  3                 0            15,497                  0                 0                  0                0            7,443             161,533
8th......           Circuit Total                 417,644           1,194,069                33                 3           158,895                333           99,132            13,349            18,321            89,639           1,991,384
9th......           Fulton                          61,851           400,629                 10                 0            35,029                  0           23,650               319                  0           39,585            561,064
                    Hancock                         55,440           139,487                  4                 0            13,170                  0                 0                  0                0           10,750            218,847
                    Henderson                       52,324           109,000                  3                 2            29,373                  0            2,714              966                   0           12,036            206,414
                    Knox                            83,152           668,920                 17                 0           70,369                   0           14,083            28,012                  0           20,999             885,535
                    McDonough                       59,925           399,714                 11                 3            26,211             59,607           56,310                30                  0            8,588             610,387
                    Warren                          57,316           140,705                  4                 0            23,837                  0            5,540             1,318                  0            9,021             237,737
9th......           Circuit Total                  370,008          1,858,457                49                 5           197,988              59607          102,298            30,645                  0          100979            2,719,984
10th....            Marshall                        56,540            115,601                 3                 0             8189                2412            18527              7461                  0           20,003             228,735
                    Peoria                          95,070          1,454,573                31                 2            38,272                  0          117,639            103000           112000            302,364           2,222,918
                    Putnam                          50,348            30,668                  1                 0            15,625                400            8,727               286                  0            3,294            109,348
                    Stark                          44,000              27,241                 0                 2             2,463               4560           14,089               324                  0           2,449               95,128
                    Tazewell                        96,777           990,874                 30                 3           225,963             24,741          253,084            79,057            23462             12,431           1,706,391
10th....            Circuit Total                  342,735          2,618,957                65                 7           290,512              32,113         412,068           190,129           135462            340,541           4,362,520
11th....            Ford                            57,962            63,481                  3                 1           29,028                2700                 10                 0                0           12,692            165,874
                    Livingston                      71,075           259,365                  9                 2           39,497                3000           25,714             10333                  0           18,869            427,854
                    Logan                           65,500           391,784                  9                 2           48,527                   0           12,155                75                  0           32,984             551,026
                    McLean                         105,694          1,844,814                48                17          174,477               29379          146,801             33356                  0          413,932           2,748,453
                    Woodford                        67,346           263,471                  7                 0            31,560                746            8,463             4,987                  0           21,963             398,537
11th....            Circuit Total                  367,577          2,822,918                76                22          323,088              35,825          193,145            48,751                  0         500,440            4,291,745
* Includes expenditures paid from the County General Fund




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CIRCUIT CLERK COST OF OPERATING

                                                                                                        COST OF OPERATING CLERK'S OFFICE
                                                                                                                                   MAINTENANCE         COURT
                                                             ALL OTHER                                                                                                OPERATION &                                           TOTAL COST OF
                                                                                                                 AUTOMATION         AND CHILD        DOCUMENT                           E-CITATION       OTHER OFFICE
       CIRCUIT             COUNTY        CLERK'S SALARY      PERSONNEL       FULL TIME STAFF   PART TIME STAFF                                                        ADMIN. FUND                                             OPERATING
                                                                                                                  EXPENSES *     SUPPORT EXPENSES     STORAGE                            EXPENSES         EXPENSES
                                                              SALARIES                                                                                                 EXPENSES                                                EXPENSES
                                                                                                                                        *            EXPENSES *
12th....            Will                            93,000       6,125,179               154                 0         1,261,865            43,702         298,425          100,443            161766           3011952          11,096,334
12th....            Circuit Total                   93,000       6,125,179               154                 0         1,261,865            43,702         298,425          100,443            161766          3,011,952         11,096,334
13th....            Bureau                          67,933         221,815                 9                 0            32,832            31314           18,835             1896                  0           12,937            387,562
                    Grundy                          81,185        305,402                  9                 0            22,760              257           39,497           14,426                  0            4,018            467,546
                    LaSalle                         67,995       1,329,523                27                 3          130,974              3,558          61,696            43926             22232             4,354           1,664,259
13th....           Circuit Total                   217,113       1,856,740                45                 3           186,567            35130           120028           60248              22232            21,308           2,519,367
14th....            Henry                           68,500        337,830                 13                 3           45,038              8,093          35,993            4,712                  0          118,685            618,853
                   Mercer                           50,715         88,242                  3                 0            21,711              295            6,722                  0                0            5,532             173,219
                    Rock Island                     91,800       1,379,221                31                 0           36,038              3336           10,477            5,295                  0         1,342,129          2,868,298
                    Whiteside                       82,500         368,215                11                 2            61,977                0           37,402            9,797                  0              594            560,485
14th....            Circuit Total                  293,515       2,173,509                58                 5          164,764             11,726           90596            19804                  0        1,466,940           4,220,855
15th....            Carroll                         61,493         74,498                  3                 0            12,205            10,163          11,037              167                  0           10,082            179,647
                    Jo Daviess                      69,874         161,816                 5                 0            20,412            10000            17921             2121                  0            7,088            289,232
                    Lee                             64,138        299,386                 10                 3           63,870              3386           30,399                  0                0           95,540             556,719
                   Ogle                             84,871         529,129                13                 0            78,207             7,500         103,031           21,256             24192            19,959            868,146
                   Stephenson                       67,188        497,162                 13                 0           30,900             17,051          13,334            27598                  0            9,646            662,881
15th....           Circuit Total                  347,564        1,561,991                44                 3          205,594             48101          175,723            51143            24,192            142315           2,556,624
16th....           Kane                             90,656       3,988,898               108                 0           527,295             8000           35,984           21,412            159312            64,569           4,896,126
16th....           Circuit Total                    90,656       3,988,898               108                 0           527,295             8,000          35,984           21,412            159312            64,569           4,896,126
17th....           Boone                            77,820        710,366                 18                 1           60,082                 0            32,751          23,194             13159            20,005            937,378
                    Winnebago                       98,860       3,021,951                82                 5          304,226                 0           78,120           10,675             91288           278,102           3,883,223
17th....           Circuit Total                   176,680       3,732,317               100                 6          364,308                 0          110,872           33,869           104447            298,108           4,820,601
18th....            DuPage                         175,601       6,960,337               163                 0         2,255,531           109,891        1,284,316         548,885           292,367           476,493          12,103,423
18th....            Circuit Total                  175,601       6,960,337               163                 0         2,255,531           109,891        1,284,316         548,885           292,367           476,493          12,103,423
19th....            Lake                           127,874       5,822,604               134                 3          397,850                 0          869,252                  0          91,023         3,505,254          10,813,859
19th....            Circuit Total                  127,874       5,822,604               134                 3          397,850                 0          869,252                  0          91,023         3,505,254          10,813,859
20th....            Monroe                          77,137         243,161                 5                 1            21,314                0           12,818             5,215             2280            12,162            374,087
                    Perry                           58,500         114,312                 4                 0             6,269               27            6,110             2148                  0            3,888             191,254
                   Randolph                         70,000         217,613                 6                 0            25,023                0            3,580               40                  0           11,460             327,717
                   St. Clair                        98,776       2,851,285                64                 0           80,309              7693           81,198                  0            1200             15289           3,135,752
                    Washington                      58,950         85,491                  3                 0            11419                 0             3006             1908                  0             3,355            164,131
20th....            Circuit Total                  363,363       3,511,864                82                 1          144,334              7720          106,712             9311              3480            46,156           4,192,941
21st....            Iroquois                        62,176         154,533                 6                 1            18,653             2,814          17,042           15,458                  0                  0          270,678
                    Kankakee                        79,803       1,248,089                35                 1          394,670              2658            1,023           11,464                  0           58,044           1,795,753
21st....            Circuit Total                  141,979       1,402,623                41                 2           413,323             5,473          18,065           26,922                  0           58,044           2,066,432
22nd....            McHenry                        104,750       2,019,971                54                 0           211,567           70,000           321,721          22,816             56184            10,981           2,817,991
22nd....            Circuit Total                  104,750       2,019,971                54                 0           211,567            70000           321,721          22,816            56,184            10,981           2,817,991
23rd....                                            98,962        901,885                 20                 9            15,703             2462           95,574            21787             32951           442,922           1,612,246
                    Kendall                         91,554         795,315                24                 4           125,803            19275           25,542            6,353             33539            33,712           1,131,095
23rd....            Circuit Total                  190,516       1,697,201                44                13           141,506             21737          121,116           28139             66491           476,633           2,743,341
                    Downstate Total              6,742,278      66,129,568              1688               120         9,673,092           604,717       5,394,145         1,612,108        1,246,027        13,005,836         104,407,772
Cook                Cook County                    105,000      66,359,066              1479                 0         5,118,115                0        3,941,854          163,087            92,145        30,946,955         106,726,223
                    State Total                  6,847,278     132,488,635              3167               120        14,791,207           604,717       9,335,999         1,775,195         1,338,172       43,952,791         211,133,994
* Includes expenditures paid from the County General Fund




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CIRCUIT CLERK DISBURSEMENT OF FUNDS BY COUNTY
DECEMBER 1, 2020 - NOVEMBER 30, 2021
                                                                                                         FINES, PENALTIES, ASSESSMENTS AND FORFEITURES
                                             MAINTENANCE AND
                                                                                                     MUNICIPALITIES (CITIES, VILLAGES, TOWNS & PARK DISTRICTS)
            CIRCUIT               COUNTY      CHILD SUPPORT
                                                                  ALL EXCEPT DRUG                               CRIME LAB &
                                                PAYMENTS                                DRUG FINES                                        OTHER             TOTAL MUNCIPALITIES    DRUG TASK FORCE
                                                                        FINES                                  CRIME LAB DUI
1st......              Alexander                          8,300               49,620                     0                       0                  3,104                 52,724                     90
                       Jackson                        3,933,545              159,781                     0                      0                  26,750                186,531                     0
                       Johnson                         794,395                 8,493                   185                      0                   1,139                  9,817                     0
                       Massac                         1,149,928               75,125                     0                      0                   2,324                 77,449                     0
                       Pope                             173,519                2,103                     0                      0                    340                   2,443                     0
                       Pulaski                         430,977               434,741                    25                      0                  8,485                 443,251                     0
                       Saline                         2,427,364               59,243                     0                      0                  12,326                 71,569                     0
                       Union                          1,093,099               34,853                   259                      0                   7,398                 42,510                     0
                       Williamson                     7,032,137              363,427                 3,720                      0                 38,002                 405,149               25,277
1st......              Circuit Total                 17,043,263             1,187,385                4,189                      0                 99,868               1,291,442               25,367
2nd.....               Crawford                       2,184,236               84,151                 9,286                      0                   9,553                102,990                     0
                       Edwards                         600,684                18,928                    30                      0                   1,593                 20,551                1,672
                       Franklin                       3,770,987               23,334                     0                      0                   9,421                 32,754                     0
                       Gallatin                         433,114               12,989                     0                      0                    476                  13,465                     0
                       Hamilton                        820,507                16,027                  410                       0                   5,213                 21,650                     0
                       Hardin                           192,031                3,588                     0                      0                    626                   4,214                     65
                       Jefferson                      3,989,889              216,348                     0                       0                 16,260                232,607                     0
                       Lawrence                       1,578,617               30,546                     0                       0                  2,876                 33,423                     0
                       Richland                       1,786,788               77,255                     0                       0                14,886                  92,142                     0
                       Wabash                         1,317,255               24,912                     0                      0                   6,339                 31,250                     0
                       Wayne                          1,476,248               26,966                     0                       0                   788                  27,753               2,000
                       White                          1,384,733               37,904                   385                       0                  3,544                 41,833                     0
2nd.....               Circuit Total                 19,535,090              572,948             10,110                          0                 71,573                654,631                3,737
3rd......              Bond                           1,187,396               50,040                     0                       0                 4,909                  54,949                     0
                       Madison                       22,699,259              641,517                 1,235                      0                 155,245                797,997                 665
3rd......              Circuit Total                 23,886,655              691,557                 1,235                      0                 160,154                852,946                 665
4th......              Christian                      3,107,235              127,470                  824                       0                  12,705                140,999                     0
                       Clay                           1,318,332               45,156                     0                      0                   5,171                 50,327                     75
                       Clinton                        2,296,710               70,440                 2,903                      0                 22,488                  95,830                     0
                       Effingham                      2,838,463               53,015                    22                      0                  12,609                 65,645                 462
                       Fayette                        1,554,367               49,284                     0                      0                  4,602                  53,886                     0
                       Jasper                           597,922               12,718                 8,139                      0                   2,149                 23,006                     0
                       Marion                         4,476,342              128,883                     0                      0                  23,835                152,718                     0
                       Montgomery                     2,300,610               79,476                  100                        0                 10,921                 90,498                 541
                       Shelby                         2,081,933               29,526                     0                       0                  2,565                 32,090                     0
4th......              Circuit Total                 20,571,914              595,967             11,987                          0                97,045                 704,999                1,078
5th......              Clark                          1,357,092               67,058                     0                       0                  3,642                 70,701                     0
                       Coles                          4,260,139              181,682                 4,200                  2,255                  35,978                224,115               35,713
                       Cumberland                      902,368                30,613                     0                       0                  3,963                 34,576                     0
                       Edgar                          1,788,887               49,724                     0                      0                   7,274                 56,998                     0
                       Vermilion                     8,864,649               194,250                     0                     300                 21,774                216,324                 200
5th......              Circuit Total                 17,173,135              523,328                 4,200                  2,555                  72,631                602,713               35,913



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CIRCUIT CLERK DISBURSEMENT OF FUNDS

                                                                                                          FINES, PENALTIES, ASSESSMENTS AND FORFEITURES
                                              MAINTENANCE AND
                                                                                                      MUNICIPALITIES (CITIES, VILLAGES, TOWNS & PARK DISTRICTS)
             CIRCUIT              COUNTY       CHILD SUPPORT
                                                                    ALL EXCEPT DRUG                              CRIME LAB &
                                                 PAYMENTS                                DRUG FINES                                       OTHER             TOTAL MUNCIPALITIES    DRUG TASK FORCE
                                                                          FINES                                 CRIME LAB DUI
6th.......              Champaign                     14,031,800              394,424                 3,538                23,940                 115,346                537,248                     0
                        DeWitt                         1,586,574                35,723                   75                      0                  3,323                 39,121                 497
                        Douglas                        2,039,177               116,414                5,253                      0                 24,317                145,984               1,758
                        Macon                         13,581,319               283,098            42,600                        896                80,681                407,275                 378
                        Moultrie                       1,807,413                36,458                    0                      0                  6,354                 42,811                     0
                        Piatt                          1,370,280                12,056                    0                      0                  1,591                 13,648                 375
6th.......              Circuit Total                 34,416,562               878,174            51,466                   24,836                 231,612              1,186,088               3,008
7th.......              Greene                         1,263,800                21,967                    0                      0                 15,532                 37,499                     0
                        Jersey                         1,616,568                93,996                    0                      0                  6,059                100,055                     0
                        Macoupin                       3,619,748                89,714                    0                  5,334                  3,479                 98,526                     90
                        Morgan                         3,693,909                97,478                 287                       0                 13,972                111,738                     0
                        Sangamon                      22,388,091               506,715                5,348                  4,285                 96,049                612,397                     0
                        Scott                            431,997                 6,968                    0                      0                   190                   7,158                     0
7th.......              Circuit Total                 33,014,113               816,837                5,635                  9,619                135,282                967,373                     90
8th.......              Adams                          8,103,990               380,191                3,012                  2,558                 35,624                421,384               5,343
                        Brown                             89,672                 9,968                    0                      0                  1,215                 11,183                     31
                        Calhoun                         284,688                   527                     0                      0                     4                     531                     83
                        Cass                           1,360,984                35,280                   67                      0                  6,504                 41,851                     0
                        Mason                                   0               91,375                1,333                      0                 34,609                127,317                     0
                        Menard                         1,150,448                24,023                   16                      0                   666                 24,706                      12
                        Pike                           1,848,803                35,526                    0                      0                  5,751                 41,277                 268
                        Schuyler                       1,008,082                17,969                1,116                      0                  3,001                 22,087                     0
8th.......              Circuit Total                 13,846,667              594,860                 5,543                  2,558                 87,374                690,335               5,736
9th.......              Fulton                         4,344,669               127,842                1,645                  5,515                  2,523                137,524                1,357
                        Hancock                        1,809,517                32,334                    0                      0                  5,494                 37,828                     0
                        Henderson                       647,382                  2,789                    0                      0                 22,774                 25,562                     88
                        Knox                           6,299,687                99,465                1,010                      0                 61,877                162,351                     0
                        McDonough                      2,986,274                92,105                2,450                      0                 18,920                113,475                 184
                        Warren                         2,082,630               46,320                     5                      0                  8,548                54,874                  239
9th.......              Circuit Total                 18,170,160              400,854                 5,109                  5,515                120,137                531,614               1,867
10th.....               Marshall                       1,164,344                 7,340                    0                      0                  1,890                  9,231                     0
                        Peoria                          430,475                636,838                    0                 16,575                  6,354                659,767                     0
                        Putnam                          401,861                 23,932                    0                      0                  1,414                 25,346                     0
                        Stark                            614,714                 5,227                    0                      0                    233                  5,460                     0
                        Tazewell                      15,200,162              889,920                  774                       0                     0                890,694                      72
10th.....               Circuit Total                 17,811,556             1,563,258                 774                  16,575                  9,891              1,590,498                     72
11th.....               Ford                           1,244,223                36,110                 100                       0                  5,540                 41,751                     0
                        Livingston                     4,357,695              208,636                    10                      0                 27,720                236,366                 410
                        Logan                          2,555,789               64,436                  347                       0                 10,560                 75,343                     0
                        McLean                        16,299,394              488,644             31,859                        425               410,101                931,029               7,360
                        Woodford                       3,663,647              140,490                  250                       0                  9,175                149,915                     0
11th.....               Circuit Total                 28,120,748               938,316            32,566                        425               463,096              1,434,403               7,770



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CIRCUIT CLERK DISBURSEMENT OF FUNDS
                                                                                                          FINES, PENALTIES, ASSESSMENTS AND FORFEITURES
                                              MAINTENANCE AND
                                                                                                      MUNICIPALITIES (CITIES, VILLAGES, TOWNS & PARK DISTRICTS)
            CIRCUIT                COUNTY      CHILD SUPPORT
                                                                    ALL EXCEPT DRUG                              CRIME LAB &
                                                 PAYMENTS                                DRUG FINES                                       OTHER             TOTAL MUNCIPALITIES
                                                                          FINES                                 CRIME LAB DUI                                                       DRUG TASK FORCE
12th.....              Will                           68,657,035             2,770,180            61,534                    4,643                 274,458               3,110,815              42,686
12th.....              Circuit Total                  68,657,035             2,770,180            61,534                    4,643                 274,458               3,110,815              42,686
13th.....              Bureau                          3,313,502               44,072                     0                      0                 16,284                 60,356               50,468
                       Grundy                          6,427,524               168,391                  134                      0                 29,987                198,512                      0
                       LaSalle                        13,006,005               333,240                3,163                      0                 73,254                409,656                 1,367
13th.....              Circuit Total                  22,747,031               545,703                3,296                      0                119,525                668,524                51,835
14th.....              Henry                           5,639,460               148,701                3,158                     230                18,461                170,550                      70
                       Mercer                          1,531,778                 8,668                    0                      0                  2,711                 11,379                      0
                       Rock Island                    19,654,747               433,752                9,910                     317                71,037                515,015                1,601
                       Whiteside                       7,458,474               172,179                 746                       0                 16,147                189,072                2,186
14th.....              Circuit Total                  34,284,460               763,300            13,814                        547               108,356                886,016                3,857
15th.....              Carroll                         1,046,730                57,018                   18                      0                  6,535                 63,571                      0
                       Jo Daviess                      1,087,389               80,065                     0                      0                  7,448                 87,514                      0
                       Lee                             3,503,531               155,303                1,759                 17,614                  1,802                176,478                      0
                       Ogle                            4,878,247               187,755                1,176                      0                 27,760                216,692                  715
                       Stephenson                      3,665,946               165,053                 698                  15,134                  3,617                184,501                  950
15th.....              Circuit Total                  14,181,844               645,194                3,650                 32,748                 47,162                728,755                1,665
16th.....              Kane                           43,994,413             2,360,228            33,904                         0                346,798              2,740,931                 1,339
16th.....              Circuit Total                  43,994,413             2,360,228            33,904                         0                346,798              2,740,931                 1,339
17th.....              Boone                           4,643,101               175,717                1,347                      0                 17,466                194,529                 5,365
                       Winnebago                      26,853,364             1,307,918            16,859                         0                 34,476               1,359,253               2,190
17th.....              Circuit Total                  31,496,464             1,483,635            18,205                         0                 51,942              1,553,782                 7,555
18th.....              DuPage                         69,009,224             6,652,554            20,316                         0                526,261               7,199,131               9,083
18th.....              Circuit Total                  69,009,224             6,652,554            20,316                         0                526,261               7,199,131               9,083
19th.....              Lake                           45,559,985             4,192,194                6,224                      0                     0               4,198,418               16,472
19th.....              Circuit Total                  45,559,985             4,192,194                6,224                      0                     0               4,198,418               16,472
20th.....              Monroe                          3,233,894               122,580                    0                      0                 34,506                157,086                      0
                       Perry                           2,446,407               44,447                  854                       0                 10,898                 56,199               28,362
                       Randolph                        3,523,645                63,796                  372                      0                 10,126                 74,294                      0
                       St. Clair                      27,410,086               461,061                1,101                      0                132,365                594,528                      0
                       Washington                      1,273,994                23,761                 934                       0                  3,516                 28,211                      75
20th.....              Circuit Total                  37,888,027               715,644                3,261                      0                191,411                910,317               28,437
21st.....              Iroquois                         1,715,881               21,197                  80                       0                  2,824                 24,101                      0
                       Kankakee                        9,848,783               383,486                    0                 12,502                 20,212                416,200                      0
21st.....              Circuit Total                  11,564,664              404,683                   80                  12,502                 23,036                440,301                      0
22nd....               McHenry                        29,097,881             1,184,503            10,816                         0                686,808              1,882,127                 1,145
22nd....               Circuit Total                  29,097,881             1,184,503            10,816                         0                686,808              1,882,127                 1,145
23rd....               DeKalb                          9,138,590               273,360                3,067                  1,281                  8,190                285,897                  188
                       Kendall                        14,884,559              199,840                 6,476                      0                 46,613                252,929               15,429
23rd....               Circuit Total                  24,023,150               473,199                9,542                  1,281                 54,803                538,825                15,617
                       Downstate Total               676,094,040            30,954,500           317,457                   113,804              3,979,224             35,364,985              264,993
Cook                   Cook County                   291,652,239            10,856,848                   0                  16,633                     0              10,873,481                      0
                       State Total                   967,746,279            41,811,349           317,457                   130,437              3,979,224             46,238,466              264,993




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CIRCUIT CLERK DISBURSEMENT OF FUNDS

                                                                                                FINES, PENALTIES, ASSESSMENTS AND FORFEITURES (CONTINUED)
                                              TOWNSHIPS                                                                            COUNTY
        CIRCUIT            COUNTY
                                           TOTAL TOWNSHIPS
                                                                   CRIMINAL CASES        TRAFFIC CASES         DRUG FINES       CRIME LAB        CRIME LAB DUI     OTHER **        TOTAL COUNTY
                                                  *
1st.......            Alexander                           0                     54,554                85,156                0                0                 0           6,693           146,402
                      Jackson                         1,129                     45,777                52,408                0                0                 0          32,738           130,923
                      Johnson                             0                     65,060               196,971              254                0                 0           8,203           270,487
                      Massac                              0                     50,210               333,581              188                0                 0          16,365           400,343
                      Pope                            3,542                     19,460                46,224              225                0                 0           2,938             68,847
                      Pulaski                             0                      31,527              730,252            1,174            1,222                 0          25,559           789,735
                      Saline                              0                    326,941                49,037              948                0                 0           3,032           379,959
                      Union                               0                    103,975                36,635            1,325               20                 0           6,951           148,906
                      Williamson                          0                     87,910               132,614            3,203                0                 0          18,183           241,909
1st.......            Circuit Total                   4,671                    785,412             1,662,877            7,317            1,242                 0         120,662         2,577,510
2nd......             Crawford                           50                    105,190                29,857              186                0                 0           8,880            144,112
                      Edwards                             0                     36,194                21,974               49                0                 0           2,901              61,118
                      Franklin                           10                    155,751                34,810                0                0                 0          18,340           208,902
                      Gallatin                            0                     51,672                14,892              261                0                 0             474             67,299
                      Hamilton                            0                     24,987                17,246              319              300                 0           1,810             44,662
                      Hardin                              0                     30,701                18,530              447                0                 0           6,844             56,521
                      Jefferson                      7,080                    197,464                 57,533                0                0                 0          13,438           268,435
                      Lawrence                            0                     67,622                27,831              589                0                 0           3,984           100,026
                      Richland                            0                   106,402                 16,591               44                0                 0           5,439           128,476
                      Wabash                            175                     41,440                14,131              150                0                 0           3,407             59,128
                      Wayne                               0                     70,153                12,840              515              262                 0           3,753             87,524
                      White                               0                     99,889                18,187            1,341                0                 0           2,240            121,657
2nd......             Circuit Total                   7,315                   987,465                284,423            3,900              562                 0          71,510         1,347,859
3rd......             Bond                                0                   237,964                177,522                0              150                 0         216,870           632,506
                      Madison                         6,124                    117,308                85,963            1,768                0                 0       1,111,480         1,316,519
3rd......             Circuit Total                   6,124                    355,272               263,485            1,768              150                 0       1,328,350         1,949,025
4th......             Christian                       1,685                     59,057                50,623            1,815                0                 0          12,055            123,550
                      Clay                                0                    108,726                19,354              100            5,110                 0           7,110           140,400
                      Clinton                             0                   104,236                 78,001            1,079            8,227                 0          18,066           209,610
                      Effingham                           0                     96,680                47,786              358           10,786                 0           9,408            165,017
                      Fayette                             0                     82,984               125,341              195                0                 0          10,159           218,680
                      Jasper                              0                     28,446                31,059           22,166                0                 0           4,182             85,853
                      Marion                              0                   104,306                 45,156            1,200                0                 0         281,749           432,411
                      Montgomery                      1,352                     89,749                40,156            3,819                0                 0           3,435            137,159
                      Shelby                              0                     38,188                23,886              899                0                 0           5,628             68,600
4th......             Circuit Total                   3,037                    712,372               461,362           31,629           24,122                 0         351,793         1,581,279
5th......             Clark                               0                     26,947                24,215                0                0                 0           2,958             54,119
                      Coles                           3,241                    227,451               100,203           21,383            1,487               650          31,931           383,105
                      Cumberland                          0                     25,216                38,205                0                0                 0           4,622             68,042
                      Edgar                               0                     50,541                21,291                0                0                 0           6,589             78,420
                      Vermilion                         320                   147,484                107,734            1,160            2,075                90          63,567           322,109
5th......             Circuit Total                   3,561                   477,638                291,647           22,543            3,562               740         109,666           905,795
  * Includes Drug Fines
 ** Includes Percentage Distribution to County General Corporate Fund & Boating Fines paid to County




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CIRCUIT CLERK DISBURSEMENT OF FUNDS

                                                                                                  FINES, PENALTIES, ASSESSMENTS AND FORFEITURES (CONTINUED)
                                               TOWNSHIPS                                                                            COUNTY
        CIRCUIT             COUNTY
                                             TOTAL TOWNSHIPS
                                                                    CRIMINAL CASES         TRAFFIC CASES          DRUG FINES       CRIME LAB        CRIME LAB DUI     OTHER **         TOTAL COUNTY
                                                    *
6th......             Champaign                            1,238                 46,344               292,726              6,621           12,912                 0          135,337           493,939
                      DeWitt                              14,017                 48,492                 35,227               719                0                 0            6,361             90,799
                      Douglas                                  0                113,743                 50,524            10,012                0                 0         238,288            412,567
                      Macon                               16,398               109,878                  64,856            60,114              251                 0           45,262           280,361
                      Moultrie                                 0                 33,612                 79,824                 0              300                 0            7,164           120,899
                      Piatt                                    0                 12,378                 34,011             6,662              797                 0            8,664             62,511
6th......             Circuit Total                       31,652               364,448                 557,167            84,127           14,260                 0         441,076          1,461,077
7th......             Greene                                   0                 34,904                 18,974                 0                0                 0           10,698             64,576
                      Jersey                                   0                 69,615               142,699                  0                0                 0           19,812           232,127
                      Macoupin                               250                 96,240                 61,032                 0                0             8,063           10,236            175,571
                      Morgan                                   0                153,390                 30,984             1,941                0                 0           28,284           214,598
                      Sangamon                             6,651                 12,664                 83,821             3,260                0                 0       2,218,239          2,317,983
                      Scott                                    0                  51,261                  6,391                0                0                 0            2,110             59,762
7th......             Circuit Total                        6,901               418,072                343,901              5,201                0             8,063       2,289,379          3,064,617
8th......             Adams                                    0                133,887                 73,779             2,898              225                 0           14,307           225,096
                      Brown                                   50                 12,774                 35,007               250                0                 0            1,019            49,050
                      Calhoun                                  0                 17,603                 38,761                 0                0                 0            2,760             59,124
                      Cass                                     0                 40,035                 18,635               225                0                 0            1,860             60,755
                      Mason                                    0                 72,057                 70,284               606                0                 0            6,981           149,928
                      Menard                                   0                 14,123                 30,180               225                0                 0            2,683             47,211
                      Pike                                     0                222,733                 56,628            11,690           43,923                 0         164,595            499,569
                      Schuyler                                 0                 14,544                 33,623               592                0                 0            4,661             53,420
8th......             Circuit Total                           50                527,756               356,896             16,487           44,148                 0         198,864          1,144,152
9th......             Fulton                                   0                117,579                   7,431              991                0                 0          270,311           396,312
                      Hancock                                  0                 79,344                 88,489             1,317              152                44           29,846           199,192
                      Henderson                                0                 43,435                 14,804               172                0                 0          197,130           255,542
                      Knox                                    50                156,173                 78,268             4,883                0                 0         399,843            639,166
                      McDonough                           10,102               150,780                  96,320             2,429                0                 0           10,062           259,591
                      Warren                                   0                 39,337                  61,331              370                0                 0         120,653            221,692
9th......             Circuit Total                       10,152               586,647                346,643             10,162              152                44       1,027,845          1,971,493
10th....              Marshall                                 0                 12,641                 21,824                 4                0                 0            7,899             42,368
                      Peoria                               1,545               283,674                139,473                  0                0             4,745         306,955            734,847
                      Putnam                                   0                 20,504                 35,098                 0                0                 0           11,682             67,284
                      Stark                                    0                 13,570                 41,067               193                0                 0            2,761             57,591
                      Tazewell                               100               298,017                213,025              9,781                0                 0           12,605           533,428
10th....              Circuit Total                        1,645               628,405                450,487              9,977                0             4,745         341,904          1,435,519
11th....              Ford                                 1,166                 86,003                 40,085               236                0                 0            3,128           129,452
                      Livingston                          42,191               134,240                 113,928             1,665                0                 0           12,562           262,396
                      Logan                                    0               150,224                  52,445               927                0                 0           27,008           230,604
                      McLean                               4,214                177,131               201,409             59,065                0                 0       1,139,396          1,577,001
                      Woodford                                 2               210,943                  99,552             1,992           32,107                 0           29,065           373,658
11th....              Circuit Total                       47,573               758,540                507,419             63,885           32,107                 0        1,211,159         2,573,110
 * Includes Drug Fines
** Includes Percentage Distribution to County General Corporate Fund & Boating Fines paid to County




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CIRCUIT CLERK DISBURSEMENT OF FUNDS

                                                                                                                              FINES, PENALTIES, ASSESSMENTS AND FORFEITURES (CONTINUED)
                                                            TOWNSHIPS                                                                                            COUNTY
           CIRCUIT                   COUNTY
                                                         TOTAL TOWNSHIPS
                                                                                      CRIMINAL CASES             TRAFFIC CASES          DRUG FINES              CRIME LAB             CRIME LAB DUI        OTHER **             TOTAL COUNTY
                                                                   *
12th....                   Will                                           65,365                   1,138,821                465,107               225,792                        0                    0          8,124,567              9,954,287
12th....                   Circuit Total                                  65,365                   1,138,821                465,107               225,792                        0                    0          8,124,567              9,954,287
13th....                   Bureau                                              0                       491,485               56,348                  60,833                      0                    0                48,368             657,034
                           Grundy                                              0                       99,909               192,009                   6,367                      0                    0               40,480              338,766
                           LaSalle                                        25,007                        98,787               65,390                    100                       0                    0          1,442,193              1,606,469
13th....                   Circuit Total                                  25,007                       690,181              313,746                  67,300                      0                    0           1,531,041             2,602,269
14th....                   Henry                                             315                       217,128               88,901                   1,700                     90                    0                 9,445             317,264
                           Mercer                                              0                        39,640               41,855                   1,258                      0                    0                 9,260              92,013
                           Rock Island                                         0                       137,947             129,440                   13,951                     45                    0                14,167             295,550
                           Whiteside                                       1,516                       227,026              102,817                   3,262                      0                    0                15,849            348,954
14th....                   Circuit Total                                   1,831                       621,741              363,013                  20,171                    135                    0               48,720            1,053,780
15th....                   Carroll                                             0                        24,554               55,112                    144                    1,745                   0                 6,570              88,126
                           Jo Daviess                                       495                         74,705              106,495                   1,920                      0                    0                 9,269             192,388
                           Lee                                             1,480                       117,815              137,529                  6,056                       0                15,231               31,832             308,463
                           Ogle                                                0                        83,530             308,666                   8,588                       0                    0                24,729             425,513
                           Stephenson                                      5,178                       198,967              131,842                   1,638                 12,827                    0                36,589             381,863
15th....                   Circuit Total                                   7,153                       499,570             739,644                   18,347                 14,572                15,231              108,988           1,396,353
16th....                   Kane                                           32,809                       341,573                1,728                  60,727                      0                    0               516,839             920,867
16th....                   Circuit Total                                  32,809                       341,573                1,728                  60,727                      0                    0               516,839             920,867
17th....                   Boone                                           7,626                       183,193              214,837                  11,632                      0                    0               349,348             759,011
                           Winnebago                                       3,053                       932,414              313,106                  33,618                      0                    0               229,153           1,508,291
17th....                   Circuit Total                                  10,679                   1,115,607                527,943                  45,250                      0                    0               578,501           2,267,302
18th....                   DuPage                                       325,742                   1,050,273                 236,394                  22,662                 43,000                    0         10,170,428             11,522,757
18th....                   Circuit Total                                325,742                   1,050,273                 236,394                  22,662                 43,000                    0         10,170,428             11,522,757
19th....                   Lake                                                0                       168,349            4,004,087                  16,252                 13,642                 7,366              329,148           4,540,591
19th....                   Circuit Total                                       0                       168,349            4,004,087                  16,252                 13,642                 7,366              329,148           4,540,591
20th....                   Monroe                                             50                       88,345                39,246                     17                       0                    0                31,672             159,279
                           Perry                                               0                        72,134               13,758                   1,278                      0                    0                10,680              97,851
                           Randolph                                            0                       103,272              23,446                     429                       0                    0                19,630             146,777
                           St. Clair                                       4,695                        41,261               63,482                   2,797                  1,384                    0                96,795             205,719
                           Washington                                          0                        63,596               35,521                  1,446                       0                    0                4,499              105,062
20th....                   Circuit Total                                   4,745                       368,608              175,453                   5,968                  1,384                    0               163,276            714,688
21st....                   Iroquois                                          100                        43,314               45,142                   1,830                      0                    0                 7,996              98,282
                           Kankakee                                       21,127                        78,702              160,105                      8                       0                    0               237,308             476,123
21st....                   Circuit Total                                  21,227                       122,016              205,247                   1,838                      0                    0               245,304             574,405
22nd…                      McHenry                                        26,316                       358,087             418,064                   50,071                    580                    0               653,129           1,480,081
22nd…                      Circuit Total                                  26,316                       358,087             418,064                   50,071                    580                    0               653,129           1,480,081
23rd…                      DeKalb                                         14,145                        32,596               31,917                   7,623                      0                    0               371,489             443,625
                           Kendall                                        25,909                       199,012               70,767                   3,650                      0                    0                87,763             361,192
23rd…                      Circuit Total                                 40,054                        231,608              102,684                  11,273                      0                    0               459,252            804,817
                           Downstate Total                              683,609                  13,308,462              13,079,418               802,648                   193,619               36,190        30,421,398             57,843,632
Cook                       Cook County                                    46,152                       40,903               982,336                   2,516                      0                    0          6,493,201              7,518,956
                           State Total                                 729,761                  13,349,365              14,061,754               805,164                193,619                  36,190        36,914,599             65,362,588
 * Includes Drug Fines
 ** Includes Percentage Distribution to County General Corporate Fund & Boating Fines paid to County



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CIRCUIT CLERK DISBURSEMENT OF FUNDS


                                                                                      FINES, PENALTIES, ASSESSMENTS AND FORFEITURES (CONTINUED)

                                                                                                                  STATE

      CIRCUIT          COUNTY                                                                                                                                                                 DOMESTIC
                                                                                                                                                            TRAFFIC &         DRIVERS
                                   TOTAL DNR                         LUMP SUM        DRUG TRAFFIC                      STATE POLICE      VIOLENT CRIME                                         VIOLENCE
                                                   ROAD FUND                                          CRIME LAB                                             CRIMINAL        EDUCATION
                                     FUNDS                          SURCHARGE         PREVENTION                         DUI FUND        VICTIMS ASST.                                      SHELTER & SERV.
                                                                                                                                                           CONVICTION          FUND
                                                                                                                                                                                                 FUND
1st........        Alexander                 696           7,743             2,239                0             400                100           11,905           13,084           6,073                 509
                   Jackson                1,267           2,444            13,777                 0           2,029             3,987             25,112          41,190           7,826              3,817
                   Johnson                4,597            1,908             6,419               19           1,835             3,411            16,028           28,847           9,167                 628
                   Massac                 1,631              604             4,426                0           1,666             2,610            28,787          43,090           14,498              2,936
                   Pope                   2,000                 0            2,290              300             808                  0             5,722           9,135           2,676                   0
                   Pulaski                   140                0            8,850                0             177                162           37,326           98,937          34,139                 513
                   Saline                   430               254          23,208                 0           1,275               904              7,598          11,964           9,170              1,067
                   Union                 11,999            2,170           30,323                 6           2,599             3,385            19,060           20,229           5,807              2,055
                   Williamson            10,158         810,654            36,239               325           3,903             3,608            42,402          117,625          19,777              2,149
1st........        Circuit Total         32,917         825,776           127,771               650          14,691            18,167           193,942         384,102          109,133             13,673
2nd.......         Crawford                1,712                0          10,128                 0             404             1,138            12,590           12,396           2,630                   0
                   Edwards                     0           7,488             5,295                8             937                154             5,778           6,507            2,119                746
                   Franklin               2,516               769          33,718                 0           3,182                  0           39,277           17,616           6,105              6,314
                   Gallatin               3,240            5,382             8,815                0             280                  0             6,317           5,284            2,371                100
                   Hamilton               2,389              849             6,080                9             275                598             9,688           8,667           1,827                 530
                   Hardin                 3,063                 0            9,236                0             897                  0             5,690           3,904           1,008                 790
                   Jefferson                  34                0          11,387                 0           5,341                184           27,777           17,497           6,982               1,411
                   Lawrence                  235              850            7,555                0             150                  0           14,054            7,263           2,418              1,672
                   Richland               1,350                 0          17,268                 0           2,360                  0           15,805           10,000           2,973                 290
                   Wabash                    250            2,161          10,409                 0             675                140             8,017           6,283           2,367                 750
                   Wayne                  3,283            4,463             9,286                0             754             1,061              7,709          13,991           4,617                   0
                   White                     650           3,683           10,274               268           1,205                  0           19,607           16,980           4,378              2,447
2nd.......         Circuit Total         18,722          25,645          139,452                284          16,459             3,274           172,309         126,388           39,796             15,050
3rd.......         Bond                   1,527                 0           11,161                0             700                500           13,996           31,443          10,653                 200
                   Madison                1,575            2,829           12,285                 0           8,479              1,127          130,015         169,186           30,968             24,017
3rd.......         Circuit Total          3,102            2,829          23,446                  0           9,179             1,627           144,011         200,629           41,621             24,217
4th.......         Christian              2,073                50          25,917               544           2,120                590           16,967           19,784           6,188                 587
                   Clay                   1,960                 0          22,723                 0           2,345             2,597            16,073           10,581           5,642              2,231
                   Clinton                4,051               950          26,382                 0           1,385                695           25,939           19,255           6,895              1,428
                   Effingham                 106                0         48,244                300           3,391               496             31,118          21,887           8,988              1,939
                   Fayette                3,838         232,614           20,428                383           5,388             2,110            24,249          50,049           10,665               1,651
                   Jasper                 1,729               630          12,799                 0             645                356             9,967           8,058           1,875                448
                   Marion                   942                 0           15,831                0             518             1,079            34,039           30,492           8,562               5,173
                   Montgomery             2,807           35,159          29,000                100           5,586             2,474            34,700           53,768          12,379              1,935
                   Shelby                 4,734                 0          10,757                 0              551                17            12,129           9,914           1,991              1,500
4th.......         Circuit Total         22,240         269,403          212,082              1,327          21,929            10,413           205,182         223,787           63,185             16,892
5th.......         Clark                  1,999          96,019              8,459                0             218                750             8,574          16,027           4,485                400
                   Coles                     837              754          67,876               973             290                512           50,826           27,441          11,224              4,068
                   Cumberland                742                0          10,783                 0             810                350             9,304            7,717          2,725                 418
                   Edgar                     521           1,890             9,485                0           2,185               400            11,388            5,988           2,199                 418
                   Vermilion                 603                0          37,873                 0           3,424                  0           39,093           36,945          14,801              1,779
5th.......         Circuit Total          4,702          98,663          134,476                973           6,927             2,012           119,184           94,118          35,434              7,083



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CIRCUIT CLERK DISBURSEMENT OF FUNDS


                                                                                  FINES, PENALTIES, ASSESSMENTS AND FORFEITURES (CONTINUED)

                                                                                                              STATE

      CIRCUIT         COUNTY                                                                                                                                                            DOMESTIC
                                                                                                                                                      TRAFFIC &         DRIVERS
                                  TOTAL DNR                       LUMP SUM       DRUG TRAFFIC                     STATE POLICE     VIOLENT CRIME                                         VIOLENCE
                                                  ROAD FUND                                       CRIME LAB                                           CRIMINAL        EDUCATION
                                    FUNDS                        SURCHARGE        PREVENTION                        DUI FUND       VICTIMS ASST.                                      SHELTER & SERV.
                                                                                                                                                     CONVICTION          FUND
                                                                                                                                                                                           FUND
6th.......        Champaign            327,818               0        219,051             1,150          9,660            3,737           100,479             4,928         57,055              3,252
                  DeWitt                 2,017               0         13,081               100             581            1,712           14,861           16,762            5,877             1,540
                  Douglas                     0            415         19,337             5,429          1,767            2,614            26,500           28,423          13,538              2,451
                  Macon                     851            300         72,753                 0          3,777            9,677            89,885           76,398          25,952             12,670
                  Moultrie               1,060               0           9,873                3             537           2,190             10,331          13,082            3,554             1,065
                  Piatt                    100               0           1,504               25             300             450              8,755          10,967            2,930                839
6th.......        Circuit Total        331,846             715        335,599             6,707         16,623           20,380           250,812          150,561         108,906             21,818
7th.......        Greene                 1,447               0           5,057                0             148           1,879            12,839           10,321            2,211                201
                  Jersey                 6,568               0         12,618                 0               0           3,996            27,735           34,028            7,122                438
                  Macoupin               1,563              15         30,632               156          2,367            2,439            30,237               661         10,007                849
                  Morgan                   292               0           8,276               33           1,518           1,109            18,430           18,935            3,590                992
                  Sangamon                 992         161,824         37,025                 0           1,136           4,161           103,985         188,344           52,006              8,199
                  Scott                  1,400           1,197           3,707                0               0              350             3,649            7,136           1,971                  0
7th.......        Circuit Total         12,262         163,036         97,314               189          5,168           13,934           196,874         259,426           76,908             10,679
8th.......        Adams                     775              0         62,095                25          7,357           17,030            70,394           58,382          19,447             10,091
                  Brown                    500               0           1,820                0             146                0             5,326            7,766           2,345                  0
                  Calhoun                4,623               0          7,464                 0             703             902              5,083            4,203           1,473                618
                  Cass                    1,115              0         10,182                 0           1,150                0           15,336           14,299            3,215              1,227
                  Mason                  4,367               0         18,916                 0          2,480                 0           20,499           22,003            6,501             3,913
                  Menard                   240               0          11,125               63             100              413             5,771            6,180           1,683                379
                  Pike                  15,041          23,501         60,194                 0         10,141            1,625            32,730             1,209         10,389              4,025
                  Schuyler                 200               0         13,969               825          1,493            1,373              9,579           11,761           3,873             1,769
8th.......        Circuit Total         26,860          23,501        185,766               913         23,570           21,343           164,717         125,802           48,924             22,022
9th.......        Fulton                 3,306             480         16,922                 0          3,628            3,271            33,822           20,801            5,786             4,394
                  Hancock                1,241          11,180           5,896                0          1,365                 0            11,816          16,695            4,592             1,441
                  Henderson              6,041           4,680           3,411              206           1,155           1,544             11,932           19,175           6,015                223
                  Knox                     205           8,698         20,860               443          2,904            2,210            46,062           33,643          10,956               1,255
                  McDonough              1,471               0         33,784               600          4,080            9,600            39,170           27,910            8,823             4,273
                  Warren                 1,230          12,529           6,373              104            664                 0            11,197          14,858            3,528                910
9th.......        Circuit Total         13,494          37,567         87,247             1,353         13,797           16,625           153,999         133,081           39,699             12,494
10th.....         Marshall                 469               0             180                0             932           1,500              3,345            3,312             550               409
                  Peoria                 1,506             732         32,705               809         10,769           13,491           105,854         128,147           19,567             23,344
                  Putnam                 9,645           1,186             666                0               0           1,750              3,824            7,086           1,497                100
                  Stark                     352              0           3,018                0               7              150             5,428            5,571           1,394                467
                  Tazewell               2,087               0         52,853                 0          9,919                 0          110,089         178,816           45,666               1,531
10th.....         Circuit Total         14,060           1,918         89,421               809         21,626           16,891           228,540          322,931          68,673             25,851
11th.....         Ford                   2,645           4,650         16,755                 0            407               500             9,119            8,993           2,195             1,367
                  Livingston               796             231         43,908                 0          5,402            7,522            40,697          46,466            12,617             3,300
                  Logan                     225              0         24,066                30          2,938                 0           19,772           21,020            5,316             4,140
                  McLean                    197        307,017        179,685            31,380         14,640           19,380           161,841         183,962            57,815            10,819
                  Woodford                 804               0         31,944                 0          2,280            2,543            26,367           27,248           11,108             2,624
11th.....         Circuit Total          4,667         311,898        296,358            31,410         25,667           29,946           257,796         287,689           89,050             22,249



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CIRCUIT CLERK DISBURSEMENT OF FUNDS


                                                                                     FINES, PENALTIES, ASSESSMENTS AND FORFEITURES (CONTINUED)

                                                                                                                 STATE

      CIRCUIT         COUNTY                                                                                                                                                                  DOMESTIC
                                                                                                                                                            TRAFFIC &         DRIVERS
                                    TOTAL DNR                        LUMP SUM       DRUG TRAFFIC                      STATE POLICE      VIOLENT CRIME                                          VIOLENCE
                                                    ROAD FUND                                        CRIME LAB                                              CRIMINAL        EDUCATION
                                      FUNDS                         SURCHARGE        PREVENTION                         DUI FUND        VICTIMS ASST.                                       SHELTER & SERV.
                                                                                                                                                           CONVICTION          FUND
                                                                                                                                                                                                 FUND
12th....          Will                          0               0        376,660            8,296          24,602                   0          466,536           737,367         214,419            11,505
12th....          Circuit Total                 0               0        376,660            8,296          24,602                   0          466,536           737,367         214,419            11,505
13th......        Bureau                   1,790          30,059           20,840          30,230            4,933             4,750             26,253            26,573           6,880             3,519
                  Grundy                   1,041                0          20,191                0           2,808           18,469              37,701            58,849         17,666              2,774
                  LaSalle                 11,999          45,659            9,135           8,153            7,421                121            78,107           139,276         28,884              9,426
13th......        Circuit Total           14,829          75,718           50,166          38,383           15,162           23,340            142,060           224,698          53,430            15,719
14th......        Henry                      880            8,610          15,416           8,557            4,912             3,378             35,745            43,978          11,382             2,427
                  Mercer                  16,365            2,250          12,471                0            1,319                 0            10,854             7,043           3,895             2,931
                  Rock Island              5,482          25,710           30,592              771           8,847           20,247              81,430          127,894          29,468              5,292
                  Whiteside                1,477          29,600           31,487             990            4,317             3,506             35,906            62,567         21,704              1,488
14th......        Circuit Total           24,203          66,170           89,966          10,318          19,394             27,131           163,937           241,483          66,449            12,139
15th......        Carroll                  1,795                2           1,589                0            2,111              450             13,299            16,747           3,579             1,162
                  Jo Daviess                2,116             270          10,490              500              560            1,750             16,094            21,431           7,918             1,789
                  Lee                      2,065                0          53,868                0           2,376                  0            32,773            38,438         13,076              5,173
                  Ogle                     5,745          10,380           56,775              855           7,040               953             54,481            70,544          19,151             8,537
                  Stephenson               3,276            3,475          38,607                0           2,490           18,456              62,261            54,620         14,196             19,113
15th......        Circuit Total           14,996          14,127          161,328            1,355         14,576            21,610            178,908           201,780          57,920            35,774
16th......        Kane                     2,389                0        384,362                 0         21,864            18,232            207,846                  0         79,240            28,867
16th......        Circuit Total            2,389                0        384,362                 0         21,864            18,232            207,846                  0         79,240            28,867
17th......        Boone                      648              330          41,325           2,689            6,245             1,020             46,437            57,850         18,948              2,641
                  Winnebago                5,141              462         275,535              168         18,722                204           178,562                  0         67,097            27,812
17th......        Circuit Total            5,789              792        316,860            2,857          24,966              1,224           224,999             57,850         86,045            30,453
18th......        DuPage                   1,091           19,511               0           6,347          20,139            15,603            410,836           970,474         235,708            23,203
18th......        Circuit Total            1,091           19,511               0           6,347          20,139            15,603            410,836           970,474         235,708            23,203
19th......        Lake                     8,801            4,925        690,504                 0                0                 0          336,914                260        166,992              9,801
19th......        Circuit Total            8,801            4,925        690,504                 0                0                 0          336,914                260        166,992              9,801
20th......        Monroe                      357               0           6,081               25          4,684              1,344             22,250            38,053           9,699               500
                  Perry                      939                0          13,979                0           2,275                  0            16,009            13,483           3,432               600
                  Randolph                 1,692              605           6,570                0              812              280             11,039            19,814           4,732                37
                  St. Clair                  909         334,175         156,380                 0           5,726           19,498             113,202                 0         31,402            15,436
                  Washington                  550               0           7,807                1            1,516                 0             10,171           12,450           2,929               271
20th......        Circuit Total            4,447         334,780         190,817                26         15,013             21,122           172,672             83,800          52,193           16,843
21st......        Iroquois                    275         35,770           16,245              795           1,451             3,452             20,473            31,688           9,278             1,198
                  Kankakee                 5,635                0          14,839                0           5,737             5,968             47,774            75,624         29,504             4,008
21st......        Circuit Total            5,910          35,770           31,083              795           7,188             9,419             68,247           107,312         38,782              5,206
22nd.....         McHenry                  6,075                0          76,051              825           8,175             9,564           206,043           311,484          79,501            21,800
22nd.....         Circuit Total            6,075                0          76,051              825           8,175             9,564           206,043           311,484          79,501            21,800
23rd.....         DeKalb                    2,351           4,223        107,372                24           4,078             3,039             44,714                 0          16,772            9,478
                  Kendall                     932               0           2,698                0           4,147               710             20,912          107,469          14,587            15,929
23rd.....         Circuit Total            3,283            4,223        110,069                24           8,225             3,749             65,626          107,469           31,359           25,407
                  Downstate Total        576,686       2,316,968       4,206,798          113,839         354,941           305,605          4,731,989         5,352,491       1,883,367           428,746
Cook              Cook County              5,380          44,626         302,662           12,001                 0          18,447           604,380            792,189         209,382            14,730
                  State Total            582,066       2,361,594       4,509,460          125,840         354,941           324,052          5,336,369         6,144,680       2,092,749           443,476


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CIRCUIT CLERK DISBURSEMENT OF FUNDS

                                                                              FINES, PENALTIES, ASSESSMENTS AND FORFEITURES (CONTINUED)
                                                                                                     STATE (CONTINUED)
      CIRCUIT           COUNTY                                                                                           SPINAL CORD         LEADS         FIRE TRUCK      FORECLOSURE
                                        DRUG         TRAUMA CENTER   % DIST < $55     % DIST > $55       GENERAL
                                                                                                                          CURE TRUST      MAINTENANCE      REVOLVING        PREVENTION
                                     TREATMENT           FUND           FUND             FUND          REVENUE FUND
                                                                                                                             FUND             FUND         LOAN FUND      PROGRAM FUND
1st........         Alexander                2,263           1,207                0           2,658              650                 45                0              0                49
                    Jackson                26,395            8,841                0          11,804            2,514                454                0            240               637
                    Johnson                15,401            3,007                0             801            4,786                125                0            120                49
                    Massac                 14,831            4,561                0          11,785           14,170                215                0            105               441
                    Pope                     2,806             959                0             160              740                 50                0              0                98
                    Pulaski                  9,090           2,393                0           5,022               563                99                0            514                49
                    Saline                   7,988           2,540                0             461                 0               168                0             68                 0
                    Union                  21,863            5,309                0             221           11,254                249                0             95               294
                    Williamson             33,727           10,154                0           5,368           21,029                380                0              0             1,372
1st........         Circuit Total         134,365           38,971                0          38,280           55,707              1,784                0          1,142             2,989
2nd.......          Crawford                 9,419           3,837                0             502           10,763                227                0              0               392
                    Edwards                  6,194           1,505                0             178            4,700                 89                0            120                49
                    Franklin               62,808            8,073                0           1,332           13,061                340            1,488             94               784
                    Gallatin                 2,388             821                0             109            2,425                 52                0              0               147
                    Hamilton               15,286            2,725                0             116            7,933                148                0            120                98
                    Hardin                 12,680            1,502                0             307               790                45               31             15                49
                    Jefferson              41,520            8,184                0           1,403            8,399                299                0            118               245
                    Lawrence               30,294            3,497                0              29            5,214                115                0              0               294
                    Richland               27,710            6,870                0             483           11,029                445                0              0                98
                    Wabash                 10,037            3,755                0             270            4,737                226                0             15                49
                    Wayne                   12,521             380            2,802           1,180            2,386                140                0              0               147
                    White                  27,945            2,774                0             710            4,002                184                0            144               147
2nd.......          Circuit Total         258,801           43,922            2,802           6,618           75,441              2,310            1,519            627             2,499
3rd.......          Bond                   17,876            3,421                0             849                 0                68                0              0               147
                    Madison                68,977           37,049                0          39,515           12,267              1,888              144              0             3,650
3rd.......          Circuit Total          86,853           40,470                0          40,364           12,267              1,955              144              0             3,797
4th.......          Christian              23,378            4,376                0           2,310            6,338                228                0            185               196
                    Clay                   24,300            3,823                0             181            2,367                167                0              0               196
                    Clinton                11,032            4,859                0           1,027             1,713               190              150            336               147
                    Effingham               71,193          12,744                0           1,716            6,944                621               59            478               196
                    Fayette                63,215            5,398                0           3,740            7,834                401                0            137               245
                    Jasper                   6,180           3,242                0             204            5,582                147                0            210                 0
                    Marion                 52,125            8,424                0           1,169            6,805                233                0            468               196
                    Montgomery             40,756            9,068                0             352             5,171               416                0            283               441
                    Shelby                   7,197           2,075                0             252            2,202                120                0             60               196
4th.......          Circuit Total         299,375           54,009                0          10,952           44,956              2,521              209          2,155             1,813
5th.......          Clark                    7,214           1,707                0             432            2,149                 81              110              0               196
                    Coles                  43,304           15,764                0           4,966           28,712                715                0            428               441
                    Cumberland               7,307           2,305                0             503            2,898                129              184             75                49
                    Edgar                  17,702            2,770                0               0            4,037                 95                0              0               245
                    Vermilion              25,877            9,482                0          16,918           12,362                477              654          1,129               600
5th.......          Circuit Total         101,404           32,027                0          22,820           50,157              1,497              947          1,632             1,531



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CIRCUIT CLERK DISBURSEMENT OF FUNDS

                                                                                    FINES, PENALTIES, ASSESSMENTS AND FORFEITURES (CONTINUED)
                                                                                                              STATE (CONTINUED)
       CIRCUIT          COUNTY                                                                                                   SPINAL CORD         LEADS          FIRE TRUCK       FORECLOSURE
                                        DRUG              TRAUMA          % DIST < $55       % DIST > $55          GENERAL
                                                                                                                                  CURE TRUST     MAINTENANCE        REVOLVING         PREVENTION
                                     TREATMENT          CENTER FUND          FUND               FUND            REVENUE FUND
                                                                                                                                     FUND            FUND           LOAN FUND       PROGRAM FUND
6th.......         Champaign                  23,394           34,065                   0              15,711            79,406            1,582            1,222            3,721             1,428
                   DeWitt                     12,081             4,603                  0                 628              5,631             213                0               120              168
                   Douglas                    25,321           11,432                   0               1,260            14,428              463                0               315               98
                   Macon                      57,906           29,690                   0             11,663             43,383           1,367               576            2,533             1,323
                   Moultrie                     6,187            3,514                  0                 977              2,312             164               46               225              147
                   Piatt                      11,004              3,555                 0               1,118              4,728             236                0                90              196
6th.......         Circuit Total            135,892            86,859                   0             31,358            149,887           4,025            1,844             7,003             3,360
7th.......         Greene                     26,634             6,126                  0               3,626              4,221             279                0                15              196
                   Jersey                     29,334           10,081                   0                 718              3,856             310               75              434               196
                   Macoupin                   16,942             9,327                  0               4,485            16,953              471                0               510              882
                   Morgan                     33,353             7,565                  0              12,153              9,287             351               51               292              490
                   Sangamon                   52,626           31,485                   0             15,299              23,313          1,370               411             1,115            1,078
                   Scott                        2,695               941                 0                  717               400              45                0                35               49
7th.......         Circuit Total            161,584            65,526                   0             36,998             58,031           2,825               537           2,400              2,891
8th.......         Adams                      94,621           18,252                   0                 453            14,313              850           2,225               989               686
                   Brown                        1,172               556                 0                 138                680              15                0                 0               49
                   Calhoun                      9,689            1,996                  0                 145                838             114                0                57               49
                   Cass                       21,568             4,182                  0                 333              1,199             199                0                53               98
                   Mason                      19,571             5,305                  0                 454            16,043              244               71               276              196
                   Menard                      4,446             2,380                  0                 305              7,266             104                0                 0              245
                   Pike                       39,341             9,543                  0                 453            10,250              464              173               979              196
                   Schuyler                     9,702            3,202                  0                 222              2,757             148                0               285               49
8th.......         Circuit Total            200,109            45,415                   0               2,503            53,345           2,138            2,468             2,637             1,568
9th.......         Fulton                      17,511           13,133                  0            24,080              29,181              415           3,205                 58              490
                   Hancock                     13,317            4,682                  0                 538              8,068             229                3               123              200
                   Henderson                  12,740             6,345                  0               4,110            16,605              324            1,271              454                49
                   Knox                       41,953           13,369                   0                 984             11,202             667                0               472              637
                   McDonough                 40,408            15,365                   0                 618            18,408              770           1,964             1,079               250
                   Warren                     13,708             4,266                  0                 249              5,868             189                0               337              245
9th.......         Circuit Total            139,636             57,159                  0             30,579             89,333           2,594            6,443             2,522             1,871
10th.....          Marshall                   10,087             1,391                  0               1,688                  0              65              182                55              147
                   Peoria                     89,738           34,685                   0             96,072             43,942            1,541           6,132             2,682             2,702
                   Putnam                         300             1,215                 0                   96               150              60                0                 0              147
                   Stark                        1,979            1,480                  0                 219              1,053              74                0                29               98
                   Tazewell                   45,903           32,224                   0             10,533             47,680           1,444                 0            3,084             2,352
10th.....          Circuit Total            148,007            70,994                   0           108,607              92,825           3,184            6,314             5,849            5,446
11th.....          Ford                         7,021            3,393                  0                 318              3,919             124                0               225              196
                   Livingston                  31,173          14,370                   0               2,711            15,540              665                0               243              147
                   Logan                      26,632             7,454                  0               9,329              8,582             343              103               215              441
                   McLean                   130,780            61,167                   0             10,708             70,900           2,706               622            3,198               588
                   Woodford                   31,605             9,007                  0                 838              6,697             402                0              240               245
11th.....          Circuit Total             227,211           95,391                   0             23,905            105,639           4,239               725            4,120             1,617




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CIRCUIT CLERK DISBURSEMENT OF FUNDS

                                                                                        FINES, PENALTIES, ASSESSMENTS AND FORFEITURES (CONTINUED)
                                                                                                                STATE (CONTINUED)
       CIRCUIT          COUNTY                                                                                                     SPINAL CORD         LEADS          FIRE TRUCK       FORECLOSURE
                                           DRUG             TRAUMA           % DIST < $55        % DIST > $55        GENERAL
                                                                                                                                    CURE TRUST     MAINTENANCE        REVOLVING         PREVENTION
                                        TREATMENT         CENTER FUND           FUND                FUND          REVENUE FUND
                                                                                                                                       FUND            FUND           LOAN FUND       PROGRAM FUND
12th......          Will                        317,291           118,989                    0            128,908           24,697           2,917                0            5,568                 0
12th......          Circuit Total               317,291           118,989                    0            128,908           24,697           2,917                0            5,568                 0
13th......          Bureau                       35,826              9,828                   0                710            6,159             446              100               343              343
                    Grundy                       38,438            20,205                    0              2,843           15,860             877                0               514                0
                    LaSalle                      83,896            30,063                    0             32,784           26,572           1,805              589             1,573            1,029
13th......          Circuit Total              158,160             60,096                    0             36,337           48,591           3,128              689            2,430             1,372
14th......          Henry                         8,545            12,471                    0              1,021           22,056             296              698            1,032               392
                    Mercer                        3,570              2,990                   0                182            7,281              99                0               552              147
                    Rock Island                114,314             38,913                    0              4,037           65,762           1,860            1,022               345            1,862
                    Whiteside                    33,983              7,710                   0              1,608           29,871             443                0               699              980
14th......          Circuit Total              160,413             62,084                    0              6,847          124,970           2,698            1,720            2,627             3,381
15th......          Carroll                      16,264              5,249                   0                411              999             205                0                62              147
                    Jo Daviess                   14,155              4,885                   0                178            6,012             240              228                23              196
                    Lee                          35,713            14,193                    0                780           23,747             723                0            1,045             1,421
                    Ogle                         36,616             21,351                   0                966           20,149             983                0               661              588
                    Stephenson                   35,309            12,524                    0              2,548           17,870             477              235                29              637
15th......          Circuit Total              138,057             58,203                    0              4,884           68,777           2,628              463            1,819             2,989
16th......          Kane                       180,820            119,934                    0            231,643          252,232           5,476            4,256           10,324                 0
16th......          Circuit Total              180,820            119,934                    0            231,643          252,232           5,476            4,256           10,324                 0
17th......          Boone                        38,792            15,023                    0              2,362           15,246             748                0                99              294
                    Winnebago                  129,479             53,897                    0            107,388            6,160           2,244                0              300             3,040
17th......          Circuit Total              168,271             68,920                    0            109,750           21,406           2,992                0               399            3,334
18th......          DuPage                     223,184            156,944                    0            521,286           37,582           8,474          24,479                  0            5,145
18th......          Circuit Total              223,184            156,944                    0            521,286           37,582           8,474          24,479                  0            5,145
19th......          Lake                       143,337            129,744                    0             14,741          107,280           5,431           14,091            8,064             6,125
19th......          Circuit Total              143,337            129,744                    0             14,741          107,280           5,431           14,091            8,064             6,125
20th......          Monroe                       45,431              9,099                   0                 88            4,693             488                0               143               98
                    Perry                         5,690              3,680                   0                270            5,902             110                0                 0              294
                    Randolph                      3,631              4,987                   0                940            4,757             180                0                 0              343
                    St. Clair                    92,594             37,311                 351             39,598           42,096           1,880              669               967            4,165
                    Washington                   13,598              3,994                   0                360            2,060             214                0               119              196
20th......          Circuit Total              160,944             59,071                  351             41,256           59,508           2,873              669            1,229             5,096
21st......          Iroquois                     13,357              4,699                   0              2,737            4,797             198                0              346               245
                    Kankakee                     29,015            12,968                    0             82,784           28,159             388            2,846                75            2,499
21st......          Circuit Total                42,372            17,668                    0             85,522           32,956             586            2,846               421            2,744
22nd.....           McHenry                    133,058              72,217                   0              7,675           26,591           3,484            6,228            1,941                 0
22nd.....           Circuit Total              133,058              72,217                   0              7,675           26,591           3,484            6,228            1,941                 0
23rd.....           DeKalb                       37,976             17,222                   0             31,323           38,500             984                0               953              637
                    Kendall                      47,767            16,076                    0             29,977           40,560             867                2               565              784
23rd.....           Circuit Total                85,743            33,298                    0             61,300           79,060           1,851                2            1,518             1,421
                    Downstate Total         3,804,886           1,587,913                3,154          1,603,132        1,671,238          71,612          76,594            66,427            60,989
Cook                Cook County               148,984            190,024                8,350            106,083         1,150,108          18,079          41,474            14,246           391,050
                    State Total              3,953,870          1,777,937              11,504           1,709,215        2,821,346          89,691         118,068            80,673           452,039




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CIRCUIT CLERK DISBURSEMENT OF FUNDS

                                                                                                               FINES, PENALTIES, ASSESSMENTS AND FORFEITURES (CONTINUED)
                                                                                                                                   STATE (CONTINUED)

         CIRCUIT               COUNTY                                                                  ABANDON
                                                                                                                            STATE POLICE       STATE POLICE                                              TOTAL STATE &
                                                  FIRE PREVENTION          CAPITAL PROJECTS           RESIDENTIAL                                                  STATE POLICE       TOTAL STATE
                                                                                                                            MERIT BOARD        OPERATOINS                                                    LOCAL
                                                        FUND                    FUND                PROPERTY MUNI.                                                 VEHICLE FUND      DISBURSEMENT*
                                                                                                                            SAFETY FUND        ASSIST. FUND                                              DISBURSEMENT
                                                                                                      RELIEF FUND
1st........              Alexander                                  594                         0                      35              4,359               9,435               100            109,756              308,973
                         Jackson                                 3,008                          0                   3,430              9,735              47,706                69            319,427             638,009
                         Johnson                                 1,396                          0                     175              7,827              18,888               140            255,947              536,251
                         Massac                                  2,448                          0                     945             12,508              31,940               100            266,369              744,161
                         Pope                                       437                         0                     105              2,370               7,100                 0              47,351             122,183
                         Pulaski                                 1,375                          0                      35             30,781              47,790                20            320,201            1,553,186
                         Saline                                  1,408                     1,706                       35              3,630              13,299               102            193,904             645,432
                         Union                                   1,425                          0                     980              4,958              20,739               240            260,624              452,039
                         Williamson                              4,757                 810,654                      4,410             73,611            109,564                449          2,390,857           3,063,191
1st........              Circuit Total                          16,847                  812,360                    10,150            149,779            306,460              1,219          4,164,435           8,063,426
2nd.......               Crawford                                2,250                     1,900                      665              2,182              15,797                20            112,299              359,450
                         Edwards                                  1,110                         0                      35              1,750               5,977                20              71,554            154,894
                         Franklin                                1,604                          0                   2,730              4,627              20,627               238            302,449              544,115
                         Gallatin                                   224                         0                     735              2,004               5,163                20              72,396             153,160
                         Hamilton                                1,201                          0                      70              1,932              11,327               343            111,846              178,158
                         Hardin                                    499                          0                     350                928               4,327                40              56,719             117,519
                         Jefferson                               2,450                          0                     729              3,845              25,896               814            264,537              772,659
                         Lawrence                                1,474                          0                     665              1,484              14,716                 0            120,386              253,834
                         Richland                                1,606                          0                     385              1,910              13,922                60            137,366              357,984
                         Wabash                                   1,122                         0                     350              1,453               7,342                 0              96,637             187,190
                         Wayne                                    1,571                      545                      420              3,780               8,818               122             158,271             275,548
                         White                                   1,638                     6,154                      105              5,170              15,205               160            225,965             389,454
2nd.......               Circuit Total                          16,749                     8,599                    7,239             31,064             149,117             1,837          1,730,423           3,743,965
3rd.......               Bond                                    1,848                          0                     105              8,987              15,383               290            140,224             827,679
                         Madison                                15,081                  120,999                     2,440             48,945            214,812              1,208          1,857,909           3,979,213
3rd.......               Circuit Total                          16,929                  120,999                     2,545             57,932            230,195              1,498          1,998,133           4,806,893
4th.......               Christian                               2,625                          0                   1,120              4,543              17,485                 0            188,273             454,507
                         Clay                                    1,293                     1,900                      315              2,678              11,254                95            142,647             333,449
                         Clinton                                 3,437                          0                   1,428              4,235              23,000                20            172,545              477,985
                         Effingham                               2,817                       520                      595              5,567              23,821               240            362,437              593,560
                         Fayette                                 2,453                       400                      980             23,879              43,596               200            572,550              845,116
                         Jasper                                  1,580                          0                       0              1,820              11,744                40              82,616             191,475
                         Marion                                  4,676                          0                     140              7,059              36,055               109            318,765              903,895
                         Montgomery                              4,300                     3,201                    1,279             22,654              49,214               208            867,909           1,097,458
                         Shelby                                  1,506                          0                     455              2,526               9,005                 0              87,608             188,299
4th.......               Circuit Total                          24,686                     6,021                    6,313             74,961             225,173               911          2,795,350           5,085,742
5th.......               Clark                                   1,370                   85,864                       595              9,786              16,892                20            308,180             433,000
                         Coles                                   4,959                          0                   2,810              5,990              39,203                49            396,150           1,042,324
                         Cumberland                                984                          0                     350              1,877               9,416                 0              86,343            188,960
                         Edgar                                   1,210                          0                     840              1,338               8,230                 0              89,679             225,097
                         Vermilion                               3,157                          0                   2,214              9,859              42,127                 0            341,150             880,104
5th.......               Circuit Total                          11,680                   85,864                     6,809             28,851            115,868                 69          1,221,503           2,769,485
*Includes all other state fines, penalties, assessments and forfeitures not illustrated in this this report.



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CIRCUIT CLERK DISBURSEMENT OF FUNDS
                                                                                                                       FINES, PENALTIES, ASSESSMENTS AND FORFEITURES (CONTINUED)
                                                                                                                                               STATE (CONTINUED)

             CIRCUIT                COUNTY                                                                        ABANDON
                                                                                                                                                              STATE POLICE                                                TOTAL STATE &
                                                        FIRE PREVENTION            CAPITAL PROJECTS              RESIDENTIAL         STATE POLICE MERIT                          STATE POLICE          TOTAL STATE
                                                                                                                                                           OPERATOINS ASSIST.                                                 LOCAL
                                                              FUND                       FUND                  PROPERTY MUNI.        BOARD SAFETY FUND                           VEHICLE FUND         DISBURSEMENT*
                                                                                                                                                                 FUND                                                     DISBURSEMENT
                                                                                                                 RELIEF FUND

6th.......                 Champaign                                    16,704                           0                 5,855                 22,342               114,978                   720           1,309,494           2,341,919
                           DeWitt                                        3,456                           0                  805                    2,795                17,075                    0             127,286             271,720
                           Douglas                                       7,014                         370                  420                   5,044                38,400                     0             312,566            872,876
                           Macon                                        10,467                         320                6,976                   14,101               175,230                   60             816,136           1,520,548
                           Moultrie                                       3,813                          0                  245                    2,128                14,551                    0              92,164             255,875
                           Piatt                                          2,010                        165                 1,085                   1,715                12,676                   18             113,989             190,523
6th.......                 Circuit Total                                43,464                         855                15,386                 48,125                372,911                  798           2,771,636           5,453,461
7th.......                 Greene                                         1,379                          0                  490                    3,292               14,394                    40             118,828            220,903
                           Jersey                                        4,450                           0                 1,505                   7,559                37,362                   45             263,731             595,913
                           Macoupin                                       3,022                        500                4,485                   6,084                26,823                   665            386,490             660,928
                           Morgan                                         2,891                        421                 1,015                   5,711                23,552                   40             190,182             516,517
                           Sangamon                                     19,932                    161,812                   285                   53,318              196,888               2,639             1,580,922           4,517,953
                           Scott                                           440                           0                      35                 1,815                 6,130                   40             83,008             149,927
7th.......                 Circuit Total                                 32,113                   162,733                  7,815                 77,779               305,148               3,469             2,623,161           6,662,142
8th.......                 Adams                                          6,531                          0                3,640                   13,712               63,792                   140            674,434            1,326,257
                           Brown                                            735                          0                  350                   2,096                 4,942                    20              43,285             103,598
                           Calhoun                                          676                          0                      35                 1,582                4,936                     0              52,350             112,088
                           Cass                                          2,624                           0                      70                 2,910                16,559                   20             128,551             231,156
                           Mason                                          2,592                          0                  595                   5,386                 24,313                    0             178,641            455,886
                           Menard                                         1,188                          0                  490                    1,056                 7,933                    0              61,608             133,537
                           Pike                                           5,735                     21,791                  490                    8,150               30,394                   538            467,960            1,009,073
                           Schuyler                                       2,623                          0                      35                 2,297                12,366                    0            107,624              183,130
8th.......                 Circuit Total                                22,703                      21,791                 5,705                 37,189                165,233                  718           1,714,453           3,554,726
9th.......                 Fulton                                         1,762                          0                 1,295                  8,629                28,240                   180            319,746             854,938
                           Hancock                                       2,280                           0                  280                   4,464                 17,495                    0             151,409            388,428
                           Henderson                                      1,638                          0                      35                6,378                 15,351                  271            233,403              514,595
                           Knox                                           3,739                          0                 1,750                  9,032                42,579                   208             378,725           1,180,292
                           McDonough                                     4,794                       7,336                  735                    6,051               44,160                   317            357,458             740,809
                           Warren                                        2,446                           0                 1,260                  4,076                 18,015                  145             160,972            437,776
9th.......                 Circuit Total                                16,658                       7,336                 5,355                 38,629               165,840               1,121             1,601,712           4,116,838
10th.....                  Marshall                                        845                           0                 1,120                    830                 4,080                     0              46,719              98,318
                           Peoria                                       16,523                       2,802                 6,755                 33,006                130,631              1,201             1,126,595           2,522,754
                           Putnam                                          704                       8,767                  420                    1,819                 7,811                    0              61,914            154,543
                           Stark                                            237                          0                  700                    1,361                6,047                     0              37,631            100,682
                           Tazewell                                     26,737                           0                11,157                 30,275                148,521                  854            956,423            2,380,718
10th.....                  Circuit Total                                45,045                      11,569                20,152                 67,291               297,089               2,055             2,229,281           5,257,015
11th.....                  Ford                                          2,243                          73                 1,050                   1,719                11,162                   21             107,576            279,944
                           Livingston                                     7,503                          0                  350                   8,984                 53,759                  400            428,762              970,125
                           Logan                                         3,060                         330                  945                   4,452                25,347                   331             270,371             576,318
                           McLean                                        25,351                   277,718                  5,012                 60,463               203,827               1,237             2,202,846           4,722,450
                           Woodford                                       5,378                          0                  945                   4,953                34,616                   140             272,776             796,351
11th.....                  Circuit Total                                43,534                    278,121                 8,302                  80,571                328,711              2,128             3,282,332           7,345,188
*Includes all other state fines, penalties, assessments and forfeitures not illustrated in this this report.




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                                           Case: 1:22-cv-06478 Document #: 41-1 Filed: 04/12/23 Page 112 of 203 PageID #:561

CIRCUIT CLERK DISBURSEMENT OF FUNDS
                                                                                                               FINES, PENALTIES, ASSESSMENTS AND FORFEITURES (CONTINUED)
                                                                                                                                   STATE (CONTINUED)

        CIRCUIT                COUNTY                                                                  ABANDON
                                                                                                                             STATE POLICE        STATE POLICE                                            TOTAL STATE &
                                                  FIRE PREVENTION          CAPITAL PROJECTS           RESIDENTIAL                                                  STATE POLICE       TOTAL STATE
                                                                                                                             MERIT BOARD         OPERATOINS                                                  LOCAL
                                                        FUND                    FUND                PROPERTY MUNI.                                                 VEHICLE FUND      DISBURSEMENT*
                                                                                                                             SAFETY FUND         ASSIST. FUND                                            DISBURSEMENT
                                                                                                      RELIEF FUND
12th......               Will                                   45,205                1,304,522                    38,849            234,249             620,205             3,849          7,269,478          20,442,631
12th......               Circuit Total                          45,205                1,304,522                    38,849            234,249             620,205             3,849          7,269,478          20,442,631
13th......               Bureau                                  5,843                          0                   1,754                6,323            34,316               280            400,362            1,168,220
                         Grundy                                  6,556                       350                       977              11,912            81,550               240            456,400              993,677
                         LaSalle                                23,504                          0                   2,470              34,369            151,242               720          1,078,825            3,121,324
13th......               Circuit Total                          35,903                       350                    5,201              52,604            267,109             1,240          1,935,586            5,283,221
14th......               Henry                                   9,590                          0                   1,645                9,869            45,705               200            457,889              946,089
                         Mercer                                  1,564                          0                      560               1,271             8,881                 0             110,862             214,254
                         Rock Island                             7,428                  297,532                     7,530              45,801            121,705               356          1,354,491            2,166,657
                         Whiteside                              10,432                   28,731                     2,520              17,547             44,519               100             613,180           1,154,907
14th......               Circuit Total                          29,014                  326,263                    12,255              74,488            220,810               656          2,536,422           4,481,906
15th......               Carroll                                 2,828                          0                      105               3,491            19,293                 1             112,656             264,352
                         Jo Daviess                              2,428                          0                      394               4,928            21,549                25             156,674             437,071
                         Lee                                     8,079                          0                    1,575               8,418            46,335                55            445,564              931,985
                         Ogle                                   13,150                    21,795                    1,365              15,640             70,896               444             592,275           1,235,195
                         Stephenson                              6,414                     9,954                    3,255              14,373             59,542               305             545,431           1,117,923
15th......               Circuit Total                          32,899                   31,749                     6,694              46,849            217,614               830          1,852,600            3,986,526
16th......               Kane                                   52,399                   73,526                    18,795            134,348             387,805             1,890          2,827,912            6,523,858
16th......               Circuit Total                          52,399                   73,526                    18,795            134,348             387,805             1,890          2,827,912            6,523,858
17th......               Boone                                  10,634                     4,663                    2,848              10,470             56,014               200            438,020            1,404,551
                         Winnebago                              27,270                          0                  22,249              48,831                665             5,894           1,661,152           4,533,939
17th......               Circuit Total                         37,904                      4,663                   25,097              59,302             56,679             6,094          2,099,172            5,938,491
18th......               DuPage                               134,417                   151,982                    40,933            212,868             847,378             6,000          5,041,749          24,098,461
18th......               Circuit Total                        134,417                   151,982                    40,933            212,868             847,378             6,000          5,041,749          24,098,461
19th......               Lake                                  42,084                   117,484                    26,880             161,292            561,158             2,242          3,163,734           11,919,215
19th......               Circuit Total                         42,084                   117,484                    26,880             161,292            561,158             2,242          3,163,734           11,919,215
20th......               Monroe                                  3,949                          0                      781               7,715            42,304                47             247,812             564,227
                         Perry                                   2,569                          0                    1,155               2,632            19,810                20             147,932             330,344
                         Randolph                                3,498                       605                       945               3,474            20,382               173             123,050             344,122
                         St. Clair                              23,794                   52,377                    34,285              72,554            166,657             2,576          2,006,708            2,811,650
                         Washington                              2,657                          0                      595              2,464             11,380               120             108,491             241,838
20th......               Circuit Total                         36,465                    52,982                    37,761              88,839            260,532             2,935          2,633,993           4,292,180
21st......               Iroquois                                5,641                   36,985                     1,484              10,954             27,201               682             416,692             539,176
                         Kankakee                               12,425                          0                   6,141              24,065             74,743             1,593             680,114           1,593,563
21st......               Circuit Total                          18,066                   36,985                     7,625              35,019            101,943             2,274          1,096,806            2,132,739
22nd.....                McHenry                                39,566                  138,196                     7,643                    0           402,539               130          1,950,027            5,339,697
22nd.....                Circuit Total                          39,566                  138,196                     7,643                    0           402,539               130          1,950,027            5,339,697
23rd.....                DeKalb                                  7,357                     4,338                    3,457              28,300            105,473               660            584,349            1,328,203
                         Kendall                                13,376                          0                   3,422              18,534             57,596                 0             502,352           1,157,810
23rd.....                Circuit Total                          20,733                     4,338                    6,880              46,834            163,069               660          1,086,701           2,486,014
                         Downstate Total                      815,062                 3,759,287                   330,380          1,838,864           6,768,586            44,624         59,626,599         153,783,818
Cook                     Cook County                          123,310                           0                  52,232            375,509           1,210,742           172,576          9,786,555          28,225,144
                         State Total                          938,372                 3,759,287                   382,612          2,214,373           7,979,328           217,200         69,413,154         182,008,962
*Includes all other state fines, penalties, assessments and forfeitures not illustrated in this this report.




112 *Includes all other state
          IL COURTS     ANNUALfines,REPORT
                                     penalties,2021
                                                assessments and forfeitures not illustrated in this this report.
                                            Case: 1:22-cv-06478 Document #: 41-1 Filed: 04/12/23 Page 113 of 203 PageID #:562

CIRCUIT CLERK DISBURSEMENT OF FUNDS


                                                                                                                         FEES OF OTHERS
                                                                                                                                                          COUNTY FUND TO                               MUNICIPAL
             CIRCUIT               COUNTY                              SHERIFF SERVICE OF     SHERIFF COURT       COUNTY LAW       MARRIAGE FUND OF                           COURT APPOINTED
                                                 STATES ATTORNEY *                                                                                         FINANCE COURT                               ATTORNEY
                                                                            PROCESS             SECURITY            LIBRARY         CIRCUIT COURT                                 COUNSEL
                                                                                                                                                               SYSTEM                               PROSECUTION FEE
1st........             Alexander                             12,181                 4,019               27,817            3,085                      0              16,262               4,209                       0
                        Jackson                              39,832                  4,695             120,345             7,163                 472                109,003               4,978                       0
                        Johnson                              29,748                  4,931               36,615            5,870                      0              50,663               8,731                       0
                        Massac                                36,156                 1,834              42,500             6,154                      0              35,479               13,551                      0
                        Pope                                 10,452                  5,452               14,623            1,600                      0               5,152               4,952                       0
                        Pulaski                             110,070                 10,759             154,720             3,025                      0             109,817               2,692                       0
                        Saline                                 8,237                18,682               44,113           11,820                 200                 36,479              99,118                       0
                        Union                                23,928                  2,455              41,707             9,198                 180                 37,318              15,253                       0
                        Williamson                          217,740                  12,691            226,593             7,021                 820                121,876               2,405                       0
1st........             Circuit Total                       488,348                 65,518             709,032            54,935                1,672               522,049             155,889                       0
2nd.......              Crawford                              10,222                 5,656               50,257            9,250                      0              15,059                     0                     0
                        Edwards                               6,067                   1,732             22,643             3,040                      0               5,665                     0                     0
                        Franklin                             32,940                 44,285             133,005            25,555                 250                 41,036                     0                     0
                        Gallatin                               6,162                 4,346               13,077            2,780                      0               5,048                 512                       0
                        Hamilton                              10,631                  7,331             34,288             4,480                      0               9,266                     0                     0
                        Hardin                                 7,291                  5,915              11,575            1,740                      0               4,126               2,405                       0
                        Jefferson                            22,964                  7,928             116,706            26,778                      0              37,565               3,389                       0
                        Lawrence                               7,286                 7,347              42,103             8,937                      0              14,086                     0                     0
                        Richland                             14,692                  6,860               37,517            7,800                      0              19,495               7,666                       0
                        Wabash                                6,829                   6,251              26,174            4,460                      0               7,741              80,000                       0
                        Wayne                                 18,205                10,990               29,659            7,360                 150                 15,941                 359                       0
                        White                                 21,875                 12,251             70,286             8,200                      0              16,517                     0                     0
2nd.......              Circuit Total                        165,170               120,893             587,288           110,380                 400                191,544              94,332                       0
3rd.......              Bond                                 20,397                   8,561             44,529             3,430                      0                887               13,568                       0
                        Madison                              10,003                 42,660                7,931          261,768                      0               5,862                     0                     0
3rd.......              Circuit Total                        30,401                  51,221             52,460           265,198                      0               6,748              13,568                       0
4th.......              Christian                            22,438                  17,275             74,102            13,873                 320                66,407                1,083                       0
                        Clay                                   8,139                14,797               51,395            6,740                 130                 21,495                1,122                      0
                        Clinton                              16,443                 27,853              61,248            14,251                 460                 37,234                     0                     0
                        Effingham                             31,341                26,796              63,498             3,856                 430                 47,209               1,393                       0
                        Fayette                               59,159                16,091              101,577                0                 298                108,119               5,889                       0
                        Jasper                                9,449                  7,083              18,409             2,825                  50                 16,651               4,607                   194
                        Marion                                 5,823                11,680              80,570            17,494                 560                 22,741               6,683                       0
                        Montgomery                            75,615                33,309              101,796           14,041                 280                122,403               2,435                       0
                        Shelby                               12,460                  7,005               33,730            7,530                 200                 41,674               2,921                       0
4th.......              Circuit Total                       240,869                161,888             586,325            80,608                2,728               483,932              26,133                   194
5th.......              Clark                                 12,108                 10,153             40,657             4,158                  20                 14,320                 350                       0
                        Coles                                 25,233                34,157              111,370           12,046                 760                 73,510              17,503                       0
                        Cumberland                             9,396                 5,943               25,231            3,045                 140                 11,479                 614                       0
                        Edgar                                  5,557                  3,255             28,053             5,927                 250                  8,118               5,060                       0
                        Vermilion                            92,868                 56,448             178,299            25,633                 960                 28,862                 942                       0
5th.......              Circuit Total                       145,164                109,956             383,610            50,808                2,130               136,289              24,469                       0
*Includes State's Attorney Records Automation Fund.




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CIRCUIT CLERK DISBURSEMENT OF FUNDS

                                                                                                                          FEES OF OTHERS
                                                                                                                                                         COUNTY FUND TO                              MUNICIPAL
             CIRCUIT           COUNTY                                  SHERIFF SERVICE OF     SHERIFF COURT        COUNTY LAW       MARRIAGE FUND OF                         COURT APPOINTED
                                                 STATES ATTORNEY *                                                                                        FINANCE COURT                              ATTORNEY
                                                                            PROCESS             SECURITY             LIBRARY         CIRCUIT COURT                               COUNSEL
                                                                                                                                                              SYSTEM                              PROSECUTION FEE
6th.......              Champaign                            85,581                 66,245             246,245             75,276                    0             104,188              60,279                2,956
                        DeWitt                               10,349                   1,831             33,427              5,000                    0              25,597               2,935                    0
                        Douglas                               3,541                 34,537                  776             2,514                    0               1,810              19,939                    0
                        Macon                                98,907                 86,134             334,859             68,564                1,500              77,775               4,596                3,298
                        Moultrie                             12,398                 19,700              33,733              5,250                    0              12,696              13,581                    0
                        Piatt                                 8,556                   6,875             32,559              7,394                    0              12,762              15,955                    0
6th.......              Circuit Total                       219,333                215,322             681,599            163,998                1,500             234,827             117,286                6,254
7th.......              Greene                                6,326                 13,084              28,620              3,180                  150              27,057                 669                    0
                        Jersey                               43,791                 16,919              80,864              6,110                  260              97,477               2,895                    0
                        Macoupin                             48,149                 10,316              68,755             20,589                    0              29,819                1,155                   0
                        Morgan                               29,210                   9,368             63,291             17,208                  410              55,470               1,105                    0
                        Sangamon                             22,901                 19,546              22,098            163,433                3,080               8,154               4,891                    0
                        Scott                                 4,582                     346              17,541             1,180                    0              15,990              11,989                    0
7th.......              Circuit Total                       154,961                 69,579             281,169            211,699                3,900             233,966              22,703                    0
8th.......              Adams                                70,858                  10,117            162,665             28,262                  570             186,794              70,733                2,757
                        Brown                                 6,756                   3,326              11,902             1,074                    0               2,401                    4                   0
                        Calhoun                               4,554                   2,589               6,252               960                    0               8,824                    0                   0
                        Cass                                 13,536                   2,963             28,613              4,750                    0              31,368                    0                   0
                        Mason                                23,203                  11,185             44,476              3,575                    0              36,558              30,772                    0
                        Menard                                5,834                   4,396             15,970              3,925                    0              11,694               8,356                    0
                        Pike                                 28,576                 30,708              49,304              5,883                    0              63,374              19,390                    0
                        Schuyler                             10,746                   5,089             17,380              4,540                    0              24,662               4,901                    0
8th.......              Circuit Total                       164,065                 70,372             336,563             52,969                  570             365,675             134,157                2,757
9th.......              Fulton                                4,225                 29,432              85,419              1,891                    0              10,905              59,613                    0
                        Hancock                               1,302                 11,562              47,300              1,036                    0             128,801              17,819                    0
                        Henderson                             1,648                  11,891             38,466                322                   40               8,119              12,331                   25
                        Knox                                  3,564                 36,707              59,310                  0                    0               3,300               9,520                  580
                        McDonough                             3,844                106,292              85,041              3,794                    0              18,329              12,949                    0
                        Warren                                5,001                 13,905              29,164                744                  270               6,412              14,508                    0
9th.......                Circuit Total                      19,586                209,789             344,699              7,787                  310            175,866              126,740                  605
10th.....                 Marshall                             4,376                 8,102               12,300             6,762                  150             10,672                4,891                    0
                          Peoria                             74,363                233,450             252,983             87,856                3,000            138,787              131,330                4,689
                          Putnam                               6,987                 1,007               10,967             2,877                   50             12,297                1,412                    0
                          Stark                                4,629                 3,492               15,009             2,583                   30             13,345                  938                    0
                          Tazewell                          138,387                  9,041                     0           40,657                    0            143,781               39,123                    0
10th.....                 Circuit Total                     228,744                255,091              291,259           140,735                3,230            318,881              177,694                4,689
11th.....                 Ford                                 5,389                13,585               20,090                 0                    0              6,144               24,760                    0
                          Livingston                         25,798                 50,673                67,131            5,837                  330             15,384               18,971                    0
                          Logan                              14,507                 22,578               49,836                 0                  320                154               23,731                  324
                          McLean                             72,722                106,499               25,536            46,800                1,680            859,009               62,298                  705
                          Woodford                            15,952                34,124               76,087             3,855                    0              9,924               12,469                    0
11th.....                 Circuit Total                     134,370                227,458             238,680             56,492                2,330            890,614              142,229                1,029
*Includes State's Attorney Records Automation Fund.




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CIRCUIT CLERK DISBURSEMENT OF FUNDS

                                                                                                                         FEES OF OTHERS
                                                                                                                                                          COUNTY FUND TO                              MUNICIPAL
         CIRCUIT               COUNTY                                 SHERIFF SERVICE OF     SHERIFF COURT        COUNTY LAW         MARRIAGE FUND OF                         COURT APPOINTED
                                                STATES ATTORNEY *                                                                                          FINANCE COURT                              ATTORNEY
                                                                           PROCESS             SECURITY             LIBRARY           CIRCUIT COURT                              COUNSEL
                                                                                                                                                               SYSTEM                              PROSECUTION FEE
12th......             Will                                 69,049                308,518              115,628           401,500                 13,430             35,807               29,588                    0
12th......             Circuit Total                        69,049                308,518              115,628           401,500                 13,430             35,807               29,588                    0
13th......             Bureau                                 5,408                10,784              114,238            20,008                    420             21,033                7,713                    0
                       Grundy                               29,072                   6,642              116,811            12,450                   850             48,810                   317                   0
                       LaSalle                              15,349                  71,719                5,975            46,170                     0               2,278                    0                 630
13th......             Circuit Total                        49,830                 89,145              237,024             78,628                 1,270              72,121               8,030                  630
14th......             Henry                                25,652                 10,417              101,965             24,232                   600            117,253               33,692                    0
                       Mercer                                 5,070                  9,502              24,495              6,822                    80              13,128               1,342                    0
                       Rock Island                          73,444                 47,577              245,786             90,312                     0             96,214               76,116                    0
                       Whiteside                            69,524                 18,772              132,225             38,201                   630             93,004               41,302                    0
14th......             Circuit Total                       173,691                 86,268              504,471           159,567                  1,310            319,600              152,452                    0
15th......             Carroll                                7,971                16,766                61,991              1,915                   40              21,812               4,259                    0
                       Jo Daviess                            12,595                  2,456               57,758             5,790                   350             56,754               10,355                    0
                       Lee                                  19,745                  11,553               89,791            17,460                   580             74,950                5,377                    0
                       Ogle                                 34,353                 54,216              143,137             20,420                   490            110,682                   583                   0
                       Stephenson                           45,474                 36,454              124,779             18,285                   650            123,169               15,646                    0
15th......             Circuit Total                       120,139                121,445              477,457             63,870                 2,110            387,368               36,220                    0
16th......             Kane                                908,231                 44,539              790,602            257,371                     0            399,508                6,834               65,664
16th......             Circuit Total                       908,231                 44,539              790,602            257,371                     0            399,508                6,834               65,664
17th......             Boone                                11,445                 10,122                90,032            25,451                 1,410               4,196                  277                   0
                       Winnebago                            38,678                 38,395              693,125           159,338                  5,490             29,985                1,935               10,852
17th......             Circuit Total                        50,123                 48,517              783,157           184,789                  6,900             34,181                 2,211              10,852
18th......             DuPage                              114,082                 46,528                36,735          302,249                  6,550             61,814                4,430                    0
18th......             Circuit Total                       114,082                 46,528                36,735          302,249                  6,550             61,814                4,430                    0
19th......             Lake                                320,887                708,309            1,547,053           433,048                 13,740             30,819              207,354               40,634
19th......             Circuit Total                       320,887                708,309            1,547,053           433,048                 13,740             30,819              207,354               40,634
20th......             Monroe                               43,867                   1,555               92,105            16,018                   510               1,477                    0                   0
                       Perry                                  6,550                  9,516               28,797             2,304                     0             35,378                3,555                    0
                         Randolph                            2,591                  14,739               61,755                 0                   240              23,645                    0                   0
                         St. Clair                         130,309                 135,327           1,266,656            506,083                 3,380             100,305                    1               4,627
                         Washington                          9,123                   1,271              38,032              5,250                    10              19,849                    0                   0
20th......               Circuit Total                     192,442                162,408            1,487,345            529,654                 4,140             180,653                3,556               4,627
21st......               Iroquois                           20,648                   6,384              70,018             14,994                   290              50,326                7,542                   0
                         Kankakee                           73,176                  33,785             202,648             37,843                 5,805             104,979               18,628                   0
21st......               Circuit Total                      93,825                  40,169             272,666             52,837                 6,095             155,305               26,169                   0
22nd.....                McHenry                           100,542                353,139              503,419            148,700                     0              89,235               15,722               9,693
22nd.....                Circuit Total                     100,542                353,139              503,419            148,700                     0              89,235               15,722               9,693
23rd.....                DeKalb                             54,554                  14,313             375,999             49,890                 1,650              37,300                    0               3,269
                         Kendall                            43,447                       0              15,243             45,021                 1,890               9,349                8,524               1,773
23rd.....                Circuit Total                      98,002                  14,313             391,242             94,911                 3,540              46,649                8,524               5,042
                         Downstate Total                 4,281,864              3,580,386           11,639,483          3,902,732                77,854           5,373,453            1,536,289             152,670
Cook                     Cook County                       986,397              1,014,381                     0         3,592,955                29,560              90,296                    0                   0
                         State Total                     5,268,261              4,594,767           11,639,483          7,495,687               107,414           5,463,749            1,536,289             152,670
*Includes State's Attorney Records Automation Fund.




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CIRCUIT CLERK DISBURSEMENT OF FUNDS

                                                                                                                  FEES OF OTHERS (CONTINUED)
                                                  PROBTION AND                                                                                      TESTING &
          CIRCUIT             COUNTY                                   DISPUTE RESOLUTION         MANDATORY                REJECTION OF                                 COUNTY HEALTH            TRAFFIC SAFETY          TOTAL FEES OF
                                                  COURT SERVICES                                                                                   ELECTRONIC
                                                                              FUND               ARBITRATION FEE              AWARD                                         FUND                    SCHOOL                 OTHERS *
                                                      FUND                                                                                         MONITORING
1st........             Alexander                              19,288                      0                       0                      0                     438                      0                    5,130                    93,045
                        Jackson                                75,690                      7                       0                       0                      0                      0                     5,575                 382,424
                        Johnson                                22,885                      0                       0                       0                      0                      0                    7,800                  170,062
                        Massac                                 48,596                      0                       0                       0                      0                      0                  28,894                   216,688
                        Pope                                   14,866                      0                       0                       0                      0                      0                         0                   58,202
                        Pulaski                                 12,723                     0                       0                       0                    200                      0                  19,890                   429,427
                        Saline                                 64,023                      0                       0                       0                    254                      0                         0                  312,536
                        Union                                  62,677                      0                       0                       0                      0                      0                    3,240                   201,919
                        Williamson                             90,572                  1,637                       0                       0                      0                      0                         0                  697,153
1st........             Circuit Total                         411,319                 1,644                        0                       0                    891                      0                  70,529                 2,561,456
2nd.......              Crawford                               51,290                      0                       0                       0                      0                      0                         0                  153,306
                        Edwards                                16,396                      0                       0                       0                      0                      0                         0                   57,884
                        Franklin                               76,897                      0                       0                       0                     23                      0                         0                  369,142
                        Gallatin                                11,527                     0                       0                       0                    275                      0                         0                   44,949
                        Hamilton                                21,758                     0                       0                       0                      0                      0                         0                   92,886
                        Hardin                                 13,095                      0                       0                      0                       0                      0                         0                   48,763
                        Jefferson                              86,070                      0                       0                       0                    226                      0                        25                  315,525
                        Lawrence                               31,394                      0                       0                       0                      0                      0                         0                  117,270
                        Richland                               59,449                      0                       0                       0                      0                      0                         0                  163,758
                        Wabash                                 24,576                      0                       0                       0                      0                      0                         0                  161,596
                        Wayne                                  56,008                      0                       0                       0                      0                      0                         0                  140,721
                        White                                  45,299                      0                       0                       0                      0                      0                         0                 188,430
2nd.......              Circuit Total                        493,758                       0                       0                       0                    524                      0                        25               1,854,229
3rd.......              Bond                                   46,230                      0                       0                       0                      0                      0                         0                  139,229
                        Madison                              270,002                       0                 340,600                       0                      0                      0                         0               1,006,658
3rd.......              Circuit Total                         316,233                      0                 340,600                       0                      0                      0                         0               1,145,887
4th.......              Christian                              97,415                      0                       0                       0                44,389                       0                         0                  354,619
                        Clay                                   52,154                      0                       0                       0                 4,679                       0                         0                  167,115
                        Clinton                                94,126                      0                       0                       0                  3,421                      0                         0                  265,575
                        Effingham                             102,317                      0                       0                      0                   2,551                      0                   14,210                   323,766
                        Fayette                                80,025                      0                       0                      0                   7,535                      0                         0                 404,130
                        Jasper                                 27,687                      0                       0                       0                  2,777                      0                         0                   96,522
                        Marion                                 98,413                      0                       0                       0                21,647                       0                        50                 284,547
                        Montgomery                              71,331                     0                       0                       0                 6,973                       0                         0                  451,593
                        Shelby                                 49,204                      0                       0                       0                13,932                       0                    1,750                   177,534
4th.......              Circuit Total                         672,673                      0                       0                       0               107,903                       0                   16,010                2,525,401
5th.......              Clark                                  16,900                      0                       0                       0                  9,151                      0                         0                 109,882
                        Coles                                 207,318                      0                       0                       0                22,712                       0                   11,167                   551,408
                        Cumberland                             15,654                      0                       0                       0                    173                      0                      900                    78,362
                        Edgar                                  34,883                      0                       0                       0                  3,361                      0                         0                   96,054
                        Vermilion                              87,193                      0                      20                       0                46,013                       0                         0                  532,785
5th.......              Circuit Total                         361,947                      0                      20                       0                81,409                       0                   12,067                1,368,491
*Includes Substance Abuse Services Fund, Working Cash Fund, County Fund to Finance DUI Education, Arrestee's Medical Costs Fund, Records Automation Fund, Sexually Transmitted Disease Test Fund, Guardian ad litem, State Appellate
Defender, Neutral Site Custody Exchange Fund and Children's Waiting Room Fund, Mortgage Foreclosure Mediation Program Fees, Children's Advocacy Center, Court Appointed Special Advocate, Drug Court, Judicial Facility Fees, Mental Health
Court, Yourth Diversion Program, Public Defender Records Automation Fund, and Other.




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CIRCUIT CLERK DISBURSEMENT OF FUNDS

                                                                                                                   FEES OF OTHERS (CONTINUED)
                                                  PROBTION AND                                                                                      TESTING &
          CIRCUIT             COUNTY                                   DISPUTE RESOLUTION         MANDATORY                REJECTION OF                                  COUNTY HEALTH            TRAFFIC SAFETY          TOTAL FEES OF
                                                  COURT SERVICES                                                                                   ELECTRONIC
                                                                              FUND               ARBITRATION FEE              AWARD                                          FUND                    SCHOOL                 OTHERS *
                                                      FUND                                                                                         MONITORING
6th........             Champaign                            466,409                      0                        0                      0                       0                      0                   53,221                1,364,536
                        DeWitt                                 36,990                     0                        0                      0                  2,478                       0                    3,350                   143,875
                        Douglas                                 51,356                    0                        0                      0                       0                      0                    2,146                   187,246
                        Macon                                 301,207                     0                        0                      0                     536                      0                   15,100                 1,150,245
                        Moultrie                               42,723                     0                        0                      0                       0                      0                    1,400                   143,917
                        Piatt                                  44,161                     0                        0                       0                    490                      0                    1,965                   133,852
6th........             Circuit Total                        942,847                      0                        0                       0                 3,504                       0                   77,182                 3,123,671
7th........             Greene                                 17,607                     0                        0                       0                 2,343                       0                        0                   103,063
                        Jersey                                 35,741                     0                        0                       0                      0                      0                        0                   300,299
                        Macoupin                               46,979                     0                        0                       0                 1,047                       0                        0                   244,550
                        Morgan                                  53,581                    0                        0                       0                  1,115                      0                        0                   240,502
                        Sangamon                             134,696                      0                        0                       0                  2,765                      0                        0                   414,661
                        Scott                                    6,972                    0                        0                       0                    950                      0                        0                     61,227
7th........             Circuit Total                         295,576                     0                        0                       0                 8,220                       0                         0               1,364,302
8th........             Adams                                340,964                      0                        0                      0                     469                      0                        0                   934,451
                        Brown                                  12,638                     0                        0                      0                  3,467                       0                        0                     42,548
                        Calhoun                                  9,733                    0                        0                      0                  4,085                       0                        0                     37,924
                        Cass                                   34,138                     0                        0                      0                       0                      0                        0                   119,899
                        Mason                                  52,747                     0                        0                      0                       0                      0                        0                   207,320
                        Menard                                 30,768                     0                        0                       0                      0                      0                        0                     81,119
                        Pike                                 100,284                      0                        0                       0                      0                      0                        0                   323,553
                        Schuyler                               38,536                     0                        0                       0                  5,550                      0                        0                   118,505
8th........             Circuit Total                        619,808                      0                        0                       0                13,570                       0                        0                 1,865,319
9th........             Fulton                                 62,297                     0                        0                       0                 3,066                       0                         0                   371,151
                        Hancock                                20,464                     0                        0                       0                14,194                       0                         0                  251,645
                        Henderson                               12,379                    0                        0                       0                 3,369                       0                         0                    96,888
                        Knox                                   66,082                     0                        0                       0                16,460                       0                         0                  230,365
                        McDonough                              82,543                     0                        0                       0                      0                      0                    1,840                   367,702
                        Warren                                 18,807                     0                        0                       0                  2,871                      0                         0                  105,447
9th........             Circuit Total                         262,572                     0                        0                      0                 39,961                       0                    1,840                 1,423,197
10th......              Marshall                                 8,375                    0                        0                      0                       0                      0                        0                     56,726
                        Peoria                               685,003                      0                        0                      0                   1,566                     12                        0                1,749,950
                        Putnam                                   9,208                    0                        0                      0                       0                      0                      416                     45,862
                        Stark                                  16,839                     0                        0                       0                      0                      0                        0                     57,526
                        Tazewell                              219,656                     0                        0                       0                      0                      0                        0                   641,627
10th......              Circuit Total                        939,082                      0                        0                       0                  1,566                     12                      416                 2,551,691
11th......              Ford                                   47,325                     0                    2,608                       0                 7,403                       0                        0                   130,360
                        Livingston                             97,432                     0                        0                       0                 5,430                       0                        0                  306,089
                        Logan                                  45,580                     0                        0                       0                 3,987                       0                        0                    171,722
                        McLean                                319,642                     0                   31,944                    600                   7,124                      0                 156,670                 1,777,264
                        Woodford                               67,594                     0                        0                       0                 2,820                       0                         0                  231,459
11th......              Circuit Total                         577,573                     0                   34,552                    600                 26,764                       0                 156,670                 2,616,895
*Includes Substance Abuse Services Fund, Working Cash Fund, County Fund to Finance DUI Education, Arrestee's Medical Costs Fund, Records Automation Fund, Sexually Transmitted Disease Test Fund, Guardian ad litem, State Appellate
Defender, Neutral Site Custody Exchange Fund and Children's Waiting Room Fund, Mortgage Foreclosure Mediation Program Fees, Children's Advocacy Center, Court Appointed Special Advocate, Drug Court, Judicial Facility Fees, Mental Health
Court, Yourth Diversion Program, Public Defender Records Automation Fund, and Other.




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CIRCUIT CLERK DISBURSEMENT OF FUNDS

                                                                                                                                    FEES OF OTHERS (CONTINUED)
                                                          PROBTION AND                                                                                                    TESTING &
            CIRCUIT                COUNTY                                         DISPUTE RESOLUTION             MANDATORY                   REJECTION OF                                         COUNTY HEALTH               TRAFFIC SAFETY               TOTAL FEES OF
                                                          COURT SERVICES                                                                                                 ELECTRONIC
                                                                                         FUND                   ARBITRATION FEE                 AWARD                                                 FUND                       SCHOOL                      OTHERS *
                                                              FUND                                                                                                       MONITORING
12th......                 Will                                        569,883                           0                     129,964                     21,300                           0                          0                       7,110                  3,878,721
12th......                 Circuit Total                               569,883                           0                     129,964                     21,300                           0                          0                       7,110                  3,878,721
13th......                 Bureau                                        35,513                          0                           0                          0                         430                          0                       2,240                    226,285
                           Grundy                                       44,394                       2,100                           0                          0                         595                          0                           0                    287,434
                           LaSalle                                     135,004                           0                           0                          0                         580                          0                     39,675                     351,349
13th......                 Circuit Total                               214,912                       2,100                           0                          0                       1,605                          0                     41,915                     865,068
14th......                 Henry                                       136,827                           0                       7,408                          0                      40,372                          0                           0                     529,172
                           Mercer                                       22,277                           0                       2,272                          0                           0                          0                           0                      87,810
                           Rock Island                                 280,185                           0                      26,634                        700                      90,940                          0                           0                  1,062,965
                           Whiteside                                   137,147                           0                      12,472                          0                      48,056                          0                           0                    631,224
14th......                 Circuit Total                               576,435                           0                      48,786                        700                     179,368                          0                           0                   2,311,171
15th......                 Carroll                                      31,359                           0                           0                          0                         690                          0                      11,725                    162,420
                           Jo Daviess                                   27,271                           0                           0                          0                           0                          0                     16,600                     197,543
                           Lee                                          98,845                           0                           0                          0                       3,054                          0                     28,987                     545,184
                           Ogle                                        137,021                           0                           0                          0                      18,097                          0                     63,480                     648,453
                           Stephenson                                   91,254                           0                           0                          0                       4,260                          0                     31,850                      543,113
15th......                 Circuit Total                               385,750                           0                           0                          0                      26,101                          0                    152,642                   2,096,713
16th......                 Kane                                        986,897                           0                      95,457                          0                      13,623                          0                    249,739                    5,817,151
16th......                 Circuit Total                               986,897                           0                      95,457                          0                      13,623                          0                    249,739                    5,817,151
17th......                 Boone                                        78,683                           0                       7,538                        200                           0                          0                     37,988                     309,044
                           Winnebago                                   347,682                           0                      47,683                      7,825                           0                          0                    105,603                   1,873,631
17th......                 Circuit Total                               426,366                           0                      55,221                      8,025                           0                          0                    143,591                   2,182,675
18th......                 DuPage                                    1,532,009                           0                     161,468                          0                       1,974                          0                           0                  2,741,824
18th......                 Circuit Total                             1,532,009                           0                     161,468                          0                       1,974                          0                           0                  2,741,824
19th......                 Lake                                      1,358,240                           0                     118,076                     26,200                     118,212                          0                    347,340                   5,868,718
19th......                 Circuit Total                             1,358,240                           0                     118,076                     26,200                     118,212                          0                    347,340                   5,868,718
20th......                 Monroe                                       42,668                           0                           0                          0                           0                          0                           0                    206,298
                           Perry                                        32,760                           0                           0                          0                       6,820                          0                           0                    128,648
                           Randolph                                     59,572                           0                           0                          0                           0                          0                           0                    164,107
                           St.Clair                                    227,909                           0                     307,567                      4,505                       5,324                          0                           0                 3,048,532
                           Washington                                   18,870                           0                           0                          0                           0                          0                           0                      94,749
20th......                 Circuit Total                               381,778                           0                     307,567                      4,505                      12,144                          0                           0                  3,642,333
21st......                 Iroquois                                     26,816                           0                           0                          0                          65                          0                           0                     211,063
                           Kankakee                                     78,678                       3,008                           0                          0                           0                          0                         220                    620,900
21st......                 Circuit Total                               105,494                       3,008                           0                          0                          65                          0                         220                    831,964
22nd.....                  McHenry                                     246,815                           0                      51,788                      4,100                      51,048                          0                    342,310                   2,163,160
22nd.....                  Circuit Total                               246,815                           0                      51,788                      4,100                      51,048                          0                    342,310                   2,163,160
23rd.....                  DeKalb                                      106,610                           0                           0                          0                           0                          0                     26,701                     938,032
                           Kendall                                     109,900                           0                           0                          0                      25,130                          0                     33,526                     308,872
23rd.....                  Circuit Total                               216,510                           0                           0                          0                      25,130                          0                     60,227                  1,246,904
                           Downstate Total                          12,894,477                       6,752                   1,343,500                     65,430                     713,582                         12                  1,679,833                 56,046,941
Cook                       Cook County                                 441,372                     136,613                   1,573,198                    322,900                           0                     41,174                    742,308                  9,464,831
                           State Total                              13,335,849                     143,365                   2,916,698                    388,330                     713,582                     41,186                  2,422,141                  65,511,772
*Includes Substance Abuse Services Fund, Working Cash Fund, County Fund to Finance DUI Education, Arrestee's Medical Costs Fund, Records Automation Fund, Sexually Transmitted Disease Test Fund, Guardian ad litem, State Appellate Defender, Neutral Site Custody Exchange
Fund and Children's Waiting Room Fund, Mortgage Foreclosure Mediation Program Fees, Children's Advocacy Center, Court Appointed Special Advocate, Drug Court, Judicial Facility Fees, Mental Health Court, Yourth Diversion Program, Public Defender Records Automation Fund, and
Other.




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CIRCUIT CLERK DISBURSEMENT OF FUNDS

                                                                                                       MISCELLANEOUS DISBURSEMENTS
                                                                                                                                       ABANDONED                ABANDONED
              CIRCUIT               COUNTY      RESTITUTION TO      WORK RELEASE PAID    WORK RELEASE PAID       EXPENSES FOR                                                      DEPOSITS FROM
                                                                                                                                     UNCLAIMED BAIL TO       UNCLAIMED PROP. TO
                                                 CRIME VICTIM       TO COUNTY BOARD       TO INDIVIDUALS         MINOR'S NEEDS                                                     JUDICIAL SALES
                                                                                                                                         COUNTY                    STATE
1st........              Alexander                         21,383                   0                        0                   0                       0                    0                     0
                         Jackson                           60,161                   38                       0                   0                       0                    0                     0
                         Johnson                           19,967                 416                        0                   0                       0                 1,230                    0
                         Massac                            70,074                 720                        0                   0                       0                    0                     0
                         Pope                              27,160                   0                        0                   0                       0                    0                     0
                         Pulaski                           10,877                   0                        0                   0                       0                    0                     0
                         Saline                            42,079                    3                       0                   0                       0                    0                     0
                         Union                             47,061                   0                        0                   0                       0                 1,093                    0
                         Williamson                        99,267                   0                        0                   0                       0                    0                     0
1st........              Circuit Total                    398,028                1,176                       0                   0                       0                 2,323                    0
2nd.......               Crawford                          35,827                 180                        0                   0                       0                    0                     0
                         Edwards                           14,916                1,356                       0                   0                       0                    0                     0
                         Franklin                          68,248                   0                        0                   0                       0                 4,370                    0
                         Gallatin                          13,477                   0                        0                   0                       0                    0                     0
                         Hamilton                          53,537               12,186                       0                   0                       0                    0                     0
                         Hardin                            13,411                   0                        0                   0                       0                    0                     0
                         Jefferson                         62,285                  168                       0                   0                       0                    0                     0
                         Lawrence                          14,364                   0                        0                   0                       0                    0                     0
                         Richland                          63,561                   0                        0                   0                       0                    0                     0
                         Wabash                            22,417                   0                        0                   0                       0                    0                     0
                         Wayne                             32,616                   0                        0                   0                       0                    0                     0
                         White                             56,982                1,444                       0                   0                       0                    0                     0
2nd.......               Circuit Total                    451,641               15,334                       0                   0                       0                 4,370                    0
3rd.......               Bond                              22,733                   0                        0                   0                       0                    0                     0
                         Madison                          322,025                   0                        0                   0                       0               44,704                     0
3rd.......               Circuit Total                    344,757                   0                        0                   0                       0               44,704                     0
4th.......               Christian                         41,368                   0                        0                   0                       0                 3,164                    0
                         Clay                              36,656                   0                        0                   0                       0                    0                     0
                         Clinton                           90,798                9,999                       0                   0                       0                 3,444                    0
                         Effingham                        124,924                   0                        0                   0                       0                 2,227                    0
                         Fayette                           38,032                  163                       0                   0                       0                    0                     0
                         Jasper                            20,579                   36                       0                   0                       0                    0                     0
                         Marion                            87,477                   0                        0                   0                       0                    0                     0
                         Montgomery                        53,602                   0                        0                   0                       0                    0                     0
                         Shelby                            39,602                 360                        0                   0                       0                    0                     0
4th.......               Circuit Total                    533,038               10,558                       0                   0                       0                 8,836                    0
5th.......               Clark                             16,028                2,735                       0                   0                       0                    0                     0
                         Coles                            104,383                   31                       0                   0                       0                 2,377             206,529
                         Cumberland                        17,704                   0                        0                   0                       0                 1,261                    0
                         Edgar                             18,090                  312                       0                   0                       0                    0                     0
                         Vermilion                         57,952                   0                        0                   0                       0                    0                     0
5th.......               Circuit Total                    214,158                3,078                       0                   0                       0                 3,638             206,529



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CIRCUIT CLERK DISBURSEMENT OF FUNDS

                                                                                                        MISCELLANEOUS DISBURSEMENTS
                                                                                                                                        ABANDONED                ABANDONED
             CIRCUIT               COUNTY      RESTITUTION TO       WORK RELEASE PAID     WORK RELEASE PAID       EXPENSES FOR                                                      DEPOSITS FROM
                                                                                                                                      UNCLAIMED BAIL TO       UNCLAIMED PROP. TO
                                                CRIME VICTIM        TO COUNTY BOARD        TO INDIVIDUALS         MINOR'S NEEDS                                                     JUDICIAL SALES
                                                                                                                                          COUNTYY                   STATE
6th.......              Champaign                        139,550                  1,215                       0                   0                       0                     0                    0
                        DeWitt                            23,602                 7,830                        0                   0                       0                    0                     0
                        Douglas                           46,320                 2,960                        0                   0                       0                   359                    0
                        Macon                            257,741                 3,564                        0                   0                       0                    0             1,077,574
                        Moultrie                          22,857                   485                        0                   0                       0                 1,411                    0
                        Piatt                             40,168                 3,077                        0                   0                       0                    0                     0
6th.......              Circuit Total                    530,238                 19,131                       0                   0                       0                 1,770            1,077,574
7th.......              Greene                            27,058                     0                        0                   0                       0                    0                     0
                        Jersey                            45,797                   540                        0                   0                       0                    0                     0
                        Macoupin                          47,667                 2,182                        0                   0                       0                 6,994                    0
                        Morgan                            65,848                     0                        0                   0                       0                 8,172                    0
                        Sangamon                         226,951                     0                        0                   0                       0                23,038                    0
                        Scott                              6,000                   300                        0                   0                       0                    0                     0
7th.......              Circuit Total                    419,322                 3,022                        0                   0                       0                38,204                    0
8th.......              Adams                            305,296                10,147                        0                   0                       0                 3,258                    0
                        Brown                             21,405                 2,415                        0                   0                       0                    0                     0
                        Calhoun                           13,924                 1,927                        0                   0                       0                     0                    0
                        Cass                              26,416                   328                        0                   0                       0                  340                     0
                        Mason                             31,010                 4,692                        0               7,515                       0                    0                     0
                        Menard                            18,473                     0                        0                   0                       0                    0                     0
                        Pike                             165,085                 5,900                        0                   0                       0                 3,117                    0
                        Schuyler                          17,649                 3,696                        0                   0                       0                    0                     0
8th.......              Circuit Total                    599,256                29,105                        0               7,515                       0                 6,716                    0
9th.......              Fulton                            58,622                     0                        0                   0                       0                    0                     0
                        Hancock                           26,606                 4,150                        0                   0                       0                    0                     0
                        Henderson                         34,216                 6,675                        0                   0                       0                 2,268                    0
                        Knox                              47,661                   592                        0                   0                       0                    0                     0
                        McDonough                         59,592                     0                        0                   0                       0                    0                     0
                        Warren                            33,656                     0                        0                   0                       0                 2,258                    0
9th.......              Circuit Total                    260,354                11,417                        0                   0                       0                 4,526                    0
10th.....               Marshall                          17,254                     0                        0                   0                       0                    0                     0
                        Peoria                           196,171                     0                        0                   0                       0                    0                     0
                        Putnam                            16,952                     0                        0                   0                       0                     0                    0
                        Stark                              5,355                 3,090                        0                   0                       0                    0                     0
                        Tazewell                                0                9,032                        0                   0                       0                    0                     0
10th.....               Circuit Total                    235,732                12,122                        0                   0                       0                    0                     0
11th.....               Ford                              11,108                     0                        0                   0                       0                    0                     0
                        Livingston                        48,424                14,578                        0                   0                       0                    0                     0
                        Logan                             58,917                     0                        0                   0                       0                 4,014              168,126
                        McLean                           370,624                     0                        0                   0                       0                 8,135             650,739
                        Woodford                          95,525                     0                        0                   0                       0                 6,885                    0
11th.....               Circuit Total                    584,599                14,578                        0                   0                       0                19,034             818,865



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CIRCUIT CLERK DISBURSEMENT OF FUNDS
                                                                                                            MISCELLANEOUS DISBURSEMENTS
                                                                                                                                            ABANDONED                ABANDONED
             CIRCUIT                COUNTY      RESTITUTION TO       WORK RELEASE PAID       WORK RELEASE PAID       EXPENSES FOR                                                        DEPOSITS FROM
                                                                                                                                          UNCLAIMED BAIL TO       UNCLAIMED PROP. TO
                                                 CRIME VICTIM        TO COUNTY BOARD          TO INDIVIDUALS         MINOR'S NEEDS                                                       JUDICIAL SALES
                                                                                                                                              COUNTY                    STATE
12th......              Will                              934,055                        0                       0                   0                        0               153,994                      0
12th......              Circuit Total                     934,055                        0                       0                   0                        0               153,994                      0
13th......              Bureau                             51,806                        0                       0                   0                        0                  1,514                     0
                        Grundy                             97,582                28,530                          0                   0                        0                 2,060                      0
                        LaSalle                           200,658                14,108                          0                   0                        0                 8,048                      0
13th......              Circuit Total                     350,047                42,638                          0                   0                        0                 11,622                     0
14th......              Henry                                5,372                  614                          0               3,543                        0                     0                     439
                        Mercer                              35,553                  635                          0              16,666                        0                     0                      0
                        Rock Island                       177,284                 5,298                          0              6,700                         0                     0                      0
                        Whiteside                          80,794                 3,100                          0              25,982                        0                     0                      0
14th......              Circuit Total                     299,003                 9,647                          0              52,891                        0                     0                     439
15th......              Carroll                            23,697                   568                          0                   0                        0                  1,305                     0
                        Jo Daviess                         61,168                  2,701                         0                   0                        0                 2,205                      0
                        Lee                                97,944                        0                       0               2,050                        0                     0                      0
                        Ogle                               93,824                 6,024                          0                   0                        0                     0                      0
                        Stephenson                         74,025                 9,225                          0                   0                        0                 6,166                      0
15th......              Circuit Total                     350,658                 18,518                         0               2,050                        0                 9,676                      0
16th......              Kane                              817,308                        0                       0                   0                        0                94,818                      0
16th......              Circuit Total                     817,308                        0                       0                   0                        0                94,818                      0
17th......              Boone                              71,180                20,576                          0                   0                        0                30,263                      0
                        Winnebago                         327,647                 5,869                          0                   0                        0                     0               127,953
17th......              Circuit Total                     398,827                26,445                          0                   0                        0                30,263               127,953
18th......              DuPage                           1,257,912               66,453                          0                   0                        0              3,825,371                     0
18th......              Circuit Total                    1,257,912               66,453                          0                   0                        0              3,825,371                     0
19th......              Lake                             1,202,654                 1,871                         0                   13                       0               124,149                      0
19th......              Circuit Total                    1,202,654                 1,871                         0                   13                       0               124,149                      0
20th......              Monroe                             49,301                        0                       0                   0                        0                  1,741                     0
                        Perry                              24,202                        0                       0                   0                        0                     0                      0
                        Randolph                           68,806                        0                       0                   0                        0                     0                      0
                        St. Clair                          46,151                        0                       0                   0                        0                  9,575                     0
                        Washington                         72,763                        0                       0                   0                        0                     0                      0
20th......              Circuit Total                     261,224                        0                       0                   0                        0                 11,316                     0
21st......              Iroquois                           20,777                        0                       0                   0                        0                  1,671                     0
                        Kankakee                           24,104                 4,632                          0                   0                        0                     0                      0
21st......              Circuit Total                      44,881                 4,632                          0                   0                        0                  1,671                     0
22nd.....               McHenry                           355,210                 3,180                          0                   0                        0                19,224               53,970
22nd.....               Circuit Total                     355,210                 3,180                          0                   0                        0                19,224               53,970
23rd.....               DeKalb                             113,695                       0                       0                   0                        0                22,999                      0
                        Kendall                           164,125                 15,118                         0               1,590                        0                 8,018                      0
23rd.....               Circuit Total                     277,819                 15,118                         0               1,590                        0                 31,017                     0
                        Downstate Total                 11,120,720              308,022                          0             64,059                         0             4,447,241             2,285,330
Cook                    Cook County                       401,454                        0                       0                   0                        0             5,402,340             2,787,331
                        State Total                     11,522,174              308,022                          0             64,059                         0              9,849,581            5,072,661




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CIRCUIT CLERK DISBURSEMENT OF FUNDS

                                                                                                             MISCELLANEOUS DISBURSEMENTS (CONTINUED)

              CIRCUIT               COUNTY    DEPOSITS ALL OTHER       REIM. LOCAL                                                                             TOTAL MISCELLANEOUS     GRAND TOTAL ALL
                                                                       ANTI-CRIME             BAIL REFUNDS        OTHER REFUNDS         OTHER DISBURSEMENTS
                                                 CATEGORIES                                                                                                       DISBURSEMENTS        FUNDS DISBURSED
                                                                        PROGRAM
1st........              Alexander                                 0                     0              65,450                    508                 11,742                 99,083               509,401
                         Jackson                                   0                   662             153,970                    505                 81,075                 296,411            5,250,390
                         Johnson                                   0                     0              27,741                    229                 22,078                  71,659             1,572,367
                         Massac                                    0                     2               25,139                   777                 39,174                 135,885            2,246,662
                         Pope                                      0                     0                7,611                    0                   3,052                 37,824               391,727
                         Pulaski                                   0             66,894                 33,330                6,738                  135,682                 253,522             2,667,112
                         Saline                                    0             13,640                 47,694                     0                  41,630                145,046             3,530,378
                         Union                                     0                 1,967              97,081                    536                 25,277                 173,014            1,920,072
                         Williamson                                0                  7,755            148,784                    438                166,351                422,596             11,215,077
1st........              Circuit Total                             0             90,920                606,800                9,731                  526,061               1,635,040           29,303,185
2nd.......               Crawford                                  0                  1,891             116,873                   365                 18,024                 173,159             2,870,151
                         Edwards                                   0                 2,814                4,217                    0                   7,670                 30,973               844,435
                         Franklin                                  0                     0             168,395                    273                 58,024                 299,311            4,983,555
                         Gallatin                                  0             16,892                  4,478                     83                   942                   35,872              667,095
                         Hamilton                                  0                 1,700              37,874                      3                  4,117                 109,417            1,200,968
                         Hardin                                    0                 1,445               7,433                     0                      0                   22,289              380,601
                         Jefferson                                 0                   350              153,321                    55                 51,683                267,862             5,345,935
                         Lawrence                                  0                     0              92,592                    279                  7,794                 115,028            2,064,749
                         Richland                                  0             20,395                 47,700                 744                     9,545                 141,945            2,450,475
                         Wabash                                    0                  6,217             14,694                    197                  8,113                  51,639            1,717,680
                         Wayne                                     0             66,741                 35,298                     96                  9,434                144,185             2,036,702
                         White                                     0             36,496                  6,881                     70                 21,010                122,884             2,085,500
2nd.......               Circuit Total                             0            154,941                689,757                2,165                  196,356               1,514,563           26,647,847
3rd.......               Bond                               1,738                        0              65,922                    190                 19,644                 110,227            2,264,531
                         Madison                           25,000                        0                   0            1,766,230                  368,687               2,526,646            30,211,777
3rd.......               Circuit Total                     26,738                        0              65,922            1,766,420                  388,331               2,636,872           32,476,307
4th.......               Christian                                 0                 7,940             116,020                1,073                   29,946                 199,511             4,115,871
                         Clay                                      0                 2,184              67,835                    101                  6,438                 113,213             1,932,109
                         Clinton                                   0                  1,111             95,629                    394                 21,573                222,948             3,263,218
                         Effingham                                 0                 2,486             108,538                    159                 34,988                 273,323            4,029,112
                         Fayette                                   0             25,539                228,595                    106                 42,200                334,635             3,138,248
                         Jasper                                    0                     0               21,821                    30                  3,086                  45,552              931,471
                         Marion                                    0                     0             129,068                1,102                   51,094                268,740             5,933,524
                         Montgomery                                0                 23,153              86,311               1,700                   43,814                208,579             4,058,240
                         Shelby                                61                    4,908              33,829                3,512                    9,629                  91,902            2,539,667
4th.......               Circuit Total                         61                67,320                887,647                8,177                  242,767               1,758,403           29,941,461
5th.......               Clark                                971                       40              32,956                     0                  22,431                  75,161             1,975,136
                         Coles                                     0                   792              123,532                   937                148,951                 587,532            6,441,403
                         Cumberland                                0                     0              21,048                     0                  16,941                 56,954             1,226,644
                         Edgar                                     0                     0              40,559                     18                 25,943                 84,922             2,194,961
                         Vermilion                                 0                   885             752,449                     0                    656                  811,943           11,089,480
5th.......               Circuit Total                        971                     1,717            970,545                    955                214,922               1,616,512           22,927,623




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CIRCUIT CLERK DISBURSEMENT OF FUNDS

                                                                                                            MISCELLANEOUS DISBURSEMENTS (CONTINUED)

             CIRCUIT              COUNTY     DEPOSITS ALL OTHER       REIM. LOCAL                                                                             TOTAL MISCELLANEOUS     GRAND TOTAL ALL
                                                                      ANTI-CRIME             BAIL REFUNDS        OTHER REFUNDS         OTHER DISBURSEMENTS
                                                CATEGORIES                                                                                                       DISBURSEMENTS        FUNDS DISBURSED
                                                                       PROGRAM
6th.......              Champaign                                 0                 8,900             967,208               44,316                  367,943               1,529,132           19,267,387
                        DeWitt                                    0                 6,212              44,556                 664                    24,552                 107,417            2,109,585
                        Douglas                            5,458                      122              80,028                     0                      0                  135,247            3,234,547
                        Macon                                     0                 12,911           1,391,265               1,710                  309,612               3,054,377           19,306,489
                        Moultrie                             750                        0              29,278                1,868                   14,358                  71,007             2,278,212
                        Piatt                                     0                     0              70,989                    508                 13,572                 128,314            1,822,969
6th.......              Circuit Total                      6,208                28,145               2,583,325             49,066                   730,037               5,025,493           48,019,188
7th.......              Greene                                    0                     0              59,810                    96                  97,387                 184,352             1,772,117
                        Jersey                                    0                     0             102,545                1,436                   88,293                 238,611            2,751,390
                        Macoupin                                  0                  2,561             128,553               2,054                   63,764                 253,775            4,779,002
                        Morgan                                    0                 4,312              44,491                     0                 137,360                260,183              4,711,113
                        Sangamon                          656,711                   4,122            1,447,232             563,546                  122,383               3,043,982           30,364,686
                        Scott                                     0                   425               15,738               1,070                    5,283                  28,815              671,966
7th.......              Circuit Total                     656,711                   11,421           1,798,368             568,201                  514,469               4,009,717           45,050,275
8th.......              Adams                                     0                  2,255           1,894,641                    0                 141,702               2,357,299            12,721,997
                        Brown                                     0                     0              17,099                    149                 20,650                  61,717              297,536
                        Calhoun                                   0                   145              28,427                 469                     9,333                 54,224               488,923
                        Cass                                      0                   763              41,862                    359                  2,150                  72,218            1,784,257
                        Mason                                     0                  1,615                  0                     0                  13,259                  58,091              721,298
                        Menard                                    0                   571              45,902                    596                  2,752                 68,294             1,433,398
                        Pike                                      0                 4,847              60,835                    935                 20,864                261,584             3,443,012
                        Schuyler                                  0                     0              13,405                    185                140,007                174,942             1,484,658
8th.......              Circuit Total                             0             10,196               2,102,172               2,693                  350,716               3,108,368           22,375,079
9th.......              Fulton                                    0                     0              48,936                9,399                     614                  117,570            5,688,327
                        Hancock                                   0                     0              25,901                3,171                    2,514                 62,342              2,511,931
                        Henderson                                 0                     0              45,589                     0                  29,332                118,080             1,376,945
                        Knox                                      0                     0             289,030                7,418                   56,221                400,922              8,111,267
                        McDonough                                 0                     0              47,409                     0                  40,544                147,545             4,242,331
                        Warren                                    0                 2,041              33,956                    557                 15,223                  87,691            2,713,544
9th.......              Circuit Total                             0                 2,041             490,822               20,544                  144,448                 934,151           24,644,346
10th.....               Marshall                          90,521                        0              24,245                     0                   5,737                 137,757            1,457,144
                        Peoria                                    0                 4,992             726,266               53,850                  657,353               1,638,632             6,341,811
                        Putnam                                    0                   100               17,763                    62                  2,686                  37,563              639,830
                        Stark                                     0                     0              16,694                    151                  8,352                 33,642               806,564
                        Tazewell                                  0                     0                   0                     0                      0                    9,032            18,231,539
10th.....               Circuit Total                     90,521                    5,092             784,968               54,062                  674,129               1,856,626           27,476,888
11th.....               Ford                                      0                   971              40,809                    198                 12,244                 65,330              1,719,858
                        Livingston                                0                     0              95,026                    565                106,741                 265,335            5,899,244
                        Logan                                     0                 3,081              159,162                   626                117,126                 511,053            3,814,882
                        McLean                                    0             15,864                867,370               67,161                  193,929               2,173,822           24,972,930
                        Woodford                                  0                     0             308,807                    825                 46,994                459,037             5,150,494
11th.....               Circuit Total                             0             19,916               1,471,175              69,375                  477,034               3,474,576           41,557,407




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CIRCUIT CLERK DISBURSEMENT OF FUNDS

                                                                                                               MISCELLANEOUS DISBURSEMENTS (CONTINUED)

             CIRCUIT                COUNTY     DEPOSITS ALL OTHER       REIM. LOCAL                                                                               TOTAL MISCELLANEOUS      GRAND TOTAL ALL
                                                                        ANTI-CRIME              BAIL REFUNDS        OTHER REFUNDS         OTHER DISBURSEMENTS
                                                  CATEGORIES                                                                                                         DISBURSEMENTS         FUNDS DISBURSED
                                                                         PROGRAM
12th......              Will                                        0                  8,002            3,053,002             339,444                 1,136,350               5,624,846            98,603,234
12th......              Circuit Total                               0                  8,002            3,053,002             339,444                 1,136,350               5,624,846            98,603,234
13th......              Bureau                                      0                   5,657            142,605                    727                 73,965                  276,274             4,984,281
                        Grundy                                 100                    12,100             266,752                    625                 48,689                  456,439             8,165,073
                        LaSalle                                     0                      0                   0                     0                 245,230                 468,044             16,946,722
13th......              Circuit Total                          100                     17,757            409,357                1,352                  367,883                1,200,756            30,096,077
14th......              Henry                                       0                    227             232,433                3,200                   19,938                  265,765             7,380,486
                        Mercer                                      0                 37,947              30,649                    791                  4,049                  126,290              1,960,132
                        Rock Island                                 0                  5,824             758,727                     0                 199,512                1,153,346            24,037,714
                        Whiteside                                   0                  15,122            154,818                    260                 56,184                  336,260             9,580,865
14th......              Circuit Total                               0                  59,121           1,176,626               4,251                  279,683                1,881,661            42,959,198
15th......              Carroll                                     0                    913              60,557                    384                  8,268                   95,693              1,569,195
                        Jo Daviess                                  0                   1,025            106,210                1,585                   16,598                  191,492              1,913,495
                        Lee                                         0                 17,879              94,869               71,901                   70,053                  354,696              5,335,396
                        Ogle                                        0                  4,954             207,373                3,118                    1,050                  316,342             7,078,238
                        Stephenson                                  0                  7,829             143,334                5,125                   78,309                  324,013             5,650,995
15th......              Circuit Total                               0                 32,600             612,343               82,113                  174,279                1,282,236             21,547,319
16th......              Kane                                        0                 162,158           3,356,126                    0                 858,453                5,288,862            61,624,284
16th......              Circuit Total                               0                 162,158           3,356,126                    0                 858,453                5,288,862            61,624,284
17th......              Boone                                       0                 42,353             302,078                     10                 69,574                  536,034             6,892,730
                        Winnebago                                   0                    175            2,220,281              24,695                  506,424                3,213,043            36,473,977
17th......              Circuit Total                               0                 42,528            2,522,359              24,705                  575,998                3,749,078            43,366,707
18th......              DuPage                                      0             232,064               2,875,325           2,444,201                  575,036               11,276,362            107,125,871
18th......              Circuit Total                               0             232,064               2,875,325           2,444,201                  575,036               11,276,362            107,125,871
19th......              Lake                                        0                 14,887           4,800,949               89,703                  641,773                6,875,999            70,223,916
19th......              Circuit Total                               0                 14,887           4,800,949               89,703                  641,773                6,875,999            70,223,916
20th......              Monroe                                      0                      0              185,134                   255                 82,852                  319,283             4,323,701
                        Perry                                       0                  4,689               85,124                    0                  33,212                  147,226             3,052,625
                        Randolph                                    0                      0              96,203                    769                      0                  165,778             4,197,652
                        St. Clair                                   0                      0            1,436,265               6,739                  341,580                1,840,310             35,110,578
                        Washington                                  0                      0               75,212                   205                 39,177                  187,357              1,797,938
20th......              Circuit Total                               0                  4,689            1,877,937               7,967                  496,821                2,659,954            48,482,494
21st......              Iroquois                                    0                      0              60,294                      5                106,284                  189,030              2,655,150
                        Kankakee                                    0                    966             923,855                     0                 234,260                1,187,817            13,251,064
21st......              Circuit Total                               0                    966             984,149                      5                340,544                1,376,848            15,906,214
22nd.....               McHenry                              63,779                   45,516             965,076               60,348                  222,568                1,788,870            38,389,608
22nd.....               Circuit Total                        63,779                   45,516             965,076               60,348                  222,568                1,788,870            38,389,608
23rd.....               DeKalb                                      0                    400              316,593                    0                 221,760                  675,447            12,080,272
                        Kendall                                     0                      0             378,498                1,532                  154,995                  723,875             17,075,117
23rd.....               Circuit Total                               0                    400             695,091                1,532                  376,755                1,399,322             29,155,389
                        Downstate Total                    845,090               1,012,396             35,779,840           5,607,009                10,505,411               71,975,117          957,899,916
Cook                    Cook County                      10,717,988                        0           25,021,057                    0                       0               44,330,170           373,672,384
                        State Total                     11563077.67             1012395.71           60800896.82           5607008.94              10505410.65              116305286.8          1,331,572,301




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            MANDATORY
            MANDATORY
            ARBITRATION
            ARBITRATION
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MANDATORY ARBITRATION PROGRAM STATISTICS

                                                   In Illinois, court-annexed arbitration is a          Explanations for data listed in the charts
                                                   mandatory, non-binding, non-court procedure          on pages 127 - 135:
                   0Gl£

                          15                       designed to resolve civil disputes by utilizing a      Cases Pending/Referred to Arbitration
                                                   neutral third party, called an arbitration panel.          • number of cases filed and pending
                                                   Mandatory arbitration applies rules of evidence               in arbitration program as of a
                                                   and procedure which are less formal than                      certain date.
                                                   those followed in trial courts and usually leads
                                                   to more timely and less expensive resolution           Pre-Hearing Dispositions
                                                                                                               • number of cases disposed prior to
                                                   of disputes.        An arbitration panel can
                                                                                                                 an arbitration hearing.
                                                   recommend, but not impose, a decision. In the
                                                   exercise of its general administrative and             Arbitration Hearings
                                                   supervisory authority over Illinois courts,                 • number of cases that had an
                                                   Supreme Court rules prescribe actions which                    arbitration hearing.
                                                   are subject to mandatory arbitration. The rules        Awards Accepted
                                                   address a range of operational procedures                  • number of arbitration awards that
                                                   including: appointment, qualifications, and                  were accepted by a party.
                                                   compensation of arbitrators; scheduling
                                                                                                          Post-Hearing Dispositions
                                                   of hearings; discovery process; conduct
                                                                                                              • number of cases disposed after an
                                                   of hearings; absence of a party; award and
                                                                                                                 arbitration hearing.
                                                   judgment on an award; rejection of an award;
                                                   and form of oath, award and notice of award.           Awards Rejected
                                                   In the sixteen jurisdictions approved by the               • number of arbitration awards
                                                   Supreme Court to operate such programs,                      rejected by a party.
                                                   all civil cases filed in which the amount of           Post-Rejection Dispositions
                                                   monetary damages being sought falls within                 • number of cases disposed after an
                                                   the program’s jurisdictional limit, are subject to            award was rejected by a party.
                                                   the arbitration process. These modest sized            Arbitration Cases Proceeding to Trial
                                                   claims are amenable to closer management                    • number of cases that went to trial
                                                   and quicker resolution by using a less formal                  after an award was rejected.
                                                   alternative process than a typical trial court
                                                   proceeding.



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MANDATORY ARBITRATION
                                                                         CY2021 Statewide Caseload*

Cases Referred to Arbitration:                                                  12,257                    Pre-Hearing Dispositions:                                                7,462   I
Cases Pending:                                                                  24,879                    Awards Accepted:                                                          495
Arbitration Hearings:                                                            3,248                    Post-Hearing Dispostions:                                                 529
Awards Rejected:                                                                 1,952                    Post-Rejection Dispositions:                                             1,997
Percent of Awards Rejected:                                                       60%                     Arbitration Cases Proceeding to Trial:                                     96
                                                                                                          Total Dispositions:                                                     10,579


                             Mandatory Arbitration Cases                                                                         CY2021 Dispositions
                                                      14,221                                                                                        96
  15,000                          13,960
                    13,283                                                               12,257
                                                                                                                         1,997
  13,000
                                  13,655                               10,117                        ••••••
  11,000

      9,000
                   11,549    •••••••••••••••••••••••••••••••••
                                          12,101
                                                                       7,894              10,707     - .-
      7,000
                    CY17
                             - .- .-
                                   CY18
                                    I             l
                                                      CY19
                                                               -.-.-   CY20
                                                                                7
                                                                                          CY21
                                                                                                 ,
                                                                                                                 529


                                                                                                                 495
                                 Referred to Arbitration          Disposed



                               Cases Disposed Pre-Trial
                                                                                                                                                                          7,462
  99.50%                                                                                 99.10%
                                                                       98.83%
  99.00%
  98.50%
  98.00%
                    98.51%

                                  97.83%
                                                      98.01%                                          -                                D
                                                                                                                                        D


                                                                                                                             Pre-Hearing Dispositions (70%)
                                                                                                                                       D
  97.50%                                                                                                                     Awards Accepted (8%)
  97.00%                                                                                                                                ■
                                                                                                                             Post-Hearing Dispostions (4%)
                     CY17          CY18                CY19             CY20              CY21                                          D
                                                                                                                             Post-Rejection Dispositions (19%)
                                        Percentage of Disposed Cases
                                                                                                                             Arbitration Cases Proceeding to Trial (1%)
Note: CY = Calendar Year
*In 2021, Henry, Mercer, Rock Island and Whiteside Counties only reported case activity between 1/1/2021 and 4/30/2021.


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MANDATORY ARBITRATION
                                                                            CY2021 Circuit Caseload

                                                                  Third Judicial Circuit - Madison County
                                                                                                                                                     Arbitration Cases
 Cases Referred   Cases           Arbitration            Awards        Pre-Hearing           Awards           Post-Hearing        Post-Rejection                                 Total
                                                                                                                                                      Proceeding to
 to Arbitration: Pending:          Hearings:            Rejected:      Dispositions:        Accepted:         Dispositions:        Dispositions:           Trial:            Dispositions:
          532           378             39                  9               477                18                    14                15                     0                    524

                         Mandatory Arbitration Cases                                                                          Cases Disposed Pre-Trial
 800       629                                                                                      101.00%                                                        100.00%     100.00%
                       591       598                        523                                                                    99.49%         99.50%
 600                                         458                              Referred to           100.00%          99.05%
                                                                              Arbitration            99.00%
 400
 200
               564     547     562
                      ••••••••••••••••••••
                                             413    ....    524   ••••••
                                                                              Disposed
                                                                                                     98.00%
                                                                                                                      CY17          CY18           CY19             CY20        CY21
      0
                     __
                     ~~      .~._.,                               - ..
           CY17      CY18 CY19 CY20 CY21
                                                                                                                             --      Percentage of Disposed Cases

                                                                                                                                           ---
                                                                  Eleventh Judicial Circuit - Ford County
                                                                                                                                                      Arbitration Cases
 Cases Referred        Cases      Arbitration            Awards        Pre-Hearing           Awards           Post-Hearing        Post-Rejection                                 Total
                                                                                                                                                       Proceeding to
 to Arbitration:      Pending:     Hearings:            Rejected:      Dispositions:        Accepted:         Dispositions:        Dispositions:                             Dispositions:
                                                                                                                                                            Trial:
          11                38          0                   0               11                  0                     0                   0                                        11
                                                                                   I                            I                                             I0               I
                         Mandatory Arbitration Cases                                                                          Cases Disposed Pre-Trial
  60
                       •••••••••••••••••••••••       ••••••

  40
                15
                     .!...---
                     .!...--
                       13
                            44 - -


                       -·--._   ......
                           16 - -~                  _
                                                                   -   ..
                                                                              Referred to
                                                                              Arbitration
                                                                                                    200.00%
                                                                                                    100.00%
                                                                                                                    100.00%       100.00%        100.00%
                                                                                                                                                          -    100.00%        100.00%


  20                                                         11                                       0.00%
                                                4                             Disposed
            14                     14
                                                        '                                                            CY17          CY18          CY19               CY20        CY21
      0                10                                    11
           CY17       CY18       CY19        CY20           CY21                                                                    Percentage of Disposed Cases

Note: CY = Calendar Year



128       IL COURTS ANNUAL REPORT 2021
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MANDATORY ARBITRATION
                                                                       Eleventh Judicial Circuit - McLean County
                                                                                                                                                               Arbitration Cases
 Cases Referred             Cases            Arbitration        Awards         Pre-Hearing              Awards           Post-Hearing      Post-Rejection                                 Total
                                                                                                                                                                Proceeding to
 to Arbitration:           Pending:           Hearings:        Rejected:       Dispositions:           Accepted:         Dispositions:      Dispositions:                             Dispositions:
                                                                                                                                                                     Trial:
              264                253               14              5                   216                 5                    4                   1                  1                     227

                                 Mandatory Arbitration Cases                                                                             Cases Disposed Pre-Trial
 400
                                209
                                            315                                              I                 100.00%
                                                                                                                          I    98.51%
                                                                                                                                                                        I 98.83%         I
                                                                                                                                                                                        99.10%
                235                                     241        261                                                                      97.83%         98.01%
 300
 200
                               .... ......... --· •••••••
                                  -
                                       -     261                             ..... .
                                                                                        Referred to
                                                                                        Arbitration
                                                                                                                98.00%

                                                                       227                                      96.00%
 100
      0
                194


               CY17
                                203

                               -·- . . -----
                               CY18        CY19
                                                        211


                                                        CY20      CY21
                                                                             - ..
                                                                                        Disposed
                                                                                                                                CY17         CY18           CY19
                                                                                                                                                                    -
                                                                                                                                              Percentage of Disposed Cases
                                                                                                                                                                              CY20       CY21




                                                                             Twelfth Judicial Circuit - Will County
                                                                                                                                                               Arbitration Cases
 Cases Referred             Cases            Arbitration        Awards         Pre-Hearing              Awards           Post-Hearing      Post-Rejection                                 Total
                                                                                                                                                                Proceeding to
 to Arbitration:           Pending:           Hearings:        Rejected:       Dispositions:           Accepted:         Dispositions:      Dispositions:                             Dispositions:
                                                                                                                                                                     Trial:
              75
                    I           2,975              44             24                   21
                                                                                              I           11
                                                                                                                           I    7                   7                   0
                                                                                                                                                                        I                I   46

                                  Mandatory Arbitration Cases                                                                            Cases Disposed Pre-Trial
                    1334
                                        •••••• •••••••
  1500                          •••••••••                                ••••••                                105.00%                                                                 100.00%
                                1019        1117                                                                               99.78%       99.89%
                                                                                                                                                          97.68%
  1000

      500
                    926
                           ~    -·-·-·,
                                 894
                                     :------
                                         •  776
                                                         606
                                                                  75
                                                                         - ..            Referred to
                                                                                         Arbitration
                                                                                         Disposed
                                                                                                               100.00%
                                                                                                                95.00%
                                                                                                                90.00%
                                                                                                                                                                             94.32%


                                                         88              46                                                     CY17         CY18          CY19               CY20       CY21
          0
                    CY17        CY18        CY19        CY20       CY21                                                                       Percentage of Disposed Cases


 Note: CY = Calendar Year



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MANDATORY ARBITRATION
                                                                      Fourteenth Judicial Circuit - Henry County*
                                                                                                                                                                  Arbitration Cases
  Cases Referred Cases                    Arbitration              Awards         Pre-Hearing              Awards           Post-Hearing      Post-Rejection                                 Total
                                                                                                                                                                   Proceeding to
  to Arbitration: Pending:                 Hearings:              Rejected:       Dispositions:           Accepted:         Dispositions:      Dispositions:                             Dispositions:
                                                                                                                                                                        Trial:
          14                 28                   0                   0                 10                    1                   0                    0                  0                   10

                            Mandatory Arbitration Cases                                                                                     Cases Disposed Pre-Trial
 40                                      34
                                                                                                                  200.00%
              26       26                                                                                                       100.00%        100.00%       100.00%           100.00%     100.00%
 30                                                      22                              Referred to              100.00%
                                                                      14                 Arbitration
 20
                    ·•.----..19
                                  ••·················
                                         26
                                                                              ..... .                               0.00%
 10
  0
          CY17
              20
                    -.... •
                    CY18                CY19
                                                         22


                                                        CY20
                                                                       10
                                                                     CY21     - ..
                                                                                         Disposed
                                                                                                                                  CY17          CY18           CY19
                                                                                                                                                                      -
                                                                                                                                                 Percentage of Disposed Cases
                                                                                                                                                                                CY20        CY21




                                                                     Fourteenth Judicial Circuit - Mercer County*
                                                                                                                                                                  Arbitration Cases
  Cases Referred Cases                    Arbitration              Awards         Pre-Hearing              Awards           Post-Hearing      Post-Rejection                                 Total
                                                                                                                                                                   Proceeding to
  to Arbitration: Pending:                 Hearings:              Rejected:       Dispositions:           Accepted:         Dispositions:      Dispositions:                             Dispositions:
                                                                                                                                                                        Trial:
          0                       9               0                   0                 3                     0                   0                    0                   0                   3

                             Mandatory Arbitration Cases                                                                                    Cases Disposed Pre-Trial
                                      -----•..                                ■■■■■■
                                                 ••••
  40
  30
              29       •• •••
                                                        -.••• ..                                                  200.00%
                                                                                                                                100.00%       100.00%        100.00%
                                                                                                                                                                       -    100.00%       100.00%

  20
  10
              10        10
                                         17
                                                   -
                                                        ~


                                                            6
                                                              .           3
                                                                              - ..          Referred to
                                                                                            Arbitration
                                                                                            Disposed
                                                                                                                  100.00%

                                                                                                                    0.00%
                        5                 6                                                                                      CY17           CY18          CY19              CY20        CY21
      0                                                     3             0
           CY17       CY18              CY19            CY20          CY21                                                                       Percentage of Disposed Cases


 Note: CY = Calendar Year
 *In 2021, Henry, Mercer, Rock Island and Whiteside Counties only reported case activity between 1/1/2021 and 7/30/2021.


130       IL COURTS ANNUAL REPORT 2021
                                     Case: 1:22-cv-06478 Document #: 41-1 Filed: 04/12/23 Page 131 of 203 PageID #:580

MANDATORY ARBITRATION
                                                              Fourteenth Judicial Circuit - Rock Island County*
                                                                                                                                                             Arbitration Cases
  Cases Referred Cases                Arbitration            Awards          Pre-Hearing              Awards           Post-Hearing      Post-Rejection                                 Total
                                                                                                                                                              Proceeding to
  to Arbitration: Pending:             Hearings:            Rejected:        Dispositions:           Accepted:         Dispositions:      Dispositions:                             Dispositions:
                                                                                                                                                                   Trial:
           106            326                  8                    0                105                 0                   3                    0                  0                   108

                           Mandatory Arbitration Cases                                                                                 Cases Disposed Pre-Trial
             280
 300                     225                                                                                 100.50%
                                      215                                                                                                               100.00%           100.00%     100.00%
 200
             194      -            -
                      ························
                         186         207
                                                   170
                                                                    108
                                                                           ..... .    Referred to
                                                                                      Arbitration
                                                                                                             100.00%
                                                                                                              99.50%
                                                                                                              99.00%
                                                                                                                            99.48%        99.56%


 100

      0
                               . -         -   -   102   . ......   106    - ..       Disposed
                                                                                                                             CY17          CY18           CY19             CY20        CY21

            CY17        CY18         CY19          CY20             CY21                                                                    Percentage of Disposed Cases



                                                               Fourteenth Judicial Circuit - Whiteside County*
                                                                                                                                                             Arbitration Cases
  Cases Referred Cases                Arbitration            Awards          Pre-Hearing              Awards           Post-Hearing      Post-Rejection                                 Total
                                                                                                                                                              Proceeding to
  to Arbitration: Pending:             Hearings:            Rejected:        Dispositions:           Accepted:         Dispositions:      Dispositions:                             Dispositions:
                                                                                                                                                                   Trial:

           55              53                  1                    0                65                  0                   2                    0                   0                  67

                           Mandatory Arbitration Cases                                                                                 Cases Disposed Pre-Trial
                                . ---···········--                          ..... .
  150
                                       - . 106 .    - -                     - ..                             200.00%

  100

      50
                108
                       ---99


                          93
                                      101


                                      96            85
                                                                    67                 Referred to
                                                                                       Arbitration
                                                                                                             100.00%

                                                                                                               0.00%
                                                                                                                           100.00%       100.00%        100.00%        100.00%       100.00%



                                                                                       Disposed
                 43                                                 55                                                      CY17           CY18          CY19              CY20        CY21
       0
             CY17        CY18         CY19         CY20             CY21                                                                    Percentage of Disposed Cases

 Note: CY = Calendar Year
 *In 2021, Henry, Mercer, Rock Island and Whiteside Counties only reported case activity between 1/1/2021 and 7/30/2021.


131        IL COURTS ANNUAL REPORT 2021
                                   Case: 1:22-cv-06478 Document #: 41-1 Filed: 04/12/23 Page 132 of 203 PageID #:581

MANDATORY ARBITRATION
                                                                        Sixteenth Judicial Circuit - Kane County
                                                                                                                                                           Arbitration Cases
  Cases Referred Cases              Arbitration               Awards        Pre-Hearing             Awards           Post-Hearing      Post-Rejection                                 Total
                                                                                                                                                            Proceeding to
  to Arbitration: Pending:           Hearings:               Rejected:      Dispositions:          Accepted:         Dispositions:      Dispositions:                             Dispositions:
                                                                                                                                                                 Trial:
           1,003           3,508           176                    105              451                 0                  38                 59                    0                   548

                             Mandatory Arbitration Cases                                                                             Cases Disposed Pre-Trial
 3000                                                                                                      101.00%                                                                  100.00%
                 1960                                                                                                     99.83%
                                                                                                                                        99.15%         99.46%
                                                                                    Referred to            100.00%                                                       98.98%
 2000

 1000            598
                           668
                                    866
                                                -   ....... .     1003    ......    Arbitration             99.00%
                                                                                                            98.00%
                                                     373                            Disposed
                        +
                         ············-
                         472- - 552
                                 ----  98 - - 548 -                          ..
                                                                                                                           CY17          CY18           CY19              CY20       CY21
       0
                 CY17     CY18      CY19             CY20         CY21                                                                    Percentage of Disposed Cases
                          -·-·-·-.
                                                                  Seventeenth Judicial Circuit - Boone County
                                                                                                                                                           Arbitration Cases
  Cases Referred Cases              Arbitration               Awards        Pre-Hearing             Awards           Post-Hearing      Post-Rejection                                 Total
                                                                                                                                                            Proceeding to
  to Arbitration: Pending:           Hearings:               Rejected:      Dispositions:          Accepted:         Dispositions:      Dispositions:                             Dispositions:
                                                                                                                                                                 Trial:

            70               29             4                      1               79                  0                  79                    2                   0                  160

                             Mandatory Arbitration Cases                                                                             Cases Disposed Pre-Trial

                                   . - .....
  200                                                              160••••••                               102.00%       100.00%                                     100.00%       100.00%
                         ••• ••••••••••••••••••••
  150
  100
      50
                 51      - 62         69              64    ...          - ..        Referred to
                                                                                     Arbitration
                                                                                     Disposed
                                                                                                           100.00%
                                                                                                            98.00%
                                                                                                            96.00%
                                                                                                                                        98.39%        98.55%
                                                                                                                                                                -
                                                                    70                                                    CY17           CY18          CY19              CY20        CY21
                 29       55         59               44
       0
              CY17        CY18      CY19             CY20          CY21                                                                   Percentage of Disposed Cases


 Note: CY = Calendar Year
 *In 2021, Henry, Mercer, Rock Island and Whiteside Counties only reported case activity between 1/1/2021 and 4/30/2021


132         IL COURTS ANNUAL REPORT 2021
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MANDATORY ARBITRATION
                                                           Seventeenth Judicial Circuit - Winnebago County
                                                                                                                                                          Arbitration Cases
  Cases Referred Cases                Arbitration           Awards         Pre-Hearing             Awards           Post-Hearing      Post-Rejection                                 Total
                                                                                                                                                           Proceeding to
  to Arbitration: Pending:             Hearings:           Rejected:       Dispositions:          Accepted:         Dispositions:      Dispositions:                             Dispositions:
                                                                                                                                                                Trial:
              615             325            59                 39                570                 9                  13                 44                    3                   639

                              Mandatory Arbitration Cases                                                                           Cases Disposed Pre-Trial
 800                                                                                                                                                  99.37%                       99.53%
                                      647           596          639                                      100.00%        98.92%                                         98.83%
                 554        530
 600                                                                                                                                   97.74%
                                                                                    Referred to            98.00%
                                      635                       615                 Arbitration
 400             252                               •••••••
                                                    552
                              •••••••••••• ••
                                                   .- .
                             517                                        • •••••                            96.00%
 200
      0
                CY17        CY18     CY19          CY20         CY21
                                                                        - ..
                                                                                    Disposed
                                                                                                                          CY17          CY18           CY19
                                                                                                                                                                -
                                                                                                                                         Percentage of Disposed Cases
                                                                                                                                                                         CY20       CY21




                                                                 Eighteenth Judicial Circuit - DuPage County
                                                                                                                                                          Arbitration Cases
  Cases Referred Cases                Arbitration           Awards         Pre-Hearing             Awards           Post-Hearing      Post-Rejection                                 Total
                                                                                                                                                           Proceeding to
  to Arbitration: Pending:             Hearings:           Rejected:       Dispositions:          Accepted:         Dispositions:      Dispositions:                             Dispositions:
                                                                                                                                                                Trial:

              2,370          2,158           330                234               2,298              27                  73                166                    11                 2,575

                               Mandatory Arbitration Cases                                                                          Cases Disposed Pre-Trial
                                                                 2575                                                                                99.45%                        99.57%
  3000

  2000
                    2106
                           -----
                             ........
                             1828
                                         ~
                                              1958
                                                          ...           ••••••
                                                                                    Referred to
                                                                                                          100.00%       98.72%
                                                                                                                                       98.14%                           98.10%



                             -- ·--·-·1089                                                                 98.00%
                             ••         ••••••••••               2370               Arbitration
  1000              1467
                             1322
                                       730
                                                    1684
                                                                        -··         Disposed
                                                                                                           96.00%
                                                                                                                         CY17           CY18          CY19               CY20       CY21
          0
                    CY17     CY18     CY19          CY20         CY21                                                                    Percentage of Disposed Cases

 Note: CY = Calendar Year
 *In 2021, Henry, Mercer, Rock Island and Whiteside Counties only reported case activity between 1/1/2021 and 4/30/2021.


133            IL COURTS ANNUAL REPORT 2021
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MANDATORY ARBITRATION
                                                                       Nineteenth Judicial Circuit - Lake County
                                                                                                                                                            Arbitration Cases
  Cases Referred Cases                Arbitration              Awards          Pre-Hearing           Awards           Post-Hearing      Post-Rejection                                 Total
                                                                                                                                                             Proceeding to
  to Arbitration: Pending:             Hearings:              Rejected:        Dispositions:        Accepted:         Dispositions:      Dispositions:                             Dispositions:
                                                                                                                                                                  Trial:
            1,506          892              180                   28                1,048              28                   41               126                   10                  1,253

                            Mandatory Arbitration Cases                                                                               Cases Disposed Pre-Trial
 2000
                  1298    1291       1323              1064
                                                                  1506                                      100.00%     I   99.23%
                                                                                                                                         98.84%
                                                                                                                                                                      I   99.44%     99.20%
 1500                                                                                 Referred to                                                       98.55%
                                                                                                             99.00%
 1000                                                                                 Arbitration
                  525                                             1253
  500
       0
                           1244      1176
                          ··············----····
                          -.-.-                  ...
                                                       911
                                                                       ......         Disposed                   I
                                                                                                             98.00%

                                                                                                                ~~
                                                                                                                  CY17   CY18            CY19            CY20   -                     CY21

               CY17      ~
                         CY18 CY19 CY20 CY21-                              •    ■                               I      I  I
                                                                                                                            Percentage
                                                                                                                                    I
                                                                                                                                       of Disposed
                                                                                                                                             I
                                                                                                                                                   Cases



                                                                   Twentieth Judicial Circuit - St. Clair County
                                                                                                                                                            Arbitration Cases
 Cases Referred           Cases      Arbitration               Awards          Pre-Hearing           Awards           Post-Hearing      Post-Rejection                                 Total
                                                                                                                                                             Proceeding to
 to Arbitration:         Pending:     Hearings:               Rejected:        Dispositions:        Accepted:         Dispositions:      Dispositions:                             Dispositions:
                                                                                                                                                                  Trial:
            467            131              48                    48                459                10                   20                11                     4                  504

                            Mandatory Arbitration Cases                                                                               Cases Disposed Pre-Trial
  1500
                  1068    -- . . -- ...~·-•••
                           1140
                          •••••••••••••••
                                -     983                                ......                          100.00%                         99.21%
                                                                                                                                                       98.88%
                                                                                                                                                                          99.61%
                                                                                                                                                                                     99.21%
  1000

      500         145      1095      929
                                                       516    -   504
                                                                         - ..
                                                                                      Referred to
                                                                                      Arbitration
                                                                                      Disposed
                                                                                                            99.00%

                                                                                                            98.00%
                                                                                                                            98.60%
                                                                                                                                                               -
                                                       511         467                                                       CY17         CY18          CY19               CY20       CY21
        0
                  CY17    CY18       CY19              CY20       CY21                                                                     Percentage of Disposed Cases

 Note: CY = Calendar Year
 *In 2021, Henry, Mercer, Rock Island and Whiteside Counties only reported case activity between 1/1/2021 and 4/30/2021.



134         IL COURTS ANNUAL REPORT 2021
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MANDATORY ARBITRATION
                                                              Twenty-Second Judicial Circuit - McHenry County
                                                                                                                                                            Arbitration Cases
  Cases Referred   Cases                  Arbitration          Awards        Pre-Hearing             Awards           Post-Hearing      Post-Rejection                                 Total
                                                                                                                                                             Proceeding to
  to Arbitration: Pending:                 Hearings:          Rejected:      Dispositions:          Accepted:         Dispositions:      Dispositions:                             Dispositions:
                                                                                                                                                                  Trial:
          275              165                   18                8                337                 2                   8                    8                  0                   355

                            Mandatory Arbitration Cases                                                                               Cases Disposed Pre-Trial
 600                      528          515
                475                                   485                                                   102.00%
                                                                   355                                                                                 100.00%        100.00%        100.00%
 400                                                                                  Referred to           100.00%        98.74%        98.67%
                                       511
                113        395                                                        Arbitration
 200

      0
               CY17      CY18
                                  .   -
                           ••••••••••••••••••••••

                                      CY19
                                                      371



                                                      CY20
                                                              .    275


                                                                   CY21
                                                                           ••••••

                                                                           - ..
                                                                                      Disposed
                                                                                                             98.00%
                                                                                                                            CY17          CY18           CY19
                                                                                                                                                                -
                                                                                                                                           Percentage of Disposed Cases
                                                                                                                                                                           CY20       CY21




                                                                               Circuit Court of Cook County
                                                                                                                                                            Arbitration Cases
 Cases Referred           Cases           Arbitration          Awards        Pre-Hearing             Awards           Post-Hearing      Post-Rejection                                 Total
                                                                                                                                                             Proceeding to
 to Arbitration:         Pending:          Hearings:          Rejected:      Dispositions:          Accepted:         Dispositions:      Dispositions:                             Dispositions:
                                                                                                                                                                  Trial:
          4,906            8,126             2,327                1,397             1,312              384                 227              1,558                   67                 3,548

                            Mandatory Arbitration Cases                                                                               Cases Disposed Pre-Trial
  10000                    8076           8467                                                                                                                            99.08%
                                                                                                            100.00%       98.44%
                  6314                                                                                                                                 97.92%                        98.11%
                          •••• • ••••••••••••••••••
                                             4227                          ••••••                                                        97.44%
      5000
                  6167     6561
                           -•-
                                       6792  - .-
                                                       3605
                                                             ·-
                                                                    4906

                                                                           -··
                                                                                      Referred to
                                                                                      Arbitration
                                                                                      Disposed
                                                                                                             98.00%

                                                                                                             96.00%
                                                                                                                                                                -
                                                                   3548                                                    CY17           CY18          CY19               CY20       CY21
          0
                  CY17     CY18           CY19         CY20         CY21                                                                   Percentage of Disposed Cases

 Note: CY = Calendar Year
 *In 2021, Henry, Mercer, Rock Island and Whiteside Counties only reported case activity between 1/1/2021 and 4/30/2021.


135           IL COURTS ANNUAL REPORT 2021
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MANDATORY ARBITRATION
AVERAGE AWARD AMOUNTS AND AVERAGE NUMBER OF DAYS (BY CASE TYPE)
                                          2021 Average Award Amounts and Average Number of Days (By Case Type)
  Arbitration                                    Automobile/                                                Property             Personal         Other/
                                                               Collections    Contracts    Liability/Tort
   Program                                        Subrogation                                                Damage                Injury        Unknown
                          Number of Cases              3           N/A           N/A            N/A             N/A                   1             N/A
       Boone               Average Award         $ 4,628.75        N/A           N/A            N/A             N/A          $      5,000.00        N/A
                       Average Number of Days       130.6          N/A           N/A            N/A             N/A                 151             N/A
                          Number of Cases            428           N/A           364*           N/A            730**               2,435           1,016
        Cook               Average Award         $ 5,428.00        N/A          4367*           N/A          4788**          $      9,738.00   $ 5,295.50
                       Average Number of Days        435           N/A           311*           N/A          412.5**                399             407
                          Number of Cases            157           N/A             29             54            N/A                   1             109
      DuPage               Average Award         $ 6,597.29        N/A       $ 12,941.95 $ 5,653.05             N/A          $    11,500.00    $ 14591.75
                       Average Number of Days       396.6          N/A          710.8          298.6            N/A                 104            396.1
                          Number of Cases            N/A           N/A           N/A            N/A             N/A                 N/A             N/A
        Ford               Average Award             N/A           N/A           N/A            N/A             N/A                 N/A             N/A
                       Average Number of Days        N/A           N/A           N/A            N/A             N/A                 N/A             N/A
                          Number of Cases            N/A           N/A           N/A            N/A             N/A                 N/A             N/A
      Henry***             Average Award             N/A           N/A           N/A            N/A             N/A                 N/A             N/A
                       Average Number of Days        N/A           N/A           N/A            N/A             N/A                 N/A             N/A
                          Number of Cases             12             2             28              1             3                   21              1
        Kane               Average Award         $ 8,824.99 $ 25,129.00 $ 11,272.89 $ 20,000.00 $ 3,067.67                   $      8,192.76   $     0
                       Average Number of Days       274.6         313.5         539.6            120           750.6               426.5            122
                          Number of Cases             77            14             27              2             7                   72              1
        Lake               Average Award         $ 7,562.12 $ 12,294.15 $ 9,619.38 $ 9,012.53 $ 8,523.13                     $    18,863.55    $     0
                       Average Number of Days       189.4         482.7         291.1          334.5           251.4               323.3            152
                          Number of Cases             10             5              8           N/A             N/A                   7              9
      Madison              Average Award         $ 20,347.21 $ 12,851.41 $ 12,410.42            N/A             N/A          $    13,785.71    $ 14,486.94
                       Average Number of Days       275.2         314.2         336.1           N/A             N/A                244.1           269.2
                          Number of Cases             11             5              2           N/A             N/A                 N/A             N/A
      McHenry              Average Award         $ 8,556.81 $ 11,488.82 $ 11,383.72             N/A             N/A                 N/A             N/A
                       Average Number of Days       293.6          179            300           N/A             N/A                 N/A             N/A
 *This figure includes Collections and Contracts
 ** This figure includes Liability/Tort and Property Damage
 ***In 2021, Henry, Mercer, Rock Island and Whiteside Counties only reported case activity between 1/1/2021 and 4/30/2021.

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MANDATORY ARBITRATION
AVERAGE AWARD AMOUNTS AND AVERAGE NUMBER OF DAYS (BY CASE TYPE)
                                             2021 Average Award Amounts and Average Number of Days (By Case Type)

  Arbitration                                         Automobile/                                                               Property      Personal          Other/
                                                                          Collections          Contracts      Liability/Tort
   Program                                            Subrogation                                                               Damage         Injury          Unknown

                       Number of Cases                    N/A                   4                   4              1                1              1               3
       McLean           Average Award                     N/A            $    4,284.29     $     9,206.48     $ 10,000.00      $ 15,867.56   $ 4,396.17    $   24,648.87
                    Average Number of Days                N/A                  511               210.5           1,047            1,511          312            129.6
                       Number of Cases                    N/A                  N/A                N/A             N/A              N/A           N/A             N/A
      Mercer***         Average Award                     N/A                  N/A                N/A             N/A              N/A           N/A             N/A
                    Average Number of Days                N/A                  N/A                N/A             N/A              N/A           N/A             N/A
                       Number of Cases                    N/A                  N/A                N/A             N/A              N/A           N/A               8
Rock Island***          Average Award                     N/A                  N/A                N/A             N/A              N/A           N/A       $   13,670.38
                    Average Number of Days                N/A                  N/A                N/A             N/A              N/A           N/A            464.1
                       Number of Cases                      1                   6                   2              2                1             35               1
       St. Clair        Average Award                 $ 15,400.00        $   17,354.19     $    20,072.63     $ 8,004.83       $ 39,800.87   $ 22,046.75   $   17,250.00
                    Average Number of Days                199                 602.5               256             245              553          483.5            312
                       Number of Cases                    N/A                  N/A                N/A             N/A              N/A           N/A               1
 Whiteside***           Average Award                     N/A                  N/A                N/A             N/A              N/A           N/A       $    5,000.00
                    Average Number of Days                N/A                  N/A                N/A             N/A              N/A           N/A            1001
                       Number of Cases                      1                   1                   2             N/A              N/A           N/A              38
         Will           Average Award                 $ 3,000.00         $   11,998.32     $     1,334.13         N/A              N/A           N/A       $   11,560.11
                    Average Number of Days                776                  797               582.5            N/A              N/A           N/A            392.3
                       Number of Cases                     28                   1                  10             N/A               4             15               3
  Winnebago             Average Award                 $ 7,669.28         $   23,867.80     $    11,439.38         N/A          $ 2,773.06    $ 16,255.25   $    1,500.00
                    Average Number of Days               207.7                 574               443.1            N/A              165          363.7           237.6
*This figure includes Collections and Contracts
** This figure includes Liability/Tort and Property Damage
***In 2021, Henry, Mercer, Rock Island and Whiteside Counties only reported case activity between 1/1/2021 and 4/30/2021.



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 ADULT
 ADULT AND
       AND JUVENILE
            JUVENILE
     PROBATION
     PROBATION
        AND
        AND
SUPERVISED
SUPERVISED PRETRIAL
            PRETRIAL
      RELEASE
      RELEASE
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ABBREVIATIONS
         Explanations for abbreviations used in column headings in this section are explained below.

           Admin.              Administrative Cases: Cases still active but not under direct supervision.

             PSI               Presentence Investigation: A comprehensive written background investigation report on a
                               convicted offender prepared by the probation department to provide information to the court to
                               determine an appropriate sentence.

        Abbrev. PSI            Abbreviated Presentence Investigation: Sometimes referred to as a "short form" presentence investigation,
                               this is a less-comprehensive report permitted in less serious (i.e., misdemeanor) criminal cases.


            CUS                Continued Under Supervision: A juvenile case which is under court order and probation supervision without
                               a formal finding of delinquency.

            TASC               Treatment Alternatives for Special Clients: A state-designated private agency licensed to provide substance
                               abuse assessment, referral, and case monitoring services for criminal defendants/offenders with
                               chemical dependency problems.

      Supp. Social Hist.       Social Support History: Refers to those reports that are filed to assist the court in entering
                               subsequent dispositional orders.

           Alt. Ed             Alternative Education: Disciplinary Placements in Alternative Schools

            UDIS               Unified Delinquency Intervention Services: Program services provided to youth between the ages of 13 and
                               17 who are at risk of placement into the Department of Corrections.

            JTPA               Job Training Partnership Act: Program that provides training activities to prepare income eligible persons for
                               employment.



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 ACTIVE ADULT CASELOAD
 AS OF DECEMBER 31, 2021
         Circuit                  County                    Felony                Misdemeanor            DUI   Traffic   Total   Admin. *
 1st                      Alexander                            67                      11                  1      6        85       29
                          Jackson                             278                      86                 30     11       405       45
                          Johnson                              64                      31                  7      4       106       50
                          Massac                              160                      24                  6     19       209      276
                          Pope                                 20                      10                  9      2        41       11
                          Pulaski                              25                       7                  8      3        43       28
                          Saline                              265                      91                 14     10       380      110
                          Union                               105                      31                  9      8       153       60
                          Williamson                          255                      56                 63     57       431       83
 1st Circuit Total                                           1,239                    347                147    120      1,853     692
 2nd                      Crawford                             89                      13                 13      0        115      90
                          Edwards                              45                      22                 14      1        82       22
                          Franklin                            221                      37                  7      0       265      225
                          Gallatin                             47                       2                  2      0         51       7
                          Hamilton                             45                       8                  2      0         55      24
                          Hardin                               30                       6                  1      0         37       6
                          Jefferson                           314                      25                 66     19       424        7
                          Lawrence                             82                       5                  1      2        90      141
                          Richland                            189                      55                 14      0       258       80
                          Wabash                              101                      30                  5      0       136       21
                          Wayne                                85                      59                 19      5       168       55
                          White                               143                      31                  2      7       183       25
 2nd Circuit Total                                           1,391                    293                146     34      1,864     703
 3rd                      Bond                                113                      26                  9     10       158      107
                          Madison                            1,354                    179                 60      0      1,593     880
 3rd Circuit Total                                          1,467                     205                 69     10      1,751     987
 4th                      Christian                           221                      63                 44     10       338       89
                          Clay                                 87                      35                 24     14       160       56
                          Clinton                              94                      16                 11      3       124      230
                          Effingham                           207                      43                 13     12       275      272
                          Fayette                             171                      39                 20      9       239      133
                          Jasper                               64                      39                 26      8       137        1
                          Marion                              325                      84                 78     68       555      187
                          Montgomery                          134                      27                 23      0       184      290
                          Shelby                               74                      26                 17      6       123       97
 4th Circuit Total                                           1,377                    372                256    130      2,135    1,355
 5th                      Clark                                72                      29                 11      5        117      27
                          Coles                               444                     102                 32      6       584      282
                          Cumberland                           39                      10                  2      3        54       75
                          Edgar                               119                      26                  6      1       152       48
                          Vermilion                           470                     140                 63      7       680      460
 5th Circuit Total                                           1,144                    307                114     22      1,587     892
 *Cases are active but not under direct supervision due to low risk level, warrant, transfer out, etc.



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ACTIVE ADULT CASELOAD


        Circuit                 County                    Felony               Misdemeanor              DUI   Traffic   Total   Admin. *
6th                      Champaign                          855                    199                   96     24      1,174     370
                         DeWitt                              56                     25                   15      8       104      110
                         Douglas                             88                     45                   51     17       201      179
                         Macon                              868                    158                   32      0      1,058     446
                         Moultrie                            64                     22                   34     19       139      101
                         Piatt                               33                    116                    6      1       156       59
6th Circuit Total                                         1,964                    565                  234     69      2,832    1,265
7th                      Greene                              84                     70                    0      0       154      100
                         Jersey                             152                     26                   39      7       224      169
                         Macoupin                           279                     62                   60     14       415      170
                         Morgan                             196                    119                   61     16       392      127
                         Sangamon                           665                    195                   32      2       894      969
                         Scott                               24                     25                    0      0        49       11
7th Circuit Total                                         1,400                    497                  192     39      2,128    1,546
8th                      Adams                              561                     57                   52      2       672      153
                         Brown                               14                     12                    5      0        31        9
                         Calhoun                             17                      2                    3      4        26       13
                         Cass                                81                     19                   12      0       112      175
                         Mason                               47                     22                   35      5       109       30
                         Menard                              16                     10                    3      1        30       51
                         Pike                               168                     56                   28     20       272      157
                         Schuyler                            39                     21                   22      7        89       41
8th Circuit Total                                           943                    199                  160     39      1,341     629
9th                      Fulton                              85                     14                    3      0       102       34
                         Hancock                             63                      4                    4      1        72       80
                         Henderson                           25                      1                    0      0        26       38
                         Knox                               231                     28                    4      5       268       99
                         McDonough                           62                     15                    4      1        82       31
                         Warren                              28                      6                    0      1        35       21
9th Circuit Total                                           494                     68                   15      8       585      303
10th                     Marshall                            46                      7                   13      3        69       31
                         Peoria                             702                    229                   28      0       959     1,463
                         Putnam                              10                     21                    9      4        44       10
                         Stark                               13                      2                    3      1        19       69
                         Tazewell                           360                    125                   93      3       581      922
10th Circuit Total                                         1,131                   384                  146     11      1,672    2,495
11th                     Ford                                47                     20                   19      6        92       64
                         Livingston                         193                     21                    4      1       219      657
                         Logan                              141                     56                   13      0       210      526
                         McLean                             937                     72                   10     38      1,057     343
                         Woodford                           165                     64                   43     14       286      679
11th Circuit Total                                         1,483                   233                   89     59      1,864    2,269
*Cases are active but not under direct supervision due to low risk level, warrant, transfer out, etc.



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ACTIVE ADULT CASELOAD

       Circuit                 County                  Felony                Misdemeanor                 DUI                    Traffic   Total    Admin. *
12th                    Will                             968                      176                      6                      16       1,166     414
13th                    Bureau                           128                       21                      4                       1        154       76
                        Grundy                            151                      12                      2                       0        165       94
                        LaSalle                          378                       34                      4                       0        416      144
13th Circuit Total                                       657                       67                     10                       1        735      314
14th                    Henry                            132                       37                     13                       1        183      477
                        Mercer                             59                      16                      2                       0         77       27
                        Rock Island                      685                      255                    423                      25       1,388     698
                        Whiteside                        270                       72                    104                      17        463      314
14th Circuit Total                                      1,146                     380                    542                      43       2,111    1,516
15th                    Carroll                           47                        9                      3                       2         61      191
                        Jo Daviess                         39                      53                     43                      10        145       84
                        Lee                               155                      33                     12                      24        224      376
                        Ogle                             147                       55                     23                       0        225      441
                        Stephenson                       243                      106                     34                       6        389      919
15th Circuit Total                                       631                      256                    115                      42      1,044     2,011
16th                    Kane                            1,486                     455                    156                      10       2,107    1,210
17th                    Boone                            140                       49                     26                       6        221      437
                        Winnebago                       1,630                     301                     84                       5       2,020    1,736
17th Circuit Total                                      1,770                     350                    110                      11       2,241    2,173
18th                    DuPage                          1,610                     536                    372                     155       2,673   1,960
19th                    Lake                             968                      358                    237                     119       1,682     624
20th                    Monroe                           225                        5                      1                       0        231       90
                        Perry                            110                       11                      2                       1        124       79
                        Randolph                         191                        9                      0                       0        200      121
                        St. Clair                       1,624                     108                     15                       9       1,756     520
                        Washington                         61                       8                      0                       3         72       97
20th Circuit Total                                      2,211                     141                     18                      13       2,383     907
21st                    Iroquois                         134                        8                      1                       0        143       88
                        Kankakee                         421                      109                      0                       0        530       98
21st Circuit Total                                       555                      117                      1                       0        673      186
22nd                    McHenry                          594                       98                     54                      25        771      278
23rd                    DeKalb                           276                       83                      0                       0        359      549
                        Kendall                          144                       56                      0                       0        200      585
 23rd Circuit Total                                      420                      139                      0                       0        559     1,134
Cook**                  Adult                          18,180                    4,475                   361                      20      23,036    1,636
                        Social Service                  1,237                    1,377                  2,646                   1,069      6,329     120
Cook County Total                                      19,417                    5,852                  3,007                   1,089     29,365    1,756
Statewide Total                                        46,466                   12,395                  6,196                   2,065     67,122   27,619
*Cases are active but not under direct supervision due to low risk level, warrant, transfer out, etc.
**Cook county is separated into "Adult" and "Social Service"; Adult handles felony cases and Social Services handles misdemeanor cases.

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ACTIVE ADULT CASELOAD


                         2021
                         2021 Statewide
                              Statewide Active
                                        Active Adult
                                               Adult Caseload
                                                     Caseload
                                                            3%

                                                                      9%




                                                                                   19%
                                                                                                                m Traffic
                                                                                                                  Traffic

                                                                                                                E DUI
                                                                                                                  DUI
                                                                                                                ™ Misdemeanor
                                                                                                                  Misdemeanor

                                                                                                                ™ Felony
                                                                                                                  Felony




                                     69%




143
143   IL
      IL COURTS
         COURTS ANNUAL
                ANNUAL REPORT
                       REPORT 2021
                              2021
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PRETRIAL ELIGIBILITY & RELEASE
TOTALS FOR THE YEAR 2021
                                                                       Eligibility                                   Pretrial Release
         Circuit                   County                            Released Prior to
                                                     Eligibile                           Investigated   No Supervision                  Supervision
                                                                         Interview
1st                       Alexander                       0                   0                 0               0                              0
                          Jackson                         0                   0                 0               0                              0
                          Johnson                         0                   0                 0               0                              0
                          Massac                          0                   0                 0               0                              0
                          Pope                            0                   0                 0               0                              0
                          Pulaski                         0                   0                 0               0                              0
                          Saline                          0                   0                 0               0                              0
                          Union                           0                   0                 0               0                              0
                          Williamson                      0                   0                 0               0                              0
1st Circuit Total                                         0                   0                 0               0                              0
2nd                       Crawford                        0                   0                 0               0                              0
                          Edwards                         0                   0                 0               0                              0
                          Franklin                        0                   0                 0               0                              0
                          Gallatin                        0                   0                 0               0                              0
                          Hamilton                        0                   0                 0               0                              0
                          Hardin                          0                   0                 0               0                              0
                          Jefferson                       0                   0                 0               0                              0
                          Lawrence                        0                   0                 0               0                              0
                          Richland                        0                   0                 0               0                              0
                          Wabash                          0                   0                 0               0                              0
                          Wayne                           0                   0                 0               0                              0
                          White                           0                   0                 0               0                              0
2nd Circuit Total                                         0                   0                 0               0                              0
3rd                       Bond*                          63                   0                 0               0                             74
                          Madison*                     3,267                545              3,322           1,054                            44
3rd Circuit Total                                      3,330                545              3,322           1,054                           118
4th                       Christian*                     63                   0                63               0                            213
                          Clay                            0                   0                 0               0                              0
                          Clinton*                        0                   0                 0               0                             20
                          Effingham                       0                   0                 0               0                              0
                          Fayette                         0                   0                 0               0                              0
                          Jasper                          0                   0                 0               0                              0
                          Marion*                       487                  85               494             266                            180
                          Montgomery                      0                   0                 0               0                              0
                          Shelby*                       157                   2               154              46                            105
4th Circuit Total                                       707                  87               711             312                            518
5th                       Clark                           0                   0                 0               0                              0
                          Coles*                        727                   0               727               0                            345
                          Cumberland                      0                   0                 0               0                              0
                          Edgar                           0                   0                 0               0                              0
                          Vermilion*                    829                   0               829               0                              0
5th Circuit Total                                      1,556                  0              1,556              0                            345
*County is a Pretrial Reporting Department.



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PRETRIAL ELIGIBILITY & RELEASE

                                                                       Eligibility                                   Pretrial Release
         Circuit                   County                            Released Prior to
                                                     Eligibile                           Investigated   No Supervision                  Supervision
                                                                         Interview
6th                       Champaign                       0                   0                 0                0                            0
                          DeWitt                          0                   0                 0                0                            0
                          Douglas                         0                   0                 0                0                            0
                          Macon*                      1,079                   0              1,073              23                           16
                          Moultrie                        0                   0                 0                0                            0
                          Piatt                           0                   0                 0                0                            0
6th Circuit Total                                     1,079                   0              1,073              23                           16
7th                       Greene                          0                   0                 0                0                            0
                          Jersey                          0                   0                 0                0                            0
                          Macoupin                        0                   0                 0                0                            0
                          Morgan                          0                   0                 0                0                            0
                          Sangamon*                       2                   0                 1                0                          111
                          Scott                           0                   0                 0                0                            0
7th Circuit Total                                         2                   0                 1                0                          111
8th                       Adams*                       647                   14               633             146                           214
                          Brown                           0                   0                 0                0                            0
                          Calhoun                         0                   0                 0                0                            0
                          Cass                            0                   0                 0                0                            0
                          Mason                           0                   0                 0                0                            0
                          Menard                          0                   0                 0                0                            0
                          Pike                            0                   0                 0                0                            0
                          Schuyler                        0                   0                 0                0                            0
8th Circuit Total                                      647                   14               633             146                           214
9th                       Fulton*                      196                    0               195              170                           20
                          Hancock*                     124                    0               122               49                          104
                          Henderson*                     51                   0                49               32                            3
                          Knox*                        388                    0               375              329                           36
                          McDonough*                   169                    0               169             148                            15
                          Warren*                        81                   0                78               70                           13
9th Circuit Total                                     1,009                   0               988             798                           191
10th                      Marshall                        0                   0                 0                0                            0
                          Peoria*                       561                   0               561              135                          220
                          Putnam                          0                   0                 0                0                            0
                          Stark                           0                   0                 0                0                            0
                          Tazewell*                     375                   0               375              171                          469
10th Circuit Total                                     936                    0               936             306                           689
11th                      Ford                            0                   0                 0                0                            0
                          Livingston                      0                   0                 0                0                            0
                          Logan                           0                   0                 0                0                            0
                          McLean*                     2,311                 235              2,311           1,644                           99
                          Woodford*                    229                   87               144               40                          128
11th Circuit Total                                    2,540                 322              2,455           1,684                          227
*County is a Pretrial Reporting Department.




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PRETRIAL ELIGIBILITY & RELEASE

                                                                           Eligibility                                    Pretrial Release
         Circuit                    County                               Released Prior to
                                                             Eligibile                       Investigated   No Supervision                   Supervision
                                                                            Interview
12th                      Will*                               2,351             0                2,300             957                            935
13th                      Bureau                                 0              0                    0                0                             0
                          Grundy                                 0              0                    0                0                             0
                          LaSalle                                0              0                    0                0                             0
13th Circuit Total                                               0              0                    0                0                             0
14th                      Henry*                               306              1                  292             252                             27
                          Mercer*                               77              0                   76                9                             3
                          Rock Island*                        1,193             7                1,159               81                           263
                          Whiteside*                            13              0                   13                3                             1
14th Circuit Total                                            1,589             8                1,540             345                            294
15th                      Carroll                                0              0                    0                0                             0
                          Jo Daviess                             0              0                    0                0                             0
                          Lee*                                 245             50                 194                 9                           164
                          Ogle*                                201              0                  199               14                            47
                          Stephenson*                          306              0                 306              294                             12
15th Circuit Total                                             752             50                 699               317                           223
16th                      Kane*                               3,143            33                  137             488                           2,623
17th                      Boone*                               299              0                 299                 0                           206
                          Winnebago*                          3,269            56                3,147                0                           901
17th Circuit Total                                            3,568            56                3,446                0                          1,107
18th                      DuPage*                              547            291                  191                0                          1,825
19th                      Lake*                               3,181             0                3,181             453                           1,503
20th                      Monroe                                 0              0                    0                0                             0
                          Perry                                  0              0                    0                0                             0
                          Randolph                               0              0                    0                0                             0
                          St. Clair*                          2,085             0                2,085            1,954                           141
                          Washington                             0              0                    0                0                             0
20th Circuit Total                                            2,085             0                2,085            1,954                           141
21st                      Iroquois                               0              0                    0                0                             0
                          Kankakee*                              0              0                    0                0                           188
21st Circuit Total                                               0              0                    0                0                           188
22nd                      McHenry*                            1,410             0                1,407            1,354                            56
23rd                      DeKalb*                              798              0                 798              334                            256
                          Kendall*                             566             22                  565             359                            170
23rd Circuit Total                                            1,364            22                1,363             693                            426
Cook                      Adult**                            19,904             0                6,020           12,154                          7,579
Statewide Total                                              51,700          1,428              34,044           23,038                         19,329
*County is a Pretrial Reporting Department.
**Only Cook county Adult Department reports pretrial data.



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ADULT INVESTIGATIONS REPORT
TOTALS FOR THE YEAR 2021
         Circuit               County              PSI            Abbrev. PSI      Record Check         Other        Total
1st                    Alexander                     8                  0                  7               0           15
                       Jackson                      40                  1                  5               0           46
                       Johnson                       4                  0                  1               0            5
                       Massac                        8                  0                  0               0            8
                       Pope                          9                  0                  4               0           13
                       Pulaski                       1                  0                  5               0            6
                       Saline                       12                  0                  0               0           12
                       Union                        14                  0                  0               0           14
                       Williamson                   14                  1                 17               0           32
1st Circuit Total                                  110                  2                 39               0          151
2nd                    Crawford                     36                  0                  0               0           36
                       Edwards                       5                  0                  3               0            8
                       Franklin                     18                  0                 15               0           33
                       Gallatin                      2                  0                  0               0            2
                       Hamilton                      7                  0                  0               0            7
                       Hardin                        1                  0                  0               0            1
                       Jefferson                   121                  1                105               0          227
                       Lawrence                     27                  0                  0               0           27
                       Richland                     15                  0                  1               0           16
                       Wabash                        5                  0                  0               0            5
                       Wayne                        35                  6                 16               0           57
                       White                        12                  0                  0               0           12
2nd Circuit Total                                  284                  7                140               0          431
3rd                    Bond                         19                  0                262               0          281
                       Madison                      32                  0                  0             189          221
3rd Circuit Total                                   51                  0                262             189          502
4th                    Christian                    12                  1                 19              38           70
                       Clay                          6                  0                 76               0           82
                       Clinton                      18                  0                 92              24          134
                       Effingham                    45                  1                113               0          159
                       Fayette                      37                  4                 97              12          150
                       Jasper                        0                  0                 10               0           10
                       Marion                       83                  0                 50             114          247
                       Montgomery                   19                  0                  0               0           19
                       Shelby                       12                  0                  0               0           12
4th Circuit Total                                  232                  6                457             188          883
5th                    Clark                         5                  0                  0               0            5
                       Coles                        40                  0                  0              29           69
                       Cumberland                   17                  0                  0               8           25
                       Edgar                        36                  0                  0               0           36
                       Vermilion                    14                  0                  0              90          104
5th Circuit Total                                  112                  0                  0             127          239




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ADULT INVESTIGATIONS REPORT

         Circuit                 County              PSI            Abbrev. PSI      Record Check         Other        Total
6th                     Champaign                    177                  9                 70              19           275
                        DeWitt                        35                  0                  0               0            35
                        Douglas                       14                 19                  0               1            34
                        Macon                        158                582                187              52          979
                        Moultrie                      12                  4                 19              95           130
                        Piatt                         35                  1                 10               0            46
6th Circuit Total                                    431                615                286             167         1,499
7th                     Greene                         0                  0                  0               0             0
                        Jersey                        14                 10                  0               0            24
                        Macoupin                      23                  0                  1               0            24
                        Morgan                        34                 11                  0              26            71
                        Sangamon                      26                  0                  5              68            99
                        Scott                          0                  0                  0               0             0
7th Circuit Total                                     97                 21                  6              94          218
8th                     Adams                        239                  0                  0             138           377
                        Brown                          0                  0                  0               0             0
                        Calhoun                        7                  1                  0               0             8
                        Cass                          21                  1                  0               0            22
                        Mason                         14                  0                  6               0            20
                        Menard                         4                  0                  4               0             8
                        Pike                         139                  0                  0               0           139
                        Schuyler                      17                  2                  0               0            19
8th Circuit Total                                    441                  4                 10             138          593
9th                     Fulton                        20                  0                 30              12            62
                        Hancock                       11                  0                  4              17            32
                        Henderson                      1                  0                  6               2             9
                        Knox                          39                  0                 32              24            95
                        McDonough                     17                  0                 17              74          108
                        Warren                         7                  0                  4               3            14
9th Circuit Total                                     95                  0                 93             132          320
10th                    Marshall                       2                  0                  5               0             7
                        Peoria                        86                  7                 40               0           133
                        Putnam                         0                  0                  2               3             5
                        Stark                          2                  0                  0               0             2
                        Tazewell                      39                  0                 24             412          475
10th Circuit Total                                   129                  7                 71             415          622
11th                    Ford                          20                  1                  1               0            22
                        Livingston                    72                  0                  0               0            72
                        Logan                         19                  0                  0               0            19
                        McLean                       266                  0               2,169              0         2,435
                        Woodford                     129                200                  0               0          329
11th Circuit Total                                   506                201               2,170              0         2,877




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ADULT INVESTIGATIONS REPORT

         Circuit                     County                       PSI                  Abbrev. PSI               Record Check            Other   Total
12th                       Will                                  125                           0                         21                 0      146
13th                       Bureau                                 10                           0                          2                 0        12
                           Grundy                                 34                           0                          3                 0        37
                           LaSalle                                60                           0                         24                 8        92
13th Circuit Total                                               104                           0                         29                 8      141
14th                       Henry                                  41                           0                         15               407      463
                           Mercer                                  6                           0                          8                 0        14
                           Rock Island                            72                           6                         28               473      579
                           Whiteside                               8                           0                          3                11        22
14th Circuit Total                                               127                           6                         54               891     1,078
15th                       Carroll                                24                           5                          3                 0        32
                           Jo Daviess                             19                           2                          3                 0        24
                           Lee                                    21                           0                          0                 0        21
                           Ogle                                    5                           0                          6                 3        14
                           Stephenson                             16                           0                          0                 0        16
15th Circuit Total                                                85                           7                         12                 3      107
16th                       Kane                                  106                           4                         68                17      195
17th                       Boone                                  30                           0                          0                59        89
                           Winnebago                             194                           0                          0                 0      194
17th Circuit Total                                               224                           0                          0                59      283
18th                       DuPage                                288                           0                        272                 0      560
19th                       Lake                                   69                          34                         88                45      236
20th                       Monroe                                 14                           1                          0                 0        15
                           Perry                                   2                           0                          0                11        13
                           Randolph                               42                           1                          3                 0       46
                           St. Clair                             101                           2                       1,669              435     2,207
                           Washington                              4                           0                        230                 6      240
20th Circuit Total                                               163                           4                       1,902              452     2,521
21st                       Iroquois                                0                           0                         55                 0        55
                           Kankakee                               66                           0                         16                70       152
21st Circuit Total                                                66                           0                         71                70      207
22nd                       McHenry                                57                           0                          0                 3       60
23rd                       DeKalb                                 13                          26                          3                59      101
                           Kendall                                43                           5                          7                72       127
23rd Circuit Total                                                56                          31                         10               131      228
Cook *                     Adult                                 493                           0                          0                 0      493
                           Social Service                          0                           0                          0                 0         0
Cook County Total                                                493                           0                          0                 0      493
Statewide Total                                                 4,451                        949                       6,061             3,129   14,590
*Cook county is separated into "Adult" and "Social Service"; Adult handles felony cases and Social Services handles misdemeanor cases.


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ADULT PROBATION PROGRAMS ORDERED
TOTALS FOR THE YEAR 2021
       Circuit            County          Alcohol        Drug       Alcohol & Drug   Mental Health   Sex Offender   TASC   Total
1st                 Alexander                3              1             12                0             0           0      16
                    Jackson                 0              23              5               34              2          4      68
                    Johnson                 0               0              2               16             0           0      18
                    Massac                  0               0             55               10              2          1      68
                    Pope                    0               0              0                0             0           0       0
                    Pulaski                 0               0              0                0             0           0       0
                    Saline                  0               0              0                0             0           0       0
                    Union                    1              0              3                7             0           0      11
                    Williamson              0               0             97               23             0           0     120
1st Circuit Total                           4              24            174               90             4           5     301
2nd                 Crawford                 5              3             19                1             0           0      28
                    Edwards                 0               0             4                 2             0           0       6
                    Franklin                0               0             90               22              1          0     113
                    Gallatin                 1              9              1                0             0           0      11
                    Hamilton                0               0             21                3              1          0      25
                    Hardin                   1             14              2                2              1          0      20
                    Jefferson               0               0              0                0             0           0       0
                    Lawrence                 3              0             26                7             0           0      36
                    Richland                0               1             46                3             0           0      50
                    Wabash                  0               0             17                1             0           0      18
                    Wayne                   0               1             27                2              1          0      31
                    White                    1             16              3               4               1          0      25
2nd Circuit Total                           11            44             256               47              5          0     363
3rd                 Bond                    0              10              3                2              2          0      17
                    Madison                 21             81             61              48               7          2     220
3rd Circuit Total                           21             91            64                50             9           2     237
4th                 Christian                2             11            128               19              3          0     163
                    Clay                    0               0              0                8              1         14      23
                    Clinton                 0               1             36               17             0           1      55
                    Effingham               55             87             24               26              1          1     194
                    Fayette                 6               1            141                0              3          1     152
                    Jasper                  0               0              0                0             0           0       0
                    Marion                  0               1            321              179              1          4     506
                    Montgomery              0               0              1               4               3          1       9
                    Shelby                  0               3              7                8              1          0      19
4th Circuit Total                           63            104            658              261             13         22    1,121
5th                 Clark                    5              0             49               17             0           0      71
                    Coles                   0               0            220              149             4           0     373
                    Cumberland               1              0              3                2             0           0       6
                    Edgar                    7             41              2               18              1          0      69
                    Vermilion               0               1              0               35              3          0      39
5th Circuit Total                           13             42            274              221             8           0     558




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ADULT PROBATION PROGRAMS ORDERED


       Circuit             County          Alcohol        Drug       Alcohol & Drug   Mental Health   Sex Offender   TASC   Total
6th                  Champaign                11            6             250              66               5          1     339
                     DeWitt                   0             1               3               7               1          1      13
                     Douglas                   1            3              60              10               2          0      76
                     Macon                     2           52               7              69               6          2     138
                     Moultrie                28             0               4               0               0          0      32
                     Piatt                    0             1              30              21               1          2      55
6th Circuit Total                            42            63             354             173              15          6     653
7th                  Greene                   0             0               0               0               0          0       0
                     Jersey                    2           37               3               6               1          1      50
                     Macoupin                 6            38              23              20               3          2      92
                     Morgan                    1            0              47              39               0          1      88
                     Sangamon                 12           28             483              97              10         10     640
                     Scott                    0             0               0               0               0          0       0
7th Circuit Total                             21          103             556             162              14         14     870
8th                  Adams                     1           25             383             371               4          0     784
                     Brown                    0             0               1               0               0          0       1
                     Calhoun                   2            5               9               2               0          1      19
                     Cass                     4             0               1               3               4          0      12
                     Mason                    0             1               0               0               0          0       1
                     Menard                   0             0              22               7               3          1      33
                     Pike                     0             0               0              24               2          0      26
                     Schuyler                  2            9               7               6               2          0      26
8th Circuit Total                             9            40             423             413              15          2     902
9th                  Fulton                   0             0              48              11               0          9      68
                     Hancock                  0             0              79              68               2          0     149
                     Henderson                0             0              24               0               1          0      25
                     Knox                     0             0              95              30               0          0     125
                     McDonough                0             0              49              23               2          0      74
                     Warren                   0             0              19               9               0          0      28
9th Circuit Total                             0             0             314             141               5          9     469
10th                 Marshall                 0             0               3               5               0          1       9
                     Peoria                   0             0             241              68               0          2     311
                     Putnam                   0             0               0               0               0          0       0
                     Stark                    0             0               1               8               0          0       9
                     Tazewell                 0             0              87             166               3          7     263
10th Circuit Total                            0             0             332             247               3         10     592
11th                 Ford                     0             0               1               7               1          0       9
                     Livingston               0             0              91              15               3          0     109
                     Logan                    0             0             145              29               1          6     181
                     McLean                   4             1             377              70               7          2     461
                     Woodford                 0             0             113              32               2          1     148
11th Circuit Total                            4             1             727             153              14          9     908




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ADULT PROBATION PROGRAMS ORDERED


       Circuit             County               Alcohol                Drug            Alcohol & Drug        Mental Health         Sex Offender   TASC   Total
12th                 Will                           2                    10                    56                   18                    0        0        86
13th                 Bureau                         0                     0                     6                    0                     1        2        9
                     Grundy                         1                     0                     0                    0                     1        3        5
                     LaSalle                        3                     7                    20                   19                     2        7       58
13th Circuit Total                                  4                     7                    26                   19                    4        12       72
14th                 Henry                          0                     0                    45                   38                     1        0       84
                     Mercer                         2                     0                    31                   26                     1        1       61
                     Rock Island                   19                    19                   550                  204                    4         0      796
                     Whiteside                      3                     4                    45                   33                     3        0       88
14th Circuit Total                                 24                    23                   671                  301                     9        1     1,029
15th                 Carroll                       10                     0                     3                   11                     1        2       27
                     Jo Daviess                     0                     0                    45                   11                     0        0       56
                     Lee                           44                     0                    29                    5                     3        0       81
                     Ogle                           0                     2                    10                   21                     3        3       39
                     Stephenson                    13                    16                     6                   54                     1        0       90
15th Circuit Total                                 67                    18                    93                  102                    8         5      293
16th                 Kane                          72                    33                   437                  233                   48        8       831
17th                 Boone                         15                   60                     88                   93                    10        1      267
                     Winnebago                      0                     0                  1,229                  42                    87        0     1,358
17th Circuit Total                                 15                   60                   1,317                 135                    97        1     1,625
18th                 DuPage                         0                     0                     0                    0                    0        0         0
19th                 Lake                           5                     8                   192                   59                    32       0       296
20th                 Monroe                         0                     0                     0                   51                     0        0       51
                     Perry                          2                     6                     1                   12                     0       14       35
                     Randolph                       0                     4                    24                   19                     0        7       54
                     St. Clair                    109                    25                   981                  171                    4        76     1,366
                     Washington                     0                     2                     2                    5                     1        0       10
20th Circuit Total                                111                    37                  1,008                 258                     5       97     1,516
21st                 Iroquois                       1                     5                     2                    0                     2        0       10
                     Kankakee                       1                     3                    12                    1                     2        0       19
21st Circuit Total                                  2                     8                    14                    1                    4        0        29
22nd                 McHenry                       16                    53                     0                   28                    8        0       105
23rd                 DeKalb                         8                     5                    60                    0                     0        6       79
                     Kendall                       29                     9                    76                    0                     0       4       118
23rd Circuit Total                                 37                    14                   136                    0                    0        10      197
Cook *               Adult                        464                   167                  1,599                 574                   189      269     3,262
                     Social Service              1,042                    0                   748                  505                     8        0     2,303
Cook County Total                                1,506                  167                  2,347                1,079                  197      269     5,565
Statewide Total                                  2,049                  950                 10,429                4,191                  517      482    18,618
*Cook county is separated into "Adult" and "Social Service"; Adult handles felony cases and Social Services handles misdemeanor cases.



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ADULT PROBATION PROGRAMS ORDERED



                       2021 Statewide Adult Programs Ordered
                                                          3%
                                                                 5%



                                                                             11%




                                                                                                                Sex Offender
                                                                                                                Drug
                                                                                                                Alcohol
                                                                                                                Mental Health
                             58%                                                                                Alcohol & Drug
                                                                                   23%




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ADULT RISK CLASSIFICATION
AS OF DECEMBER 31, 2021
         Circuit                County              Maximum           Medium            Minimum          Unclassified   Total
1st                     Alexander                        9               26                 38                 12          85
                        Jackson                         24               54                156                171        405
                        Johnson                          9               19                 46                 32        106
                        Massac                          10               60                 84                 55        209
                        Pope                             0               11                 16                 14          41
                        Pulaski                          0                8                 25                 10          43
                        Saline                          37               87                148                108        380
                        Union                            9               26                 87                 31         153
                        Williamson                      19               54                230                128         431
1st Circuit Total                                      117              345                830                561       1,853
2nd                     Crawford                        48               61                  6                  0         115
                        Edwards                          8               28                 26                 20          82
                        Franklin                        19               74                 23                149         265
                        Gallatin                         2               13                 31                  5          51
                        Hamilton                         2                9                 25                 19          55
                        Hardin                           1                7                 25                  4          37
                        Jefferson                        7               77                149                191        424
                        Lawrence                        13               31                 46                  0          90
                        Richland                        13              122                 67                 56         258
                        Wabash                           4              100                 31                  1         136
                        Wayne                            5               61                 52                 50         168
                        White                           22               72                 89                  0         183
2nd Circuit Total                                      144              655                570                495       1,864
3rd                     Bond                             7               38                 68                 45         158
                        Madison                        247              622                715                  9       1,593
3rd Circuit Total                                      254              660                783                 54       1,751
4th                     Christian                       37              177                123                  1         338
                        Clay                             6               19                 49                 86        160
                        Clinton                         17               33                 15                 59         124
                        Effingham                       40               94                110                 31         275
                        Fayette                         31               63                 58                 87         239
                        Jasper                           8               14                 67                 48         137
                        Marion                          40              100                234                181         555
                        Montgomery                       9               51                 30                 94        184
                        Shelby                           5               11                 76                 31         123
4th Circuit Total                                      193              562                762                618       2,135
5th                     Clark                           10               20                 42                 45         117
                        Coles                           56              187                177                164        584
                        Cumberland                       4               12                 19                 19          54
                        Edgar                            1               33                 96                 22         152
                        Vermilion                      165              332                150                 33        680
5th Circuit Total                                      236              584                484                283       1,587




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ADULT RISK CLASSIFICATION


         Circuit                 County            Maximum           Medium            Minimum          Unclassified   Total
6th                     Champaign                     129              448                 433               164       1,174
                        DeWitt                          4               15                  36                49        104
                        Douglas                         1               34                 114                52         201
                        Macon                         182              558                 313                 5       1,058
                        Moultrie                        2               13                  63                61         139
                        Piatt                           6               60                  85                 5         156
6th Circuit Total                                     324             1,128              1,044               336       2,832
7th                     Greene                         17               39                  60                38         154
                        Jersey                          6               30                  43               145        224
                        Macoupin                       42              171                 113                89         415
                        Morgan                         26              133                 110               123         392
                        Sangamon                      238              402                 134               120        894
                        Scott                           2               12                  15                20          49
7th Circuit Total                                     331              787                475                535       2,128
8th                     Adams                         159              242                 106               165        672
                        Brown                           2               11                  13                 5          31
                        Calhoun                         0                0                   0                26          26
                        Cass                           21               21                  38                32         112
                        Mason                           8               26                  41                34         109
                        Menard                          2               12                  10                 6          30
                        Pike                            4               19                  53               196         272
                        Schuyler                        2               20                  50                17          89
8th Circuit Total                                     198              351                 311               481       1,341
9th                     Fulton                         31               41                  30                 0         102
                        Hancock                         8               25                  39                 0          72
                        Henderson                       7                9                  10                 0          26
                        Knox                           72               93                 103                 0        268
                        McDonough                      18               22                  41                 1          82
                        Warren                          2               13                  20                 0          35
9th Circuit Total                                     138              203                243                  1        585
10th                    Marshall                        4               13                  31                21          69
                        Peoria                         97              678                  93                91        959
                        Putnam                          0                3                   8                33          44
                        Stark                           4                7                   5                 3          19
                        Tazewell                      341              118                  30                92         581
10th Circuit Total                                    446              819                 167               240       1,672
11th                    Ford                            8               23                  49                12          92
                        Livingston                     13               55                  41               110         219
                        Logan                          20               41                  86                63         210
                        McLean                        196              446                407                  8       1,057
                        Woodford                        2               23                  55               206        286
11th Circuit Total                                    239              588                638                399       1,864




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ADULT RISK CLASSIFICATION

         Circuit                     County                   Maximum                     Medium                     Minimum             Unclassified   Total
12th                       Will                                  162                         528                         372                  104        1,166
13th                       Bureau                                   3                          36                          49                  66          154
                           Grundy                                   2                          17                        104                   42          165
                           LaSalle                                 29                        193                          177                  17         416
13th Circuit Total                                                 34                        246                         330                  125          735
14th                       Henry                                   73                          76                          32                   2          183
                           Mercer                                   2                          58                          17                   0           77
                           Rock Island                             82                        360                         763                  183        1,388
                           Whiteside                             100                         142                         221                    0         463
14th Circuit Total                                               257                         636                        1,033                 185        2,111
15th                       Carroll                                  5                          26                           3                  27           61
                           Jo Daviess                              16                          41                          43                  45          145
                           Lee                                     21                          73                          93                  37         224
                           Ogle                                    12                          38                        128                   47          225
                           Stephenson                              96                        183                           55                  55         389
15th Circuit Total                                               150                         361                         322                  211        1,044
16th                       Kane                                  308                         632                        1,005                 162        2,107
17th                       Boone                                   18                          59                        128                   16          221
                           Winnebago                             626                         892                         279                  223        2,020
17th Circuit Total                                               644                         951                         407                  239        2,241
18th                       DuPage                                684                        1,023                        966                    0        2,673
19th                       Lake                                   171                        939                         359                  213        1,682
20th                       Monroe                                   2                           8                           9                 212          231
                           Perry                                    0                          10                          14                 100          124
                           Randolph                                 1                         155                          12                  32         200
                           St. Clair                             409                         769                         239                  339        1,756
                           Washington                              15                           9                          18                  30           72
20th Circuit Total                                               427                         951                         292                  713        2,383
21st                       Iroquois                                21                          41                          58                  23          143
                           Kankakee                               177                        272                           81                   0          530
21st Circuit Total                                               198                         313                         139                   23         673
22nd                       McHenry                                 78                        296                         317                   80          771
23rd                       DeKalb                                  45                         113                          91                 110          359
                           Kendall                                  8                        132                           18                  42         200
23rd Circuit Total                                                 53                        245                         109                  152         559
Cook *                     Adult                                1,038                       4,406                       4,057               13,535      23,036
                           Social Service                        264                         295                        1,590                4,180       6,329
Cook County Total                                               1,302                       4,701                       5,647               17,715      29,365
Statewide Total                                                 7,088                      18,504                      17,605               23,925      67,122
*Cook county is separated into "Adult" and "Social Service"; Adult handles felony cases and Social Services handles misdemeanor cases.


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ADULT RISK CLASSIFICATION


                                                            2021 Adult Risk Classifications

                          Maximum




                            Medium
  Risk Classifications




                           Minimum




                         Unclassified




                                        0                5,000     10,000            15,000            20,000    25,000         30,000
                                                                      Total Number of Classified Clients




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ACTIVE JUVENILE CASELOAD
AS OF DECEMBER 31, 2021
      Circuit               County               Probation            Supervision               CUS     Informal   Other   Total   Admin. *
1st                  Alexander                        3                   0                       1         0        0        4       1
                     Jackson                         13                   0                      12         0        0       25       0
                     Johnson                          3                   0                       2         7        1       13       5
                     Massac                           5                    2                      0         0        0        7       0
                     Pope                             3                   0                       1         0        0        4       2
                     Pulaski                          0                    2                      0         0        0        2       0
                     Saline                           2                    2                      0         3        0        7       1
                     Union                            2                   0                       3         2        0        7       3
                     Williamson                      10                   0                       9         4        1       24       2
1st Circuit Total                                    41                   6                      28        16        2       93      14
2nd                  Crawford                        12                   0                       0         0        0       12       1
                     Edwards                          3                   0                       0         0        0        3       0
                     Franklin                        10                   0                       0        14        2       26       1
                     Gallatin                         1                   0                       2         0        0        3       0
                     Hamilton                         5                   0                       0         0        0        5       0
                     Hardin                           1                   0                       3         1        0        5       0
                     Jefferson                       14                    3                      0         0        2       19       0
                     Lawrence                         6                    3                      0         0        0        9       4
                     Richland                        29                   0                       4         0        0       33       4
                     Wabash                          13                    2                      0         0        0       15       7
                     Wayne                            4                   0                       2         0        0        6       1
                     White                           10                   0                       1         0        0       11       1
2nd Circuit Total                                   108                   8                      12        15        4      147      19
3rd                  Bond                             2                   0                      12         1        0       15       5
                     Madison                         56                   0                     112        16        0      184      32
3rd Circuit Total                                    58                   0                     124        17        0      199      37
4th                  Christian                       27                   0                      12         0        1       40       6
                     Clay                            11                    2                      4         7        0       24       4
                     Clinton                         19                   0                       8         0        0       27       9
                     Effingham                       11                   0                      11         0        0       22       9
                     Fayette                          8                   0                       2         0        2       12       4
                     Jasper                           4                    1                      1         0        0        6       0
                     Marion                          29                    2                      8         0        0       39       9
                     Montgomery                       1                   0                       1         0        1        3       8
                     Shelby                           9                   0                       5         0        0       14       4
4th Circuit Total                                   119                    5                     52         7        4      187      53
5th                  Clark                            1                   0                       0         0        0        1       2
                     Coles                           31                    1                      0         4        0       36      10
                     Cumberland                       2                    3                      1         0        1        7       2
                     Edgar                           12                   0                       0         0        0       12       1
                     Vermilion                       50                   0                      29         0        0       79       0
5th Circuit Total                                    96                   4                      30         4        1      135      15

*Cases are active but not under direct supervision due to low risk level, warrant, transfer out, etc.


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ACTIVE JUVENILE CASELOAD

      Circuit               County               Probation             Supervision               CUS     Informal   Other   Total   Admin. *
6th                   Champaign                      53                     0                      5         6        0       64       6
                      DeWitt                         6                      5                      0         0        0       11       5
                      Douglas                         2                     5                      0         3        0       10       0
                      Macon                          27                     0                     39         0        0       66       0
                      Moultrie                        9                     2                      0         1        1       13       2
                      Piatt                          4                      3                      0         1        0        8       0
6th Circuit Total                                   101                    15                     44        11        1      172      13
7th                   Greene                         4                      2                      0         0        0        6       1
                      Jersey                         12                     1                      8         0        0       21      4
                      Macoupin                       8                      3                     15         0        0       26       6
                      Morgan                          9                     3                      0        14        0       26       2
                      Sangamon                       66                    51                      9         0        0      126       2
                      Scott                           3                     0                      0         0        0        3       0
7th Circuit Total                                   102                    60                     32        14        0      208      15
8th                   Adams                          25                     0                      2         0        0       27       2
                      Brown                          0                      0                      0         0        0        0       0
                      Calhoun                         1                     0                      0         0        0        1       1
                      Cass                            2                     1                      3         0        0        6       1
                      Mason                           5                     0                      4         0        0        9       0
                      Menard                         0                      0                      0         0        0        0       1
                      Pike                           6                      0                     12         0        0       18       7
                      Schuyler                        1                     5                      0         0        0        6       0
8th Circuit Total                                   40                     6                      21         0        0       67      12
9th                   Fulton                          5                     0                      8         4        0       17       1
                      Hancock                         2                     0                      2         3        0        7       2
                      Henderson                       3                     0                      1         3        0        7       1
                      Knox                           16                     0                      7        10        0       33       1
                      McDonough                      15                     0                      6         8        0       29       2
                      Warren                          2                     0                      3         0        0        5       0
9th Circuit Total                                   43                     0                      27        28        0       98       7
10th                  Marshall                       4                      1                      0         0        0        5       5
                      Peoria                        219                     0                     25         0       11      255       0
                      Putnam                         4                      3                      0         0        1        8       0
                      Stark                          4                      0                      0         0        0        4       0
                      Tazewell                       42                     0                     20        11        0       73      11
10th Circuit Total                                  273                    4                      45        11       12      345      16
11th                  Ford                            3                     0                      1         0        0        4       7
                      Livingston                     23                     0                      2         9        0       34       0
                      Logan                           9                     2                      2         0        0       13       3
                      McLean                         59                     0                      7         4        0       70       0
                      Woodford                       47                     0                      9         0        4       60       0
11th Circuit Total                                  141                     2                     21        13        4      181      10
 *Cases are active but not under direct supervision due to low risk level, warrant, transfer out, etc.



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ACTIVE JUVENILE CASELOAD


       Circuit               County               Probation            Supervision                CUS    Informal   Other   Total   Admin. *
12th                  Will                           113                     0                     58       19       0       190      16
13th                  Bureau                          15                      3                     2        0       0        20       7
                      Grundy                           7                     8                      0        2       0        17       1
                      LaSalle                         23                     0                     24        3        1       51      17
13th Circuit Total                                    45                     11                    26        5        1       88      25
14th                  Henry                           16                     0                      1       21       0        38      61
                      Mercer                           4                     0                      0       17       0        21       2
                      Rock Island                     43                     0                     16       67       0       126     44
                      Whiteside                       12                      7                     0       13       0        32       6
14th Circuit Total                                    75                     7                     17      118       0       217     113
15th                  Carroll                          3                     0                      0        5       0         8       0
                      Jo Daviess                       1                     0                      0       16       0        17       0
                      Lee                              8                     0                      2        4       0        14       1
                      Ogle                            19                     22                     0        1       0        42       1
                      Stephenson                      36                     0                      8        2        3       49      27
15th Circuit Total                                    67                    22                     10       28        3      130     29
16th                  Kane                           153                     0                     49       14       0       216       5
17th                  Boone                           32                     0                      6        9       0        47       0
                      Winnebago                      207                     0                     38        8       12      265      15
17th Circuit Total                                   239                     0                     44       17       12      312      15
18th                  DuPage                          87                      1                    81       70       0       239     29
19th                  Lake                            71                     0                     46        5       0       122       3
20th                  Monroe                           2                     0                      4        0       0         6       1
                      Perry                            6                     0                      4        0       0        10       0
                      Randolph                         5                     0                      6        0       0        11       1
                      St. Clair                      108                    48                      0        1       0       157      25
                      Washington                       3                     0                      1        0       0         4       7
20th Circuit Total                                   124                    48                     15        1       0       188     34
21st                  Iroquois                        18                     0                      0        3       0        21       1
                      Kankakee                        49                     0                     10        6       0        65       0
21st Circuit Total                                    67                     0                     10        9       0        86       1
22nd                  McHenry                         18                     0                     60       33       0       111      4
23rd                  DeKalb                          12                      1                    25        0       8        46       6
                      Kendall                         29                     4                     18        8       0        59     64
23rd Circuit Total                                    41                     5                     43        8       8       105     70
Cook                  Cook                           513                    113                    89      197       0       912      67
Statewide Total                                     2,735                   317                   984      660       52     4,748    622

 *Cases are active but not under direct supervision due to low risk level, warrant, transfer out, etc.



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ACTIVE JUVENILE CASELOAD



                       2021
                       2021 Statewide
                            Statewide Active
                                      Active Juvenile
                                             Juvenile Caseload
                                                      Caseload
                                                          1%
                                                                 7%




                                                                                14%




                                                                                                                m= Other
                                                                                                                   Other
                                                                                                                E Supervision
                                                                                                                  Supervision
                                                                                                                = Informal
                                                                                                                  Informal
                                                                                                                = CUS
                                                                                                                  CUS
                             57%                                                                                = Probation
                                                                                                                  Probation


                                                                                   21%




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161   IL
      IL COURTS
         COURTS ANNUAL
                ANNUAL REPORT
                       REPORT 2021
                              2021
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JUVENILE INVESTIGATIONS REPORT
TOTALS FOR THE YEAR 2021
      Circuit             County        Social History   Adoption   Contested Custody   Supp. Social Hist.   Intake Screening   Other   Total

1st                 Alexander                 2             0               0                   0                   0             0       2
                    Jackson                  4              0               0                   0                   4             0       8
                    Johnson                   1             0               0                   0                   0             0       1
                    Massac                    0             0               0                   0                   0             0       0
                    Pope                      2             0               0                   0                   0             0       2
                    Pulaski                   0             0               0                   0                   0             0       0
                    Saline                    0             0               0                   0                  14             0      14
                    Union                     5             0               0                   0                   0             0       5
                    Williamson                3             0               0                   1                  55             0      59
1st Circuit Total                            17             0               0                   1                  73            0       91
2nd                 Crawford                  0             0               0                   0                   0             0       0
                    Edwards                   0             0               0                   0                   0             0       0
                    Franklin                  2             0               0                   0                   0             0       2
                    Gallatin                  0             0               0                   0                   0             0       0
                    Hamilton                  0             0               0                   0                   0             0       0
                    Hardin                    0             0               0                   0                   0             0       0
                    Jefferson                 5             0               0                   0                   0             0       5
                    Lawrence                  0             0               0                   0                   0             0       0
                    Richland                  0             0               0                   0                   0             0       0
                    Wabash                    0             0               0                   0                   0             0       0
                    Wayne                     3             0               0                   2                   0             0       5
                    White                     1             0               0                   0                   0             0       1
2nd Circuit Total                            11             0               0                   2                   0            0       13
3rd                 Bond                      0             0               0                   0                   0            10      10
                    Madison                   9             0               0                   0                  64            89     162
3rd Circuit Total                             9             0               0                   0                  64            99     172
4th                 Christian                 0             0               0                   0                   1             1       2
                    Clay                      1             0               0                   0                   0             0       1
                    Clinton                  4              0               0                   0                   0             2       6
                    Effingham                 0             0               0                   0                   0             0       0
                    Fayette                   0             0               0                   0                   0             2       2
                    Jasper                    0             0               0                   0                   0             0       0
                    Marion                    1             0               0                   0                   0             0       1
                    Montgomery                0             0               0                   0                   0             0       0
                    Shelby                    1             0               0                   0                   0             0       1
4th Circuit Total                             7             0               0                   0                   1             5      13
5th                 Clark                     0             0               0                   0                   0             0       0
                    Coles                     0             0               0                   0                   0             0       0
                    Cumberland                0             0               0                   0                   0             0       0
                    Edgar                     1             0               0                   0                   0             0       1
                    Vermilion                28             0               0                   0                   0             1      29
5th Circuit Total                            29             0               0                   0                   0             1     30




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JUVENILE INVESTIGATIONS REPORT


      Circuit              County        Social History   Adoption   Contested Custody   Supp. Social Hist.   Intake Screening   Other   Total

6th                  Champaign                 41            0               0                   3                    0            71     115
                     DeWitt                     1            0               0                   0                    0             0       1
                     Douglas                    0            0               0                   0                    0             0       0
                     Macon                     10            0               0                   1                    0            18      29
                     Moultrie                   0            0               0                   0                    0             0       0
                     Piatt                      0            0               0                   0                    0             0       0
6th Circuit Total                              52            0               0                  4                    0            89      145
7th                  Greene                     0            0               0                   0                    0             0       0
                     Jersey                     1            0               0                   0                    0             0       1
                     Macoupin                   0            0               0                   1                    0             0       1
                     Morgan                     6            0               0                   1                   76             9      92
                     Sangamon                  20            0               0                   0                  186           411     617
                     Scott                      0            0               0                   0                    0             0       0
7th Circuit Total                              27            0               0                   2                  262           420     711
8th                  Adams                     27            0               0                  10                    3             0      40
                     Brown                      0            0               0                   0                    0             0       0
                     Calhoun                    0            0               0                   0                    0             0       0
                     Cass                       2            0               0                   0                    0             0       2
                     Mason                      2            0               0                   0                    0             7       9
                     Menard                     0            0               0                   0                    0             0       0
                     Pike                       2            0               0                   0                    0             0       2
                     Schuyler                   0            0               0                   0                    0             0       0
8th Circuit Total                              33            0               0                  10                    3             7      53
9th                  Fulton                     1            0               0                   0                   38             5      44
                     Hancock                    0            0               0                   0                   12             6      18
                     Henderson                  1            0               0                   0                   11             5      17
                     Knox                       0            0               0                   0                   13           40       53
                     McDonough                  5            0               0                   0                   62            27      94
                     Warren                     1            0               0                   0                   13            10      24
9th Circuit Total                              8             0               0                   0                  149            93     250
10th                 Marshall                   1            0               0                   0                    0             0       1
                     Peoria                   132            1               0                  41                    0            99     273
                     Putnam                     1            0               0                   0                    0             0       1
                     Stark                      0            0               0                   0                    0             0       0
                     Tazewell                   8            0               0                   0                  138            59     205
10th Circuit Total                            142            1               0                  41                  138           158     480
11th                 Ford                       6            0               0                   0                    0             0       6
                     Livingston                 1            0               0                   0                  121             0     122
                     Logan                      0            0               0                   0                    0             0       0
                     McLean                    36            0               0                  80                 1,641           15    1,772
                     Woodford                  19            0               0                   0                    0             0      19
11th Circuit Total                             62            0               0                  80                 1,762           15    1,919




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JUVENILE INVESTIGATIONS REPORT


       Circuit              County        Social History   Adoption   Contested Custody   Supp. Social Hist.   Intake Screening   Other   Total

12th                 Will                       4             0               0                   0                  232             0     236
13th                 Bureau                      2            0               0                   0                   12             0      14
                     Grundy                      0            0               0                   0                   23             0      23
                     LaSalle                     3             2              0                   0                   34             1      40
13th Circuit Total                               5            2               0                   0                   69             1      77
14th                 Henry                       2            0               0                   0                   68            37     107
                     Mercer                      2            0               0                   0                    0             1       3
                     Rock Island                51            0               0                   8                  136           233     428
                     Whiteside                   0            0               0                   0                   49            14      63
14th Circuit Total                              55            0               0                   8                  253           285     601
15th                 Carroll                     0            0               0                   0                    0             0       0
                     Jo Daviess                  0            0               0                   0                    0             0       0
                     Lee                         2            0               0                   0                   23            72      97
                     Ogle                        0            0               0                   0                   36             2      38
                     Stephenson                  2            0               0                   0                    0             0       2
15th Circuit Total                              4             0               0                   0                   59            74     137
16th                 Kane                      126            0               0                  224                  62           422     834
17th                 Boone                       4            0               0                   0                   48             0      52
                     Winnebago                  12            0               1                   22                 439             0     474
17th Circuit Total                              16            0               1                   22                 487             0     526
18th                 DuPage                    151            51              0                   0                    0            91     293
19th                 Lake                      114             1              0                   21                  30           140     306
20th                 Monroe                      0            0               0                   0                    0             0       0
                     Perry                       1            0               0                   0                    0             0       1
                     Randolph                    6            0               0                   0                    0             1       7
                     St. Clair                  24            0               0                   8                    0             3      35
                     Washington                  0            0               0                   0                    0             0       0
20th Circuit Total                              31            0               0                   8                    0            4       43
21st                 Iroquois                    0            0               0                   0                    9            13      22
                     Kankakee                    7            0               0                    1                  73           111     192
21st Circuit Total                               7            0               0                    1                  82           124     214
22nd                 McHenry                   44             0               0                    1                  55             5     105
23rd                 DeKalb                      0            0               0                   0                    0            60      60
                     Kendall                    29            0               0                    5                  38            73     145
23rd Circuit Total                              29            0               0                    5                  38           133     205
Cook                 Cook                      355            0               0                   25                  10             0     390
Statewide Total                               1,338           55              1                  455                3,829         2,166   7,844




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JUVENILE INVESTIGATIONS REPORT


                                                                  Statewide Juvenile Investigations
                                  4,500


                                  4,000


                                  3,500
 Total Number of Investigations




                                  3,000


                                  2,500


                                  2,000


                                  1,500


                                  1,000


                                   500


                                     0
                                              Social Support History    Social History                  Other          Intake Screening
                                                                                   Investigation Type




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JUVENILE RISK CLASSIFICATION
AS OF DECEMBER 31, 2021
         Circuit                County            Maximum           Medium            Minimum          Unclassified   Total
1st                     Alexander                      0                0                  3                  1          4
                        Jackson                        0                0                  5                 20         25
                        Johnson                        0                1                  1                 11         13
                        Massac                         0                1                  5                  1          7
                        Pope                           0                1                  1                  2          4
                        Pulaski                        0                0                  0                  2          2
                        Saline                         0                1                  3                  3          7
                        Union                          0                1                  3                  3          7
                        Williamson                     0                5                  9                 10         24
1st Circuit Total                                      0               10                 30                 53         93
2nd                     Crawford                       6                4                  2                  0         12
                        Edwards                        0                0                  1                  2          3
                        Franklin                       1                5                 19                  1         26
                        Gallatin                       0                0                  3                  0          3
                        Hamilton                       0                1                  1                  3          5
                        Hardin                         1                0                  4                  0          5
                        Jefferson                      0                1                  6                 12         19
                        Lawrence                       0                1                  8                  0          9
                        Richland                       4               13                 11                  5         33
                        Wabash                         1                7                  7                  0         15
                        Wayne                          0                3                  1                  2          6
                        White                          0               11                  0                  0         11
2nd Circuit Total                                     13              46                  63                 25        147
3rd                     Bond                           1                0                 13                  1         15
                        Madison                        7               74                 84                 19        184
3rd Circuit Total                                      8              74                  97                 20        199
4th                     Christian                      0               19                 21                  0         40
                        Clay                           0                2                  6                 16         24
                        Clinton                        6               14                  5                  2         27
                        Effingham                      4                2                 11                  5         22
                        Fayette                        2                4                  4                  2         12
                        Jasper                         0                0                  4                  2          6
                        Marion                         1                4                 21                 13         39
                        Montgomery                     0                0                  3                  0          3
                        Shelby                         0                2                 10                  2         14
4th Circuit Total                                     13              47                  85                 42        187
5th                     Clark                          0                0                  0                  1          1
                        Coles                          0                6                 16                 14         36
                        Cumberland                     0                0                  1                  6          7
                        Edgar                          0                0                 12                  0         12
                        Vermilion                     13               19                 47                  0         79
5th Circuit Total                                     13               25                 76                 21        135




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JUVENILE RISK CLASSIFICATION

         Circuit                 County            Maximum           Medium            Minimum          Unclassified   Total
6th                     Champaign                       3               17                 30                 14         64
                        DeWitt                          0                1                  1                  9         11
                        Douglas                         0                0                  9                  1         10
                        Macon                           8               18                 39                  1         66
                        Moultrie                        0                0                  4                  9         13
                        Piatt                           1                3                  3                  1          8
6th Circuit Total                                      12               39                 86                 35        172
7th                     Greene                          0                1                  0                  5          6
                        Jersey                          0                0                  5                 16         21
                        Macoupin                        2                3                 13                  8         26
                        Morgan                          4               14                  5                  3         26
                        Sangamon                       25               47                 39                 15        126
                        Scott                           0                1                  0                  2          3
7th Circuit Total                                      31               66                 62                49         208
8th                     Adams                           0               11                 13                  3         27
                        Brown                           0                0                  0                  0          0
                        Calhoun                         0                0                  0                  1          1
                        Cass                            0                1                  2                  3          6
                        Mason                           0                0                  9                  0          9
                        Menard                          0                0                  0                  0          0
                        Pike                            0                0                  4                 14         18
                        Schuyler                        0                1                  3                  2          6
8th Circuit Total                                       0               13                 31                 23         67
9th                     Fulton                          1                6                 10                  0         17
                        Hancock                         0                3                  4                  0          7
                        Henderson                       0                4                  3                  0          7
                        Knox                            0               17                 10                  6         33
                        McDonough                       3               14                  9                  3         29
                        Warren                          0                0                  4                  1          5
9th Circuit Total                                       4               44                 40                 10         98
10th                    Marshall                        0                1                  1                  3          5
                        Peoria                         33              110                 92                 20        255
                        Putnam                          0                0                  2                  6          8
                        Stark                           1                0                  2                  1          4
                        Tazewell                        9               35                 22                  7         73
10th Circuit Total                                     43              146                119                 37        345
11th                    Ford                            1                0                  3                  0          4
                        Livingston                      2                9                 13                 10         34
                        Logan                           0                0                 11                  2         13
                        McLean                          7               33                 30                  0         70
                        Woodford                        7               14                 11                 28         60
11th Circuit Total                                     17               56                 68                40         181




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JUVENILE RISK CLASSIFICATION

         Circuit                  County           Maximum           Medium            Minimum          Unclassified   Total
12th                    Will                          17                 76                76                 21        190
13th                    Bureau                         1                  5                 8                  6         20
                        Grundy                         0                  0                16                  1          17
                        LaSalle                        3                 35                13                  0          51
13th Circuit Total                                     4                40                 37                  7         88
14th                    Henry                          4                 23                 6                  5         38
                        Mercer                         4                  1                16                  0          21
                        Rock Island                   36                 47                14                 29        126
                        Whiteside                      0                  5                27                  0          32
14th Circuit Total                                    44                 76                63                 34        217
15th                    Carroll                        0                  3                 3                  2           8
                        Jo Daviess                     0                  0                 2                 15          17
                        Lee                            1                  9                 3                  1         14
                        Ogle                           0                  6                33                  3         42
                        Stephenson                     6                 15                 4                 24         49
15th Circuit Total                                     7                 33                45                 45        130
16th                    Kane                          34                 81                91                 10        216
17th                    Boone                          2                 32                12                  1         47
                        Winnebago                     57                125                49                 34        265
17th Circuit Total
                                                      59                157                61                 35        312
18th                    DuPage                        24                 82                63                 70        239
19th                    Lake                          16                 78                24                  4        122
20th                    Monroe                         0                  0                 0                  6           6
                        Perry                          0                  1                 0                  9          10
                        Randolph                       1                  4                 1                  5          11
                        St. Clair                      6                 56                74                 21        157
                        Washington                     0                  0                 0                  4           4
20th Circuit Total                                     7                 61                75                 45        188
21st                    Iroquois                       2                 11                 2                  6          21
                        Kankakee                       5                 43                17                  0         65
21st Circuit Total
                                                       7                 54                19                  6         86
22nd                    McHenry                        6                 25                72                  8         111
23rd                    DeKalb                         6                 15                12                 13         46
                        Kendall                        5                 30                 8                 16          59
23rd Circuit Total
                                                      11                 45                20                 29        105
Cook                    Cook                         102               394                416                  0        912
Statewide Total                                      492              1,768              1,819               669       4,748




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JUVENILE RISK CLASSIFICATION


                                                        2021 Juvenile Risk Classification

                         Maximum




                           Medium
  Risk Classification




                          Minimum




                        Unclassified




                                       0      200        400    600      800       1,000       1,200       1,400   1,600   1,800   2,000
                                                                      Total Number of Classified Clients




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JUVENILE PETITIONS CONTINUED UNDER SUPERVISION/ ADJUDICATIONS
TOTALS FOR THE YEAR 2021
                                                    Continued Under Supervision                      Adjudication
         Circuit                  County                              I                                 I                     Total
                                                  Delinquency                Truancy   Delinquency                  Truancy
1st                     Alexander                         0                      0             3                        0       3
                        Jackson                          10                      0            12                        0      22
                        Johnson                           4                      0             3                        0       7
                        Massac                            0                      0             5                        0       5
                        Pope                              2                      0             6                        0       8
                        Pulaski                           0                      0             0                        0       0
                        Saline                            0                      0             4                        0       4
                        Union                             3                      0             9                        0      12
                        Williamson                        3                      0            10                        0      13
1st Circuit Total                                        22                      0            52                        0      74
2nd                     Crawford                          0                      0             0                        0       0
                        Edwards                           0                      0             0                        0       0
                        Franklin                          0                      0             0                        0       0
                        Gallatin                          2                      0             0                        0       2
                        Hamilton                          0                      0             0                        0       0
                        Hardin                            0                      0             1                        0       1
                        Jefferson                         4                      0            25                        0      29
                        Lawrence                          3                      0             8                        0      11
                        Richland                          4                      0             2                        0       6
                        Wabash                            0                      0             0                        0       0
                        Wayne                             1                      0             6                        0       7
                        White                             0                      0             0                        0       0
2nd Circuit Total                                        14                      0            42                        0      56
3rd                     Bond                              0                      0            10                        0      10
                        Madison                         124                      0            55                        0     179
3rd Circuit Total                                      124                       0            65                        0     189
4th                     Christian                        14                      0            22                        0      36
                        Clay                              3                      0             9                        0      12
                        Clinton                          11                      2            14                        0      27
                        Effingham                        15                      0            10                        0      25
                        Fayette                           5                      0            14                        0      19
                        Jasper                            9                      0             2                        0      11
                        Marion                            7                      0            30                        0      37
                        Montgomery                        3                      0             3                        0       6
                        Shelby                            7                      0            11                        0      18
4th Circuit Total                                        74                      2           115                        0     191
5th                     Clark                             0                      0             1                        0       1
                        Coles                             1                      0            42                        0      43
                        Cumberland                        3                      0             5                        0       8
                        Edgar                             1                      0             9                        0      10
                        Vermilion                         0                      0            62                        0      62
5th Circuit Total                                         5                      0           119                        0     124




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JUVENILE PETITIONS CONTINUED UNDER SUPERVISION/ADJUDICATIONS

                                                                     I                                 I


                                                   Continued Under Supervision                      Adjudication
         Circuit                County                                                                                       Total
                                                 Delinquency                Truancy   Delinquency                  Truancy
6th                     Champaign                       3                       0            44                        0      47
                        DeWitt                          0                       0            16                        0      16
                        Douglas                         5                       0             2                        0       7
                        Macon                          37                       0            20                        0      57
                        Moultrie                        3                       0             8                        0      11
                        Piatt                           0                       0             5                        0       5
6th Circuit Total                                      48                       0            95                        0     143
7th                     Greene                          0                       0             4                        0       4
                        Jersey                          8                       0            14                        0      22
                        Macoupin                        0                       0            28                        0      28
                        Morgan                          0                       0             8                        0       8
                        Sangamon                        7                       0            32                        0      39
                        Scott                           0                       0             2                        0       2
7th Circuit Total                                      15                       0            88                        0     103
8th                     Adams                           2                       0            27                        0      29
                        Brown                           0                       0             0                        0       0
                        Calhoun                         0                       0             0                        0       0
                        Cass                            3                       0             2                        0       5
                        Mason                           0                       0             6                        0       6
                        Menard                          0                       0             2                        0       2
                        Pike                           10                       0            10                        0      20
                        Schuyler                        0                       0             4                        0       4
8th Circuit Total                                      15                       0            51                        0      66
9th                     Fulton                         10                       0             6                        0      16
                        Hancock                         2                       0             1                        0       3
                        Henderson                       0                       0             2                        0       2
                        Knox                           12                       0            21                        0      33
                        McDonough                       7                       0             8                        0      15
                        Warren                          1                       0             2                        0       3
9th Circuit Total                                      32                       0            40                        0      72
10th                    Marshall                        0                       0            12                        0      12
                        Peoria                         14                       0           147                        0     161
                        Putnam                          3                       0             3                        0       6
                        Stark                           0                       0             2                        0       2
                        Tazewell                       29                       0            44                        0      73
10th Circuit Total                                     46                       0          208                         0     254
11th                    Ford                            0                       0             1                        0       1
                        Livingston                      0                       0            19                        0      19
                        Logan                           1                       0             9                        0      10
                        McLean                          2                       0            36                        0      38
                        Woodford                        5                       0            18                        0      23
11th Circuit Total                                      8                       0            83                        0      91




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JUVENILE PETITIONS CONTINUED UNDER SUPERVISION/ADJUDICATIONS

                                                                     I                                 I

                                                   Continued Under Supervision                      Adjudication
         Circuit                  County                                                                                     Total
                                                 Delinquency                Truancy   Delinquency                  Truancy
12th                    Will                          14                         0          94                        0       108
13th                    Bureau                         3                         0          11                        0        14
                        Grundy                        10                         0           7                        0        17
                        LaSalle                       18                         0          25                        0        43
13th Circuit Total                                    31                         0          43                        0        74
14th                    Henry                          0                         0          19                        0        19
                        Mercer                         0                         0           7                        0         7
                        Rock Island                   23                         0          57                        0        80
                        Whiteside                      0                         0          16                        1        17
14th Circuit Total                                    23                         0          99                        1       123
15th                    Carroll                        0                         0           2                        0         2
                        Jo Daviess                     0                         0           0                        0         0
                        Lee                            1                         0           7                        0         8
                        Ogle                           0                         0          53                        0        53
                        Stephenson                    11                         0          37                        0        48
15th Circuit Total                                    12                         0          99                        0       111
16th                    Kane                          43                         0          85                        0       128
17th                    Boone                          6                         0          56                        0        62
                        Winnebago                     32                         0          60                        0        92
17th Circuit Total                                    38                         0         116                        0       154
18th                    DuPage                        57                         0          69                        0       126
19th                    Lake                           0                         0         145                        0       145
20th                    Monroe                         1                         0           0                        0         1
                        Perry                          0                         0           2                        0         2
                        Randolph                       3                         0           7                        0        10
                        St. Clair                      0                         0           0                        0         0
                        Washington                     7                         0           2                        0         9
20th Circuit Total                                    11                         0          11                        0        22
21st                    Iroquois                       0                         0          16                        0        16
                        Kankakee                      10                         0          39                        0        49
21st Circuit Total                                    10                         0          55                        0        65
22nd                    McHenry                        7                         0          10                        0        17
23rd                    DeKalb                        26                         0          11                        0        37
                        Kendall                       13                         1          54                        7        75
23rd Circuit Total                                    39                         1          65                        7       112
Cook                    Cook                           0                         0         733                        0       733
Statewide Total                                      688                         3        2,582                       8      3,281




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JUVENILE PROGRAMS ORDERED
TOTALS FOR THE YEAR 2021
      Circuit       County
                       I       Alcohol      IDrug   Alcohol
                                                       I & Drug Youth
                                                                 I Services Mental
                                                                            I      Health   I   Alt. Ed.   I   TASC   I   UDIS I   JTPA
                                                                                                                                      I   Other   Total
1st             Alexander        0           0           0            0            0              0             0          0        0      0       0
                Jackson          0           0           0            0             1             0             0          0        0      63     64
                Johnson          0           0           1            0            0              0             0          0        0      1       2
                Massac           0           0           2            0            0              0             0          0        0      6       8
                Pope             0           0           0            0            0              0             0          0        0      1       1
                Pulaski          0           0           0            0            0              0             0          0        0      0       0
                Saline           0           0           0            0            0              0             0          0        0      0       0
                Union            0           1           1             1           0              0             0          0        0      53      56
                Williamson       0           0           1            3            0              0             0          0        0      41     45
1st Circuit Total                0           1           5            4             1             0             0          0        0     165     176
2nd               Crawford       0           0           0            0            0              0             0          0        0      0       0
                  Edwards        0           0           0            0            0              0             0          0        0      0       0
                  Franklin       0           0           11           0             1             0             0          0        0      3       15
                  Gallatin       1           0           0            0            0              0             0          0        0      0       1
                  Hamilton       0           0           0            0            0              0             0          0        0      0       0
                  Hardin         0           0           1            0            0              0             0          0        0      0       1
                  Jefferson      0           0           0            0            0              0             0          0        0      0       0
                  Lawrence       0           0           1            0            0              0             0          0        0      0       1
                  Richland       0           0           2            0            0              0             0          0        0      0       2
                  Wabash         0           0           0            0            0              0             0          0        0      0       0
                  Wayne          0           0           2            0            0              0             0          0        0      0       2
                  White          0           0           0            0            0              0             0          0        0      0       0
2nd Circuit Total                1           0           17           0             1             0             0          0        0      3       22
3rd               Bond           0           0           0            0            0              0             0          0        0      8       8
                  Madison        1           13          0            0            16             0             0          0        0     135     165
3rd Circuit Total                1           13          0            0            16             0             0          0        0     143     173
4th               Christian      0           0           2            0            2              0             0          0        0     100     104
                  Clay           0           0           0             1           0              0             3          0        0      26     30
                  Clinton        0           1           1            0            2              0             0          0        0     30      34
                  Effingham      0           0           0            0            0              0             0          0        0     24      24
                  Fayette        0           0           4            0            3              0             0          0        0      11      18
                  Jasper         0           0           0            0            0              0             0          0        0      0       0
                  Marion         0           0           19           14           29             13            0          0        0      73     148
                  Montgomery     0           0           0            0            0              0             0          0        0     24      24
                  Shelby         0           1           0            0            3              0             0          0        0      0       4
4th Circuit Total                0           2           26           15           39             13            3          0        0     288     386
5th               Clark          0           0           1            0             1             0             0          0        0      0       2
                  Coles          0           0           3            0            22             0             0          0        0     20      45
                  Cumberland     0           0           0            0            0              0             0          0        0      0       0
                  Edgar          0           1           0            0            4              0             0          0        0      0       5
                  Vermilion      1           0           0            0            2              0             0          0        0     243     246
5th Circuit Total                1           1           4            0            29             0             0          0        0     263     298




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JUVENILE PROGRAMS ORDERED
                        I                   I          I              I               I               I              I          I          I        I


      Circuit        County    Alcohol      Drug    Alcohol & Drug   Youth Services   Mental Health       Alt. Ed.       TASC       UDIS       JTPA     Other   Total
6th             Champaign        0              0           3             0                0                0             0          0          0        1       4
                DeWitt           0              0          0              0                5                0             0          0          0        7       12
                Douglas          0              0           1             0                3                0             0          0          0        4       8
                Macon            1              0          0              0                15               0             0          0          0       98      114
                Moultrie         0              0          0              0                0                0             0          0          0        0       0
                Piatt            0              0           2             0                 1               1             0          0          0        0       4
6th Circuit Total                1              0          6              0                24               1             0          0          0       110     142
7th               Greene         0              0          0              0                0                0             0          0          0        0       0
                  Jersey         0              0           1             0                5                0             0          0          0        0       6
                  Macoupin       9              1          4              0                10               0             0          0          0        4       28
                  Morgan         0              0           5             0                11               0             0          0          0        0       16
                  Sangamon       0              1          4              0                6                0             0          0          0       28       39
                  Scott          0              0          0              0                0                0             0          0          0        0       0
7th Circuit Total                9              2          14             0                32               0             0          0          0       32      89
8th               Adams          0              1          38             0                43               0             0          0          0       45      127
                  Brown          0              0          0              0                0                0             0          0          0        0       0
                  Calhoun        0              0          0              0                 1               0             0          0          0        0        1
                  Cass           0              0          0              0                0                0             0          0          0        4       4
                  Mason          0              0          0              0                0                0             0          0          0        0       0
                  Menard         0              0          0              0                2                0             0          0          0        0       2
                  Pike           0              1           3             0                8                1             0          0          0        0       13
                  Schuyler       0              1          0              0                 1               0             0          0          0        0       2
8th Circuit Total                0              3          41             0                55               1             0          0          0       49      149
9th               Fulton         0              0           5             0                6                0             0          0          0        9      20
                  Hancock        0              0           1             0                3                0             0          0          0       10       14
                  Henderson      0              0           2             0                0                0             0          0          0        6       8
                  Knox           0              0           5             0                8                0             0          0          0       16       29
                  McDonough      0              0           3             0                8                0             0          0          0       16       27
                  Warren         0              0           1             0                0                0             0          0          0        0        1
9th Circuit Total                0              0          17             0                25               0             0          0          0       57      99
10th              Marshall       0              0          0              0                0                0             0          0          0        2       2
                  Peoria         0              0          12             34               6                0             0          0          4        1       57
                  Putnam         0              0          0              0                 1               0             0          0          0        0        1
                  Stark          0              0          0              0                 1               1             0          0          0        0       2
                  Tazewell       0              0          0              0                7                0             0          0          0       13      20
10th Circuit Total               0              0          12             34               15               1             0          0          4       16      82
11th              Ford           0              0          0              0                 1               0             0          0          0        3       4
                  Livingston     0              0          4              0                5                0             0          0          0       10       19
                  Logan          0              0          0              0                3                0             0          0          0       20       23
                  McLean         0              0          13             3                6                8             0          0          0        11      41
                  Woodford       0              0          28             0                13               0             0          0          0        2      43
11th Circuit Total               0              0          45             3                28               8             0          0          0       46      130




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JUVENILE PROGRAMS ORDERED
                              I                I           I             I              I               I              I          I          I        I

       Circuit           County   Alcohol      Drug     Alcohol & Drug Youth Services   Mental Health       Alt. Ed.       TASC       UDIS       JTPA     Other   Total
12th              Will              2              23          13            0               56               0             0          0          0       178     272
13th              Bureau            0              0           1             0                0               0             0          0          0        25      26
                  Grundy            0              0           1             0                2               0             0          0          0        68      71
                  LaSalle           0              0           1             0               17               0             0          0          0        4       22
13th Circuit Total                  0              0           3             0               19               0             0          0          0        97     119
14th              Henry             0              0           4             0                2               0             0          0          0        52      58
                  Mercer            0              0           4             0                7               0             0          0          0        20      31
                  Rock Island       0              0           25            28              41               0             0          0          8       102     204
                  Whiteside         0              0           1             0               11               0             0          0          0        12      24
14th Circuit Total                  0              0           34            28              61               0             0          0          8       186     317
15th              Carroll           0              0           0             0                2               0             0          0          0        5       7
                  Jo Daviess        0              0           0             0                1               0             0          0          0        2       3
                  Lee               1              1           2             0                2               1             0          0          0        2       9
                  Ogle              0              0           0             0                1               0             0          0          0       122     123
                  Stephenson        0              0           1             0                5               0             0          0          0       110     116
15th Circuit Total                  1              1           3             0               11               1             0          0          0       241     258
16th              Kane              3              9           29            0               29               0             0          0          0        24      94
17th              Boone             0              0           28            0                7               0             0          0          0        0       35
                  Winnebago         0              0           167           19              108             128            0          0          0        7      429
17th Circuit Total                  0              0           195           19              115             128            0          0          0        7      464
18th              DuPage            0              0           0             0                0               0             0          0          0        0       0
19th              Lake              0              0           40            0               87               0             0          0          0       259     386
20th              Monroe            0              0           0             0                0               0             0          0          0        4       4
                  Perry             0              0           0             0                1               0             0          0          0        1       2
                  Randolph          0              1           0             4                4               0             0          0          0        9       18
                  St. Clair         0              0           65            0               77               0             0          0          0        1      143
                  Washington        0              0           0             0                0               0             0          0          0        4       4
20th Circuit Total                  0              1           65            4               82               0             0          0          0        19     171
21st              Iroquois          0              0           0             0                1               0             0          0          0        0       1
                  Kankakee          0              0           0             0                0               0             0          0          0        0       0
21st Circuit Total                  0              0           0             0                1               0             0          0          0        0       1
22nd              McHenry           1              2           13            0               14               0             0          0          0        0       30
23rd              DeKalb            0              2           2             0               19               6             0          0          0        70      99
                  Kendall           0              2           33            0               41               2             0          0          0       191     269
23rd Circuit Total                  0              4           35            0               60               8             0          0          0       261     368
Cook              Cook              0              0           12            12              12               0             12         0          0        0       48
Statewide Total                    20              62          629           119             812             161            15         0         12       2,444   4,274




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JUVENILE PLACEMENTS
TOTALS FOR THE YEAR 2021
                                         Placed in Foster Home           Placed in Group Home            Placed in Treatment             Placed with Relative
        Circuit            County                                                                                                                                     Total
                                      In State         Out of State   In State        Out of State   In State         Out of State   In State          Out of State
 1st                 Alexander           0                  0            0                 0            0                  0            0                   0          0
                     Jackson             0                  0            0                 0            0                  0            0                   0          0
                     Johnson             0                  0            0                 0            0                  0            0                   0          0
                     Massac              0                  0            0                 0            0                  0            0                   0          0
                     Pope                0                  0            0                 0            0                  0            0                   0          0
                     Pulaski             0                  0            0                 0            0                  0            0                   0          0
                     Saline              0                  0            0                 0            0                  0            0                   0          0
                     Union               0                  0            0                 0            0                  0            0                   0          0
                     Williamson          0                  0            0                 0            0                  0            0                   0          0
 1st Circuit Total                       0                  0            0                 0            0                  0            0                   0          0
 2nd                 Crawford            0                  0            0                 0            0                  0            0                   0          0
                     Edwards             0                  0            0                 0            0                  0            0                   0          0
                     Franklin            0                  0            0                 0            0                  0            0                   0          0
                     Gallatin            0                  0            0                 0            0                  0            0                   0          0
                     Hamilton            0                  0            0                 0            0                  0            0                   0          0
                     Hardin              0                  0            0                 0            0                  0            0                   0          0
                     Jefferson           0                  0            0                 0            0                  0            0                   0          0
                     Lawrence            0                  0            0                 0            0                  0            0                   0          0
                     Richland            0                  0            0                 0            0                  0            0                   0          0
                     Wabash              0                  0            0                 0            0                  0            0                   0          0
                     Wayne               0                  0            0                 0            0                  0            1                   0          1
                     White               0                  0            0                 0            0                  0            0                   0          0
 2nd Circuit Total                       0                  0            0                 0            0                  0            1                   0          1
 3rd                 Bond                0                  0            0                 0            0                  0            0                   0          0
                     Madison             6                  0            2                 0            0                  0            1                   0          9
 3rd Circuit Total                       6                  0            2                 0            0                  0            1                   0          9
 4th                 Christian           0                  0            0                 0            0                  0            0                   0          0
                     Clay                0                  0            0                 0            0                  0            0                   0          0
                     Clinton             1                  0            0                 0            2                  0            0                   0          3
                     Effingham           0                  0            0                 0            0                  0            0                   0          0
                     Fayette             0                  0            0                 0            0                  0            0                   0          0
                     Jasper              0                  0            0                 0            0                  0            0                   0          0
                     Marion              0                  0            0                 0            0                  0            0                   0          0
                     Montgomery          0                  0            0                 0            0                  0            0                   0          0
                     Shelby              0                  0            0                 0            0                  0            0                   0          0
 4th Circuit Total                       1                  0            0                 0            2                  0            0                   0          3
 5th                 Clark               0                  0            0                 0            0                  0            0                   0          0
                     Coles               0                  0            0                 0            0                  0            0                   0          0
                     Cumberland          0                  0            0                 0            0                  0            0                   0          0
                     Edgar               0                  0            0                 0            0                  0            0                   0          0
                     Vermilion           0                  0            0                 0            0                  0            0                   1          1
 5th Circuit Total                       0                  0            0                 0            0                  0            0                   1          1




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JUVENILE PLACEMENTS

                                        Placed in Foster Home           Placed in Group Home             Placed in Treatment             Placed with Relative
       Circuit             County                                                                                                                                     Total
                                     In State         Out of State   In State         Out of State   In State         Out of State   In State          Out of State
6th                  Champaign          1                   0           0                  0            3                      0        2                       0      6
                     DeWitt             0                   0           0                  0            0                      0        0                       0      0
                     Douglas            0                   0           0                  0            0                      0        0                       0      0
                     Macon              2                   0           0                  0            0                      0        0                       0       2
                     Moultrie           0                   0           0                  0            0                      0        0                       0      0
                     Piatt              0                   0           0                  0            0                      0        0                       0      0
6th Circuit Total                       3                   0           0                  0            3                      0        2                       0      8
7th                  Greene             0                   0           0                  0            0                      0        0                       0      0
                     Jersey             0                   0           0                  0            0                      0        0                       0      0
                     Macoupin           0                   0           0                  0            0                      0        0                       0      0
                     Morgan             0                   0           0                  0            0                      0        0                       0      0
                     Sangamon           2                   0           0                  0            1                      0        1                       0      4
                     Scott              0                   0           0                  0            0                      0        0                       0      0
7th Circuit Total                       2                   0           0                  0            1                      0        1                       0      4
8th                  Adams              0                   0           0                  0            0                      0        0                       0      0
                     Brown              0                   0           0                  0            0                      0        0                       0      0
                     Calhoun            0                   0           0                  0            0                      0        0                       0      0
                     Cass               0                   0           0                  0            0                      0        0                       0      0
                     Mason              0                   0           0                  0            0                      0        0                       0      0
                     Menard             0                   0           0                  0            0                      0        0                       0      0
                     Pike               0                   0           0                  0            0                      0        0                       0      0
                     Schuyler           0                   0           0                  0            0                      0        0                       0      0
8th Circuit Total                       0                   0           0                  0           0                       0        0                       0      0
9th                  Fulton             0                   0           0                  0            0                      0        0                       0      0
                     Hancock            0                   0           0                  0            0                      0        0                       0      0
                     Henderson          0                   0           0                  0            0                      0        0                       0      0
                     Knox               0                   0           0                  0            0                      0        0                       0      0
                     McDonough          2                   0           0                  0            0                      0        0                       0       2
                     Warren             0                   0           0                  0            0                      0        0                       0      0
9th Circuit Total                       2                   0           0                  0           0                       0        0                       0       2
10th                 Marshall           0                   0           0                  0            0                      0        0                       0      0
                     Peoria             0                   0           0                  0            1                      0        0                       0       1
                     Putnam             0                   0           0                  0            0                      0        0                       0      0
                     Stark              0                   0           0                  0            0                      0        0                       0      0
                     Tazewell           0                   0           0                  0            0                      1        0                       0       1
10th Circuit Total                      0                   0           0                  0            1                      1        0                       0       2
11th                 Ford               0                   0           0                  0            0                      0        0                       0      0
                     Livingston         1                   0           0                  0            2                      0        0                       0       3
                     Logan              0                   0           0                  0            0                      0        0                       0      0
                     McLean             0                   0           0                  0            5                      0        0                       0       5
                     Woodford           0                   0           0                  0            9                      0        0                       0       9
11th Circuit Total                      1                   0           0                  0           16                      0        0                       0      17




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JUVENILE PLACEMENTS
                                 I
                                          Placed in Foster Home           Placed in Group Home             Placed in Treatment             Placed with Relative
       Circuit               County                                                                                                                                     Total
                                       In State         Out of State   In State         Out of State   In State         Out of State   In State          Out of State
12th                 Will                 6                   2           1                  0            0                      0        9                       0      18
13th                 Bureau               0                   0           0                  0            0                      0        0                       0       0
                     Grundy               0                   0           0                  0            2                      0        0                       0       2
                     LaSalle              0                   0           0                  0            0                      0        0                       0       0
13th Circuit Total                        0                   0           0                  0            2                      0        0                       0       2
14th                 Henry                0                   0           0                  0            0                      0        0                       0       0
                     Mercer               0                   0           0                  0            0                      0        0                       0       0
                     Rock Island          0                   0           0                  0            5                      1        0                       0       6
                     Whiteside            0                   0           0                  0            0                      0        0                       0       0
14th Circuit Total                        0                   0           0                  0            5                      1        0                       0       6
15th                 Carroll              0                   0           0                  0            0                      0        0                       0       0
                     Jo Daviess           0                   0           0                  0            0                      0        0                       0       0
                     Lee                  0                   0           0                  0            1                      0        1                       0       2
                     Ogle                 0                   0           0                  0            2                      0        0                       0       2
                     Stephenson           0                   0           0                  0            8                      0        0                       0       8
15th Circuit Total                        0                   0           0                  0            11                     0        1                       0      12
16th                 Kane                 0                   0           0                  0            0                      0        0                       0       0
17th                 Boone                0                   0           0                  0            3                      0        0                       0       3
                     Winnebago            1                   0           1                  0            21                     1        0                       0      24
17th Circuit Total                        1                   0           1                  0           24                      1        0                       0      27
18th                 DuPage               0                   0           0                  0            0                      0        0                       0       0
19th                 Lake                 3                   0           2                  0            21                     2        0                       0      28
20th                 Monroe               0                   0           0                  0            0                      0        0                       0       0
                     Perry                0                   0           0                  0            0                      0        0                       0       0
                     Randolph             0                   0           0                  0            0                      0        0                       0       0
                     St. Clair            0                   0           0                  0            0                      0        0                       0       0
                     Washington           0                   0           0                  0            0                      0        0                       0       0
20th Circuit Total                        0                   0           0                  0            0                      0        0                       0       0
21st                 Iroquois             0                   0           0                  0            0                      0        0                       0       0
                     Kankakee             0                   0           1                  0            1                      0        0                       0       2
21st Circuit Total                        0                   0           1                  0            1                      0        0                       0       2
22nd                 McHenry              0                   0           0                  0            0                      0        0                       0       0
23rd                 DeKalb               0                   0           0                  0            0                      0        1                       0       1
                     Kendall              2                   0           0                  0            0                      0        0                       0       2
23rd Circuit Total                        2                   0           0                  0            0                      0        1                       0       3
Cook                 Cook                 21                  2           0                  0           35                      3        0                       0      61
Statewide Total                          48                   4           7                  0           122                     8       16                       1     206




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APPELLATE
APPELLATE COURTS
            COURTS
   OF
    OF ILLINOIS
       ILLINOIS
                                                                   Case: 1:22-cv-06478 Document #: 41-1 Filed: 04/12/23 Page 180 of 203 PageID #:629


MAP OF APPELLATE AND SUPREME COURT JUDICIAL
DISTRICTS AND DIRECTORY OF APPELLATE CLERKS




                                                                                                                      Boone
                                                   Jo Davies              Stephenson     Winnebago                                McHenry                Lake




                                                                 Carroll
                                                                                                                                                                                    APPELLATE COURT DIRECTORY
                                                                                        Ogle
                                                                                                                     DeKalb             Kane
                                                                                                                                                   DuPage
                                                              Whiteside                  Lee




                                                                                                                                                                                    □                           □ FOURTH DISTRICT
                                                                                                                                                                         Cook

                                                                                                                                     Kendall
                                                                                                                                                                                     1   FIRST DISTRICT          4
                                                                                                                                                         Will
                   Rock Island
                                                        Henry
                                                                               Bureau
                                                                                                                   LaSalle
                                                                                                                                                                                    160 North LaSalle           201 W. Monroe Street
                                                                                                                                                                                    Room S 1400                 Springfield, IL 62704
                                                                                                                                        Grundy
                               Mercer                                                   Putnam
                                                                                                                                                            Kankakee
                                                                     Stark
                                                                                        Marshall
                                                                                                                                                                                    Chicago, IL 60601           217-782-2586
                   Henderson




                                 Warren                Knox                                                                   Livingston

                                                                      Peoria
                                                                                            Woodford                                                                                312-793-5484                Carla Bender, Clerk
                                                                                                                                                                      Iroquois

                                                                                                                                                                                    Thomas D. Palella, Clerk
                                                   Fulton                       Tazewell                                                        Ford
                        McDonough                                                                                 McLean
        Hancock




                                                                                                                                                                                    □ SECOND DISTRICT
                                                                                                                                                                                     2
                                                                                                                                                                                                                □ FIFTH DISTRICT
                                                                                                                                                                                                                 5
                                                                  Mason
                               Schuyler                                                                      DeWitt
                                                                                       Logan                                                                            Vermilion
                                                                                                                                               Champaign

        Adams
                        Brown                      Cass
                                                                    Menard
                                                                                                                                Piatt
                                                                                                                                                                                    Appellate Court Building    14th & Main Street
                                                                                                             Macon                                                                  55 Symphony Way             Mt. Vernon, IL 62864
                                                                          Sangamon                                                             Douglas

                                           Scott
                                                   Morgan
                                                                                                                              Moultrie
                                                                                                                                                                          Edgar     Elgin, IL 60120             618-242-3120
                  Pike


                                                                                                                                                                                    847-695-3750
                                                                                                                                                 Coles
                                                                                        Christian

                                             Greene                                                                  Shelby
                                                                                                                                                                                                                John J. Flood, Clerk
                                 Calhoun




                                                                                                                                                                        Clark
                                                              Macoupin         Montgomery                                                   Cumberland                              Jeffrey Kaplan, Clerk
                                              Jersey
                                                                                                           Fayette            Effingham
                                                                                                                                                   Jasper               Crawford




                                                                                                                                                                                    □ THIRD DISTRICT
                                                                                                                                                                                     3
                                                                                     Bond
                                                                Madison
                                                                                                                                        Clay
                                                                                                                                                                        Lawrence
                                                                                     Clinton
                                                                                                                  Marion
                                                                                                                                                       Richland
                                                                                                                                                                                    1004 Columbus Street
                                                              St. Clair
                                                                                                                                                                       Wabash
                                                                                                                                                                                    Ottawa, IL 61350
                                                                                                                                                            Edwards




                                                                                                                                         Wayne
                                                                                Washington
                                                                                                                                                                                    815-434-5050
                                                                                                             Jefferson
                                                   Monroe



                                                                 Randolph
                                                                                       Perry

                                                                                                              Franklin
                                                                                                                                 Hamilton         White
                                                                                                                                                                                    Matthew Butler, Clerk
                                                                                     Jackson                                                     Gallatin
                                                                                                            Williamson             Saline



                                                                                                                                                Hardin
                                                                                                                  Johnson         Pope
                                                                                             Union
                                                                                            Alexander




                                                                                                        Pulaski       Massac




180   IL COURTS ANNUAL REPORT 2021
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APPELLATE COURTS OF ILLINOIS
FIVE-YEAR TRENDS

      TOTAL CASELOAD *


         8000                                 -  Filed
                                                            - Disposed


                                                                                                        From 2017 to 2020 the total
         7000                                                                                           new filed Appellate cases
                                         6,165
                       6,300                                                                            decreased by 41.2% and
                                                           6,103
                                                                                                        from 2017 to 2021 new filed
         6000                                                                5,449                      cases decreased by 35.6%.
                                                                                        5,111
                       6,222
         5000
                                                           5,785
                                         5,676
                                                                                                        From 2017 to 2020 the total
         4000                                                                                           disposed Appellate cases
                                                                                                        decreased by 13.5% and
                                                                                                        from 2017 to 2021 disposed
         3000                                                                           4,005
                                                                              3,659                     cases decreased by 18.9%.


         2000

                         2017            2018               2019              2020      2021


      *Beginning in 2017, totals do not include Illinois Workers' Compensations Cases




181   IL COURTS ANNUAL REPORT 2021
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APPELLATE COURTS OF ILLINOIS FIVE-YEAR TRENDS
FIRST DISTRICT - CRIMINAL CASES *

                                                                                            From 2017 to 2020 new filed
                                         Filed               Disposed
        2000
                                                                                            criminal cases for the First
                                                                                            Appellate District decreased by
                       1,445                       1,357                                    57.7% and from 2017 to 2021
         1500                          1,290                                  1,239
                                                                1,238                       new filed cases decreased by
                                                                                            46.3%.
                        1,320



                                                                             -
         1000
                                       1,054                                                From 2017 to 2020 disposed
                                                  976                                       cases decreased by 14.3% and
          500                                                                   709         from 2017 to 2021 disposed
                                                                559                         cases decreased by 14.3%.
               0
                        2017            2018       2019         2020          2021




FIRST DISTRICT - CIVIL CASES *

                                                                                            From 2017 to 2020 new filed civil
                                     Filed                 Disposed                         cases for the First Appellate
        3000
                                                                                            District decreased by 54.3% and
                                                                                            from 2017 to 2021 new filed
                       1,953
                                       1,853      1,740                                     cases decreased by 49.8%.
        2000
                                                               1,225          974           From 2017 to 2020 disposed
                       1,844                                                                cases decreased by 37.3% and
        1000                           1,644     1,637                                      from 2017 to 2021 disposed
                                                                             926            cases decreased by 50.1%.
                                                                 843
               0
                        2017           2018       2019          2020         2021

      *Beginning in 2017, totals do not include Illinois Workers' Compensations Cases


182   IL COURTS ANNUAL REPORT 2021
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APPELLATE COURTS OF ILLINOIS FIVE-YEAR TRENDS
SECOND DISTRICT - CRIMINAL CASES *

                                                                                             From 2017 to 2020 new filed
                                      Filed                Disposed
        1000                                                                                 criminal cases for the Second
                                                                                             Appellate District decreased by
          800                                                                                25.6% and from 2017 to 2021 new
                                                                                528          filed cases decreased by 25.8%.
          600                                       484           500
                       445             461
                                                                                             From 2017 to 2020 disposed
          400                                                                                cases increased by 27.2% and
                        393             441        453                                       from 2017 to 2021 disposed
          200                                                     331           330          cases increased by 34.4%.

              0
                        2017           2018        2019          2020          2021




 SECOND DISTRICT - CIVIL CASES *
                                                                                             From 2017 to 2020 new filed civil
                                     Filed                Disposed
         1000
                                                                                             cases for the Second Appellate
                                                                                             District decreased by 22.0% and
          800
                                                                                             from 2017 to 2021 new filed
                                                   599                                       cases decreased by 20.2%.
                        524             552                     510
          600                                                                  424
                                                                                             From 2017 to 2020 disposed



                                              -
          400                                      558                                       cases decreased by 0.4% and
                       512              546
                                                                               418           from 2017 to 2021 disposed
                                                                 409



                                                                                         -
          200                                                                                cases decreased by 17.2%.

                0
                        2017           2018        2019          2020          2021

       *Beginning in 2017, totals do not include Illinois Workers' Compensations Cases


183   IL COURTS ANNUAL REPORT 2021
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APPELLATE COURTS OF ILLINOIS FIVE-YEAR TRENDS
THIRD DISTRICT - CRIMINAL CASES *

                                                                                            From 2017 to 2020 new filed
                                     Filed               Disposed
                                                                                            criminal cases for the Third



                                                            - -
         500                                                                                Appellate district decreased by
                       363                        385                                       24.8% and from 2017 to 2021 new
                                      377                                     353
         400                                                    351                         filed cases decreased by 30.3%.

         300

         200

         100
                        354
                                      377
                                                  383
                                                            -   273
                                                                              253
                                                                                            From 2017 to 2020 disposed cases
                                                                                            decreased by 0.8% and from 2017
                                                                                            to 2021 disposed cases decreased
                                                                                            by 0.3%.

            0
                       2017          2018         2019          2020          2021




THIRD DISTRICT - CIVIL CASES *
                                                                                            From 2017 to 2020 new filed civil
                                     Filed               Disposed                           cases for the Third Appellate
          500                                                                               district decreased by 44.7% and
                       425                                                                  from 2017 to 2021 new filed cases


                                             -
                                      386
          400                                      361           338                        decreased by 29.0%.
                                                                               311
          300           374           338
                                                   301                         302          From 2017 to 2020 disposed cases
          200                                                                               decreased by 9.6% and from 2017
                                                                    235
                                                                                            to 2021 disposed cases decreased
          100                                                                               by 16.8%.

               0
                       2017           2018        2019          2020          2021

      *Beginning in 2017, totals do not include Illinois Workers' Compensations Cases


184   IL COURTS ANNUAL REPORT 2021
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APPELLATE COURTS OF ILLINOIS FIVE-YEAR TRENDS

FOURTH DISTRICT - CRIMINAL CASES *

                                                                                              From 2017 to 2020 new filed
                                     Filed                Disposed                            criminal cases for the Fourth
         700                                                                                  Appellate District decreased by
                                                                 535                          26.5% and from 2017 to 2021 new
         600
                     471               470          472                        491            filed cases decreased by 19.5%.
         500
                                                                                              From 2017 to 2020 disposed cases
         400                                                                                  increased by 17.6% and from 2017
                      455             418
         300                                       471                          379           to 2021 disposed cases increased
                                                                346                           by 8.0%.
         200

         100
                       2017           2018        2019          2020           2021




FOURTH DISTRICT - CIVIL CASES *
                                                                                              From 2017 to 2020 new filed civil
                                     Filed                 Disposed                           cases for the Fourth Appellate
        600                                                                                   District decreased by 29.2% and
                                                                                              from 2017 to 2021 new filed cases
        500

        400

                        -
                      374
                          -           338         371
                                                                 303
                                                                               313
                                                                                              decreased by 13.8%.

                                                                                              From 2017 to 2020 disposed cases
                                                                                              decreased by 19.0% and from 2017
        300

        200

        100
                      363




                      2017
                            -        314



                                      2018
                                                  315




                                                  2019
                                                                 257


                                                                2020
                                                                                311




                                                                               2021
                                                                                              to 2021 disposed cases decreased
                                                                                              by 16.8%.




       *Beginning in 2017, totals do not include Illinois Workers' Compensations Cases


185   IL COURTS ANNUAL REPORT 2021
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APPELLATE COURTS OF ILLINOIS FIVE-YEAR TRENDS
FIFTH DISTRICT - CRIMINAL CASES *

                                                                                              From 2017 to 2020 new filed
                                     Filed                Disposed                            criminal cases for the Fifth
         400                                                                                  Appellate District decreased by
                                                                                              13.6% and from 2017 to 2021 new



                                                                                        -
                                                                               268            filed cases decreased by 33.8%.
         300                            241                      217
                                                   230
                      213                                                                     From 2017 to 2020 disposed
         200                                                                                  cases increased by 33.1% and
                                        221       219                                         from 2017 to 2021 disposed cases
                      163                                        184
         100                                                                                  increased by 64.4%.
                                                                                141

              0
                       2017            2018       2019          2020          2021




FIFTH DISTRICT - CIVIL CASES *
                                                                                              From 2017 to 2020 new filed civil
                                     Filed                Disposed                            cases for the Fifth Appellate District
        400                                                                                   decreased by 12.6% and from 2017
                                                 305                                          to 2021 new filed cases decreased
                      277               271
        300                                                                   234             by 7.9%.
                                                                232
                                                                                              From 2017 to 2020 disposed cases
        200                                        271
                        254             249                                                   decreased by 16.2% and from 2017
                                                                222           212             to 2021 disposed cases decreased
        100                                                                                   by 23.5%.


            0
                      2017            2018       2019           2020          2021
      *Beginning in 2017, totals do not include Illinois Workers' Compensations Cases


186   IL COURTS ANNUAL REPORT 2021
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CASELOAD SUMMARY BY DISTRICT
APPELLATE COURT - CALENDAR YEAR 2021
                                                                                                                                                            Number of
                                        Number of                                                              Number of      Number of      Number of                                 Number of
                                                          Number of           Number of                                                                   Cases Disposed                                   Inventory
   Appellate                          Cases Pending                                             Number of    Cases Disposed Cases Disposed Cases Disposed                             Cases Pending
                     Type of Case                         Cases Filed           Cases                                                                        Without                                       Increase/
    District                          January 1, 2021                                         Cases Disposed   by Majority    by Rule 23    By Summary                                December 31,
                                                          During 2021         Reinstated                                                                  Opinion, R23 or                                  Decrease
                                             *                                                                  Opinion         Order          Order                                     2021 *
                                                                                                                                                            Sum. Ord.


                         Civil
                                           1,388               926                25                974            174                356               62                382              1,365              -23
       First
                       Criminal
                                           1,974               709                 3                1,239          134               602                285               218              1,447              -527

                         Civil
                                            284                418                 1                424             61                141               54                168               283                -1
      Second
                       Criminal
                                            587                330                 1                528             59                223               119               127               397               -190

                         Civil
                                            237                302                 1                 311            35                139               13                124               229                -8
       Third
                       Criminal
                                            531                253                 2                353             33                201               18                101               435               -96

                         Civil
                                            157                313                 1                 311            19                156               24                112               163                6
      Fourth
                       Criminal
                                            521                379                 4                491             31               260                54                146               408               -113

                         Civil
                                            229                234                 2                212             23                143               14                88                196               -33
       Fifth
                       Criminal
                                            425                141                 3                268             14                118               43                37                358               -67

                         Civil
                                           2,295              2,193               30                2,232          312                935               167               874              2,236              -59
      TOTALS
                       Criminal
                                           4,038              1,812               13                2,879          271              1,404               519               629              3,045              -993


Note: Beginning in 2017, Illinois Worker's Compensation case statistics are no longer referenced.

* Due to reporting software computations; there are small variances in the number of cases pending on January 1, 2021 when compared to the number of cases pending on December 31, 2020, as well as, minor reconciliation
differences in the number of cases pending on December 31, 2021.




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CASELOAD DISPOSITIONS BY DISTRICT
APPELLATE COURT - CALENDAR YEAR 2021
                                                                                                                           METHOD OF DISPOSITION

                                                                                    Affirmed in Part and/or                                                                                                                                   Disposed
                                 Affirmed                     Reversed           Remanded, Reversed or Vacated    Reversed and/or Remanded                   Modified             Vacated and/or Remanded           Dismissed/Other            of w/o
                                                                                            in Part                                                                                                                                                       Total
Appellate   Type of                                                                                                                                                                                                                           Opinion
                                                                                                                                                                                                                                                          Cases
 District    Case                                                                                                                                                                                                                              R23 or
                                            Sum.                         Sum.                          Sum.                             Sum.                            Sum.                         Sum.                             Sum.               Disposed
                       Opinion   Rule 23            Opinion   Rule 23            Opinion    Rule 23              Opinion      Rule 23              Opinion   Rule 23            Opinion   Rule 23            Opinion    Rule 23                Sum.
                                            Order                        Order                         Order                            Order                           Order                        Order                            Order
                                                                                                                                                                                                                                               Order



              Civil

                         115       272       51       12         8         0       16          9         1         23           31        0           0         0         0        7         7         1        1         29            9       382        974
   First


            Criminal

                         74        464       234       7         14        0        9         26         1         32           69        2           0         0         0        9        21         10       3         10           38       218       1,241


              Civil

                         27        105       34        7         6         1       10         15         2         12            8        0           0         0         0        3         1         0        2          6           17       168        424
 Second


            Criminal

                         33        181       105       6         5         0        4         17         1         12           15        3           0         0         0        4         4         3        0          1            7       127        528


              Civil

                         15        104        8        5         2         0        3         10         1          5           13        1           0         0         0        5         2         0        2          8            3       124        311
  Third


            Criminal

                         15        146       13        3         7         0        5         15         1          9           19        2           0         0         0        1         8         1        1          5            1       101        353


              Civil

                          9        138        8        2         2         0        0          0         0          4            2        2           0         0         0        0         0         0        4         14           14       112        311
 Fourth


            Criminal

                         18        204       34        2         5         0        0          1         0          5           20        0           0         0         0        0         0         2        6         30           18       146        491


              Civil

                         10        102        8        1         1         0        0          1         0          3            6        0           0         0         0        0         0         0        9         33            6        88        268
   Fifth

            Criminal

                          6         70        4        0         1         1        0          0         0          7           12        0           0         0         0        0         1         0        1         34           38        37        212


              Civil

                         176       721       109      27         19        1       29         35         4         47           60        3           0         0         0       15        10         1       18         90           49       874       2,288
 TOTALS


            Criminal

                         146      1,065      390      18         32        1       18         59         3         65           135       7           0         0         0       14        34         16      11         80           102      629       2,825

Note: Beginning in 2017, Illinois Workers' Compensation case statistics are no longer referenced.




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METHOD OF CASE DISPOSITION
APPELLATE COURT - CALENDAR YEAR 2021
                                                                                                            METHOD OF DISPOSITION WITHOUT OPINION OR ORDER


                                           Dismissed                               Dismissed on Court's Motion
                                                                                                                                         Motion for                                                                                                      Total Cases
                                                                                                                                                         Remanded with
                                                                                                                                        Leave to File                                                                                                    Disposed or
  Appellate                                                                                 Lack of                   Leave to Appeal                     Direction For    Dismissed in     Bail Order   Confession of   Transferred to      Other
                Type of Case                                                                                                            Late Notice of                                                                                                    Without
   District                                                               Failure to    Jurisdiction No                 Denied (a) *                         Futher       the Trial Court    Entered         Error       Proper Court     Dispositions
                               Motion of   Motion of   Stipulation of                                                                   Appeal Denied                                                                                                    Opinion Or
                                                                        Comply with          Final           Other                                        Proceeding
                               Appellant    Appellee      Parties                                                                            (b)                                                                                                           Order
                                                                        Rules/ Orders     Appealable
                                                                                            Order



                    Civil
                                  94           57           27               123               9                 0          33                7                0                 5              0              0               1              26            382
      First

                  Criminal
                                  91           4            55               15                1                 0           0                17                2                0             24              0               2               7            218


                    Civil
                                  29           19            7               88                5                 1          10                3                 1                4              0              0               1               0            168
   Second

                  Criminal
                                  50           5             1               40                1                 1           2                6                15                3              0              2               0               1             127


                    Civil
                                  36           11            9               38               17                 1           5                1                0                 5              0              0               0               1            124
      Third

                  Criminal
                                  43           3             0                7               6                  3           3                1                18                3              6              8               0               0             101


                    Civil
                                  29           18            0               56               4                  0           3                0                0                 2              0              0               0               0             112
   Fourth

                  Criminal
                                  91           2             0               20               0                  1           0                0                17               13              0              0               0               2            146


                    Civil
                                  25           3             3               32               17                 0           5                1                0                 2              0              0               0               0             88
      Fifth

                  Criminal
                                  17           0             0                7               6                  0           0                1                 2                3              1              0               0               0             37


                    Civil
                                  213         108           46               337              52                 2          56                12                1               18              0              0               2              27            874
  TOTALS

                  Criminal
                                 292           14           56               89               14                 5           5                25               54               22              31            10               2              10            629

Note: Beginning in 2017, Illinois Workers' Compensation case statistics are no longer referenced.
* S.C.Rule 306/308
(a) Includes Denial of Permissive Interloctuory
(b) Includes Denial of Motion to File Late Record



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TIME LAPSE: CASE FILING TO DISPOSITION
APPELLATE COURT - CALENDAR YEAR 2021
                                                                       TIME LAPSE BETWEEN CASE FILING AND DISPOSITION
      Appellate                                                                                                                                        Total Cases
                        Type of Case
       District                                                                                                                                         Disposed
                                                 Under 6               6 to 12                1 to 1-1/2    1-1/2 to 2
                                                                                                                         2 to 3 Years   Over 3 Years
                                                 Months                Months                   Years         Years


                             Civil
                                                    299                    252                   215         147              45               11           969
         First

                          Criminal
                                                     65                    77                    139         284             449              224          1,238

                             Civil
                                                    193                    113                    69          25              20               2            422
       Second

                          Criminal
                                                     88                    49                     98         135              144              13           527

                             Civil
                                                    128                    67                     59          33               23              1            311
        Third

                          Criminal
                                                     60                    33                     52          55              129             24            353

                             Civil
                                                    194                    68                     42           5               2               0            311
       Fourth

                          Criminal
                                                     78                    77                     79         160               92              5            491

                             Civil
                                                     99                    71                     39          20               25             14            268
         Fifth

                          Criminal
                                                     21                    31                     17          20               63             60            212

                             Civil
                                                    913                    571                   424         230              115             28           2,281
      TOTALS

                          Criminal
                                                   312                      267                   385        654              877             326          2,821
Note: Beginning in 2017, Illinois Workers' Compensation case statistics are no longer referenced.



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TIME LAPSE: BRIEF FILING TO DISPOSITION
APPELLATE COURT - CALENDAR YEAR 2021
                                                                                    TIME LAPSE BETWEEN BRIEF FILING AND DISPOSITION
      Appellate                                                                                                                                                Total Cases
                           Type of Case
      District                                                                                                                                                  Disposed
                                                   Under 6                6 to 12               1 to 1-1/2      1-1/2 to 2
                                                                                                                                 2 to 3 Years   Over 3 Years
                                                   Months                 Months                 Years            Years


                               Civil
                                                     382                    122                     21             1                  0              0            526
         First

                            Criminal
                                                     510                    188                     31             9                  4              1            743

                              Civil
                                                     169                     31                     14             3                  2              0            219
       Second

                            Criminal
                                                     251                    43                      7              0                  1              0            302

                               Civil
                                                     109                    47                      25             6                  5              0            192
        Third

                            Criminal
                                                     149                    95                      7              5                  2              3            261

                               Civil
                                                     186                     16                     0              0                  0              0            202
       Fourth

                             Criminal
                                                     284                    62                      3              0                  0              0            349

                               Civil
                                                      96                    28                      18             9                  7              9            167
        Fifth

                             Criminal
                                                      67                    39                      12             2                  2              1             123

                               Civil
                                                     942                    244                     78             19                 14             9            1,306
       TOTALS

                            Criminal
                                                     1,261                  427                     60             16                 9              5            1,778
Note: Beginning in 2017, Illinois Workers' Compensation case statistics are no longer referenced.


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OPINIONS AND RULE 23 ORDERS
APPELLATE COURT - CALENDAR YEAR 2021
                                                                  OPINIONS
      Appellate                                                                                                                             Summary
                                                                                                                           Rule 23 Orders
       District                                                                                                                              Orders
                                                          Specially
                       Majority         Per Curiam                         Dissenting      Supplemental   Total Opinions
                                                         Concurring

                                                                                                                                949
        First            298                0                 7                23                   0          328          24 Sp.Conc        347

                                                                                                                             40 Dissent
                                                                                                                                361
       Second            122                0                 1                 4                   0          127           2 Sp.Conc        175

                                                                                                                             4 Dissent

                                                                                                                                341
       Third             68                 0                10                16                   0          94           18 Sp.Conc        31

                                                                                                                             24 Dissent

                                                                                                                                417
       Fourth            50                 0                 3                 3                   0          56            7 Sp.Conc        78

                                                                                                                             4 Dissent

                                                                                                                                261
        Fifth            37                 0                 2                 5                   0          44            6 Sp.Conc        57

                                                                                                                             4 Dissent

                                                                                                                               2329
      TOTALS             575                0                23                51                   0          649              57            688

                                                                                                                                76
Note: Beginning in 2017, Illinois Workers' Compensation case statistics are no longer referenced.



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SUPREME
SUPREME COURT
        COURT OF
              OF ILLINOIS
                 ILLINOIS

CASELOAD
CASELOAD AND
         AND STATISTICAL
             STATISTICAL
        RECORDS
        RECORDS
                          Case: 1:22-cv-06478 Document #: 41-1 Filed: 04/12/23 Page 194 of 203 PageID #:643


SUPREME COURT CASELOAD AND STATISTICAL
RECORDS CASE FILINGS AND DISPOSITIONS
CYNTHIA A. GRANT, CLERK OF THE SUPREME COURT


A summary of case filings and dispositions       In 2021, 136 miscellaneous docket cases         MANDATORY APPEALS
in the Supreme Court of Illinois for the         were filed, a 18-case decrease from 2020.
period 2017 through 2021 is presented in         This docket consists of conviction-related
                                                 cases filed     by   pro    se    prisoners.    In 2021, 3 direct appeals by right were filed on
Table 1.
                                                 Typically,   a matter is placed on the          a notice of appeal from the circuit court under
                                                 miscellaneous docket, as opposed to the         Rule 302(a) in civil cases, and one (1) notice in
During 2021, filings in the Supreme                                                              people's cases under Rule 603. There
Court totaled 1,821; 55 more cases than          general docket, when papers do not conform
                                                 to the Supreme Court Rules in one or more       were           no          certificates        of
the 1,766 cases    filed   in 2020. The                                                          importance from the appellate court filed
Supreme Court disposed of a total of             respects. This docket provides a forum for
                                                 the incarcerated pro se litigant without        pursuant to Rule 316, in the 5-year
1,935 cases in 2021; 160 more than the                                                           reporting period.
1,175 disposed of in 2020.                       compromising          standard         filing
                                                 requirements.
In 2021, there were 1,224 cases filed
on the general     docket,    which     is
the predominant docket, an increase of 33                                                        OTHER ACTIVITY
cases, or 2.6 percent from 2020 general          PETITIONS FOR LEAVE TO
docket filings.                                                                                  In 2021, the Supreme Court filed 67
                                                 APPEAL                                          opinions, disposing of 71 cases (Table 6).
A total of 468 miscellaneous record cases                                                        This figure does not include separate
were filed in 2021; 47 more cases than           In 2021, 1,104 petitions were filed, a          dissenting or concurring   opinions, which
filed in 2020. The miscellaneous record          increase of 47 cases from the 2020 filings      numbered approximately 31.
consists primarily of attorney matters.          on the leave to appeal docket, as
In 2021, approximately 283 name-change           represented in Table 2a. As in the prior        There were 12 petitions for rehearing filed
(on roll of attorneys) petitions and 2           4 years, more petitions were filed in           in decided cases (See Table 7), allowing
motions for restoration to active status on      people cases than in civil cases. The           none; entertained oral argument in 76 cases
roll of attorneys (under Rule 759) were          Supreme       Court    allowed 79   petitions   (Table 5); and considered approximately
filed. Disciplinary matters account for 90       (33 people/46 civil), or 6.9 percent of the     1,049 motions on the general docket
cases, and the remaining 93 cases consist of     petitions acted upon in 2021. As indicated in   alone, including     111   original  action
bar admission motions, petitions concerning      Table 2b, 17 more petitions were allowed in     motions under Rules 381, 382, 383, and 384
professional service corporations, etc., under   2021 than in 2020. The 5-year average of        (Table 1).
Rule 721, and various administrative matters.    petitions allowed is 61.


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I   SUPREME COURT CASELOAD

    Attorney disciplinary activity (Table 8) in 2021   In 2021, the Court filed one (1) clerical        Respecting limited licensure, in 2021 the
    was concentrated on the miscellaneous record       correction to the Supreme Court Rules: Rule      Court admitted 57 House Counsel (Rule 716)
    where the Court disciplined 83 attorneys by        58, corrected on December 22, 2021.              and 1 Foreign Legal Consultant (Rule 712) and
    order and suspended seven (7) attorneys on                                                          no Legal Service Program attorneys (Rule
    an interim basis by order. Three (3) petitions     In 2021, pursuant to Supreme Court Rule 3,       717). The Court also licensed 1 Military Spouse
    for reinstatement to the roll of attorneys         the Supreme Court Rules Committee                (Rule 719) in 2021.
    pursuant to Supreme Court Rule 767 were            forwarded ten (10) matters to the Clerk of
    presented to the Court in 2021: 3 were denied.     the Supreme court to be filed on the Proposed    In 2021, approximately 5,321 law firms were
                                                       Rule Docket, which consists          of   rule   registered with the Court pursuant to
    In 2021, the Court filed two (2) Supreme           proposals     and     amendments        under    Supreme Court Rule 721 to engage in the
    Court Rule adoptions:    Rule 43, adopted          consideration by the Supreme Court or its        practice of law as a professional service
    September 21, 2021, and Rule 8, adopted            committees. In 2021, seven (7) matters on        corporation,        professional association,
    September 29, 2021.                                the Proposed Rule Docket were closed.            limited liability company, or limited liability
                                                                                                        partnership. Approximately 79 percent of
    In 2021, the Court filed fifty (50)                Due to the COVID-19 pandemic, in 2021,           these firms also provided evidence of
    Supreme Court Rule amendments: Rule 11,            the Court temporarily amended six (6)            minimum insurance or proof of financial
    amended January 26, 2021; Rule 606,                Supreme Court Rules: Rules 101, 102, 284,        responsibility pursuant to Rule 722 (limited
    amended March 12, 2021; Rule 10-101,               298 and 286 or February 10, 2021; and Rule       liability legal practice).
    amended March 26, 2021 and amended May             283 on May 28, 2021.
    10, 2021; Rules 11 and 371, amended June 11,
    2021, Rule 751 and 756 amended June                The Supreme Court, which is responsible
    14, 2021; Rules 503, 529, 530, 531, 553            for regulating the practice of law in the
    and 556, amended July 20, 2021; Rules 751          state, licensed 3,777 attorneys in 2021, an
    and 756, amended September 21, 2021;               increase of 2,857 from the 920 licenses
    Rules 281, 552 and 589, amended September          awarded in 2020.
    29, 2021; Rules 315 and 321, amended
    September 29, 2021; Rules 2, 21 ,88, 90, 91,       The increase in the number of attorneys
    93, 99, 100.6, 100.7, 100.8, 100.10, 113, 203,     licensed in 2021 was due to a law class
    206, 207, 209, 217, 218, 237, 277, 551, 901,       ceremony being held in 2021 as a result of the
    905 and 942, amended September 29, 2021;           November 2020 being delayed until January
    Rule 361, amended November 19, 2021; Rule          2021. During the past 5 years, 11,077 lawyers
    3, amended December 1, 2021; Rules 58 and          were licensed, and average of 2,215 per year,
    99, amended December 6, 2021; Rule 795,            which is an increase of 312 from the 5-year
    amended December 14, 2021.                         average, reported in 2020.




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SUPREME COURT CASELOAD
TABLE 1 SUMMARY OF CASE FILINGS AND FINAL DISPOSITIONS
SUPREME COURT OF ILLINOIS 2017-2021

                                                                                                                                                            Attorney Disc.
                                                                               Certificates of Direct Appeals Petitions for                 Original
                                        Total General Direct Appeals                                                                                          Cases on     Other General              Total Misc.        Total Misc.
      Filings         Grand Total                                               Importance by Permission        Leave to                    Action
                                           Docket      by Right (a)                                                                                            General      Docket (f)                Record (g)         Docket (h)
                                                                                     (b)             (c)       Appeal (d)                  Motions (e)
                                                                                                                                                               Docket

       2017               2,208              1,354                 45                  0                  7                1,221                 79                  0                  2                 657                 197

       2018               2,011               1,277                6                   0                  5                 1,175                89                  0                  2                 538                 196

       2019               1,942               1,241                 2                  0                  4                 1,112               116                  0                  5                 522                 179

       2020               1,766               1,191                 5                  0                   1               1,057                121                  0                  3                 421                 154

       2021               1,821              1,224                 4                   0                  2                1,104                111                  0                  2                 468                 129
                                                                                                                                                            Attorney Disc.
                                                                               Certificates of Direct Appeals Petitions for                 Original
                                        Total General Direct Appeals                                                                                          Cases on     Other General              Total Misc.        Total Misc.
  Dispositions        Grand Total                                               Importance by Permission        Leave to                    Action
                                           Docket      by Right (a)                                                                                            General      Docket (f)                Record (g)         Docket (h)
                                                                                     (b)             (c)       Appeal (d)                  Motions (e)
                                                                                                                                                               Docket

       2017               2,320              1,360                  3                  1                  7                1,254                 92                  0                  3                 749                 211

       2018               2,071              1,292                 44                  0                  4                 1,155                87                  0                  2                 576                 203

       2019               2,075              1,297                 6                   0                  4                1,177                106                  0                  3                 576                 202

       2020               1,775               1,139                6                   0                   1               1,006                122                  0                  4                 482                 154

       2021               1,935              1,264                  3                  0                  2                1,140                117                  0                  2                 535                 136
 (a) Appeals directly from the circuit court: Statutes held invalid (Rules 302(a) and 603). (b) Certification of case by Appellate Court under Rule 316. (c) Rule 302(b) motions. Dispositions do not include motions allowed in a
 given year unless entire case disposed of in that same year. (d) Dispositions do not include petitions allowed in a given year unless entire case disposed of in that same year. (e) Motions filed under Rule 381 (mandamus,
 prohibition, habeas corpus), Rule 382 (legislative redistricting/ability of governor to serve or resume office), Rule 383 (supervisory authority) Rule 384 (motions to transfer & consolidate multicircuit actions). Dispositions do not
 include motions allowed in a given year unless entire case disposed of in that same year. (f) Filings include, for example, motions for appeal bond, motions to stay (Rule 305), certification of questions of state law from certain
 federal courts (Rule 20). Beginning year 2017 Rule 384 filings and dispositions are reported in column "Original Action Motions". Dispositions also may include allowed petitions for leave to appeal which were not completely
 disposed of in the year in which the petition was filed (see footnote (d)), including dismissals. (g) The Miscellaneous Record consists primarily of attorney matters, including disciplinary cases, motions for restoration to active
 status (Rule 759), petitions to change name on roll of attorneys, bar admission motions, and law firms seeking leave to register/renew under Rule 721. (h) Cases are filed on the Miscellaneous Docket when papers tendered by
 pro se prisoners do not conform to Supreme Court Rules.




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  SUPREME COURT CASELOAD
TABLE 2 SUMMARY OF PETITIONS FOR LEAVE TO APPEAL AND/OR AS A MATTER OF RIGHT UNDER RULES 315/317
GENERAL DOCKET SUPREME COURT OF ILLINOIS 2017 - 2021
Table 2 consists of two parts, 2a and 2b, and contains all information presented in former Table 2, as well as the following additional information: a new
column for "denied with supervisory order," and a note that the "total disposed" column now includes petitions "denied with supervisory order" and
petitions that were "allowed." The "percent allowed" column reflects these changes.
                                                                            Table 2a - Filings


                                                                    Total Filed            (People)              (Civil)


                                                   2017                 1,221                (785)                 (436)

                                                   2018                 1,175                (755)                 (420)

                                                   2019                 1,112                (652)                 (460)

                                                   2020                 1,057                (650)                 (407)

                                                   2021                1,104                 (773)                 (361)

                                                                         Table 2b - Dispositions
                                                                                          Denied,            Denied with
                                                                                                                                Total Disposed             Percent
                        Total Allowed           (People)               (Civil)          Dismissed or         Supervisory
                                                                                                                                      (a)                 Allowed (b)
                                                                                         Withdrawn              Order

         2017                  51                  (26)                 (25)                1,139                   47                1,237                  4.1%

         2018                  53                  (22)                 (31)                1,071                   34                1,158                  4.6%

         2019                  61                  (26)                 (35)                1,095                   22                 178                   5.2%

         2020                  62                  (27)                 (35)                 984                    54                1,009                  6.0%

         2021                  79                  (33)                 (46)                1,032                   33                1,144                  6.9%
  (a) Total disposed includes petitions allowed, denied, denied with supervisory order, dismissed and withdrawn.
  (b) Relationship between petitions allowed and all petitions disposed, i.e., denied, denied with supervisory order, dismissed, withdrawn, and allowed


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SUPREME COURT CASELOAD
TABLE 3 MANDATORY JURISDICTION APPEALS - GENERAL DOCKET SUPREME COURT OF ILLINOIS 2017 - 2021


                                          Statute Invalid             Certificate of Importance                            Statue Invalid          Certificate of Importance
                                                                                                    Total
                    Total Filed
                                                                                                  Disposed

                                      People           Civil           People           Civil                        People            Civil        People             Civil


      2017              45              8               37                0              0           3                 1                    1          0                 1

      2018              6                3                  3             0              0          44                 8                36             0                 0

      2019              2                1                  1             0              0           6                 3                    3          0                 0

      2020              5                0                  5             0              0           6                 2                    4          0                 0

      2021              4                1                  3             0              0           3                 0                    3          0                 0



TABLE 4 GENERAL DOCKET PEOPLE AND CIVIL CASES - SUPREME COURT OF ILLINOIS 2017 - 2021
                                                              Table 4
                                                        Supreme Court of
                                                                                                           Total
                                  Total Filed          Illinois 2015 - 2019
                                                            (People)                   (Civil)                                          (People)               (Civil)
                                                                                                         Disposed



             2017                    1,354                      823                     531                  1,360                          839                  521

             2018                    1,277                      796                     481                  1,291                          779                  512

             2019                    1,241                      705                     536                  1,295                          774                  524

             2020                    1,191                      703                     488                  1,140                          659                  481

             2021                    1,224                      798                     426                  1,164                          822                 442




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SUPREME COURT CASELOAD
TABLE 5 SUMMARY OF THE CALL OF THE DOCKET- SUPREME COURT OF ILLINOIS 2017-2021



                                                  Cases Submitted              (People)                         (Civil)




                2017                                      52(a)                   (26)                           (26)



                2018                                      58(b)                   (27)                           (31)



                2019                                       56                     (23)                           (33)



                2020                                     49(c )                   (21)                           (28)



                2021                                     76(d)                    (29)                           (47)

Cases Submitted on briefs without oral argument: (a) 1; (b) 1; (c ) 2; (d) 1




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SUPREME COURT CASELOAD
TABLE 6 SUMMARY OF OPINIONS - SUPREME COURT OF ILLINOIS 2017 - 2021

                                                                                                                                  Disposing of Cases
                                      Total Filed (a)                   (People)                         (Civil)
                                                                                                                                      on Merits


            2017                             59                            (33)                           (26)                           66

            2018                             48                            (24)                           (24)                           86

            2019                             53                            (18)                            (35)                          58

            2020                             60                            (27)                           (33)                           61

            2021                             67                            (24)                           (47)                           71
(a) Category does not include dissenting or concurring opinions


 TABLE 7 SUMMARY OF REHEARINGS - SUPREME COURT OF ILLINOIS 2017 - 2021

                                                                                            Total Allowed
                          Total Filed             (People)                (Civil)                                    (People)              (Civil)
                                                                                                  (a)

        2017                   16                    (8)                    (8)                    0                     (0)                  (0)

        2018                   12                    (6)                    (6)                    0                     (0)                  (0)

       2019                     9                    (4)                    (5)                    0                     (0)                  (0)

        2020                   14                     (7)                   (7)                    0                     (0)                  (0)

       2021                    12                    (5)                    (7)                    0                     (0)                  (0)
(a) Petitions not allowed are denied or, occasionally, dismissed or withdrawn on motion, or not ruled on in the reporting year.



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SUPREME COURT CASELOAD
TABLE 8 ATTORNEY DISCIPLINARY CASES - SUPREME COURT OF ILLINOIS CALENDAR YEAR 2021

                                                                                       Dispositions                                        Total
                        Discipline Imposed by Order
                                Rule 753 proceedings on
                             recommendation of Hearing or
                              Review Board of the Attorney                                    15
                              Registration and Disciplinary
                                      Commission                                                                                             83
                            Rule 762(a) Voluntary disbarment                                  9
                            Rule 762(b) Discipline on consent                                 24
                              Rule 763 Reciprocal discipline                                  35

                        Discipline by Opinion                                                 0                                               0
                        Interim Suspension Orders
                                          Rule 761                                            1                                               7
                                          Rule 774                                            6

                        Reinstatement to Roll of Attorneys
                                                                 Table 4                                                                      3
                                       Petition Denied     Supreme Court of                   3
                                                          Illinois 2015 - 2019
                                                            Total Dispositions                                                               93




      Reinstatement
         Petitions            Reprimand                Censure          Interim Suspension          Probationary             Suspension             Disbarment        Total Dispositions
                                                                                                     Suspension


            3                      5                       6                       7                      18                      40                      16                 95 *

 * Discrepancy in totals is due to 3 attorneys receiving 2 different types of disciplines each, and a 4th attorney receiving a discipline that is not tracked here.




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SUPREME COURT CASELOAD
FIGURE 1: FILLINGS 2017 - 2021

      2500

                    2,208

                                                2,011
                                                                     1,942
      2000
                                                                                                                     1,821
                                                                                                1,766




      1500

                     1,221
                                      -        1,175
                                                                     1,112
                                                                                               1,057
                                                                                                                     1,104

      1000




       500



                      45
                                                  6                    2                         5                    4
        0
                       2017                       2018                 2019                       2020                 2021

                                          Mandatory Appeals    Petitions for Leave to Appeal         Total Filings




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SUPREME COURT CASELOAD
FIGURE 2: PETITIONS FOR LEAVE TO APPEAL FILED AS A PERCENT OF APPEALS
DECIDED BY APPELLATE COURT OPINION OR RULE 23 ORDER 2017-2021


             5,000



                          4,039
                                                                              3,879
            4,000
                                                     3,770                                            3,752
                                                                                                                                 3,608



            3,000




            2,000


                                  1,221                      1,175                    1,112                   1,057                      1,104
             1,000




                 0
                           2017-30%                   2018-31%                 2019-29%                2020-28%                   2021-32%

                            ■             Appeals disposed of by Opinion or Pursuant to Rule 23(b) and (c ) in Appellate Court
                            ■             Petitions for Leave to Appeal Filed in Supreme Court


      Note: Beginning in 2017, appeals disposed total does not include Illinois Workers' Compensation Cases.




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